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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



NANCY GIMENA HUISHA-HUISHA, on
behalf of herself and others similarly situated,

                   Plaintiffs,

       v.                                          Civ. A. No. 21-100 (EGS)

ALEJANDRO MAYORKAS, Secretary of
Homeland Security, et al.,

                   Defendants.




             EXHIBITS TO DEFENDANTS’ COMBINED OPPOSITION TO
             PLAINTIFFS’ MOTIONS FOR CLASS CERTIFICATION AND
                  FOR CLASSWIDE PRELIMINARY INJUNCTION
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                 EXHIBIT A
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              US DEPARTMENT OF HEALTH AND HUMAN SERVICES
            CENTERS FOR DISEASE CONTROL AND PREVENTION (CDC)

  ORDER UNDER SECTIONS 362 & 365 OF THE PUBLIC HEALTH SERVICE ACT
                        (42 U.S.C. §§ 265, 268):

                      ORDER SUSPENDING INTRODUCTION OF
                       CERTAIN PERSONS FROM COUNTRIES
                     WHERE A COMMUNICABLE DISEASE EXISTS

   I.      Purpose and Application

        I issue this order pursuant to Sections 362 and 365 of the Public Health Service (PHS) Act,
42 U.S.C. §§ 265, 268, and their implementing regulations, which authorize the Director of the
Centers for Disease Control and Prevention (CDC) to suspend the introduction of persons into the
United States when the Director determines that the existence of a communicable disease in a
foreign country or place creates a serious danger of the introduction of such disease into the United
States and the danger is so increased by the introduction of persons from the foreign country or
place that a temporary suspension of such introduction is necessary to protect the public health.

        This order applies to persons traveling from Canada or Mexico (regardless of their country
of origin) who would otherwise be introduced into a congregate setting in a land Port of Entry
(POE) or Border Patrol station at or near the United States borders with Canada and Mexico,
subject to the exceptions detailed below. The danger to the public health that results from the
introduction of such persons into congregate settings at or near the borders is the touchstone of
this order.

         This order is necessary to protect the public health from an increase in the serious danger
of the introduction of Coronavirus Disease 2019 (COVID-19) into the land POEs, and the Border
Patrol stations between POEs, at or near the United States borders with Canada and Mexico. Those
facilities are operated by U.S. Customs and Border Protection (CBP), an agency within the U.S.
Department of Homeland Security (DHS). This order is also necessary to protect the public health
from an increase in the serious danger of the introduction of COVID-19 into the interior of the
country when certain persons are processed through the same land POEs and Border Patrol stations
and move into the interior of the United States.

        There is a serious danger of the introduction of COVID-19 into the land POEs and Border
Patrol stations at or near the United States borders with Canada and Mexico, and into the interior
of the country as a whole, because COVID-19 exists in Canada, Mexico, and the other countries
of origin of persons who migrate to the United States across the United States land borders with
Canada and Mexico. Those persons are subject to immigration processing in the land POEs and
Border Patrol stations. Many of those persons (typically aliens who lack valid travel documents
and are therefore inadmissible) are held in the common areas of the facilities, in close proximity
to one another, for hours or days, as they undergo immigration processing. The common areas of
such facilities were not designed for, and are not equipped to, quarantine, isolate, or enable social
distancing by persons who are or may be infected with COVID-19. The introduction into
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congregate settings in land POEs and Border Patrol stations of persons from Canada or Mexico
increases the already serious danger to the public health to the point of requiring a temporary
suspension of the introduction of such persons into the United States.

        The public health risks of inaction are stark. They include transmission and spread of
COVID-19 to CBP personnel, U.S. citizens, lawful permanent residents, and other persons in the
POEs and Border Patrol stations; further transmission and spread of COVID-19 in the interior; and
the increased strain that further transmission and spread of COVID-19 would put on the United
States healthcare system and supply chain during the current public health emergency.

        These risks are troubling because POEs and Border Patrol stations were not designed and
are not equipped to deliver medical care to numerous persons, nor are they capable of providing
the level of care that vulnerable populations with COVID-19 may require. Indeed, CBP typically
transfers persons with acute presentations of illness to local or regional healthcare providers for
treatment. Outbreaks of COVID-19 in land POEs or Border Patrol stations would lead to transfers
of such persons to local or regional health care providers, which would exhaust the local or regional
healthcare resources, or at least reduce the availability of such resources to the domestic
population, and further expose local or regional healthcare workers to COVID-19. [1] The
continuing availability of healthcare resources to the domestic population is a critical component
of the Federal government’s overall public health response to COVID-19. Action is required.

        As stated above, this order applies to persons traveling from Canada or Mexico (regardless
of their country of origin) who would otherwise be introduced into a congregate setting in a land
POE or Border Patrol station at or near the United States border with Canada or Mexico, subject
to exceptions. This order does not apply to U.S. citizens, lawful permanent residents, and their
spouses and children; members of the armed forces of the United States, and associated personnel,
and their spouses and children; persons from foreign countries who hold valid travel documents
and arrive at a POE; or persons from foreign countries in the visa waiver program who are not
otherwise subject to travel restrictions and arrive at a POE. Additionally, this order does not apply
to persons whom customs officers of DHS determine, with approval from a supervisor, should be
excepted based on the totality of the circumstances, including consideration of significant law
enforcement, officer and public safety, humanitarian, and public health interests. DHS shall
consult with CDC concerning how these types of case-by-case, individualized exceptions shall be
made to help ensure consistency with current CDC guidance and public health assessments.

        DHS has informed CDC that persons who are traveling from Canada or Mexico (regardless
of their country of origin), and who must be held longer in congregate settings in POEs or Border
Patrol stations to facilitate immigration processing, would typically be aliens seeking to enter the
United States at POEs who do not have proper travel documents, aliens whose entry is otherwise
contrary to law, and aliens who are apprehended near the border seeking to unlawfully enter the
United States between POEs. This order is intended to cover all such aliens.



[1]
  An outbreak of COVID-19 among CBP personnel in land POEs or Border Patrol stations would impact CBP
operations negatively. Although not part of the CDC public health analysis, it bears emphasizing that the impact on
CBP could reduce the security of U.S. land borders and the speed with which cargo moves across the same.

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       For simplicity, I shall refer to the persons covered by this order as “covered aliens.” I
suspend the introduction of all covered aliens into the United States for a period of 30 days, starting
from the date of this order. I may extend this order if necessary to protect the public health.

          II.      Factual Basis for Order 1

                   1. COVID-19 is a global pandemic that has spread rapidly

        COVID-19 is a communicable disease caused by a novel (new) coronavirus, SARS-CoV-
2, that was first identified as the cause of an outbreak of respiratory illness that began in Wuhan,
Hubei Province, People’s Republic of China (China). 2

        COVID-19 appears to spread easily and sustainably within communities. 3 The virus is
thought to transfer primarily by person-to-person contact through respiratory droplets produced
when an infected person coughs or sneezes; it may also transfer through contact with surfaces or
objects contaminated with these droplets. 4 There is also evidence of asymptomatic transmission,
in which an individual infected with COVID-19 is capable of spreading the virus to others before
exhibiting symptoms. 5 The ease of transmission presents a risk of a surge in hospitalizations for
COVID-19, which would reduce available hospital capacity. Such a surge has been identified as
a likely contributing factor to the high mortality rate for COVID-19 cases in Italy and China. 6

        Symptoms include fever, cough, and shortness of breath, and typically appear 2-14 days
after exposure. 7 Manifestations of severe disease have included severe pneumonia, acute
respiratory distress syndrome (ARDS), septic shock, and multi-organ failure. 8 According to the
WHO, approximately 3.4% of reported COVID-19 cases have resulted in death globally. 9 This

1
  Given the dynamic nature of the public health emergency, CDC recognizes that the types of facts and data set forth
in this section may change rapidly (even within a matter of hours). The facts and data cited by CDC in this order
represent a good-faith effort by the agency to present the current factual justification for the order.
2
   Centers for Disease Control and Prevention, Situation Summary (Mar. 15, 2020), available at
https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/summary.html.
3
 Centers for Disease Control and Prevention, Interim Infection Prevention and Control Recommendations for Patients
with Suspected or Confirmed Coronavirus Disease 2019 (COVID-19) in Healthcare Settings (Mar. 10, 2020),
available at https://www.cdc.gov/coronavirus/2019-ncov/infection-control/control-recommendations.html.
4
    Id.
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 Centers for Disease Control and Prevention, Interim Clinical Guidance for Management of Patients with Confirmed
Coronavirus Disease (COVID-19) (Mar. 7, 2020), available at https://www.cdc.gov/coronavirus/2019-
ncov/hcp/clinical-guidance-management-patients.html.
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  Ariana Eunjung Cha, Washington Post, Spiking U.S. Coronavirus Cases Could Force Rationing Decisions Similar
to       Those     Made       in      Italy,     China      (Mar.       15,     2020),      available      at
https://www.washingtonpost.com/health/2020/03/15/coronavirus-rationing-us/.
7
 Centers for Disease Control and Prevention, Coronavirus Disease 2019 (COVID-19) (Mar. 16, 2020), available at
https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html.
8
    Supra, note 4.
9
    WHO Director-General’s Opening Remarks at the Media Briefing on COVID-19 (Mar. 3, 2020), available at


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mortality rate is higher among older adults or those with compromised immune systems. 10 Older
adults and people who have severe chronic medical conditions like heart, lung, or kidney disease
are also at higher risk for more serious COVID-19 illness. 11 Early data suggest older people are
twice as likely to have serious COVID-19 illness. 12

        As of March 17, 2020, there were over 179,112 cases of COVID-19 globally in 150
locations, resulting in over 7,426 deaths; more than 4,226 cases have been identified in the United
States, with new cases being reported daily and over 75 deaths due to the disease. 13

        Unfortunately, at this time, there is no vaccine against COVID-19, nor are there any
approved therapeutics available for those who become infected. Treatment is currently limited to
supportive care to manage symptoms. Hospitalization may be required in severe cases and
mechanical respiratory support may be needed in the most severe cases. Testing is available to
confirm suspected cases of COVID-19 infection. Testing requires specimens collected from the
nose, throat or lungs; specimens can only be analyzed in a laboratory setting. At present, results
are typically available within three to four days. 14 There is currently no rapid test for COVID-19
that can provide results at the time of sample collection, although efforts are underway to develop
such a test.

        On January 30, 2020, the Director General of the WHO declared COVID-19 to be a Public
Health Emergency of International Concern under the International Health Regulations. 15 The
following day, the Secretary of Health and Human Services (HHS) declared that COVID-19 is a
public health emergency under the Public Health Service Act (PHSA). 16 On March 11, 2020, the

https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-media-briefing-on-covid-
19---3-march-2020.
10
     Supra, note 4.
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     Id.
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     Id.
13
   Centers for Disease Control and Prevention, Coronavirus Disease 2019 (COVID-19): Cases in U.S. (Mar. 17, 2020),
available                    at                 https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-
us.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fcases-in-us.html;
World Health Organization, Coronavirus disease 2019 (COVID-19) Situation Report – 57 (Mar. 17, 2020), available
at                 https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200317-sitrep-57-covid-
19.pdf?sfvrsn=a26922f2_2.https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200317-
sitrep-57-covid-19.pdf?sfvrsn=a26922f2_2.
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   Centers for Disease Control and Prevention, Interim Guidelines for Collecting, Handling, and Testing Clinical
Specimens from Persons for Coronavirus Disease 2019 (COVID-19) (Mar. 13, 2020), available at
https://www.cdc.gov/coronavirus/2019-nCoV/lab/guidelines-clinical-specimens.html.
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   World Health Organization, Statement on the second meeting of the International Health Regulations (2005)
Emergency Committee regarding the outbreak of novel coronavirus (2019-nCOv) (January 30, 2020),
https://www.who.int/news-room/detail/30-01-2020-statement-on-the-second-meeting-of-the-international-health-
regulations-(2005)-emergency-committee-regarding-the-outbreak-of-novel-coronavirus-(2019-ncov).
16
   U.S. Dept. of Health and Human Services, Office of the Assistant Secretary for Preparedness and Response,
Determination     that     a    Public     Health      Emergency      Exists      (January     31,    2020),
https://www.phe.gov/emergency/news/healthactions/phe/Pages/2019-nCoV.aspx.



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WHO officially classified the global COVID-19 outbreak as a pandemic. 17 On March 13, 2020,
the President issued a Presidential Declaration that COVID-19 constitutes a National
Emergency. 18 Likewise, all U.S. states, territories, and the District of Columbia have declared a
state of emergency in response to the growing spread of COVID-19. 19

         Global efforts to slow the spread of COVID-19 have included sweeping travel limitations.
Countries such as Japan, Australia, Israel, Russia, and the Philippines have imposed stringent
restrictions on travelers who have recently been in China, the epicenter of the pandemic. Similar
travel restrictions have since been imposed on individuals from places experiencing substantial
outbreaks, including the Islamic Republic of Iran (Iran), South Korea, and Europe. In many
countries, individuals are being asked to self-quarantine for 14 days—the outer limit of the
COVID-19’s estimated incubation period—following return from a foreign country with sustained
community transmission. 20

       In the United States, the President has suspended the entry of most travelers from China
(excluding Hong Kong and Macau), Iran, the Schengen Area of Europe, 21 the United Kingdom
(excluding overseas territories outside of Europe), and the Republic of Ireland, due to COVID-
19. 22 CDC has issued Level 3 Travel Health Notices recommending that travelers avoid all
nonessential travel to China (excluding Hong Kong and Macau), Iran, South Korea, and most of
Europe. 23 The U.S. Department of State has issued a global Level 4 Do Not Travel Advisory
advising travelers to avoid all international travel due to the global impact of COVID-19. 24 In

17
  World Health Organization, WHO Director-General’s opening remarks at the media briefing on COVID-19 – 11
(March 11, 2020, https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-media-
briefing-on-covid-19---11-march-2020.
18
  Message to Congress on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19)
Outbreak (March 13, 2020) https://www.whitehouse.gov/briefings-statements/message-congress-declaring-national-
emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/.
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    National Governors Assn., Coronavirus: What You Need to Know, (last updated March 17, 2020)
https://www.nga.org/coronavirus/#states.
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  James Asquith, [Update] Complete Coronavirus Travel Guide – The Latest Countries Restricting Travel, (March
16, 2020), https://www.forbes.com/sites/jamesasquith/2020/03/15/complete-coronavirus-travel-guide-the-latest-
countries-restricting-travel/#2fdc3b7d715b.
21
  For purposes of this order, the Schengen Area comprises 26 European states: Austria, Belgium, Czech Republic,
Denmark, Estonia, Finland, France, Germany, Greece, Hungary, Iceland, Italy, Latvia, Liechtenstein, Lithuania,
Luxembourg, Malta, Netherlands, Norway, Poland, Portugal, Slovakia, Slovenia, Spain, Sweden, and Switzerland.
22
   Proclamation on the Suspension of Entry as Immigrants and Nonimmigrants of Certain Additional Persons Who
Pose a Risk of Transmitting Coronavirus (March 14, 2020) https://www.whitehouse.gov/presidential-
actions/proclamation-suspension-entry-immigrants-nonimmigrants-certain-additional-persons-pose-risk-
transmitting-coronavirus-2/.
23
  Centers for Disease Control and Prevention, Travelers’ Health, COVID – 19 in Europe, Warning – Level 3, Avoid
Nonessential      Travel      –      Widespread       Ongoing      Transmission      (March      11,      2020)
https://wwwnc.cdc.gov/travel/notices/warning/coronavirus-europe.
24
  U.S. Dept. of State, Bureau of Consular Affairs, Global Level 4 Health Advisory – Reconsider Travel (March 15,
2020)         https://travel.state.gov/content/travel/en/traveladvisories/ea/travel-advisory-alert-global-level-4-health-
advisory-issue.html.



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addition, CDC has recommended that travelers, particularly those with underlying health
conditions, avoid all cruise ship travel worldwide. 25 The U.S. Department of State has similarly
issued guidance that U.S. citizens should not travel by cruise ship at this time. 26

         The Federal government announced guidelines stating that the public should avoid
discretionary travel; shopping trips; social visits; gatherings in groups of more than 10 people; and
eating or drinking at bars, restaurants, and food courts. 27                   Numerous states and
localitieslocalitieslocalitieslocalitieslocalitieslocalitieslocalities have gone further and shut down
restaurants, bars, nightclubs, and theaters. For example, 6 counties surrounding San Francisco,
California have issued shelter in place orders impacting nearly 7 million residents. 28 Similar
measures are being considered in other cities. 29

             2. COVID-19 exists in Canada and Mexico

                      i. Persons from Canada and other foreign countries where COVID-19
                         exists cross into the United States from Canada frequently

       As of March 17, 2020, Canada has reported 424 confirmed cases of COVID-19, of which
the Canadian government believes 74% are travel-related with an additional 6% being close
contacts of travelers. 30 This is a 115% increase in confirmed cases in four days. 31 The provinces
of Ontario and British Columbia have reported the most COVID-19 cases, with Ontario reporting
a 29% increase in confirmed cases in a single day. 32 Canada’s Chief Public Health Officer stated
that community transmission of COVID-19 is occurring in multiple provinces and Ottawa public

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  Centers for Disease Control and Prevention, Travelers’ Health, COVID – 19 and Cruise Ship Travel, Warning –
Level 3, Avoid Nonessential Travel (March 17, 2020) https://wwwnc.cdc.gov/travel/notices/warning/coronavirus-
cruise-ship.
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  U.S. Dept. of State, Bureau of Consular Affairs, Current Outbreak of Coronavirus Disease 2019 (March 14, 2020)
https://travel.state.gov/content/travel/en/traveladvisories/ea/covid-19-information.html.
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  The White House & Centers for Disease Control and Prevention, 15 Days to Slow the Spread (Mar. 15, 2020),
available         at           https://www.whitehouse.gov/wp-content/uploads/2020/03/03.16.20_coronavirus-
guidance_8.5x11_315PM.pdf.
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  Erin Allday, San Francisco Chronicle, Bay Area Orders ‘Shelter in Place’ Only Essential Businesses Open in 6
Counties (Mar. 18, 2020), available at https://www.sfchronicle.com/local-politics/article/Bay-Area-must-shelter-in-
place-Only-15135014.php.
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  Noah Higgins-Dunn & William Feuer, CNBC, New Yorkers Should be Prepared for a ‘Shelter-In-Place,’ Mayor
Bill de Blasio says (Mar. 18, 2020), available at https://www.cnbc.com/2020/03/17/new-yorkers-should-be-prepared-
for-a-shelter-in-place-order-mayor-bill-de-blasio-says.html.
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    Government of Canada, Coronavirus disease (COVID-19): Outbreak update (Mar.                        15,   2020),
https://www.canada.ca/en/public-health/services/diseases/2019-novel-coronavirus-infection.html.
31
   National Post, The Latest Numbers of COVID-19 Cases in Canada as of March 13, 2020 (Mar. 13, 2020), available
at https://nationalpost.com/pmn/news-pmn/canada-news-pmn/the-latest-numbers-of-covid-19-cases-in-canada-as-of-
march-13-2020.
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  Ryan Rocca, Global News, Coronavirus: Ontario reports 39 new COVID-19 cases, provincial total rises to 142
(Mar.         15,        2020),         https://globalnews.ca/news/6679409/ontario-coronavirus-update-march-
15/?utm_source=site_banner.



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health officials believe that there are at least 1,000 undiagnosed cases in the Canadian capital
alone. 33 In an effort to slow the transmission and spread of the virus, the Canadian government
banned foreign nationals from all countries except the United States from entering Canada and
mandated that returning Canadians self-monitor for COVID-19 symptoms for 14 days following
their return, effective March 18, 2020. 34

       The United States and Canada share the longest international border in the world, spanning
approximately 3,987 (largely unfenced) miles with 119 ports of entry. 35

        In 2017, approximately 33 million individuals crossed the Canadian border into the United
           36
States. Through February of Fiscal Year (FY) 2020, DHS has processed 20,166 inadmissible
aliens at POEs at the U.S.-Canadian border, and CBP has apprehended 1,185 inadmissible aliens
attempting to unlawfully enter the United States between POEs. 37 These aliens have included not
only Canadian nationals, but also 1,062 Iranian nationals, 1,396 Chinese nationals, and 1,326
nationals of Schengen Area countries—all of which currently have COVID-19 outbreaks. Indeed,
the United States government has determined that China, Iran, and the countries of the Schengen
Area are experiencing sustained person-to-person transmittal of the disease. 38 As of March 15,
2020, the WHO reports that China has 81,048 confirmed cases and 3,204 deaths; Iran has 12,729
confirmed cases and 608 deaths 39; and the Schengen Area has almost 42,000 confirmed cases. 40
The total number of COVID-19 infections in these countries is impracticable to quantify due to
the inherent limitations of epidemiological surveillance, but are likely higher than the reported
number of confirmed cases because COVID-19 can be present in asymptomatic persons.

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  Adam Miller, Canadian Broadcast Corporation, ‘The Time is Now to Act’: COVID-19 spreading in Canada With
no Known Link to Travel, Previous Cases (Mar. 16, 2020), available at https://www.cbc.ca/news/health/coronavirus-
community-transmission-canada-1.5498804; CBC News, Canadian Broadcast Corporation, Community Spread of
COVID-19 in Ottawa Likely, Says OPH (Mar. 15, 2020), available at https://www.cbc.ca/news/canada/ottawa/5-new-
covid-cases-ottawa-1.5498489.
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   Government of Canada, Coronavirus disease (COVID-19): Canada’s Response, At Canadian Borders (Mar. 16,
2020),      available     at    https://www.canada.ca/en/public-health/services/diseases/2019-novel-coronavirus-
infection/canadas-reponse.html#acb.
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   Janice Cheryh Beaver, Congressional Research Service, U.S. International Borders: Brief Facts (Feb. 1, 2007),
available                                                                                                     at
https://www.everycrsreport.com/files/20070201_RS21729_514d6fe01555a06aa58c33fd1d8cf34ad1dc50f8.pdf.
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  Les Perreaux, The Globe and Mail, Rejection Rate on the Rise for Canadians at U.S. Border (Apr. 14, 2017),
available      at   https://www.theglobeandmail.com/news/national/rejection-rate-on-the-rise-for-canadians-at-us-
border/article34262237/.
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     Exhibits 2 and 3, attached.
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   The White House, Proclamation—Suspension of Entry as Immigrants and Nonimmigrants of Certain Additional
Persons Who Pose a Risk of Transmitting 2019 Novel Coronavirus (Mar, 11, 2020), available at
https://www.whitehouse.gov/presidential-actions/proclamation-suspension-entry-immigrants-nonimmigrants-
certain-additional-persons-pose-risk-transmitting-2019-novel-coronavirus/.
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  World Health Organization, Coronavirus Disease 2019 (COVID-19) Situation Report – 55 (Mar. 15, 2020),
available at https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200315-sitrep-55-covid-
19.pdf?sfvrsn=33daa5cb_8.
40
     Id.



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       On March 18, 2020, the President announced that the United States “will be, by mutual
consent, temporarily closing our Northern Border with Canada to non-essential traffic,” and DHS
will be issuing guidance on the implementation of that arrangement, including exceptions for
“essential travels.”

                     ii. Mexico expects community transmission of COVID-19 and has been
                         slower to implement public health measures

         According to WHO, as of March 17, 2020, Mexico has only 53 confirmed cases of COVID-
19, all found to be travel related, and no deaths. 41 Some Mexican public health experts believe the
number of COVID-19 cases in the country is much higher and that Mexico will see widespread
community transmission of the virus in the near future. 42 A Deputy Health Minister in Mexico
has attributed Mexico’s low number of confirmed cases to the virus having been first detected in
Mexico on February 27, 2020, approximately one month after the first confirmed cases in the
United States. 43 The same official also stated that, based on the Mexican government’s modeling,
Mexico expects community transmission of COVID-19 to begin between 15 and 40 days from the
first confirmed case (in other words, as early as March 13, 2020). 44

        Mexico is only now undertaking some of the public health measures to mitigate the spread
of the virus. 45 Schools will be closed from March 20 until April 20, and some large public events
are being cancelled. 46 However, many events, such as professional soccer games, have gone

41
  Id. World Health Organization, Coronavirus Disease 2019 (COVID-19) Situation Report – 57 (Mar. 17, 2020),
available at https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200317-sitrep-57-covid-
19.pdf?sfvrsn=a26922f2_4.
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   Andrea Ano, Latin Post, Experts Question Mexico's Coronavirus Preparations (Mar. 15, 2020), available at
http://www.latinpost.com/articles/144156/20200315/experts-question-mexicos-coronavirus-preparations.htm;
Mexico News Daily, One Former Health Minister Critical of Coronavirus Response (Mar. 14, 2020), available at
https://mexiconewsdaily.com/news/former-health-secretary-critical-of-coronavirus-response/.
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  Mexico News Daily, Why so few Cases of Coronavirus? Deputy Minister Explains In Other Countries the Disease
was Detected Earlier (Mar. 13, 2020), available at https://mexiconewsdaily.com/news/why-so-few-cases-of-
coronavirus-deputy-minister-explains/.https://mexiconewsdaily.com/news/why-so-few-cases-of-coronavirus-deputy-
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  Mexico News Daily, Business Insider, A Widespread Outbreak of Coronavirus in Mexico is 'Inevitable,' Health
Officials Say (Mar. 13, 2020), available at https://www.businessinsider.com/widespread-outbreak-of-coronavirus-in-
mexico-is-inevitable-2020-3.https://www.businessinsider.com/widespread-outbreak-of-coronavirus-in-mexico-is-
inevitable-2020-3.
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   Patrick J. McDonnell, Katie Linthicum, Tracy Wilkinson, L.A. Times, Mexico, Latin America Gear up for Next
Phase of Coronavirus Threat (Mar. 14, 2020), available at https://www.latimes.com/world-nation/story/2020-03-
14/mexico-latin-america-gear-up-for-next-phase-of-coronavirus-threat; cf Dave Graham, Reuters, Mexico
Government Urges Public to Keep Distance Over Coronavirus; President Embraces Crowds (Mar. 15, 2020), available
at https://www.reuters.com/article/us-health-coronavirus-mexico/mexico-government-urges-public-to-keep-distance-
over-coronavirus-president-embraces-crowds-idUSKBN2130A0.
46
  Alexis Ortiz & Karla Linares, El Universal, COVID-19: Mexico to Suspend Classes Over Coronavirus Concerns
(Mar. 14, 2020), available at https://www.eluniversal.com.mx/english/covid-19-mexico-suspend-classes-over-
coronavirus-concerns.



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forward as planned. 47 Mexico has not announced any restrictions on persons entering the country
from areas with sustained human-to-human transmission of the disease. 48 There are currently no
COVID-19 health screenings at Mexico’s international airports, although Mexican officials have
announced that some additional screening measures may be implemented. 49 Medical experts
believe that community transmission and spread of COVID-19 at asylum camps and shelters along
the U.S. border is inevitable, once community transmission begins in Mexico. 50

        Mexico has fewer health care resources than the United States. Mexico’s total expenditure
on health care per capita is $1,122, compared to the United States’ $9,403 per person. 51 On
average, there are only 1.38 available hospital beds per every 1,000 inhabitants in Mexico,
compared to 2.77 available hospital beds per every 1,000 inhabitants in the United States. 52
Similarly, there are approximately 2.2 practicing doctors and 2.9 practicing nurses per every 1,000
inhabitants in Mexico, compared to 2.6 practicing doctors and 8.6 practicing nurses per every
1,000 inhabitants in the United States. 53 This raises public health concerns, given that Mexico is
likely to reach community transmission soon (including in asylum camps and shelters).

         While Mexico responded vigorously to the H1N1 pandemic in 2009-2010, Mexico does
not appear to be approaching the COVID-19 pandemic with the same dispatch. In 2003, Mexico
established the National Preparedness and Response Plan for an Influenza Pandemic, which was
first tested during the 2009 outbreak of H1N1 influenza. Mexico helped contain that outbreak,
primarily through early detection of the outbreak, followed by the declaration of a “sanitary
emergency” that focused on raising public awareness of the need to contain the spread with proper
hygiene, school closings, cancellation of large public gatherings, and aggressive surveillance
through widespread testing. 54 Mexico does not appear to have undertaken equivalent measures in

47
  Kirk Semple, The N.Y. Times, ‘We Call for Calm’: Mexico’s Restrained Response to the Coronavirus (Mar. 15,
2020), available at https://www.nytimes.com/2020/03/15/sports/soccer/soccer-mexico-coronavirus.html.
48
  Wendy Fry, The San Diego Union-Tribune, While Impacts of Coronavirus Remain Mild in Baja California, Mexico
Begins Bracing for Outbreak (Mar. 13, 2020), available at https://www.sandiegouniontribune.com/news/border-baja-
california/story/2020-03-13/impacts-of-coronavirus-remain-mild-in-baja-california.
49
     Id.
50
   Rick Jervis, USA Today, Migrants Waiting at U.S.-Mexico Border at Rick of Coronavirus, Health Experts Warn
(Mar. 17, 2020), available at https://www.usatoday.com/story/news/nation/2020/03/17/us-border-could-hit-hard-
coronavirus-migrants-wait-mexico/5062446002/; Rafael Carranza, AZ Central, New World’s Largest Border
Crossing, Tijuana Shelters Eye the new Coronavirus with Worry (Mar. 14, 2020), available
https://www.azcentral.com/story/news/politics/immigration/2020/03/14/tijuana-migrant-shelters-coronavirus-covid-
19/5038134002/.
51
  Compare WHO, Mexico—Statistics, https://www.who.int/countries/mex/en/, with WHO, United States of
America—Statistics, https://www.who.int/countries/usa/en/.
52
    See Organization for Economic Co-operation and Development (“OECD”), Data—Hospital Beds,
https://data.oecd.org/healtheqt/hospital-beds.htm.
53
         Compare         The       World        Bank,     Data—Physicians    (per    1,000     people),
https://data.worldbank.org/indicator/SH.MED.PHYS.ZS, with The World Bank, Data—Nurses and Midwives (per
1,000 people), https://data.worldbank.org/indicator/SH.MED.PHYS.ZS.
54
  See Jose A. Cordova-Villalobos et al., The influenza A (H1N1) epidemic in Mexico: Lessons learned, Health
Research Policy & Systems 7:21 (Sept. 28, 2009); Gerardo Chowell, Characterizing the Epidemiology of the 2009


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response to the COVID-19 pandemic. COVID-19 is more infectious than H1N1, and so CDC
expected a more vigorous Mexican response to COVID-19, which has not occurred.

        It also bears noting that Mexico struggled to mobilize its strategic stockpile of the antiviral
drug Oseltamivir during the 2009-2010 H1N1 outbreak. 55 The entire strategic stockpile was
centrally stored as dry bulk product, and the national pandemic preparedness plan called for the
dry bulk to be distributed to and reconstituted by Mexico’s 31 state-level public health
laboratories. 56 After the onset of the outbreak, Mexican authorities realized that the network of
labs they intended to rely on were not properly equipped or authorized to prepare the antiviral
medication, leading to complications in implementing the planned response. 57 A comparative
assessment of national pandemic preparedness plans found that Mexico’s plan was missing key
annexes regarding case management, surveillance, communication, laboratory sample and
transport, public health measures, and plans for private business. 58 While no public health
response is perfect, and testing for COVID-19 has presented global challenges, the experience of
Mexican laboratories during the H1N1 outbreak raises concerns about their current capabilities.

         The existence of COVID-19 in Mexico presents a serious danger of the introduction of
COVID-19 into the United States for these reasons, and because the level of migration across the
United States border with Mexico is so high. The U.S.-Mexico border runs an estimated 1,933
miles. 59 To date in fiscal year (FY) 2020, DHS has processed 34,141 inadmissible aliens at POEs
along the border, and U.S. Border Patrol has apprehended 117,305 aliens attempting to unlawfully
enter the United States between POEs, almost 110,000 of whom reported Mexican citizenship. 60
Over 15,000 were nationals of other countries that are now experiencing sustained human to
human transmission of COVID-19, including approximately 1,500 Chinese nationals and 6,200
Brazilian nationals. 61




Influenza A/H1N1 Pandemic in Mexico, PLOS Med 8(5): e1000436 (May 24, 2011).
55
   Luis Meave Gutierrez-Mendoza et al., Lessons from the Field: Oseltamivir storage, distribution and dispensing
following the 2009 H1N1 influenza outbreak in Mexico, Bull World Health Organ, 90:782-787 (Aug. 17, 2012).
56
     Id.
57
     Id.
58
   WHO, Comparative Analysis of National Pandemic Influenza Preparedness Plans (Jan. 2011), available at
https://www.who.int/influenza/resources/documents/comparative_analysis_php_2011_en/en/.
59
     Supra, note 36.
60
     Exhibits 2 and 3, attached.
61
     Id.

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                3. Land POEs and Border Patrol stations are congregate settings that present
                   infection control challenges

        CBP screens and processes millions of aliens who seek to enter the United States legally
each year at POEs, as well as apprehending, screening, and processing the hundreds of thousands
of aliens who attempt to unlawfully enter the United States each year by crossing between POEs.
See Exhibits 2-3 (charts summarizing number of apprehensions and inadmissible aliens in FY
2020, as of Mar. 3. 2020). Apprehended aliens vary significantly by age and health status. At this
time, the majority tend to be adults between 25 and 40 years old, and include those with chronic
health problems such as diabetes and high blood pressure (which are comorbidities known to
increase the health risks associated with COVID-19 infections and, thus, the likelihood of requiring
medical intervention after infection). 62

                       i. Covered aliens in land POEs who CBP screens and processes for
                          admissibility spend hours or days in congregate areas

       There are 328 land POEs along the northern and southern borders operated by CBP. At
land POEs, CBP screens and processes the millions of U.S. citizens, lawful permanent residents,
and other aliens who seek to enter the United States from Canada and Mexico every year.

        One of the CBP’s critical functions at POEs is to screen and process arriving aliens to
determine whether they are admissible to the United States. CDC understands from DHS that
inadmissible aliens are typically those who do not have proper travel documents to enter or whose
entry is otherwise contrary to law, such as those who are interdicted attempting to smuggle
contraband into the United States. It takes CBP much longer to screen inadmissible aliens than
U.S. citizens, lawful permanent residents, and aliens with valid travel documents, all of whom tend
to move quickly into the United States after contact with CBP personnel and other travelers at
POEs. This difference is due in part to the fact that inadmissible aliens tend to arrive by foot (not
vehicle), and lack documentation. Inadmissible aliens in land POEs may spend hours or days in
congregate areas while undergoing processing. During that time, they are in close proximity to
CBP personnel and other travelers, including U.S. citizens and other aliens.

        The admissibility of each alien is determined by a CBP officer. As part of the current
admissibility screening, aliens are subject to an initial set of questions designed to elicit their risk
factors for various contagious diseases, including COVID-19. Questions would include recent
travel and any physical symptoms they are experiencing. CBP officers also use this initial
questioning to visually observe arrivals for any obvious signs of illness. Those whose appearance
or responses indicate possible exposure to or infection with COVID-19 are directed to don a
surgical mask, and are escorted by a CBP officer (also wearing a surgical mask) for further
evaluation and risk assessment by the contract medical staff, which is conducted in a designated
area within the POE.

        Presently, if CBP determines that an alien may be exposed to or infected with COVID-19,
the alien is escorted to a separate, enclosed waiting area (usually a small holding room adjacent to

62
     Supra, note 4.

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normal processing areas) while CBP alerts the relevant health authorities. Specifically, CBP
notifies the local health department, CDC, and CBP’s Senior Medical Advisor. Local health
officials and possibly CDC personnel if available, then consult with CBP to determine whether the
individual should be tested for COVID-19 and where that testing should occur. CBP follows
guidance from CDC and local health officials regarding transport to the testing site. If the alien is
sent for testing in an ambulance, a CBP officer will accompany the individual in the ambulance.
If CBP vehicles are used for transport, they are disinfected afterwards. In addition, CBP will
consult with U.S. Immigration and Customs Enforcement (ICE) officials regarding the transport
of the alien outside of the POE, given that the individual leaving the CBP facility does not have a
preexisting legal right to enter the United States and must remain in custody while testing and
treatment is carried out.

        These infection control procedures are not easily scalable for large numbers of aliens.
Moreover, an influx of infected, asymptomatic aliens would present significant infection control
challenges for CBP, as the screening of such an aliens may not prompt testing. The aliens would
remain in congregate areas in the POE while CBP finishes the screening and processing. During
that time, the alien could infect CBP personnel or other aliens with COVID-19.

                   ii. Border Patrol stations present greater infection control challenges
                       than POEs because they often have less space and fewer resources

       In addition to the 328 POEs, CBP operates a network of Border Patrol stations to
apprehend, process, and temporarily hold aliens seeking to unlawfully enter the United States
between POEs. CBP has a total of 136 Border Patrol stations along the land and coastal borders,
and many Border Patrol stations, particularly along the Southwest border, are in remote locations.

        Border Patrol stations vary significantly in terms of size and layout, but generally have
several congregate holding areas where covered aliens are divided based on demographic factors
such as age, gender, and family status, as required by law. A typical Border Patrol station is
designed to temporarily hold a maximum of 150 to 300 people standing shoulder-to-shoulder, and
has between two to five separate holding areas that can be used to segregate adult males, adult
females, unaccompanied children, and family units, with possible further subdivision for female-
and male-led family units. The subdividing of aliens is crucial to maintaining order and safety
inside the Border Patrol stations because the experience of CBP is that certain cohorts of covered
aliens are antagonistic towards one another. On average, a covered alien apprehended between
POEs will spend approximately 78 hours in a Border Patrol station before transfer to ICE.

       Only 46 of the 136 Border Patrol stations offer any medical services. The services that are
offered are administered by contract medical support and are limited to glucose, pregnancy,
influenza testing, and basic emergency care. The 46 facilities are all located on the southwest
border with Mexico.

       As discussed more fully below, the infection control challenges in Border Patrol stations
can be greater than the challenges in POEs, especially when the Border Patrol stations are at or
near capacity. This is because covered aliens are in close proximity with one another and CBP



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personnel, and there is typically no suitable space for quarantining, isolating, or engaging in social
distancing with aliens.

                  iii. The United States Public Health Service (USPHS) observed infection
                       control challenges during a site visit to El Paso del Norte POE

        On March 12-13, 2020, a USPHS Scientist officer conducted an observational visit to the
El Paso del Norte POE (El Paso PDN). The USPHS Scientist officer viewed directly the areas
within the POE that CBP uses to screen and process aliens for admissibility. (Exhibit 1).

       El Paso PDN is one of the country’s busiest border crossings, with more than 10 million
people entering the United States from Mexico every year. It receives a constant, heavy inflow of
pedestrian and vehicular traffic, consisting of approximately 12,000 pedestrians and 6,000 vehicles
per day. El Paso PDN operates 24/7, with a 3-4 person team of contract medical staff who work
12 hour shifts and provide 24/7 coverage. The medical team is typically led by a nurse practitioner
or physician assistant, with the remaining team members consisting of emergency medical
technicians (EMT) or registered nurses.

        El Paso PDN adheres to the general process for screening and processing covered aliens
described in § II.3.i above. In terms of medical capabilities, El Paso PDN performs on-site testing
only for pregnancy, blood glucose levels, and Influenza A/B. Any other testing or treatment is
performed by nearby medical providers. El Paso PDN is representative of other POEs in that it is
heavily reliant on local and regional hospitals and EMT services to care for aliens. El Paso PDN
has several small waiting rooms that are used to isolate individuals suspected of exposure to or
infection with a contagious disease. Each room can fit approximately 6-7 people, and is equipped
with windows to permit observation of the rooms’ occupants, and locks to prevent them from
leaving.

        Facility staff indicated they have been fit-tested for N95 respirators, receive biannual N95
training, and that the facility has an approximately 30-day regular use supply of N95 respirators
for use by CBP personnel. El Paso PDN has not encountered any suspected COVID-19 cases, but
does not currently perform COVID-19 testing.

        The site was selected by CBP because it is of one of CBP’s largest and best equipped POEs
on the Southwest Border. Other POEs have fewer capabilities.

        The USPHS Scientist officer observed that even at El Paso PDN, covered aliens would
present infection control challenges during processing and screening in congregate areas.




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     III.     The introduction into DHS facilities of persons from countries with COVID-19
              would increase the already serious danger of COVID-19 in the facilities

              1. POEs and Border Patrol stations are not structured or equipped to effectively
                 mitigate the risks presented by COVID-19

        The time required to test for COVID-19 dictates, at least in part, the infection control
measures that DHS would have to implement at POEs and Border Patrol stations to effectively
mitigate the public health risks presented by covered aliens suspected of harboring or being
infected with COVID-19. At this time, there is no available COVID-19 test that yields results at
the time of sample collection, such as the rapid testing available for certain influenza strains that
yields results in as little as 15 minutes. Nor is there a COVID-19 test that has been cleared for use
in a non-clinical setting such as a POE or a Border Patrol station lacking isolation capabilities.
Rather, current COVID-19 testing would require the collection of samples from aliens suspected
of infection and the mailing of the samples to a laboratory for analysis, with results available within
3-4 days. In theory, to mitigate public health risks, CBP would have to transport aliens in their
custody suspected of COVID-19 infection to a nearby medical site for sample collection and
testing, and then implement containment protocols (i.e., quarantine or isolation) in their facilities
while awaiting test results. CDC would not have the resources or personnel required to house in
quarantine or isolation or monitor dozens, much less hundreds or thousands of aliens. The burden
would shift to state and local governments, and it seems equally unlikely to CDC that they could
collectively implement such a massive public health initiative under current conditions.

        POEs and Border Patrol stations are not structured or equipped to implement quarantine,
isolation, or social distancing protocols on site for COVID-19 for even small numbers of aliens,
much less dozens or hundreds of them together with CBP personnel. In particular, POEs and
Border Patrol stations were designed for the purpose of short-term holding in a congregate setting.
The vast majority of those facilities lack the areas needed to effectively quarantine or isolate aliens
for COVID-19 while test results are pending. Moreover, the process for screening and ultimately
quarantining or isolating aliens suspected of COVID-19 infection would require the alien to move
throughout various sections of the facility, creating a risk of exposure to all nearby— including
DHS personnel and other aliens. 63

        Because POEs and Border Patrol stations are not structured or equipped for quarantine or
isolation for COVID-19, DHS’s alternative would be to try to conduct some type of social
distancing in congregate holding areas. The numbers of aliens and the size and capacity of the
congregate holding areas are not at all conducive to effective social distancing, which requires
individuals to maintain a distance of at least six feet from each other, and to avoid contact with
shared surfaces. The typical dimensions of the congregate areas at POEs and Border Patrol stations
would not provide sufficient space if more than a handful of individuals were present in congregate
areas (which is typically the situation). Such an approach would be fraught with public health
risks for not only the aliens but also DHS personnel nearby.

63
   The use of congregate holding areas for quarantine or isolation would present a significant risk of transmitting
COVID-19 for obvious reasons. Even if a congregate holding area were used to try to quarantine or isolate a single
alien, it would significantly limit the facility’s overall holding capacity, and potentially increase the public health risks
in other congregate holding areas (if any space were left at all, after subdividing demographics).

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        CDC also has a public health tool called conditional release, which involves the release of
potentially infected individuals from federal custody subject to conditions calculated to mitigate
the risk of disease transmission, such as mandatory self-isolation and CDC monitoring at home.
Conditional release is not a viable solution in this context because many aliens covered by this
order may lack homes or other places in the United States where they can self-isolate, and CDC
lacks the resources and personnel necessary to effectively monitor such a large number of persons.
Reliance on the conditional release mechanism in this context would jeopardize, not protect, the
public health.

             2. POEs and Border Patrol stations are not structured or equipped to safely
                house or care for aliens infected with COVID-19

       POEs and Border Patrol stations would lack the capacity to provide the medical monitoring
and care that would be needed by covered aliens confirmed to be infected with COVID-19. Only
a few facilities offer medical services directly, and the medical services that are provided are
limited to care for minor ailments, basic emergency care, or the on-site administration of
prophylaxis for seasonal influenza (i.e., Tamiflu). The facilities are heavily reliant on local and
regional hospitals and emergency medical system (EMS) resources.

         Moreover, many of the facilities are geographically remote and far from the major medical
centers or hospital systems equipped to handle COVID-19 outbreaks. Infected covered aliens
would either have to be transported tens or hundreds of miles to the nearest appropriately equipped
medical center, or brought to smaller local providers who might lack the resources or capacity to
accept COVID-19 cases involving covered aliens. Indeed, U.S. states along the border with
Mexico have some of the lowest number of hospital beds per 1,000 inhabitants in the United
States. 64 Arizona, California, and Texas also have some of the largest numbers of residents living
in primary care shortage areas of any U.S. states or territories. 65 The shift of healthcare resources
to large numbers of infected, covered aliens would divert the same resources away from the
domestic population, which would undermine the Federal response to COVID-19. It would also
increase the risk of exposure to COVID-19 for domestic healthcare workers. Such a scenario is
not tenable given the current nationwide public health emergency.

     IV.     Determination and Implementation

        Based on the foregoing, I find there is a serious danger of the introduction of COVID-19
into the POEs and Border Patrol stations at or nearby the United States borders with Canada and
Mexico, and the interior of the country as a whole, because COVID-19 exists in Canada, Mexico,

64
   Arizona has 1.9 hospital beds per 1,000 inhabitants; California has 1.8; New Mexico has 1.8, and Texas has 2.3.
Kaiser Family Foundation, State Health Facts: Hospitals Per 1,000 Population by Ownership Type (2018), available
at                                                                 https://www.kff.org/other/state-indicator/beds-by-
ownership/?currentTimeframe=0&sortModel=%7B%22colId%22:%22Total%22,%22sort%22:%22asc%22%7D.
65
  Kaiser Family Foundation, State Health Facts: Primary Care Health Professional Shortage Areas (HPSAs) (Sept.
30, 2019), available at https://www.kff.org/other/state-indicator/primary-care-health-professional-shortage-areas-
hpsas/?currentTimeframe=0&sortModel=%7B%22colId%22:%22Percent%20of%20Need%20Met%22,%22sort%2
2:%22asc%22%7D.

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and the countries or places of origin of the covered aliens who migrate to the United States across
the land borders with Canada and Mexico. I also find that the introduction into POEs and Border
Patrol stations of covered aliens increases the seriousness of the danger to the point of requiring a
temporary suspension of the introduction of covered aliens into the United States.

        It is necessary for the public health to immediately suspend the introduction of covered
aliens. The immediate suspension of the introduction of these aliens requires the movement of all
such aliens to the country from which they entered the United States, or their country of origin, or
another location as practicable, as rapidly as possible, with as little time spent in congregate
settings as practicable under the circumstances. The faster a covered alien is returned to the
country from which they entered the United States, to their country of origin, or another location
as practicable, the lower the risk the alien poses of introducing, transmitting, or spreading COVID-
19 into POEs, Border Patrol stations, other congregate settings, and the interior.

       My determinations are based on information provided to CDC by DHS personnel regarding
DHS border operations and facilities; the report of the observational visit to the El Paso PDN
conducted by the USPHS Scientist officer; figures on the numbers of apprehensions at the United
States borders with Canada and Mexico of aliens from countries where COVID-19 exists;
information from the public domain; and my own personal knowledge and experience.

        I consulted with DHS before I issued this order, and requested that DHS implement this
order because CDC does not have the capability, resources, or personnel needed to do so. As part
of the consultation, CBP developed an operational plan for implementing the order. Accordingly,
DHS will, where necessary, use repatriation flights to move covered aliens on a space-available
basis, as authorized by law. The plan is generally consistent with the language of this order
directing that covered aliens spend as little time in congregate settings as practicable under the
circumstances. In my view, it is also the only viable alternative for implementing the order; CDC’s
other public health tools are not viable mechanisms given CDC resource and personnel constraints,
the large numbers of covered aliens involved, and the likelihood that covered aliens do not have
homes in the United States. 66

       This order is not a rule within the meaning of the Administrative Procedure Act (APA). In
the event this order qualifies as a rule under the APA, notice and comment and a delay in effective
date are not required because there is good cause to dispense with prior public notice and the
opportunity to comment on this order and a delay in effective date. Given the public health
emergency caused by COVID-19, it would be impracticable and contrary to the public health—
and, by extension, the public interest—to delay the issuing and effective date of this order. In
addition, because this order concerns the ongoing discussions with Canada and Mexico on how
66
   CDC relies on the Department of Defense, other federal agencies, and state and local governments to provide both
logistical support and facilities for federal quarantines. CDC lacks the resources, manpower, and facilities to
quarantine covered aliens. Similarly, DHS has informed CDC that in the near term, it is not financially or logistically
practicable for DHS to build additional facilities at POEs and Border Patrol stations for use in quarantines or isolation.
Certain soft-sided facilities may be inappropriate for use in quarantines or isolation. DHS would need at least 90 days
(likely more) to build and start bringing hard-sided facilities online. Such an approach would not help address the
current public health emergency presented to the Federal government today.




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best to control COVID-19 transmission over our shared border, it directly “involve[s] . . . a . . .
foreign affairs function of the United States.” 5 U.S.C. § 553(a)(1). Notice and comment and a
delay in effective date would not be required for that reason as well.

                                               ***

This order shall remain effective for 30 days, or until I determine that the danger of further
introduction of COVID-19 into the United States has ceased to be a serious danger to the public
health, whichever is shorter. I may extend or modify this order as needed to protect the public
health.



In testimony whereof, the Director, Centers for Disease Control and Prevention, U.S.
Department of Health and Human Services, has hereunto set his hand at Atlanta, Georgia, this
20th day of March, 2020.




Robert R. Redfield, MD
Director
Centers for Disease Control and Prevention




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                   EXHIBIT 1




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Date: March 14, 2020

To:    RADM Sylvia Trent-Adams, Principal Deputy Assistant Secretary for Health, Office of
       the Assistant Secretary for Health (OASH)

       RADM Erica Schwartz, Deputy Surgeon General, Office of the Surgeon General, OASH

From: CAPT Mehran S. Massoudi, Regional Health Administrator, Region VI, OASH

RE:    Report of Observational Visit to the DHS El Paso Paso del Norte Port of Entry


Mission: Observe normal work flow process and personnel traffic at the El Paso Paso del Norte
Port of Entry and assess possible public health risks or vulnerabilities posed by the Coronavirus
Disease (COVID-19) at Department of Homeland Security (DHS) border facilities.

       On March 12-13, 2020, I traveled to El Paso Paso del Norte (PDN) Port of Entry and met
with Port Director Good, Watch Commander Alvarez, Watch Commander Gomez, and
Supervisor Officer Rivas.

        The site I visited was selected by the Customs and Border Patrol (CBP) Senior Medical
Advisor Dr. Tarantino. It was intended to serve as an example of one of CBP’s largest and best-
equipped Ports of Entry (POEs) on the Southwest Border, not a representative of other POEs
across the country.
       The El Paso PDN is one of the country’s busiest border crossings, and sees
approximately 10 million people entering the United States from Mexico annually. The El Paso
PDN processes a flow of approximately 12,000 pedestrians and approximately 6-8,000 vehicles
per day. Field statistics for FY19 and Jan. 2020 were supplied by the Public Affairs and
Community Liaison Director, El Paso Field Office and are attached to this report, as Attachments
A and B, respectively. The location is staffed by CBP officers 24/7 working 8 hour shifts. In
addition, the facility has 24/7 coverage by a third party contracted Medical Team comprised of 3-
4 members, led by a nurse practitioner or physician assistant, with the rest of the team comprised
of emergency medical technicians or Registered Nurses.
        There are two points of entry into PDN: a pedestrian and vehicular mode. Both are
staffed by the same CBP officers from El Paso. Each person seeking entry to the United States
at PDN is asked a series of questions upon encountering the CBP officer, including the travel-
related COVID-19 screening questions. Officers use visual cues as well as responses to the
screening questions to determine the level of risk of COVID-19 infection. If CBP officers
suspect any level of risk or signs/symptoms of illness, they put on a surgical mask (CBP officers
wear gloves as a normal practice) and give a surgical mask to the individual as well. The officer
would then escort the individual to an area where the officer would first inspect the individual for
anything that could be used as a weapon, and then fingerprint the individual (if applicable). The
individual would then be triaged to an area where they would be administered a 13-part


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questionnaire, with a series of questions added about COVID-19 by the third party contract
Medical Team. The questionnaire is attached as Attachment C.
        If an individual is determined to be at risk of COVID-19, the individual is escorted to one
of several small waiting rooms, each with a window and locked door, while the local health
department, Centers for Disease Control and Prevention (CDC), and CBP’s Senior Medical
Advisor are notified. Local health officials and/or CDC would then be consulted to determine
next steps with respect to testing and/or treatment for COVID-19.
        If testing is recommended, then CBP will follow guidance from CDC and local health
officials about which third party hospital to transport the individual. If the individual is sent for
testing in an ambulance, a CBP officer will accompany the individual inside the ambulance. In
addition, CBP will consult with Immigration and Customs Enforcement (ICE) officials if the
individual leaving the CBP facility has not yet been processed and so must remain in custody.
         CBP personnel informed me that the same basic process described above would be
applied to those who arrived on foot or by vehicle—provided the individual provided a response
to the screening questions indicative of COVID-19 exposure/infection or appeared to exhibit
signs/symptoms of the disease requiring a medical consult for further evaluation and possible
testing.
   Key Observations:
       All CBP officers are fit-tested twice a year for N-95 respirators, but when asked and
       observed, only surgical masks were identified for use. I was told that the N-95
       respirators would be used when there is a declaration of a pandemic or when they are told
       to use them. Leadership at the site said that they have approximately a 30-day supply of
       N-95 respirators on hand at the PDN sites. I observed that all CBP officers had a box of
       gloves and a box of N-95 respirators by their feet behind their workstations.
       The CDC Quarantine Station in El Paso makes routine visits to stop by and answer any
       questions and provide any updates as needed for the CBP officers. The CBP officers
       carry a small, two-sided laminated card with key evaluation criteria. The card is attached
       as Attachment D.
       Observed color-posters of CDC COVID-19 awareness messaging on walls throughout the
       facility.
       The third party contract Medical Team performs only a small number of tests on-site
       (rapid Influenza A/B, pregnancy, and glucose). Tests for other conditions, particularly
       other contagious diseases like measles, are performed off-site at a third part medical
       facility.
       If an individual is suspected of having an infectious disease or needs to be held for a short
       period of time, they are put in a small room with a window and a locked door, adjacent to
       the CBP officers’ work-area. This is not an isolation room because the HVAC system is
       shared with the rest of the facility, and does not have adequate capabilities to contain
       COVID-19 (i.e., negative pressure, HEPA filtration). Escorting a contagious individual


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to and from this room, as well as holding them there, poses a significant risk of exposing
nearby CBP personnel.
If an individual actually infected with COVID-19 were subject to the above screening
processes, they would be maneuvered throughout various sections of the POE, creating a
significant risk of COVID-19 exposure to other aliens and CBP officers in the POE.




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                             [Attachment A: FY 2019 Field Statistics]


                                                              U.S. Department of Homeland Security
                                                                    9400 Viscount
                                                                    El Paso, TX 79925




                                                                   U.S. Customs and
                                                                   Border Protection


January 21, 2019


To:                              Stakeholders and interested parties

From:                            Ruben Jauregui
                                 Director, Communication Management Office
                                 Public Affairs and Community Liaison
                                 El Paso Field Office
                                 El Paso, Texas

Subject:                         El Paso Field Office Traffic Summary Report January-December
                                 2019

January 2019
                                        Trucks   Buses   POV’s     Trains   Empty Rail    Full Rail   Pedestrians
                                                                            containers   Containers
     El Paso         Paso del Norte        0     642     228,341     0          0             0        376,229
     El Paso       Bridge of Americas   24,576   719     332,330    116       5,387        2,817       104,379
     El Paso          Ysleta Bridge     46,518     0     238,762     0          0             0        116,175
     El Paso         Stanton St DCL        0       0     119,715     0          0             0           0
     El Paso           Ysleta DCL          0       0     101,452     0          0             0           0
    Presidio                              823     114    62,393      0          0             0         19,563
    Boquillas                              0       0        0        0          0             0          144
  Serna/Tornillo                           0       0     24,750      0          0             0         3,124
  Serna/Tornillo     Ft Hancock            0       0      8,002      0          0             0          162
   Columbus           Columbus            863      0     26,777      0          0             0         23,158
   Columbus         Antelope Wells         0     *120     1,163      0          0             0           0
  Santa Teresa                           9,733    19     46,230      0          0             0         10,132
*Antelope Wells numbers are for passenger vans processed




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February 2019
                                        Trucks   Buses   POV’s     Trains   Empty Rail    Full Rail   Pedestrians
                                                                            containers   Containers
     El Paso         Paso del Norte        0      793    208,026     0          0             0        347,742
     El Paso       Bridge of Americas   22,159    539    296,190    116       6,503        2,487        93,721
     El Paso          Ysleta Bridge     43,800      0    213,097     0          0             0        115,133
     El Paso         Stanton St DCL        0        0    114,954     0          0             0            0
     El Paso           Ysleta DCL          0        0    96,686      0          0             0            0
    Presidio                              707      77    53,410      0          0             0         15,362
    Boquillas                              0        0       0        0          0             0         2,385
  Serna/Tornillo                           0        0    24,503      0          0             0         3,284
  Serna/Tornillo     Ft Hancock            0        0     7,792      0          0             0           143
   Columbus           Columbus            418       0    24,635      0          0             0         21,340
   Columbus         Antelope Wells         0      *76      793       0          0             0            0
  Santa Teresa                           9,116    15     42,335      0          0             0          7,413
*Antelope Wells numbers are for passenger vans processed

March 2019
                                        Trucks   Buses   POV’s     Trains   Empty Rail    Full Rail   Pedestrians
                                                                            containers   Containers
     El Paso         Paso del Norte        0     759     225,206     0          0             0        408,028
     El Paso       Bridge of Americas   23,832   684     305,090    109       5,751        3,180       115,579
     El Paso          Ysleta Bridge     45,152     0     221,472     0          0             0        136,788
     El Paso         Stanton St DCL        0       0     124,712     0          0             0            0
     El Paso           Ysleta DCL          0       0     106,205     0          0             0            0
    Presidio                              791     105    62,810      0          0             0         20,473
    Boquillas                              0       0        0        0          0             0         4,362
  Serna/Tornillo                           0       0     28,181      0          0             0         3,061
  Serna/Tornillo     Ft Hancock            0       0      9,908      0          0             0           224
   Columbus           Columbus            377      0     28,673      0          0             0         21,951
   Columbus         Antelope Wells         0     *103      972       0          0             0            0
  Santa Teresa                           9,903    24     52,541      0          0             0          9,898
*Antelope Wells numbers are for passenger vans processed

April 2019
                                        Trucks   Buses   POV’s     Trains   Empty Rail    Full Rail   Pedestrians
                                                                            containers   Containers
     El Paso         Paso del Norte        0     750     155,983     0          0             0        380,366
     El Paso       Bridge of Americas   18,973   670     200,817    112       6,932        3,211       154,135
     El Paso          Ysleta Bridge     38,449     0     140,421     0          0             0        173,111
     El Paso         Stanton St DCL        0       0     130,521     0          0             0           0
     El Paso           Ysleta DCL          0       0     92,139      0          0             0            0
    Presidio                             829      123    55,708      0          0             0         35,469
    Boquillas                              0       0        0        0          0             0         2,875
  Serna/Tornillo                           0       0     28,326      0          0             0         4,361
  Serna/Tornillo     Ft Hancock            0       0     11,545      0          0             0          339
   Columbus           Columbus           608       0     28,117      0          0             0         24,299
   Columbus         Antelope Wells         0     *127     1,302      0          0             0           0
  Santa Teresa                          10,187    29     45,852      0          0             0         20,355
*Antelope Wells numbers are for passenger vans processed




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May 2019
                                        Trucks   Buses   POV’s     Trains   Empty Rail    Full Rail   Pedestrians
                                                                            containers   Containers
     El Paso         Paso del Norte        0     882     168,894     0          0             0        379,532
     El Paso       Bridge of Americas   20,390   705     242,474    134       8,308        3,239       147,259
     El Paso          Ysleta Bridge     47,835     0     169,580     0          0             0        168,443
     El Paso         Stanton St DCL        0       0     138,374     0          0             0            0
     El Paso           Ysleta DCL          0       0     108,888     0          0             0            0
    Presidio                              875      0     58,129      0          0             0         23,072
    Boquillas                              0       0        0        0          0             0         1,563
  Serna/Tornillo                           0     118     29,010      0          0             0          3,571
  Serna/Tornillo     Ft Hancock            0       0     11,630      0          0             0           216
   Columbus           Columbus           1,030     0     30,660      0          0             0         24,365
   Columbus         Antelope Wells         0     *125     1,135      0          0             0            0
  Santa Teresa                          13,221    13     49,834      0          0             0         14,221
*Antelope Wells numbers are for passenger vans processed

June 2019
                                        Trucks   Buses   POV’s     Trains   Empty Rail    Full Rail   Pedestrians
                                                                            containers   Containers
     El Paso         Paso del Norte        0     934     158,621     0          0             0        372,565
     El Paso       Bridge of Americas   14,620   789     224,054    121       7,820        3,116       154,368
     El Paso          Ysleta Bridge     48,564     0     181,356     0          0             0        161,103
     El Paso         Stanton St DCL        0       0     123,047     0          0             0           0
     El Paso           Ysleta DCL          0       0     104,499     0          0             0           0
    Presidio                              643     117    55,964      0          0             0         29,194
    Boquillas                              0       0        0        0          0             0         1,007
  Serna/Tornillo                           0       0     26,625      0          0             0         1,506
  Serna/Tornillo     Ft Hancock            0       0      9,443      0          0             0          334
   Columbus           Columbus           1,204     0     29,661      0          0             0         15,392
   Columbus         Antelope Wells         0     *127      992       0          0             0           0
  Santa Teresa                          11,843    30     50,672      0          0             0         16,847
*Antelope Wells numbers are for passenger vans processed

July 2019
                                        Trucks   Buses   POV’s     Trains   Empty Rail    Full Rail   Pedestrians
                                                                            containers   Containers
     El Paso         Paso del Norte        0     862     146,360     0          0             0        369,293
     El Paso       Bridge of Americas   15,711   883     217,658    126       8,741        2,660       182,378
     El Paso          Ysleta Bridge     51,922     0     305,414     0          0             0        178,969
     El Paso         Stanton St DCL        0       0     123,123     0          0             0           0
     El Paso           Ysleta DCL          0       0     107,296     0          0             0           0
    Presidio                              830     162    58,934      0          0             0         37,779
    Boquillas                              0       0        0        0          0             0          934
  Serna/Tornillo                           0       0     33,967      0          0             0         1,510
  Serna/Tornillo     Ft Hancock            0       0      9,456      0          0             0          385
   Columbus           Columbus           1,808     0     32,455      0          0             0         22,959
   Columbus         Antelope Wells         0     *152     1,473      0          0             0           0
  Santa Teresa                          12,915    19     56,495      0          0             0         26,487
*Antelope Wells numbers are for passenger vans processed




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August 2019
                                        Trucks   Buses   POV’s     Trains   Empty Rail    Full Rail   Pedestrians
                                                                            containers   Containers
     El Paso         Paso del Norte        0     981     163,806     0          0             0        349,842
     El Paso       Bridge of Americas   16,129   812     240,369    124       10,404       4,487       152,466
     El Paso          Ysleta Bridge     53,240     0     198,831     0          0             0        166,014
     El Paso         Stanton St DCL        0       0     133,379     0          0             0           0
     El Paso           Ysleta DCL          0       0     108,208     0          0             0           0
    Presidio                              806     130    56,539      0          0             0         25,946
    Boquillas                              0       0        0        0          0             0          709
  Serna/Tornillo                           0       0     28,161      0          0             0         3,093
  Serna/Tornillo     Ft Hancock            0       0      9,508      0          0             0          273
   Columbus           Columbus           2,138     0     31,132      0          0             0         25,529
   Columbus         Antelope Wells         0     *121      950       0          0             0           0
  Santa Teresa                          11,922    22     49,664      0          0             0         16,532
*Antelope Wells numbers are for passenger vans processed

September 2019
                                        Trucks   Buses   POV’s     Trains   Empty Rail    Full Rail   Pedestrians
                                                                            containers   Containers
     El Paso         Paso del Norte        0      930    183,319     0          0             0        341,846
     El Paso       Bridge of Americas   15,080    675    252,480    127       8,223        3,086       131,396
     El Paso          Ysleta Bridge     50,428     0     221,684     0          0             0        156,242
     El Paso         Stanton St DCL        0       0     134,221     0          0             0           0
     El Paso           Ysleta DCL          0       0     107,839     0          0             0           0
    Presidio                              833     125    56,328      0          0             0         20,988
    Boquillas                              0       0        0        0          0             0         1,001
  Serna/Tornillo                           0       0     25,901      0          0             0         3,654
  Serna/Tornillo     Ft Hancock            0       0      9,581      0          0             0          268
   Columbus           Columbus           2,054     0     30,609      0          0             0         24,870
   Columbus         Antelope Wells         0      *98      938       0          0             0           0
  Santa Teresa                          11,377    16     43,162      0          0             0         12,113
*Antelope Wells numbers are for passenger vans processed

October 2019
                                        Trucks   Buses   POV’s     Trains   Empty Rail    Full Rail   Pedestrians
                                                                            containers   Containers
     El Paso         Paso del Norte        0      839    191,494     0          0             0        361,221
     El Paso       Bridge of Americas   16,498    697    265,834    115       7,278        2,571       147,038
     El Paso          Ysleta Bridge     55,251      0    214,485     0          0             0        159,779
     El Paso         Stanton St DCL        0       0     146,029     0          0             0           0
     El Paso           Ysleta DCL          0       0     115,628     0          0             0           0
    Presidio                             1,054    142    56,209      0          0             0         19,401
    Boquillas                              0       0        0        0          0             0         1,700
  Serna/Tornillo                           0       0     27,883      0          0             0         4,021
  Serna/Tornillo     Ft Hancock            0       0      9,676      0          0             0          268
   Columbus           Columbus           2,890      0    30,318      0          0             0         23,592
   Columbus         Antelope Wells         0       *0      931       0          0             0           0
  Santa Teresa                          12,672    13     42,174      0          0             0         11,661
*Antelope Wells numbers are for passenger vans processed




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November 2019
                                        Trucks   Buses   POV’s     Trains   Empty Rail    Full Rail   Pedestrians
                                                                            containers   Containers
     El Paso         Paso del Norte        0      742    175,505     0          0             0        330,171
     El Paso       Bridge of Americas   12,839    760    259,756    112       7,202        2,346       134,592
     El Paso          Ysleta Bridge     52,063     0     203,584     0          0             0        149,073
     El Paso         Stanton St DCL        0       0     133,865     0          0             0           0
     El Paso           Ysleta DCL          0       0     105,061     0          0             0           0
    Presidio                             1,022    142     54,667     0          0             0         21,686
    Boquillas                              0       0         0       0          0             0         3,498
  Serna/Tornillo                           0       0     26,583      0          0             0         3,128
  Serna/Tornillo     Ft Hancock            0       0       9,664     0          0             0          242
   Columbus           Columbus           1,868     0      27,981     0          0             0         21,435
   Columbus         Antelope Wells         0      *95      1,070     0          0             0            0
  Santa Teresa                          10,924    20      43,748     0          0             0         12,416
*Antelope Wells numbers are for passenger vans processed

December 2019
                                        Trucks   Buses   POV’s     Trains   Empty Rail    Full Rail   Pedestrians
                                                                            containers   Containers
     El Paso         Paso del Norte        0     1,007   190,826     0          0             0        325,436
     El Paso       Bridge of Americas   11,379    978    284,027    97        5,258        2,826       154,034
     El Paso          Ysleta Bridge     46,744     0     221,027     0          0             0        161,469
     El Paso         Stanton St DCL        0       0     135,170     0          0             0           0
     El Paso           Ysleta DCL          0       0     108,080     0          0             0           0
    Presidio                              985     182     58,203     0          0             0         38,527
    Boquillas                              0       0         0       0          0             0         2,467
  Serna/Tornillo                           0       0     29,660      0          0             0         3,099
  Serna/Tornillo     Ft Hancock            0       0      10,279     0          0             0          262
   Columbus           Columbus           1,490     0      30,398     0          0             0         22,675
   Columbus         Antelope Wells         0     *121      1,551     0          0             0           0
  Santa Teresa                          10,113    20      53,942     0          0             0         23,104
*Antelope Wells numbers are for passenger vans processed




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                             [Attachment B: Jan. 2020 Field Statistics]



                                                                    U.S. Department of Homeland Security
                                                                    9400 Viscount
                                                                    El Paso, TX 79925




                                                                   U.S. Customs and
                                                                   Border Protection


February 25, 2020


To:                              Stakeholders and interested parties

From:                            Ruben Jauregui
                                 Director, Communication Management Office
                                 Public Affairs and Community Liaison
                                 El Paso Field Office
                                 El Paso, Texas

Subject:                         El Paso Field Office Traffic Summary Report January 2020

January 2020
                                        Trucks   Buses   POV’s     Trains   Empty Rail    Full Rail   Pedestrians
                                                                            containers   Containers
     El Paso         Paso del Norte        0     1,047   186,475     0          0             0        294,921
     El Paso       Bridge of Americas   13,612    810    279,016    91        4,090        1,481       127,497
     El Paso          Ysleta Bridge     53,785     0     219,982     0          0             0        137,015
     El Paso         Stanton St DCL        0       0     134,574     0          0             0           0
     El Paso           Ysleta DCL          0       0     104,067     0          0             0           0
    Presidio                              967     128    56,535      0          0             0         25,047
    Boquillas                              0       0        0        0          0             0         2.585
  Serna/Tornillo                           0       0     24,937      0          0             0         2,929
  Serna/Tornillo     Ft Hancock            0       0      9,246      0          0             0          169
   Columbus           Columbus           1,032     0     28,629      0          0             0         24,479
   Columbus         Antelope Wells         0     *118     1,254      0          0             0           0
  Santa Teresa                          11,886    31     46,478      0          0             0         14,731
*Antelope Wells numbers are for passenger vans processed




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            [Attachment C: 13-part Screening Questionnaire]




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                    [Attachment D: RING Card]
                              (front)




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                              (back)




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                   EXHIBIT 2




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          U.S. Border Patrol (USBP) - Apprehensions (FY20TD-Feb.)
    Country of Citizenship        Southwest Border       Northern Border
ALBANIA                                    12                    1
ALGERIA                                     0                    1
ARGENTINA                                   4                    2
ARMENIA                                     1                    0
BANGLADESH                                420                    1
BELGIUM                                     0                    1
BOLIVIA                                    10                    1
BRAZIL                                   6,248                  11
BULGARIA                                    1                    1
BURKINA FASO                                1                    1
CAMBODIA                                    0                    1
CAMEROON                                   20                    0
CANADA                                      2                   33
CHILE                                     341                    0
CHINA (PEOPLE’S REPUBLIC
OF)                                      1,157                  18
COLOMBIA                                  204                   35
COSTA RICA                                 21                    0
DEM REP OF THE CONGO                      149                    0
DOMINICAN REPUBLIC                        160                   12
ECUADOR                                  7,027                  35
FRENCH GUIANA                               1                    0
GERMANY                                     0                    1
GUADELOUPE                                  2                    0
HONDURAS                                19,493                  87
INDIA                                     805                  111
INDONESIA                                   1                    1
IRAN                                        5                    1
IRAQ                                        1                    1
IRELAND                                     2                    0
ISRAEL                                      4                    3
ITALY                                       6                    1
JAMAICA                                     1                    7
JAPAN                                       0                    1
JORDAN                                      7                    3
KOREA                                       0                    1
KUWAIT                                      1                    0
MALAYSIA                                    1                    1
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          U.S. Border Patrol (USBP) - Apprehensions (FY20TD-Feb.)
    Country of Citizenship         Southwest Border      Northern Border
MEXICO                                    80,130               707
MOLDOVA                                      0                   1
NEPAL                                       77                   0
NIGERIA                                      9                   8
NORWAY                                       0                   1
PAKISTAN                                    61                   3
PANAMA                                      11                   1
PARAGUAY                                     1                   1
PERU                                       295                   1
PHILIPPINES                                  0                   3
POLAND                                       0                   3
ROMANIA                                    151                  43
RUSSIA                                       6                   0
SENEGAL                                      1                   1
SINGAPORE                                    1                   0
SOUTH AFRICA                                 2                   2
SOUTH KOREA                                  1                   8
SPAIN                                        5                   7
SRI LANKA                                  196                   3
SWEDEN                                       1                   0
THAILAND                                     0                   1
TOGO                                         2                   1
TUNISIA                                      0                   1
TURKEY                                      46                   1
UKRAINE                                      2                   3
UNITED KINGDOM                               2                  10
VIETNAM                                    197                   2
TOTAL                                    117,305              1,185
                          Source: End of Month Report




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                   EXHIBIT 3




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     Office of Field Operations (OFO) - Inadmissible Aliens (FY20TD-Feb.)
                                                  Southwest        Northern
           Country of Citizenship
                                                    Border          Border
AFGHANISTAN                                             0              23
ALBANIA                                                 0              13
ALGERIA                                                 0             349
ANDORRA                                                 0               1
ARGENTINA                                               4               7
ARMENIA                                               108              1
AUSTRALIA                                               4              53
AUSTRIA                                                 1               6
AZERBAIJAN                                              8               9
BANGLADESH                                              3              79
BELARUS                                                11               5
BELGIUM                                                15              39
BHUTAN                                                  0               9
BOLIVIA                                                 3               2
BOSNIA-HERZEGOVINA                                      0               6
BRAZIL                                                152             318
BULGARIA                                                1              14
BURKINA FASO (UPPER VOLTA)                             10              20
CAMBODIA                                                0               3
CAMEROON                                             1,025            69
CANADA                                                 25            9,693
CHILE                                                  21              47
CHINA (PEOPLE’S REPUBLIC OF)                          500            1,378
TAIWAN                                                  0              21
COLOMBIA                                               83             151
COSTA RICA                                              8               3
CROATIA                                                 0              10
CYPRUS                                                  0               4
CZECH REPUBLIC                                          1               7
DEMOCRATIC REPUBLIC OF CONGO
                                                      171             29
(ZAIRE)
DENMARK                                                 1              16
DOMINICAN REPUBLIC                                      4              25
ECUADOR                                               156             14

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     Office of Field Operations (OFO) - Inadmissible Aliens (FY20TD-Feb.)
                                                  Southwest        Northern
           Country of Citizenship
                                                    Border          Border
EGYPT                                                   2             124
ESTONIA                                                 0               1
FINLAND                                                 0               5
FRANCE                                                  6             802
GEORGIA                                                59               2
GERMANY                                                 1              88
GREECE                                                  1              19
HONDURAS                                             1,343             32
HONG KONG, PRC                                          0               8
HUNGARY                                                 1              16
INDIA                                                  22            2,135
INDONESIA                                               1              17
IRAN                                                    3            1,061
IRAQ                                                    2              63
IRELAND                                                 0              27
ISRAEL                                                  5              58
ITALY                                                   6              50
JAMAICA                                                24             120
JAPAN                                                   2              33
JORDAN                                                  1              28
KUWAIT                                                  3               1
LATVIA                                                  1               1
LEBANON                                                 2              54
LITHUANIA                                               2               8
LUXEMBOURG                                              0               2
MACAO (MACAU), PRC                                      0               1
MACEDONIA (SKOPJE)                                      0               2
MALAYSIA                                                0               9
MALTA AND GOZO                                          0               2
MEXICO                                              29,713            245
MOLDOVA                                                 0               9
MOROCCO                                                 1             350
NEPAL                                                   0               6
NETHERLANDS                                             0              17

                                     41
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     Office of Field Operations (OFO) - Inadmissible Aliens (FY20TD-Feb.)
                                                  Southwest        Northern
           Country of Citizenship
                                                    Border          Border
NEW ZEALAND                                             0             20
NIGERIA                                                 0            182
NORWAY                                                  3              7
OMAN                                                    1              2
PAKISTAN                                                5            160
PANAMA                                                  4              1
PARAGUAY                                                0              2
PERU                                                   46             15
PHILIPPINES                                             0            554
POLAND                                                  1             66
PORTUGAL                                                0             57
REPUBLIC OF CONGO (BRAZZAVILLE)                        40              9
REPUBLIC OF SOUTH AFRICA                                6             21
ROMANIA                                                 9             39
RUSSIA                                                340            101
SAUDI ARABIA                                            4             14
SENEGAL                                                 5             56
SERBIA                                                  0              4
SINGAPORE                                               0              6
SLOVAKIA                                                0              2
SLOVENIA                                                0              2
SOUTH KOREA                                            12            178
SPAIN                                                  19             66
SRI LANKA                                               0             28
SWEDEN                                                  0             27
SWITZERLAND                                             1             20
THAILAND                                                0              6
TOGO                                                    6             20
TUNISIA                                                 0            274
TURKEY                                                 38             50
UKRAINE                                                70            130
UNITED ARAB EMIRATES                                    1              2
UNITED KINGDOM                                          7            148
VIETNAM                                                 7             77

                                     42
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    Office of Field Operations (OFO) - Inadmissible Aliens (FY20TD-Feb.)
                                                 Southwest        Northern
          Country of Citizenship
                                                   Border          Border
TOTAL                                              34,141          20166
   Source: SBO Data via End of Month Report; NBO Data via CBP Data Warehouse as of
                                      3/3/2020




                                         43
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                  EXHIBIT B
        Case 1:21-cv-00100-EGS     Document
                            This document        76-1 to Filed
                                          is scheduled          02/17/21
                                                         be published in the Page 47 of 139
                                 Federal Register on 03/24/2020 and available online at
                                 federalregister.gov/d/2020-06238, and on govinfo.gov



                                                                                  Billing Code: 4163-18-P

DEPARTMENT OF HEALTH AND HUMAN SERVICES

42 CFR Part 71

[Docket No. CDC-2020-0033]

RIN 0920-AA76

Control of Communicable Diseases; Foreign Quarantine: Suspension of Introduction of

Persons into United States from Designated Foreign Countries or Places for Public Health

Purposes

AGENCY: Centers for Disease Control and Prevention (CDC), Department of Health and

Human Services (HHS).

ACTION: Interim final rule with request for comments.

SUMMARY: The Centers for Disease Control and Prevention (CDC) within the U.S.

Department of Health and Human Services (HHS) issues this interim final rule with request for

comments to amend its Foreign Quarantine Regulations. This interim final rule provides a

procedure for CDC to suspend the introduction of persons from designated countries or places, if

required, in the interest of public health.

DATES: Effective date: This interim final rule is effective on 11:59PM EDT on March 20th,

2020.

         Comment date: Written comments are invited and must be submitted on or before 30

days from the date of publication of this interim final rule in the Federal Register.

         Expiration Date: Unless extended after consideration of submitted comments, this

interim final rule will cease to be in effect on the earlier of (1) one year from the publication of

this interim final rule, or (2) when the HHS Secretary determines there is no longer a need for


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this interim final rule. The Secretary will publish a document in the Federal Register

announcing the expiration date.

ADDRESSES:

You may submit comments, identified by Docket No. CDC-2020-0033, by the following

method:


    Federal eRulemaking Portal: http://www.regulations.gov. Follow the instructions for

       submitting comments.

Instructions: All submissions received must include the agency name and docket number or

Regulatory Information Number (RIN) for this rulemaking. All comments received will be

posted without change to http://regulations.gov, including any personal information provided.

For access to the docket to read background documents or comments received, go to

http://www.regulations.gov.

Any comment that is submitted will be shared with the Department of Homeland Security and

the Department of State, and will also be made available to the public. Comments must be

identified by RIN 0920-AA76. Because of staff and resource limitations, all comments must be

submitted electronically to www.regulations.gov. Follow the “Submit a comment” instructions.

Warning: Do not include any personally identifiable information (such as name, address, or other

contact information) or confidential business information that you do not want publicly

disclosed. All comments may be posted on the Internet and can be retrieved by most Internet

search engines. No deletions, modifications, or redactions will be made to comments received.




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Inspection of Public Comments: All comments received before the close of the comment period

are available for viewing by the public, including personally identifiable or confidential business

information that is included in a comment.

FOR FURTHER INFORMATION CONTACT: Kyle McGowan, Office of the Chief of Staff,

Centers for Disease Control and Prevention, 1600 Clifton Road, N.E., MS H21-10, Atlanta, GA

30329. Telephone: 404-498-7000; email: cdcregulations@cdc.gov.

SUPPLEMENTARY INFORMATION:

The IFR is organized as follows:

        Table of Contents

I.      Background

II.     Statutory Authority

III.    Provisions of New § 71.40

IV.     Request for Comment

V.      Rationale for Issuance of an Interim Final Rule with Immediate Effectiveness

VI.     Regulatory Impact Analysis

I.      Background

        The Centers for Disease Control and Prevention (CDC), a component of the U.S.

Department of Health and Human Services (HHS), is amending the regulations that implement

section 362 of the Public Health Service (PHS) Act, 42 U.S.C. 265, as part of its response to

Coronavirus Disease 2019 (COVID-19). Section 362 provides that if the Secretary1 “determines


1
  The statute assigns this authority to the Surgeon General of the Public Health Service. However, Reorganization
Plan No. 3 of 1966 abolished the Office of the Surgeon General and transferred all statutory powers and functions of
the Surgeon General and other officers of the Public Health Service and of all agencies of or in the Public Health
Service to the Secretary of Health, Education, and Welfare, now the Secretary of Health and Human Services, 31 FR
8855, 80 Stat. 1610 (June 25, 1966), see also Pub. L. No. 96-88, 509(b), 93 Stat. 695 (codified at 20 U.S.C.


                                                         3
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that by reason of the existence of any communicable disease in a foreign country there is serious

danger of the introduction of such disease into the United States, and that this danger is so

increased by the introduction of persons or property from such country that a suspension of the

right to introduce such persons and property is required in the interest of the public health,” he

has the authority, in accordance with regulations approved by the President,2 “to prohibit, in

whole or in part, the introduction of persons and property from such countries or places as he

shall designate in order to avert such danger, and for such period of time as he may deem

necessary for such purpose.” PHS Act 362, 42 U.S.C. 265. Pursuant to a delegation of the

Secretary’s authority, the CDC Director has promulgated regulations under section 362 to

suspend the introduction of property into the United States. Current regulations, however, only

address suspension of the introduction of property into the United States and the procedures to

quarantine or isolate persons. That is, current regulations permit CDC to quarantine or isolate

persons entering the United States, but they do not address the suspension of the introduction of

persons into the United States under section 362.

        CDC’s experience with COVID-19 is that, under some circumstances, quarantine or

isolation is not a viable solution for protecting the public health from the introduction of a

communicable disease from another country. For example, the arrival in U.S. ports of cruise

ships with numerous passengers requiring quarantine or isolation has presented complex

logistical challenges, consumed disproportionate agency resources, and taken CDC personnel

away from other critical parts of the domestic and international response to COVID-19. To

continue to respond promptly and effectively to the public health emergency presented by

3508(b)). References in the PHS Act to the Surgeon General are to be read in light of the transfer of statutory
functions and re-designation. Although the Office of the Surgeon General was re-established in 1987, the Secretary
of HHS has retained the authorities previously held by the Surgeon General.
2
  Executive Order 13295 assigned the functions of the President under section 362 to the Secretary of HHS.


                                                        4
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COVID-19, CDC needs a more efficient regulatory mechanism to exercise its section 362

authority and suspend the introduction of persons who would otherwise pose a serious danger of

introduction of COVID-19 into the United States.

         Even though COVID-19 is present in certain locations within the United States, the

suspension of the introduction of persons into the United States may be required in the interest of

public health to avert the danger of further introduction of the disease into the same or other

locations in the United States. For example, hypothetically, the introduction of COVID-19 into

the United States would occur if two infected persons disembarked in a large metropolitan city in

the Midwest from an international flight. Another vector for further introduction of COVID-19

into the United States would be a group of two infected persons who entered that Midwestern

state by land after crossing the border from Canada. Suspension of the introduction of those two

persons into the United States at the land border would mitigate the serious and increased danger

of further introduction of COVID-19 in the United States. The same public health analysis

would apply if two infected persons walked across the land border from Canada into a

Northeastern State.

        Past Experience with Migration and Communicable Disease

        International travel and migration play a significant role in the global transmission of

infectious biological agents or their toxic products that pose risks for vulnerable populations.3

Travelers can serve as unwitting vectors of disease, and thereby increase the risk of

communicable disease transmission and of the introduction of communicable disease into the

3
 See, e.g., Institute of Medicine (US) Forum on Microbial Threats, “Infectious Disease Movement in a Borderless
World: Workshop Summary,” National Academies Press (US); 2010, available at
https://www.ncbi.nlm.nih.gov/books/NBK45728/ (hereinafter “Infectious Disease Movement in a Borderless
World”); Wilson, ME. Travel and the Emergence of Infectious Diseases. Emerging Infectious Diseases.
1995;1(2):39-46. doi:10.3201/eid0102.950201; Tatem, A. J., Rogers, D. J. & Hay, S. Global Transport Networks
and Infectious Disease Spread. Adv. Parasitology 62, 293–343 (2006).


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United States. The risk increases when travelers are in congregate settings, such as carriers (i.e.,

ships, aircraft, trains, and road vehicles) or terminals with shared sitting, sleeping, eating, or

recreational areas, all of which are conducive to disease transmission.4

        The speed and far reach of global travel were factors in prior outbreaks that expanded to

numerous continents. Examples include: the H1N1 influenza pandemic in 2009; severe acute

respiratory syndrome (SARs) coronavirus in 2003; tuberculosis; measles; Middle East

Respiratory Syndrome (MERS-CoV) in 2012; and Ebola Virus Disease in 2014 and 2018.5 All

of these high-consequence diseases posed significant public health risks, especially given the

compressed timeframes in which the outbreaks occurred.

        For example, the Federal response to the H1N1 influenza pandemic in 2009 would have

benefitted from the availability of an efficient mechanism for suspending the introduction of

persons into the United States. The initial cases of H1N1 occurred in Mexico, before the first

confirmed cases in the United States. Retrospective research findings in Mexico indicated that

transmission of the virus in Mexico involved person-to-person spread with multiple generations

of transmission.6

        Like 2009 H1N1, COVID-19 is a pandemic. But the new coronavirus is more infectious

than 2009 H1N1.7 Indeed, it appears that the virus may at times be transmitted by persons who


4
  E.g., https://wwwnc.cdc.gov/travel/yellowbook/2020/travel-by-air-land-sea/cruise-ship-travel (noting that the
“often crowded, semi-enclosed environments onboard ships can facilitate the spread of person-to-person, foodborne,
or waterborne diseases”); CDC, “Interim US Guidance for Risk Assessment and Public Health Management of
Persons with Potential Coronavirus Disease 2019 (COVID-19) Exposures: Geographic Risk and Contacts of
Laboratory-confirmed Cases,” Updated March 7, 2020, available at https://www.cdc.gov/coronavirus/2019-
ncov/php/risk-assessment.html.
5
  Infectious Disease Movement in a Borderless World (noting that “swine-origin H1N1 has spread globally, its
movement hastened by global air travel” and [i]t is easy to see how travelers could play a key role in the global
epidemiology of infections that are transmitted from person to person, such as HIV, SARS, tuberculosis, influenza,
and measles”) (citing Hufnagel L, Brockmann D, Geisel T. Forecast and Control of Epidemics in a Globalized
World. Proceedings of the National Academy of Sciences. 2004;101(42):15124–15129).
6
  https://www.cdc.gov/h1n1flu/cdcresponse.htm.
7
  See generally, CDC, “2009 H1N1 Pandemic Timeline,” available at https://www.cdc.gov/flu/pandemic-


                                                        6
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are asymptomatic. As discussed below, COVID-19 is also more likely to cause death in high-

risk individuals.

        In addition, global travel has increased dramatically since prior infectious disease

outbreaks. By 2018, international visitations to the U.S. totaled over 20 million more per year

than in 2009, when the 2009 H1N1 pandemic occurred, and 10 million more per year than in

2014, when the Ebola Virus Disease outbreak occurred.8 These differences make the availability

of an efficient mechanism for exercising the section 362 authority all the more important to the

protection of the public health going forward.

        The Current Outbreak of COVID-19

        COVID-19 is a communicable disease caused by a novel (new) coronavirus, SARS-CoV-

2, that was first identified as the cause of an outbreak of respiratory illness that began in Wuhan,

Hubei Province, People’s Republic of China (“PRC”). The virus is thought to be transmitted

primarily by person-to-person contact through respiratory droplets produced when an infected

person coughs or sneezes. It may also be transmitted through contact with surfaces or objects.

While much is still unknown about the transmission of COVID-19, asymptomatic transmission

may also occur.

        Manifestations of severe disease have included severe pneumonia, acute respiratory

distress syndrome (ARDS), septic shock, and multi-organ failure. According to the World Health

Organization (WHO), as of March 17, 2020, approximately 4.1% of reported COVID-19 cases

have resulted in death globally. This mortality rate is higher among seniors or those with

resources/2009-pandemic-timeline.html; Van Kerkhove, Maria D et al. Estimating age-specific cumulative
incidence for the 2009 influenza pandemic: a meta-analysis of A(H1N1)pdm09 serological studies from 19
countries. Influenza and Other Respiratory Viruses vol. 7,5 (2013): 872-86, available at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5781221/; CDC, Interim Clinical Guidance for Management of
Patients with Confirmed Coronavirus Disease (COVID-19), available at https://www.cdc.gov/coronavirus/2019-
ncov/hcp/clinical-guidance-management-patients.html.
8
  https://travel.trade.gov/outreachpages/download_data_table/Fast_Facts_2018.pdf


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compromised immune systems. Older adults and people who have severe chronic medical

conditions like hypertension, heart, lung, or kidney disease are also at higher risk for more

serious COVID-19 illness. Early data suggest older people are twice as likely to have serious

COVID-19 illness.

        As of March 17, 2020, there were over 179,100 cases of COVID-19 globally in over 150

locations (including countries), resulting in over 7,425 deaths; more than 4,225 cases have been

identified in the United States, with new cases being reported daily and with at least 75 deaths

due to the disease. Continued introduction into the United States of persons from foreign

countries where COVID-19 exists presents a danger of disease transmission in congregate

settings such as carriers or terminals, which may, in turn, result in a danger of disease

transmission in contiguous areas.9

        Unfortunately, at this time, there is no vaccine that can prevent infection with COVID-19,

nor are there therapeutics for those who become infected. Treatment is currently limited to

supportive (or palliative) care to manage symptoms while the body fights off the disease.

Hospitalization may be required in severe cases and mechanical respiratory support may be

needed in the most severe cases. The ease of COVID-19 transmission presents a risk of a surge

in hospitalizations for COVID-19, which would limit hospital capacity available to treat other

serious conditions.

        Testing is available to confirm suspected cases of COVID-19 infection.                             Testing

generally requires specimens collected from the nose, throat, or lungs; such specimens can only

be analyzed in a laboratory setting. However, commercial test results are typically available


9
 See supra n.4; see also CDC, Travelers from Countries with Widespread Sustained (Ongoing) Transmission
Arriving in the United States, available at https://www.cdc.gov/coronavirus/2019-ncov/travelers/after-travel-
precautions.html.


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within three to four days. Currently, the time required to obtain test results—coupled with the

incubation period of the disease—makes it impracticable to confirm whether each person moving

into the United States is infected with COVID-19 at the time of the movement. Widespread,

compulsory Federal quarantines or isolations of such persons pending test results are

impracticable due to the numbers of persons involved, logistical challenges, and CDC resource

and personnel constraints.

        On January 30, 2020, the Director General of WHO declared that the outbreak of

COVID-19 is a Public Health Emergency of International Concern under the International Health

Regulations.10 The following day, the Secretary of HHS declared COVID-19 a public health

emergency under the PHS Act.11              On March 11, 2020, the WHO declared COVID-19 a

pandemic. On March 13, 2020, the President issued a Proclamation on Declaring a National

Emergency Concerning the Novel Coronavirus Disease (COVID-19) Outbreak.12 As of March

16, 2020, all 50 states and several local and territorial jurisdictions declared states of emergency.

        Global efforts to slow disease transmission have included sweeping measures to limit

travel and exposure to COVID-19. A number of countries, such as Russia, Australia, the

Philippines, Japan, and Israel, have imposed stringent restrictions on travelers who have recently

been to the PRC.        On March 17, 2020, the European Union approved a plan to ban all

nonessential travel into its bloc for a minimum of 30 days. Many countries are asking persons to


10
   Statement on the second meeting of the International Health Regulations (2005) Emergency Committee regarding
the outbreak of novel coronavirus (2019-nCoV) (January 30, 2020), available at https://www.who.int/news-
room/detail/30-01-2020-statement-on-the-second-meeting-of-the-international-health-regulations-(2005)-
emergency-committee-regarding-the-outbreak-of-novel-coronavirus-(2019-ncov).
11
   HHS, “Determination that a Public Health Emergency Exists,” available at
https://www.phe.gov/emergency/news/healthactions/phe/Pages/2019-nCoV.aspx.
12
   “Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19)
Outbreak,” March 13, 2020, available at https://www.whitehouse.gov/presidential-actions/proclamation-declaring-
national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/.



                                                       9
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self-quarantine for 14 days (a period estimated to encompass the incubation period for the

disease) following return from foreign countries or places with sustained community

transmission.

       The President has exercised his authority in section 212(f) of the Immigration and

Nationality Act (“INA”), 8 U.S.C. 1182(f), to suspend entry into the United States of certain

foreign nationals who have recently visited PRC (excluding the Special Administrative Regions

of Hong Kong and Macau), the Islamic Republic of Iran, the Schengen Area (comprised of 26

countries in Europe), the United Kingdom (excluding overseas territories outside of Europe), and

the Republic of Ireland, within 14 days preceding their entry or attempted entry into the United

States due to concerns of person-to-person transmission of COVID-19. CDC has issued Level 3

Travel Health Notices recommending that travelers avoid all nonessential travel to PRC

(excluding the Special Administrative Regions of Hong Kong and Macau), the Islamic Republic

of Iran, the Republic of Korea, and the Schengen Area. The U.S. Department of State has issued

a Global Level 3 Health Advisory directing U.S. citizens to reconsider all travel abroad due to

the global impact of COVID-19 and Level 4 Travel Advisories (Do Not Travel) for PRC

(excluding the Special Administrative Regions of Hong Kong and Macau), Iran, and certain

regions of Italy. In addition, CDC has recommended that travelers, particularly those with

underlying health conditions, avoid all cruise ship travel worldwide. The U.S. Department of

State has similarly issued guidance that U.S. citizens should not travel by cruise ship at this time.

On March 16, 2020, the Federal government announced guidelines recommending that the public

should avoid discretionary travel; discretionary shopping trips; social visits; gatherings in groups

of more than 10 people; and eating or drinking at bars, restaurants, and food courts. Numerous

States and cities have gone further and shut down restaurants, bars, nightclubs, and theaters. On



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March 18, 2020, the United States and Canada announced plans to, by mutual consent, close the

U.S.-Canadian border to nonessential travel.

       The COVID-19 pandemic highlights why CDC needs an efficient regulatory mechanism

to suspend the introduction of persons who would otherwise increase the serious danger of the

introduction of a communicable disease into the United States.           Section 212(f) of the

Immigration and Nationality Act (“INA”) applies to the “entry” of aliens, but section 362 instead

provides the authority to prohibit the “introduction” of persons into the United States. Despite

the unprecedented global efforts at mitigating or slowing the transmission of COVID-19, cases

of COVID-19 have rapidly propagated and multiplied, crossing international borders with ease.

As of March 17, 2020, CDC reported that 229 of the confirmed cases of COVID-19 in the

United States with an established source of exposure were travel-related as opposed to

community transmission, accounting for almost half of the 474 cases with an established source

of exposure; another 3,752 cases remain under investigation. As of March 14, 2020, travelers

from Japan have exported at least 20 COVID-19 cases to eight countries. As of March 14, 2020,

travelers from the Islamic Republic of Iran have exported at least 145 COVID-19 cases to 17

other countries, as reported by the WHO, and travelers from the Schengen Area have exported

624 COVID-19 cases to 70 countries, including to the United States. In the near future, persons

traveling from other foreign countries and jurisdictions may compound the serious danger of

further introduction of COVID-19 into the United States.

       To summarize, CDC knows that COVID-19 infection transmits easily, spreads quickly

through global travel, and can have a high mortality rate for some of the most vulnerable

members of society. At this time, there is no vaccine, therapeutic, or rapid testing for the

disease. CDC needs a robust, efficient mechanism for exercising its authority under section 362



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and other applicable authorities to suspend the introduction of persons into the United States,

should the public health require it. In issuing orders pursuant to this interim final rule, CDC

would coordinate with the Secretary of State in order to ensure compliance with the international

legal obligations of the United States and to take due account of U.S. national and security

interests.

           Other Public Health Risks

           Beyond the current COVID-19 pandemic, the suspension authority is also critical to CDC

because there is always a risk of another emerging, or re-emerging, communicable disease that

may harm the American public. One such risk is pandemic influenza (as opposed to seasonal

influenza), which occurs when a novel, or new, influenza virus strain spreads over a wide

geographic area and affects an exceptionally high proportion of the population.             In such

circumstances, the strain of virus is new, there is usually no available vaccine, and humans do

not typically have immunity to the virus, often resulting in a more severe illness. The severity

and unpredictable nature of an influenza pandemic requires public health systems to prepare

constantly for the next occurrence. Whenever a new strain of influenza virus appears, or a major

change to a preexisting virus occurs, individuals may have little or no immunity, which can lead

to a pandemic when the virus passes easily from human to human and causes serious illness or

death. The most recent influenza pandemics include H1N1 in 2009-2010, the 1968-1969 Hong

Kong Flu, the 1957-1958 Asian Flu, and the 1918-1919 Spanish Flu.

           It is difficult to predict the impact that another emerging, or re-emerging, communicable

disease would have on the U.S. public health system. The 2009 H1N1 pandemic caused between

100,000 and 600,000 deaths worldwide,13 while the 1918-1919 Spanish Flu was estimated to


13
     https://www.cdc.gov/flu/pandemic-resources/2009-h1n1-pandemic.html.


                                                       12
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have caused over 50 million deaths worldwide.14 Although advances in health care quality have

greatly improved since 1918, the dramatic increases in global mobility in the 21st century have

increased the rate at which a communicable disease can spread. Modern pandemics, spread

through international travel, can engulf the world in three months or less. Moreover, pandemics

can last from 12 to 18 months and are not considered one-time events.

           The introduction of another emerging, or re-emerging, communicable disease into the

United States is always a risk. The PHS Act section 362 suspension authority would be critical

to any effort by CDC and its Federal, State, and local partners to contain or mitigate the risk.

CDC expects to mitigate the risk in the future by issuing a Final Rule, after considering

comments, to implement a permanent regulatory structure regarding the potential suspension of

introduction of persons into the United States in the event a serious danger of the introduction of

communicable disease arises in the future.

     II.      Statutory Authority

           The primary legal authority supporting this rulemaking is section 362 of the PHS Act,

which is codified at 42 U.S.C. 265. Under section 362, the Secretary15 has the authority—if he

were to determine that the existence of a communicable disease in a foreign country creates a

serious danger of the introduction of such disease into the United States, and that this danger is

increased by the introduction of persons or property from such country such that suspension of

introduction is necessary to protect the public health—to                suspend, in accordance with

regulations approved by the President,16 such introduction for determined periods of time.




14
   https://www.cdc.gov/flu/pandemic-resources/1918-pandemic-h1n1.html.
15
   See supra at n.1.
16
   See supra at n.2.


                                                     13
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         In addition to section 362, other sections of the PHS Act are relevant to this rulemaking,

including section 311, 42 U.S.C. 243; section 361, 42 U.S.C. 264; section 365, 42 U.S.C. 268;

and section 367, 42 U.S.C. 270. Section 311 authorizes the Secretary to accept State and local

assistance in the enforcement of quarantine rules and regulations and to assist States and their

political subdivisions in the control of communicable diseases. Section 361 authorizes the

Secretary to make and enforce such regulations that in the Secretary’s judgment are necessary to

prevent the introduction, transmission, or spread of communicable diseases from foreign

countries into the United States. It also permits the “apprehension, detention, or conditional

release of individuals” in order to prevent the “introduction, transmission, or spread” of such

communicable diseases as may be specified from time to time in Executive Orders of the

President upon the recommendation of the Secretary, in consultation with the Surgeon General.

Section 365 provides that it shall be the duty of designated customs officers and of Coast Guard

officers to aid in the enforcement of quarantine rules and regulations. 17 Section 367 authorizes

the application of certain sections of the PHS Act and promulgated regulations (including

penalties and forfeitures for violations of such sections and regulations) to air navigation and

aircraft to such extent and upon such conditions as deemed necessary for safeguarding public

health.18


17
   The terms “officer of the customs” and “customs officer” are defined by statute to mean, “any officer of
the United States Customs Service of the Treasury Department (also hereinafter referred to as the “Customs
Service”) or any commissioned, warrant, or petty officer of the Coast Guard, or any agent or other person, including
foreign law enforcement officers, authorized by law or designated by the Secretary of the Treasury to perform any
duties of an officer of the Customs Service.” 19 U.S.C. 1401(i). Although this provision refers to the Secretary of
the Treasury, the Homeland Security Act transferred to the Secretary of Homeland Security all “the functions,
personnel, assets, and liabilities of . . . the United States Customs Service of the Department of the Treasury,
including the functions of the Secretary of the Treasury relating thereto . . . [,]” 6 U.S.C. 203(1), such that reference
to the Secretary of the Treasury should be read to reference the Secretary of Homeland Security.
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   HHS quarantine authorities also apply to vessels. See, e.g., PHS Act 364 (providing for quarantine stations at
anchorages and vessel quarantine inspections), 366 (providing for bills of health for vessels, authorizing issuance of
regulations applicable to vessels, and certificate of a quarantine officer before a vessel can enter any U.S. port to
discharge cargo or land passengers).


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III.   Provisions of New § 71.40

       This interim final rule will implement section 362 and other applicable provisions of the

PHS Act to enable the CDC Director to suspend the introduction of persons into the United

States consistent with the statute and applicable law.

       Section 71.40(a) sets forth the statutory requirements for the CDC Director to suspend the

introduction of persons into the United States. The provision establishes that the CDC Director

may prohibit the introduction into the United States of persons from designated foreign countries

(or one or more political subdivisions and regions thereof) or places, only for such period of time

that the Director deems necessary for the public health, by issuing an order in which the Director

determines that:

       (1) By reason of the existence of any communicable disease in a foreign country (or one

or more political subdivisions or regions thereof) or place, there is serious danger of the

introduction of such communicable disease into the United States, and

       (2) This danger is so increased by the introduction of persons from such country (or one

or more political subdivisions or regions thereof) or place that a suspension of the introduction of

such persons into the United States is required in the interest of the public health.

       Section 71.40(b) sets forth definitions of several terms used in § 71.40. CDC defines the

“introduction into the United States of persons” from a foreign country (or one or more political

subdivisions or regions thereof) or place” as the movement of a person from a foreign country

(or one or more political subdivisions or regions thereof) or a place, or series of foreign countries

or places, into the United States so as to bring the person into contact with others in the United

States, or so as to cause the contamination of property in the United States, in a manner that the

Director determines to present a risk of transmission of the communicable disease to persons or



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property, even if the communicable disease has already been introduced, transmitted, or is

spreading within the United States.

       Section 362 refers to the “introduction of persons” from foreign countries. CDC defines

“introduction into the United States of persons” from a foreign country (including one or more

political subdivisions or regions thereof) or place to clarify that “introduction” can encompass

those who have physically crossed a border of the United States and are in the process of moving

into the interior in a manner the Director determines to present a risk of transmission of a

communicable disease. This additional mechanism to halt the travel of such persons and rapidly

moving them outside the United States constitutes preventing their “introduction” into the United

States for purposes of § 71.40.

       Similarly, Section 362 refers to the “introduction of [a communicable disease] into the

United States.” CDC defines “serious danger of the introduction of such communicable disease

into the United States” to mean the potential for introduction of vectors of the communicable

disease into the United States, even if persons or property in the United States are already

infected or contaminated with the communicable disease. CDC establishes this definition to

clarify that, even if persons or property (e.g. animals) in the United States are already infected or

contaminated with a communicable disease in some localities, the potential for introduction of

additional vectors that would introduce, transmit, or spread the disease in the same or different

localities can present a serious danger of the introduction of the disease into the United States.

Suspension of the introduction of persons into the United States may be required, in the interest

of public health, to avert the increased danger that results from further introduction, transmission,

or spread of the disease within the United States.




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       Finally, for purposes of this section, CDC defines the term “place” to include any

location specified by the Director, including any carrier, whatever the carrier’s nationality. CDC

does this in order to remove all doubt that when this interim final rule refers to “place,” it refers

not just to territory within or outside of a country, but also to carriers, as that term is defined in

42 C.F.R. 71.1, whatever the carrier’s nationality.

       CDC will establish the requirement to suspend the introduction of persons into the United

States from certain designated places for certain periods of time by means of an order executed

by the CDC Director. In § 71.40(c), CDC describes the required contents of such order. In any

§ 71.40 order, the CDC Director must designate:

            The foreign countries (or one or more designated political subdivisions or regions

               thereof) or places from which the introduction of persons is being suspended.

            The period of time or circumstances under which the introduction of any persons

               or class of persons into the United States is being suspended.

            The conditions under which that prohibition on introduction should be effective in

               whole or in part, including any relevant exceptions that the CDC Director

               determines are appropriate.

       CDC might at times rely on (1) State and local authorities who agree to help implement

orders issued pursuant to § 71.40, or (2) other Federal agencies to implement and execute the

orders issued under this section. Accordingly, in § 71.40(d), CDC establishes that, before

issuing any § 71.40 order, CDC may coordinate with the appropriate State and local authorities

or other Federal agency (or agencies). If the order will be implemented in whole or in part by

State and local authorities under 42 U.S.C. 243(a), the Director’s order may explain the

procedures and standards by which those State or local authorities are expected to aid in the


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order’s enforcement.     Similarly, if the order will be implemented in whole or in part by

designated customs officers (including officers of the Department of Homeland Security with

U.S. Customs and Border Protection who exercise the authorities of customs officers) or the

United States Coast Guard under 42 U.S.C. 268(b), or another Federal department or agency, the

CDC Director, in coordination with the Secretary of Homeland Security or the head of the other

applicable department or agency, shall explain in the order the procedures and standards by

which any authorities or officers or agents are expected to aid in the enforcement of the order, to

the extent that they are permitted to do so under their existing legal authorities.

       Section 71.40(e) provides that this section does not apply to members of the armed forces

of the United States and associated personnel for whom the Secretary of Defense provides

assurance to the Director that the Secretary of Defense, through measures such as quarantine,

isolation, or other measures maintaining control over such individuals, is preventing the risk of

transmission of a communicable disease to persons or property in the United States. CDC

includes this exception because the Secretary of Defense has authority and means to prevent the

introduction of a communicable disease into the United States from his personnel returning from

foreign countries. Therefore, this interim final rule need not apply to Department of Defense

personnel.

       Although section 362 applies to “persons,” this interim final rule will not apply to U.S.

citizens or lawful permanent residents. Congress provided CDC with the authority to prohibit

the introduction of persons who would increase a serious danger of introducing into the United

States a communicable disease, when required in the interest of the public health. CDC believes

that, at present, quarantine, isolation, and conditional release, in combination with other

authorities, while not perfect solutions, can mitigate any transmission or spread of COVID-19



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caused by the introduction of U.S. citizens or lawful permanent residents into the United States.

Section 71.40(f) therefore explains that this interim final rule shall not apply to U.S. citizens and

lawful permanent residents. Determining the appropriate protections for U.S. citizens and lawful

permanent aliens requires a complex balancing of numerous interests and would benefit from

additional consideration and public comment. HHS does not want such concerns to delay the

issuance of this interim final rule, which would enable the CDC Director to issue orders that

would have the effect of slowing the introduction, transmission, and spread of COVID-19 in the

United States.

V.     Rationale for Issuance of an Interim Final Rule with Immediate Effectiveness

       Agency rulemaking is governed by section 553 of the Administrative Procedure Act

(APA) (5 U.S.C. 553). Section 553(b) requires that, unless the rule falls within one of the

enumerated exemptions, HHS must publish a notice of proposed rulemaking in the Federal

Register that provides interested persons an opportunity to submit written data, views, or

arguments, prior to finalization of regulatory requirements. Section 553(b)(3)(B) of the APA

authorizes a department or agency to dispense with the prior notice and opportunity for public

comment requirement when the agency, for “good cause,” finds that notice and public comment

thereon are impracticable, unnecessary, or contrary to the public interest. In addition, because

this interim final rule represents a critical part of the dialogue between the United States and the

Governments of Mexico and Canada in preventing the spread of COVID-19 along our shared

borders, it involves a “foreign affairs function of the United States.” 5 U.S.C. 553(a)(1).

       As noted above, the United States and numerous other countries have taken

unprecedented measures to try to contain or slow the transmission or spread of COVID-19. Such

public health actions, especially the actions by the President and the Secretary, have slowed the



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introduction and transmission of the disease into the United States, which has benefitted the

public health, preserved limited public and private resources, and given the U.S. public health

system additional time to implement further measures to protect and support the public.

       Nevertheless, these measures have not completely stopped global travelers, and other

persons crossing from one country into another country, from spreading COVID-19 across

national boundaries and around the globe. The introduction of persons from foreign countries

with COVID-19 outbreaks is continuing to cause the introduction of COVID-19 into disparate

locations within the United States. The suspension authority is therefore critical to slowing the

introduction of COVID-19 into such disparate locations within the United States. The United

States is in a phase where suspending the introduction of persons from certain countries or places

may be required in the interest of the public health, because it could still materially reduce the

transmission and spread of COVID-19 in the United States. Because persons can have COVID-

19 and be asymptomatic at the time of introduction into the United States, and because the

completion of testing for COVID-19 may take three to four days, it is impracticable to confirm

who is infected with COVID-19 and who is not infected with COVID-19 as persons move into

the United States. Similarly, Federal quarantines or isolations of all such persons pending test

results would be impracticable due to the numbers of persons involved, logistical challenges, and

CDC resource and personnel constraints.

       In addition, whereas section 212(f) of the INA applies to the “entry” of aliens, section

362 applies to the “introduction” of persons into the United States. Therefore, although 212(f)

has been effective in slowing the transmission or spread of COVID-19 in the United States,

section 362 provides CDC with a mechanism tied specifically to persons who increase the danger

of introducing COVID-19 into the United States.



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       Given the national emergency caused by COVID-19, it would be impracticable and

contrary to the public health—and, by extension, the public interest—to delay these

implementing regulations until a full public notice-and-comment process is completed.

       Pursuant to 5 U.S.C. 553(b)(3)(B), and for the reasons stated above, HHS therefore

concludes that there is good cause to dispense with prior public notice and the opportunity to

comment on this rule before finalizing this rule. For the same reasons, HHS has determined,

consistent with section 553(d) of the APA, that there is good cause to make this interim final rule

effective immediately upon filing at the Office of the Federal Register.

IV.    Request for Comment

       HHS requests comment on all aspects of this interim final rule, including its likely costs

and benefits and the impacts that it is likely to have on the public health, as compared to the

current requirements under 42 CFR Part 71.

VI.    Regulatory Impact Analysis
       Executive Orders 12866 and 13563 and Regulatory Flexibility Act

       Executive Orders 12866 and 13563 direct agencies to assess all costs and benefits of

available regulatory alternatives and, if regulation is necessary, to select regulatory approaches

that maximize net benefits (including potential economic, environmental, and public health and

safety effects; distributive impacts; and equity). Executive Order 13563 emphasizes the

importance of quantifying both costs and benefits, reducing costs, harmonizing rules, and

promoting flexibility. Section 3(f) of Executive Order 12866 defines a “significant regulatory

action” as an action that is likely to result in a regulation (1) having an annual effect on the

economy of $100 million or more in any one year, or adversely and materially affecting a sector

of the economy, productivity, competition, jobs, the environment, public health or safety, or

State, local, or tribal governments or communities (also referred to as “economically

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significant”); (2) creating a serious inconsistency or otherwise interfering with an action taken or

planned by another agency; (3) materially altering the budgetary impacts of entitlement grants,

user fees, or loan programs or the rights and obligations of recipients thereof; or (4) raising novel

legal or policy issues arising out of legal mandates, the President’s priorities, or the principles set

forth in the Executive Order. This interim final rule is economically significant for the purposes

of Executive Orders 12866 and 13563. CDC, however, is proceeding under the emergency

provision at Executive Order 12866 Section 6(a)(3)(D) based on the need to move expeditiously

during the current public health emergency to limit the number of new cases of COVID-19.

       The Regulatory Flexibility Act (RFA) generally requires that when an agency issues a

proposed rule, or a final rule pursuant to section 553(b) of the APA or another law, the agency

must prepare a regulatory flexibility analysis that meets the requirements of the RFA and publish

such analysis in the Federal Register. 5 U.S.C. 603, 604. Specifically, the RFA normally

requires agencies to describe the impact of a rulemaking on small entities by providing a

regulatory impact analysis. Such analysis must address the consideration of regulatory options

that would lessen the economic effect of the rule on small entities. The RFA defines a “small

entity” as (1) a proprietary firm meeting the size standards of the Small Business Administration

(SBA); (2) a nonprofit organization that is not dominant in its field; or (3) a small government

jurisdiction with a population of less than 50,000. 5 U.S.C. 601(3)–(6). Except for such small

government jurisdictions, neither State nor local governments are “small entities.” Similarly, for

purposes of the RFA, individual persons are not small entities. The requirement to conduct a

regulatory impact analysis does not apply if the head of the agency “certifies that the rule will

not, if promulgated, have a significant economic impact on a substantial number of small

entities.” 5 U.S.C. 605(b). The agency must, however, publish the certification in the Federal



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Register at the time of publication of the rule, “along with a statement providing the factual basis

for such certification.” Id. If the agency head has not waived the requirements for a regulatory

flexibility analysis in accordance with the RFA’s waiver provision, and no other RFA exception

applies, the agency must prepare the regulatory flexibility analysis and publish it in the Federal

Register at the time of promulgation or, if the rule is promulgated in response to an emergency

that makes timely compliance impracticable, within 180 days of publication of the final rule. 5

U.S.C. 604(a), 608(b).19

         This interim final rule establishes a regulatory mechanism for the exercise of the PHS Act

section 362 suspension authority, which directly applies against persons and not State, local, or

tribal governments, or the private sector. Accordingly, HHS and CDC believe that this interim

final rule would likely impact only persons, and that it would, therefore, not have a significant

economic impact on a substantial number of small entities. In addition, for the reasons set forth

in this document pertaining to the COVID-19 outbreak, the Secretary finds that this interim final

rule is being promulgated in response to an emergency that makes timely compliance with the

provisions of section 604 impracticable. CDC will assess the potential impacts–including

economic effects–of this action on all small entities. Based on that assessment, the Secretary

will either certify that the rule will not have a significant economic impact on a substantial

number of small entities or publish a final regulatory flexibility analysis.

         Unfunded Mandates Reform Act



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   An agency head may delay the completion of the regulatory impact analysis requirements for a period of not more
than 180 days after the date of publication in the Federal Register of a final rule by publishing in the Federal
Register, not later than such date of publication, a written finding, with reasons therefor, that the final rule is being
promulgated in response to an emergency that makes timely compliance with such requirements impracticable. If
the agency has not prepared a final regulatory analysis within 180 days from the date of publication of the final rule,
the RFA provides that the rule shall lapse and have no effect and shall not be re-promulgated until a final regulatory
flexibility analysis has been completed by the agency. 5 U.S.C. 608(b).


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       Section 202 of the Unfunded Mandates Reform Act of 1995 (Unfunded Mandates Act) (2

U.S.C. 1532) requires that covered agencies prepare a budgetary impact statement before

promulgating a rule that includes any Federal mandate that may result in the expenditure by

State, local, and tribal governments, in the aggregate, or by the private sector, of $100 million in

1995 dollars, updated annually for inflation. Currently, that threshold is approximately $154

million. If a budgetary impact statement is required, section 205 of the Unfunded Mandates Act

also requires covered agencies to identify and consider a reasonable number of regulatory

alternatives before promulgating a rule. HHS has determined that this interim final rule is not

expected to result in expenditures by State, local, and tribal governments, or by the private

sector, of $154 million or more in any one year because it only establishes a regulatory

mechanism for the exercise of the PHS Act section 362 suspension authority, which applies

against persons and not State, local, or tribal governments, or the private sector. Accordingly,

HHS has not prepared a budgetary impact statement or specifically addressed the regulatory

alternatives considered.

       National Environmental Policy Act (NEPA)

       HHS has determined that the amendments to 42 CFR Part 71 will not have a significant

impact on the human environment.

       Executive Order 12988: Civil Justice Reform

       HHS has reviewed this rule under Executive Order 12988 on Civil Justice Reform and

has determined that this interim final rule meets the standard in the Executive Order.

       Executive Order 13132: Federalism

       This interim final rule has been reviewed under Executive Order 13132, Federalism.

Under 42 U.S.C. 264(e), Federal public health regulations do not preempt State or local public

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health regulations, except in the event of a conflict with the exercise of Federal authority. Other

than to restate this statutory provision, this rulemaking does not alter the relationship between the

Federal government and State/local governments as set forth in 42 U.S.C. 264. The longstanding

provision on preemption in the event of a conflict with Federal authority (42 CFR 70.2) is left

unchanged by this rulemaking. Furthermore, there are no provisions in this regulation that

impose direct compliance costs on State and local governments. Therefore, HHS believes that

the interim final rule does not warrant additional analysis under Executive Order 13132.

       Plain Language Act of 2010

       Under the Plain Language Act of 2010 (Pub. L. 111-274, October 13, 2010), executive

Departments and Agencies are required to use plain language in documents that explain to the

public how to comply with a requirement the Federal Government administers or enforces.

HHS/CDC has attempted to use plain language in promulgating this interim final rule, consistent

with the Federal Plain Writing Act guidelines.

       Congressional Review Act

       The Congressional Review Act defines a “major rule” as “any rule that the Administrator

of the Office of Information and Regulatory Affairs (OIRA) of the Office of Management and

Budget finds has resulted in or is likely to result in—(A) an annual effect on the economy of

$100,000,000 or more; (B) a major increase in costs or prices for consumers, individual

industries, Federal, State, or local government agencies, or geographic regions; or (C) significant

adverse effects on competition, employment, investment, productivity, innovation, or on the

ability of United States-based enterprises to compete with foreign-based enterprises in domestic

and export markets.” 5 U.S.C. 804(2). This Office of Information and Regulatory Affairs has

determined that this interim final rule is a major rule for purposes of the Congressional Review



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Act. As this rule is promulgated under the “good cause” exemption of the Administrative

Procedure Act, there is not a delay in its effective date under the Congressional Review Act.

       Assessment of Federal Regulation and Policies on Families

       Section 654 of the Treasury and General Government Appropriations Act of 1999

requires Federal departments and agencies to determine whether a proposed policy or regulation

could affect family well-being. If the determination is affirmative, then the Department or

agency must prepare an impact assessment to address criteria specified in the law. HHS has

determined that this interim final rule will not have an impact on family well-being, as defined in

the Act.

       Paperwork Reduction Act of 1995
       In accordance with the Paperwork Reduction Act of 1995 (44 U.S.C. Ch. 3506; 5 CFR

1320 Appendix A.1), HHS has reviewed this interim final rule and has determined that there are

no new collections of information contained therein.

List of Subjects in 42 CFR Part 71

Apprehension, Communicable diseases, Conditional release, CDC, Ill person, Isolation, Non-

invasive, Public health emergency, Public health prevention measures, Qualifying stage,

Quarantine, Quarantinable communicable disease.

       For the reasons set forth in the preamble, the Department of Health and Human Services,

on behalf of the Centers for Disease Control and Prevention, amends 42 CFR part 71 as follows:

PART 71 — FOREIGN QUARANTINE

1. The authority citation for part 71 continues to read as follows:

Authority: Secs. 215 and 311 of the Public Health Service (PHS) Act, as amended (42 U.S.C.

216, 243); secs. 361-369, PHS Act, as amended (42 U.S.C. 264-272).


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2. Add § 71.40 to Subpart D of part 71 to read as follows:

§ 71.40 Prohibiting the introduction of persons from designated foreign countries and

places into the United States.

(a) The Director may prohibit the introduction into the United States of persons from designated

foreign countries (or one or more political subdivisions and regions thereof) or places, only for

such period of time that the Director deems necessary for the public health, by issuing an order in

which the Director determines that:

       (1) By reason of the existence of any communicable disease in a foreign country (or one

or more political subdivisions or regions thereof) or place there is serious danger of the

introduction of such communicable disease into the United States; and

       (2) This danger is so increased by the introduction of persons from such country (or one

or more political subdivisions or regions thereof) or place that a suspension of the introduction of

such persons into the United States is required in the interest of the public health.

(b) For purposes of this section:

       (1) Introduction into the United States of persons from a foreign country (or one or more

political subdivisions or regions thereof) or place means the movement of a person from a

foreign country (or one or more political subdivisions or regions thereof) or place, or series of

foreign countries or places, into the United States so as to bring the person into contact with

persons in the United States, or so as to cause the contamination of property in the United States,

in a manner that the Director determines to present a risk of transmission of a communicable

disease to persons or property, even if the communicable disease has already been introduced,

transmitted, or is spreading within the United States;




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         (2) Serious danger of the introduction of such communicable disease into the United

States means the potential for introduction of vectors of the communicable disease into the

United States, even if persons or property in the United States are already infected or

contaminated with the communicable disease; and

         (3) The term Place” includes any location specified by the Director, including any

carrier, as that term is defined in 42 CFR 71.1, whatever the carrier’s nationality.

(c) In any order issued under this section, the Director shall designate the foreign countries (or

one or more political subdivisions or regions thereof) or places; the period of time or

circumstances under which the introduction of any persons or class of persons into the United

States shall be suspended; and the conditions under which that prohibition on introduction, in

whole or in part, shall be effective, including any relevant exceptions that the Director

determines are appropriate.

(d) Before issuing any order under this section, the Director may coordinate with State and local

authorities and other Federal departments or agencies as he deems appropriate in his discretion.

         (1) If the order will be implemented in whole or in part by State and local authorities who

have agreed to do so under 42 U.S.C. 243(a), then the Director may explain in the order the

procedures and standards by which those authorities are expected to aid in the enforcement of the

order.

         (2) If the order will be implemented in whole or in part by designated customs officers

(including officers of the Department of Homeland Security with U.S. Customs and Border

Protection, who exercise the authorities of customs officers) or Coast Guard officers under 42

U.S.C. 268(b), or another Federal department or agency, then the Director shall, in coordination

with the Secretary of Homeland Security or other applicable Federal department or agency head,



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explain in the order the procedures and standards by which any authorities or officers or agents

are expected to aid in the enforcement of the order, to the extent that they are permitted to do so

under their existing legal authorities.

(e) This section does not apply to members of the armed forces of the United States and

associated personnel for whom the Secretary of Defense provides assurance to the Director that

the Secretary of Defense, through measures such as quarantine, isolation, or other measures

maintaining control over such individuals, is preventing the risk of transmission of a

communicable disease into the United States.

(f) This section shall not apply to U.S. citizens and lawful permanent residents.




       Alex M. Azar II,

       Secretary,

       Department              of         Health           and           Human           Services.

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                  EXHIBIT C
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                  U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
                CENTERS FOR DISEASE CONTROL AND PREVENTION (CDC)

     ORDER UNDER SECTIONS 362 & 365 OF THE PUBLIC HEALTH SERVICE ACT
                           (42 U.S.C. §§ 265, 268):

                 ORDER SUSPENDING THE RIGHT TO INTRODUCE
                      CERTAIN PERSONS FROM COUNTRIES
             WHERE A QUARANTINABLE COMMUNICABLE DISEASE EXISTS

      I.       Purpose and Application

        I issue this Order pursuant to Sections 362 and 365 of the Public Health Service (PHS) Act,
42 U.S.C. §§ 265, 268, and their implementing regulations, 1 which authorize the Director of the
Centers for Disease Control and Prevention (CDC) to suspend the right to introduce 2 persons into
the United States when the Director determines that the existence of a quarantinable communicable
disease in a foreign country or place creates a serious danger of the introduction of such disease
into the United States and the danger is so increased by the introduction of persons from the foreign
country or place that a temporary suspension of the right of such introduction is necessary to
protect public health. This Order replaces the Order Suspending Introduction of Certain Persons
from Countries Where a Communicable Disease Exists, issued on March 20, 2020 (March 20,
2020 Order), extended on April 20, 2020, and amended May 19, 2020, which were based on the
prior interim final rule. 3

        This Order applies to persons traveling from Canada or Mexico (regardless of their country
of origin) who would otherwise be introduced into a congregate setting in a land or coastal Port of
Entry (POE) or Border Patrol station at or near the United States borders with Canada or Mexico,
subject to the exceptions detailed below.

        This Order does not apply to U.S. citizens and lawful permanent residents; members of the
armed forces of the United States or U.S. government personnel serving overseas, and associated
personnel, and their spouses and children; persons from foreign countries who hold valid travel
documents and arrive at a POE; or persons from foreign countries in the visa waiver program who
are not otherwise subject to travel restrictions and arrive at a POE. Additionally, this Order does
not apply to any alien who must test negative for COVID-19 before they are expelled directly to
their home country. Further, this Order does not apply to persons whom customs officers
determine, with approval from a supervisor, should be excepted based on the totality of the
circumstances, including consideration of significant law enforcement, officer and public safety,
humanitarian, and public health interests. DHS shall consult with CDC concerning how these

1
    85 FR 56424, 42 C.F.R. § 71.40.

2
 Suspension of the right to introduce means to cause the temporary cessation of the effect of any law, rule, decree, or
order pursuant to which a person might otherwise have the right to be introduced or seek introduction into the United
States. 42 C.F.R. § 71.40(b)(5).

3
    85 FR 17060, 85 FR 22424, 85 FR 31503.
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types of case-by-case, individualized exceptions shall be made to help ensure consistency with
current CDC guidance and public health assessments.

         DHS has informed CDC that persons who are traveling from Canada or Mexico (regardless
of their country of origin), and who must be held longer in congregate settings in POEs or Border
Patrol stations to facilitate immigration processing, would typically be aliens seeking to enter the
United States at POEs who do not have proper travel documents, aliens whose entry is otherwise
contrary to law, and aliens who are apprehended at or near the border seeking to unlawfully enter
the United States between POEs. This Order is intended to cover all such aliens. For simplicity,
I shall refer to the persons covered by this Order as “covered aliens.”

         This Order, which is substantially the same as the amended and extended March 20, 2020
Order, is necessary to continue to protect the public health from an increase in the serious danger
of the introduction of Coronavirus Disease 2019 (COVID-19) into the POEs, and the Border Patrol
stations between POEs, at or near the United States borders with Canada and Mexico. Those
facilities are operated by U.S. Customs and Border Protection (CBP), an agency within the U.S.
Department of Homeland Security (DHS). This Order is intended to help mitigate the continued
risks of transmission and spread of COVID-19 to CBP personnel, U.S. citizens, lawful permanent
residents, and other persons in the POEs and Border Patrol stations; further transmission and
spread of COVID-19 in the interior of the United States; and the increased strain that further
transmission and spread of COVID-19 would put on the United States healthcare system and
supply chain during the current public health emergency. 4

         There is a serious danger of the introduction of COVID-19 into the POEs and Border Patrol
stations at or near the United States borders with Canada and Mexico, and into the interior of the
country as a whole, because COVID-19 exists in Canada, Mexico, and the other countries of origin
of persons who migrate to the United States across the United States land and coastal borders with
Canada and Mexico. Those persons are subject to immigration processing in the POEs and Border
Patrol stations. Many of those persons (typically aliens who lack valid travel documents and are
therefore inadmissible) are held in the common areas of the facilities, in close proximity to one
another, for hours or days, as they undergo immigration processing. The common areas of such
facilities were not designed for, and are not equipped to, quarantine, isolate, or enable social
distancing by persons who are or may be infected with COVID-19. The introduction into
congregate settings in land and coastal POEs and Border Patrol stations of persons from Canada
or Mexico increases the already serious danger to the public health to the point of requiring a
temporary suspension of the right of introduction of such persons into the United States.

       The public health risks of inaction include transmission and spread of COVID-19 to CBP
personnel, U.S. citizens, lawful permanent residents, and other persons in the POEs and Border

4
  As of October 1, 2020, CBP has had 2,195 employees contract COVID-19. In addition, 13 employees and one USBP
transportation contractor have died due to the virus. Any outbreak of COVID-19 among CBP personnel in land and
coastal POEs or Border Patrol stations would impact CBP operations negatively. Although not part of the CDC public
health analysis, it bears emphasizing that the impact on CBP could reduce the security of U.S. borders and the speed
with which cargo moves across the same.




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Patrol stations; further transmission and spread of COVID-19 in the interior; and the increased
strain that further transmission and spread of COVID-19 would put on the United States healthcare
system and supply chain during the current public health emergency.

         These risks are troubling because POEs and Border Patrol stations were not designed and
are not equipped to deliver medical care to numerous persons exposed to or infected with a
quarantinable communicable disease, nor are they capable of providing the level of medical care
that would be necessary in the cases of serious COVID-19 infection that occur with greater
frequency in vulnerable populations like the elderly and those with certain pre-existing
conditions. Indeed, CBP transfers persons with acute presentations of illness to local or regional
healthcare providers for treatment. Outbreaks of COVID-19 in POEs or Border Patrol stations
would lead to transfers of such persons to local or regional health care providers, which would
exhaust the local or regional healthcare resources, or at least reduce the availability of such
resources to the domestic population, and further expose local or regional healthcare workers to
COVID-19. The continuing availability of healthcare resources to the domestic population is a
critical component of the federal government’s overall public health response to COVID-19.

        Based on these ongoing concerns and to protect the public health, I hereby suspend the
introduction of all covered aliens into the United States until I determine that the danger of further
introduction of COVID-19 into the United States has ceased to be a serious danger to the public
health, and continuation of the Order is no longer necessary to protect the public health. Every 30
days, CDC shall review the latest information regarding the status of the COVID-19 pandemic and
associated public health risks to ensure that the Order remains necessary to protect the public
health. Upon determining that the further introduction of COVID-19 into the United States is no
longer a serious danger to the public health necessitating the continuation of this Order, I will
publish a notice in the Federal Register terminating this Order and its Extensions. I may amend
this Order as necessary to protect the public health.

    II.      Factual Basis for Order 5

             1. COVID-19 is a global pandemic that has spread rapidly

       COVID-19 is a quarantinable communicable disease caused by a novel (new) coronavirus,
SARS-CoV-2, that was first identified as the cause of an outbreak of respiratory illness that began
in Wuhan, Hubei Province, People’s Republic of China (China). As of October 1, 2020, there
were over 34,103,279 cases of COVID-19 globally, resulting in over 1,016,167 deaths.

        COVID-19 spreads easily and sustainably within communities. 6 The virus is thought to
transfer principally by person-to-person contact through respiratory droplets produced during
5
  Given the dynamic nature of the public health emergency, CDC recognizes that the types of facts and data set forth
in this section may change rapidly (even within a matter of hours). The facts and data cited by CDC in this order
represent a good-faith effort by the agency to present the current factual justification for the order.

6
     COVID-19 Pandemic Planning Scenarios, CTRS. FOR DISEASE CONTROL & PREVENTION,
https://www.cdc.gov/coronavirus/2019-ncov/hcp/planning-scenarios.html, (last visited Oct. 3, 2020), (CDC estimates
that the viral transmissibility (R0) of COVID-19 is around 2.5, but may be as high as 4, meaning that a single infected



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exhalation, such as breathing, speaking, coughing, and sneezing. Droplets can span a wide
spectrum of sizes that can remain airborne from seconds for larger droplets to several hours for
smaller droplets and particles. The virus may also transfer through contact with surfaces or objects
contaminated with these droplets. 7 There is also evidence of asymptomatic transmission, in which
an individual infected with COVID-19 is capable of spreading the virus to others before exhibiting
symptoms. 8

        Symptoms may include fever or chills, cough, and shortness of breath or difficulty
breathing, fatigue, muscle or body aches, headache, new loss of taste or smell, sore throat,
congestion or runny nose, nausea or vomiting, and diarrhea, and typically appear 2-14 days after
exposure to the virus. 9 Manifestations of severe disease have included severe pneumonia, acute
respiratory distress syndrome (ARDS), septic shock, and multi-organ failure. 10 Mortality rates are
higher among seniors and those with certain underlying medical conditions, such as chronic
obstructive pulmonary disease (COPD), serious heart conditions, cancer, Type 2 diabetes, and
those with compromised immune systems. 11

         Unfortunately, at this time, there is no vaccine against COVID-19, although several are in
development. While U.S. Food and Drug Administration (FDA) has not approved drugs to treat
patients with COVID-19 based on a demonstration of safety and efficacy in randomized controlled
trials, FDA has granted an Emergency Use Authorization for the use of VEKLURY ® (remdesivir)
and other investigational therapeutics in the treatment of COVID-19 infection. Beyond these
therapeutics, treatment is currently limited to supportive care to manage symptoms.
Hospitalization may be required in severe cases and mechanical respiratory support may be needed
in the most severe cases.



person will on average infect between 2 to 4 others).

7
  Interim Infection Prevention and Control Recommendations for Healthcare Personnel During the Coronavirus
Disease     2019     (COVID-19)     Pandemic,     CTRS.    FOR    DISEASE      CONTROL   &    PREVENTION,
https://www.cdc.gov/coronavirus/2019-ncov/hcp/infection-control-
recommendations.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
ncov%2Finfection-control%2Fcontrol-recommendations.html (last visited Sept. 29, 2020),

8
    COVID-19 Pandemic Planning Scenarios, CTRS. FOR DISEASE CONTROL & PREVENTION,
https://www.cdc.gov/coronavirus/2019-ncov/hcp/planning-scenarios.html, (last visited Sept. 29, 2020), (CDC’s
current best estimate is that between 30 to 70% of infections are transmitted prior to symptom onset (pre-symptomatic
transmission)).

9
 Coronavirus Disease 2019 (COVID-19): Symptoms of Coronavirus, CTRS. FOR DISEASE CONTROL & PREVENTION,
https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html (last updated May 13, 2020).

10
   Sevim Zaim, et al., COVID-19 and Multiorgan Response, 00 CURRENT PROBLEMS IN CARDIOLOGY 2020, (available
at: https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7187881/pdf/main.pdf).

11
  Coronavirus Disease 2019 (COVID-19): People with Certain Medical Conditions, CTRS. FOR DISEASE CONTROL &
PREVENTION,             https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-
extra-precautions%2Fgroups-at-higher-risk.html (last updated Sept. 11, 2020).



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         Global efforts to slow the spread of COVID-19 have included sweeping travel limitations
and lockdowns. Nations such as the European Union (EU) Member States and Schengen Area
countries, 12 Australia, New Zealand, and Canada have imposed restrictions on international
travelers. 13 In many countries, individuals are being asked to self-quarantine for 14 days—the
outer limit of the COVID-19’s estimated incubation period—following return from a foreign
country with sustained community transmission. For example, all returning citizens and residents
of Australia and New Zealand are subject to a mandatory 14-day quarantine at designated secure
facilities, such as a hotel at their port of arrival. 14


              2. The March 20, 2020 Order has reduced the risk of COVID-19 transmission in
                 POEs and Border Patrol stations

        I issued the March 20, 2020 Order pursuant to Sections 362 and 365 of the Public Health
Service (PHS) Act, 42 U.S.C. §§ 265, 268, and an interim final rule implementing Section 362. 15
The March 20, 2020 Order suspended the introduction of certain “covered aliens” into the United
States for a period of 30 days. The definition of “covered aliens” in the March 20, 2020 Order is
substantially the same as in this Order. The March 20, 2020 Order was based on the following
determinations:

          COVID-19 is a communicable disease that poses a danger to the public health;

          COVID-19 is present in numerous foreign countries, including Canada and Mexico;

          There is a serious danger of the introduction of COVID-19 into the land POEs and Border
          Patrol stations at or near the United States borders with Canada and Mexico, and into the
          interior of the country as a whole, because COVID-19 exists in Canada, Mexico, and the
          other countries of origin of persons who migrate to the United States across the land borders
          with Canada and Mexico;

12
   Migration and Home Affairs: Schengen Area, EUR. COMM’N (Jan. 1, 2020), https://ec.europa.eu/home-affairs/what-
we-do/policies/order-and-visas/schengen_en (“Today, the Schengen Area [of the EU] encompasses most EU States,
except for Bulgaria, Croatia, Cyprus, Ireland and Romania. However, Bulgaria, Croatia and Romania are currently in
the process of joining the Schengen Area. Of non-EU States, Iceland, Norway, Switzerland and Liechtenstein have
joined the Schengen Area.”); Travel to and from the EU during the pandemic: Travel restrictions, EUR. COMM’N,
https://ec.europa.eu/info/live-work-travel-eu/health/coronavirus-response/travel-and-transportation-during-
coronavirus-pandemic/travel-and-eu-during-pandemic_en (last visited Aug. 31, 2020).

13
  See Andrea Salcedo, Sanam Yar, & Gina Cherelus, Coronavirus Travel Restrictions, Across the Globe, N.Y. TIMES
(July 16, 2020), https://www.nytimes.com/article/coronavirus-travel-restrictions.html.

14
    Id.; COVID-19 and the border: Travel restrictions, CMLTH. OF AUSTL, DEP’T OF HOME AFF.,
https://covid19.homeaffairs.gov.au/travel-restrictions-0 (last updated Aug. 28, 2020); COVID-19: New Zealanders in
the UK - Frequently Asked Questions, N.Z. FOREIGN AFF. & TRADE, https://www.mfat.govt.nz/en/countries-and-
regions/europe/united-kingdom/new-zealand-high-commission/living-in-the-uk/covid-19-coronavirus/ (last visited
Aug. 28, 2020).

15
     85 FR 16559.



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          But for a suspension-of-entry order under 42 U.S.C. § 265, covered aliens would be subject
          to immigration processing at the land POEs and Border Patrol stations and, during that
          processing, many of them (typically aliens who lack valid travel documents and are
          therefore inadmissible) would be held in the congregate areas of the facilities, in close
          proximity to one another, for hours or days; and

          Such introduction into congregate settings of persons from Canada or Mexico would
          increase the already serious danger to the public health of the United States to the point of
          requiring a temporary suspension of the introduction of covered aliens into the United
          States.

        The March 20, 2020 Order was extended on April 20, 2020 and amended on May 19, 2020,
to clarify that it applies to all land and coastal POEs and Border Patrol stations 16 at or near the
United States’ border with Canada or Mexico that would otherwise hold covered aliens in a
congregate setting. 17 Pursuant to the May 19, 2020 Amendment, the March 20, 2020 Order was
again extended with CDC thereafter conducting reviews every 30 days. 18 Upon conducting these
reviews, I have kept the amended Order in place; the current 30 day period lapses on October 17,
2020.

        In general, the federal government’s overall experience under the March 20, 2020 Order,
together with the factual developments since May 20, 2020, sustain the policy rationales for issuing
this Order.

         Since the March 20, 2020 Order was issued, the daily average population in CBP custody
is 1,134 individuals. This is a 64% reduction of daily in custody numbers since the March 20,
2020 Order went into effect and a 67% reduction from the same period in 2019. In the 50 days
preceding the March 20, 2020 Order, CBP officers made over 1,600 trips to community hospitals
to facilitate advanced medical care for individuals. For the first 80 days after the March 20, 2020
Order’s implementation, CBP made only 400 trips for individuals to receive medical care from
community hospitals. This represents a 75% decrease in utilization. In the 60 days preceding
September 16, 2020, CBP made 746 trips for individuals to receive medical care from community
hospitals. The increase in hospital utilization corresponds with a month-over-month increase in
CBP enforcement encounters, including encounters with covered aliens who have subsequently
tested positive for COVID-19. The risks of COVID-19 transmission and overutilization in
community hospitals serving domestic populations would have been greater absent the March 20,
2020 Order.




16
  As explained below, air POEs are excluded from the Amended Order and Extension because they do not present
the same public health risk as land and coastal POEs.

17
     85 FR 22424.

18
     85 FR 31503.



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       The March 20, 2020 Order has reduced the risk of COVID-19 transmission in POEs and
Border Patrol stations, and thereby reduced risks to DHS personnel and the U.S. health care
system. The public health risks to the DHS workforce – and the erosion of DHS operational
capacity – would have been greater absent the March 20, 2020 Order. DHS data shows that the
March 20, 2020 Order has significantly reduced the population of covered aliens held in
congregate settings in POEs and Border Patrol stations, thereby reducing the risk of COVID-19
transmission for DHS personnel and others within these facilities.

        By significantly reducing the number of covered aliens held in POEs and Border Patrol
stations, the March 20, 2020 Order reduced the density of covered aliens held in congregate
custody within these facilities, which reduced the risk of exposure to COVID-19 for DHS
personnel and others in POEs and Border Patrol stations.

            3. Conditions in Canada, Mexico, and the United States warrant issuing this
               Order

       COVID-19 has continued to spread since the March 20, 2020 Order. Canada, Mexico, and
the countries of origin of many of the individuals who travel to the United States through Canada
or Mexico continue to see increasing numbers of COVID-19 infections and deaths.

                     i. Canada

        As detailed in the March 20, 2020 Order, approximately 33 million individuals crossed the
Canadian border into the United States in 2017. Historically, inadmissible aliens attempting to
unlawfully enter the United States from Canada have included not only Canadian nationals, but
also nationals of countries experiencing, or suspected of experiencing, widespread COVID-19
transmission such as the member countries of the Schengen Area, China, and Iran. 19 From March
through August, 2020, CBP has processed 28,841 inadmissible aliens at POEs at the U.S.-
Canadian border, and CBP has apprehended 2,014 inadmissible aliens attempting to unlawfully
enter the United States between POEs, of which DHS determined 1,126 were covered aliens
subject to the March 20, 2020 Order. 20

        As of October 6, 2020, Canada reported over 171,300 cases of COVID-19 and over 9,500
confirmed deaths with a seven day average of 1,797 new cases. 21 In response to increases in the
level of community transmission, authorities in Toronto, Ottawa, and several other Ontario cities

19
  U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector in Fiscal Years 2007 to 2019, U.S.
BORDER PATROL, U.S. DEP’T. OF HOMELAND SECURITY,
https://www.cbp.gov/sites/default/files/assets/documents/2020-
Jan/U.S.%20Border%20Patrol%20Nationwide%20Apprehensions%20by%20Citizenship%20and%20Sector%20%2
8FY2007%20-%20FY%202019%29_1.pdf (last visited Oct. 9, 2020).
20
   Nationwide Enforcement Encounters: Title 8 Enforcement Actions and Title 42 Expulsions, U.S. CUSTOMS AND
BORDER PROTECTION, U.S. DEP’T. OF HOMELAND SECURITY, https://www.cbp.gov/newsroom/stats/cbp-enforcement-
statistics/title-8-and-title-42-statistics (last visited Oct. 9, 2020).
21
   Coronavirus Disease (COVID-19): Outbreak Update, GOV’T OF CAN., https://www.canada.ca/en/public-
health/services/diseases/2019-novel-coronavirus-infection.html (last updated Oct. 6, 2020).



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have mandated indoor mask use. On September 19, 2020, Ontario issued new restrictions limiting
indoor gatherings to 10 people and outdoor gatherings to 25. 22 In Quebec masks have been
mandated in all indoor public places since July 27, 2020. In an effort to slow the transmission and
spread of the virus, the Canadian government banned most foreign nationals from entry and
mandated that returning Canadians and excepted foreign nationals (including Americans) self-
monitor for COVID-19 symptoms for 14 days following their return. 23 Canadian public health
officials have expressed alarm at the recent increase in new COVID-19 cases after several months
of low level community transmission, particularly as Canada begins to enter influenza season. 24

                        ii. Mexico

        As of October 1, 2020, Mexico has 738,163 confirmed cases, and 77,163 reported deaths. 25
While Mexico’s official statistics for COVID-19 infections and number of deaths provide insights
to general trends, they have serious deficiencies that greatly understate actual totals. COVID-19
infections and deaths are likely multiples of what is reported as Mexico has the lowest diagnostic
testing per capita of OECD countries. Mexico’s positivity rate is estimated to be around 44%
based on confirmed positive cases, confirmed negative tests, and suspected cases. This is an
improvement from a positivity rate of approximately 50% in mid-July. However, Mexico’s Health
Ministry, SALUD, reported on September 4, 2020 excess mortality totals of 122,765 deaths
through August 28, 2020 as compared to 2019 totals. This figure includes confirmed cases of
COVID-19 and deaths confirmed from other causes, but the excess suggests the true number of
deaths from COVID-19 in Mexico is much higher than official counts.

        While the data on Mexico is more limited, there are signs that the rate of COVID-19
community transmission in Mexico is slowing as the overall public health situation improves
somewhat. As of September 25, 2020, under SALUD’s “stoplight” designation system, none of
Mexico’s 32 states are red, 15 are orange, 16 are yellow and 1, Colima, is green. According to
SALUD, Mexico City has the most lab-confirmed cases with 121,087 and the most deaths with
11,814 as of September 24, 2020. Hospital occupancy rates have also improved in recent weeks—
the national hospital occupancy rate is 28 percent—hospital occupancy rates remain elevated in
Mexican border-states such as Nuevo Leon (47 percent). As of September 25, 2020, several
Mexican border states report relatively high numbers of active COVID-19 infections: Tamaulipas
(3,566 active cases), Nuevo Leon (6,028 actives cases) and Baja California (1,440 active cases).


22
  Reopening Ontario in Stages: Gathering Limits, GOV’T OF ONTARIO, https://www.ontario.ca/page/reopening-
ontario-stages#restrictions (last updated Oct. 2, 2020).

23
   Travel Restriction Measures: COVID-19 Program Delivery Travel Restriction Exemptions for Those Departing
From a Country Other Than the U.S., GOV’T OF CANADA, https://www.canada.ca/en/immigration-refugees-
citizenship/corporate/publications-manuals/operational-bulletins-manuals/service-delivery/coronavirus/travel-
restrictions.html#travel-restriction-exemptions (last updated Jul. 23, 2020).

24
   Statement from the Chief Public Health Officer of Canada on October 3, 2020, GOV’T OF CANADA,
https://www.canada.ca/en/public-health/news/2020/10/statement-from-the-chief-public-health-officer-of-canada-on-
october-3-2020.html (last updated Oct. 3, 2020).

25
     WHO Coronavirus Disease (COVID-19) Dashboard, WHO, https://covid19.who.int/table (last visited Oct. 2, 2020).



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        The COVID-19 pandemic in Mexican states along the U.S.-Mexico border region presents
increased concerns for the United States because all covered aliens crossing the U.S.-Mexico
border necessarily travel through that region and the level of migration is so high. From March to
August, 2020, DHS has processed 54,503 inadmissible aliens at POEs along the border, and U.S.
Border Patrol has apprehended 345,267 aliens attempting to unlawfully enter the United States
between POEs. 26 DHS determined 153,569 were covered aliens subject to the March 20, 2020
Order, of which over 70% were Mexican nationals. With the continued growth of COVID-19
cases in Central and South America, the overwhelming majority of covered aliens encountered on
the U.S.-Mexico border are nationals of countries experiencing sustained human to human
transmission of COVID-19.

       The continued prevalence of COVID-19 in Mexico continues to present a serious danger
of the introduction of COVID-19 into the United States. If community transmission in the
Mexican border region accelerates, experience shows then the numbers of COVID-19 cases in that
region are likely to increase, as are the numbers of infected covered aliens who seek to introduce
themselves into the United States. The introduction of more infected covered aliens would likely
have a negative impact on community transmission in the United States.

                       iii. United States

       While pandemic conditions have improved, community transmission of COVID-19 is
continuing across the United States. The United States has recorded over 7,200,000 cumulative
confirmed cases; and more than 200,000 deaths. 27 The country is averaging around 36,000 to
40,000 new cases a day. 28 Nationally, since mid-July, there has been an overall decreasing trend

in the percentage of hospitalizations. 29 To wit, as of October 3, 2020, the seven day average of
new cases and deaths are down 35.8% and 40.3% respectively from their peak levels. Similarly,
the seven day positivity rate, as of October 3, 2020, was 4.6%. This low positivity rate is not
shared uniformly, Arizona and Texas both report positivity rates of between 11-20%. 30

       Millions of Americans are subject to local and state public health restrictions and
precautions calculated to slow the spread of, and protect others from, COVID-19. CDC continues



26
     Supra, note 21.
27
  CDC COVID Data Tracker: United States COVID-19 Cases and Deaths by State, CTRS. FOR DISEASE CONTROL &
PREVENTION https://covid.cdc.gov/covid-data-tracker/#cases_casesinlast7days (last visited Oct. 6, 2020).

28
     Id.
29
  COVID View: A Weekly Summary of U.S. COVID-19 Activity Week 39, CTRS. FOR DISEASE CONTROL &
PREVENTION https://www.cdc.gov/coronavirus/2019-ncov/covid-data/covidview/index.html (last visited Oct. 6,
2020).
30
   CDC COVID Data Tracker: United States Laboratory Testing, CTRS. FOR DISEASE CONTROL & PREVENTION
https://covid.cdc.gov/covid-data-tracker/#testing_totalpercentpositive (last visited Oct. 6, 2020).



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to recommend that all Americans practice vigorous hand hygiene, engage in social distancing, 31
limit non-essential travel, 32 and wear cloth face coverings or masks when out in public. 33 Public
health measures intended to slow the spread of COVID-19 in order to avoid overwhelming
healthcare systems have largely proven successful. However, several cities and states, including
several located at or near U.S. borders, continue to experience widespread, sustained community
transmission that has strained their healthcare and public health systems. Furthermore, continuing
to slow the rate of COVID-19 transmission is critical as states and localities ease public health
restrictions on businesses and public activities in an effort to mitigate the economic and other costs
of the COVID-19 pandemic.

     III.    Determination and Implementation

        Based on the foregoing, I find that COVID-19 is a quarantinable communicable disease 34
and that there is a serious danger of the introduction of COVID-19 into the POEs and Border Patrol
stations at or near the United States borders with Canada and Mexico, and the interior of the
country as a whole, because COVID-19 exists in Canada, Mexico, and the countries or places of
origin of the covered aliens who migrate to the United States across the land and coastal borders
with Canada and Mexico. I also find that the introduction into land and coastal POEs and Border
Patrol stations of covered aliens increases the seriousness of the danger to the point of requiring a
temporary suspension of the right to introduce covered aliens into the United States. Therefore, I
am suspending the right to introduce and prohibiting the introduction of covered aliens travelling
into the United States from Mexico and Canada.

        In making this determination, I have considered facts including the overall number of cases
of COVID-19 reported in Mexico, Canada, and the countries or places of origin of the covered
aliens who migrate to the United States across the land and coastal borders with Canada and
Mexico, the influx of cases in areas near the U.S.-Mexico border, epidemiological factors
including the viral transmissibility and asymptomatic transmission of the disease, the morbidity
and mortality associated with the disease for individuals in certain risk categories, and the negative
effects of the disease already experienced by CBP. Therefore, it is necessary for the United States
to continue the suspension of the right to introduce covered aliens at this time.

         The continued suspension of the right to introduce covered aliens requires the movement
of all such aliens to the country from which they entered the United States, their country of origin,

31
     How to Protect Yourself & Others, CTRS. FOR DISEASE CONTROL & PREVENTION
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html (last visited Oct. 6, 2020).
32
     Travel During the COVID-19 Pandemic, CTRS. FOR DISEASE CONTROL & PREVENTION
https://www.cdc.gov/coronavirus/2019-ncov/travelers/travel-during-covid19.html (last visited Oct. 6, 2020).

33
   COVID-19: Use of Cloth Face Coverings to Help Slow the Spread of COVID-19, CTRS. FOR DISEASE CONTROL &
PREVENTION, https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/diy-cloth-face-coverings.html (last
reviewed Oct. 6, 2020).

34
   COVID-19 is a severe acute respiratory syndrome, which is one of the diseases included in the “Revised List of
Quarantinable Communicable Diseases.” Exec. Order 13295 (Apr. 4, 2003), as amended by Exec. Order 13375 (Apr.
1, 2005) and Exec. Order 13674 (July 31, 2014).



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or another practicable location outside the United States, as rapidly as possible, with as little time
spent in congregate settings as practicable under the circumstances. The faster a covered alien is
returned to the country from which they entered the United States, to their country of origin, or
another location as practicable, the lower the risk the alien poses of introducing, transmitting, or
spreading COVID-19 into POEs, Border Patrol stations, other congregate settings, and the interior.

        I consulted with DHS and other federal departments as needed before I issued this Order,
and requested that DHS aid in the enforcement this Order because CDC does not have the
capability, resources, or personnel needed to do so. As part of the consultation, CBP developed
an operational plan for implementing this Order. The plan is generally consistent with the language
of this Order directing that covered aliens spend as little time in congregate settings as practicable
under the circumstances. Additionally, DHS will continue to use repatriation flights as necessary
to move covered aliens on a space-available basis, as authorized by law. In my view, DHS’s
assistance with implementing the Order is necessary, as CDC’s other public health tools are not
viable mechanisms given CDC resource and personnel constraints, the large numbers of covered
aliens involved, and the likelihood that covered aliens do not have homes in the United States. 35

        This Order is not a rule subject to notice and comment under the Administrative Procedure
Act (APA). Notice and comment and a delay in effective date are not required because there is
good cause to dispense with prior public notice and the opportunity to comment on this Order and
a delay in effective date. Given the public health emergency caused by COVID-19, it would be
impracticable and contrary to public health practices—and, by extension, the public interest—to
delay the issuing and effective date of this Order. In addition, because this Order concerns the
ongoing discussions with Canada and Mexico on how best to control COVID-19 transmission over
our shared border, it directly “involve[s] . . . a . . . foreign affairs function of the United States.” 5
U.S.C. § 553(a)(1). Notice and comment and a delay in effective date would not be required for
that reason as well.

                                                      ***

        This Order shall remain effective until I determine that the danger of further introduction
of COVID-19 into the United States has ceased to be a serious danger to the public health, and
continuation of this Order is no longer necessary to protect public health. Every 30 days, the CDC
shall review the latest information regarding the status of the COVID-19 pandemic and associated
public health risks to ensure that the Order remains necessary to protect public health.

        Upon determining that the further introduction of COVID-19 into the United States is no
longer a serious danger to the public health necessitating the continuation of this Order, I will
publish a notice in the Federal Register terminating this Order and its Extensions. I retain the
authority to extend, modify, or terminate the Order, or implementation of this Order, at any time
as needed to protect public health.


35
  CDC relies on the Department of Defense, other federal agencies, and state and local governments to provide both
logistical support and facilities for federal quarantines. CDC lacks the resources, manpower, and facilities to
quarantine covered aliens.



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       In testimony whereof, the Director, Centers for Disease Control and Prevention, U.S.
Department of Health and Human Services, has hereunto set his hand at Washington, DC, this
13th day of October, 2020.




Robert R. Redfield, MD
Director
Centers for Disease Control and Prevention




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                  EXHIBIT D
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     DEPARTMENT OF HEALTH AND                                   b. Quarantine and Isolation of Repatriates         & Prevention’s (CDC) Order on covered
     HUMAN SERVICES                                                and Cruise Ship Travelers                       aliens, Control of Communicable
                                                                c. The CDC No Sail Order for Cruise Ships          Diseases; Foreign Quarantine:
     42 CFR Part 71                                             d. Travel Restrictions at the Land Ports of
                                                                                                                   Suspension of Introduction of Persons
                                                                   Entry Along the United States-Canada
                                                                   and United States-Mexico Borders                into United States from Designated
     [Docket No. CDC–2020–0033]
                                                                e. The CDC Order on Covered Aliens                 Foreign Countries or Places for Public
     RIN 0920–AA76                                              3. Other Jurisdictions Have Taken Similar          Health Purposes, (85 FR 16559) (Mar.
                                                                   Actions To Slow the Introduction of             24, 2020), as amended, is vacated or
     Control of Communicable Diseases;                             COVID–19, Which Underscores Why                 enjoined by a court, in which case, the
     Foreign Quarantine: Suspension of the                         This Final Rule Is in the Interest of U.S.      Secretary will publish a document in
     Right To Introduce and Prohibition of                         Public Health                                   the Federal Register announcing an
     Introduction of Persons Into United                        a. The European Union and Schengen Area            updated effective date for this rule.
     States From Designated Foreign                             b. Australia and New Zealand                          The U.S. Department of Health and
                                                                c. Canada
     Countries or Places for Public Health                                                                         Human Services (HHS) finalizes the
                                                                C. This Rulemaking Finalizes Procedures
     Purposes                                                      Necessary for HHS/CDC’s Continued               interim final rule (IFR) entitled Control
                                                                   Protection of U.S. Public Health From           of Communicable Diseases; Foreign
     AGENCY: Centers for Disease Control and
                                                                   the COVID–19 Pandemic and Future                Quarantine: Suspension of Introduction
     Prevention (CDC), Department of Health                        Threats                                         of Persons Into United States From
     and Human Services (HHS).                               III. Statutory Authority                              Designated Foreign Countries or Places
     ACTION: Final rule.                                        A. History of the U.S. Public Health Laws          for Public Health Purposes (85 FR
                                                                B. Other Statutory Authorities Relevant to         16559) published on March 24, 2020, to
     SUMMARY: The Department of Health and                         This Rulemaking                                 implement section 362 of the Public
     Human Services (HHS) issues this final                  IV. Provisions of New Section 71.40 and
                                                                                                                   Health Service (PHS) Act, 42 U.S.C. 265.
     rule to amend the Foreign Quarantine                          Changes From Interim Final Rule
                                                                A. Section 71.40(a)
                                                                                                                      HHS/CDC implements section 362
     Regulations administered by the Centers                                                                       because the Surgeon General’s statutory
     for Disease Control and Prevention                         B. Section 71.40(b)
                                                                1. 71.40(b)(1): ‘‘Introduction Into the            authority under section 362 passed by
     (CDC). This final rule provides a                                                                             operation of law to the Secretary of
                                                                   United States’’
     procedure for the CDC Director to                          2. 71.40(b)(2): ‘‘Prohibit, in Whole or in         Health and Human Services (HHS
     suspend the right to introduce and                            Part, the Introduction Into the United          Secretary),1 who delegated his or her
     prohibit introduction, in whole or in                         States of Persons’’                             statutory authority to the CDC Director
     part, of persons from such foreign                         3. 71.40(b)(3): ‘‘Serious Danger of the            (Director).
     countries or places as the Director shall                     Introduction of Such Quarantinable                 Through this rulemaking, HHS/CDC
     designate in order to avert the danger of                     Communicable Disease Into the United            establishes final regulations under
     the introduction of a quarantinable                           States’’                                        which the Director may suspend the
     communicable disease into the United                       4. 71.40(b)(4): ‘‘Place’’
                                                                5. 71.40(b)(5): ‘‘Suspension of the Right to
                                                                                                                   right to introduce and prohibit, in whole
     States, and for such period of time as                                                                        or in part, the introduction of persons
                                                                   Introduce’’
     the Director may deem necessary for                        C. Section 71.40(c)                                into the United States for such period of
     such purpose.                                              D. Section 71.40(d)                                time as the Director may deem
     DATES: This final rule is effective on                     E. Section 71.40(e)                                necessary to avert the serious danger of
     October 13, 2020.                                          F. Section 71.40(f)                                the introduction of a quarantinable
                                                                G. Sections 71.40(g)                               communicable disease into the United
     FOR FURTHER INFORMATION CONTACT:
                                                             V. Responses to Public Comments                       States. This rulemaking does not
     Nina Witkofsky, Acting Chief of Staff,                  VI. Alternatives Considered
     Centers for Disease Control and                                                                               address the ‘‘property’’ prong of the
                                                             VII. Regulatory Impact Analysis
     Prevention, 1600 Clifton Road NE, MS                       A. Unfunded Mandates Reform Act
                                                                                                                   statute because existing regulations
     H21–10, Atlanta, GA 30329. Telephone:                      B. National Environmental Policy Act               already do so. The final rule uses the
     404–639–7000; email: cdcregulations@                          (NEPA)                                          term ‘‘quarantinable communicable
     cdc.gov.                                                   C. Executive Order 12988: Civil Justice            disease’’ instead of ‘‘communicable
                                                                   Reform                                          disease’’ to specify that this regulation
     SUPPLEMENTARY INFORMATION: This final                      D. Executive Order 13132: Federalism               is only meant to apply to communicable
     rule is organized as follows:                              E. Plain Language Act of 2010                      diseases that are included on the
                                                                F. Congressional Review Act and
     Table of Contents
                                                                   Administrative Procedure Act                       1 The statute assigns this authority to the Surgeon
     I. Summary                                                 G. Executive Orders 12866 and 13563 and            General of the Public Health Service. Nevertheless,
     II. Policy Rationale and Factual Basis for                    Regulatory Flexibility Act                      Reorganization Plan No. 3 of 1966 abolished the
           Final Rule                                           H. Assessment of Federal Regulation and            Office of the Surgeon General and transferred all
        A. HHS/CDC’s Experience Is That Travel                     Policies on Families                            statutory powers and functions of the Surgeon
           and Migration Can Impact the Spread of               I. Paperwork Reduction Act of 1995                 General and other officers of the Public Health
           Quarantinable Communicable Diseases                  J. Regulatory Reform Analysis Under                Service and of all agencies of or in the Public
                                                                                                                   Health Service to the Secretary of Health,
        B. The Response of the United States to the                Executive Order 13771
                                                                                                                   Education, and Welfare, now the Secretary of
           Coronavirus Disease 2019 (COVID–19)                                                                     Health and Human Services, 31 FR 8855–01, 80
           Pandemic Shows That This Final Rule Is            I. Summary
                                                                                                                   Stat. 1610 (June 25, 1966), see also Public Law 96–
           in the Interest of U.S. Public Health                This final rule is effective on October            88, Sec. 509(b), October 17, 1979, 93 Stat. 695
        1. COVID–19 Is a Highly Contagious                   13, 2020, unless the interim final rule               (codified at 20 U.S.C. Sec. 3508(b)). Sections 361
           Disease That Threatens Vulnerable                                                                       through 369 of the PHS Act (42 U.S.C. Sec.’s 264–
                                                             (IFR) entitled Control of Communicable                272) have been delegated from the HHS Secretary
           Populations                                       Diseases; Foreign Quarantine:
        2. The United States Has Taken Broad                                                                       to the CDC Director. References in the PHS Act to
           Actions To Slow the Introduction of
                                                             Suspension of Introduction of Persons                 the Surgeon General are to be read in light of the
                                                             Into United States From Designated                    transfer of statutory functions and re-designation.
           COVID–19 Into the Country and Protect                                                                   Although the Office of the Surgeon General was re-
           Vulnerable Populations                            Foreign Countries or Places for Public                established in 1987, the Secretary of HHS has
        a. Immigration and Nationality Act Section           Health Purposes (85 FR 16559) (Mar. 24,               retained the authorities previously held by the
           212(f) Proclamations                              2020), or the Centers for Disease Control             Surgeon General.



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     Federal list of quarantinable                           a quarantinable communicable disease,                 quarantinable communicable disease
     communicable diseases, which is a                       even if the quarantinable communicable                into the United States, even if persons
     subset of ‘‘communicable diseases’’                     disease has already been introduced,                  or property in the United States are
     specified by Executive Order of the                     transmitted, or is spreading within the               already infected or contaminated with
     President.2 Specifically, this final rule               United States.                                        the quarantinable communicable
     permits the Director to prohibit, in                       This definition clarifies that                     disease.’’ The final rule recognizes that
     whole or in part, the introduction into                 ‘‘introduction’’ does not necessarily                 people may be capable of transmitting a
     the United States of persons from                       conclude the instant that a person first              quarantinable communicable disease
     designated foreign countries (or one or                 steps onto U.S. soil. The introduction of             without actually knowing it, and their
     more political subdivisions or regions                  a person into the United States can                   movement may result in the
     thereof) or places, only for such period                occur not only when a person first steps              transmission of the disease to others.
     of time that the Director deems                         onto U.S. soil, but also when a person                This regulatory definition clarifies that,
     necessary to avert the serious danger of                on U.S. soil moves further into the                   even if persons in the United States are
     the introduction of a quarantinable                     United States, and begins to come into                already infected with a quarantinable
     communicable disease, by issuing an                     contact with persons or property in                   communicable disease, the probable
     Order in which the Director determines                  ways that increase the risk of                        introduction of additional persons
     that:                                                   transmitting the quarantinable                        capable of transmitting the disease in
        (1) By reason of the existence of any                communicable disease. A person’s                      the same or different localities
     quarantinable communicable disease in                   presence in the United States may still               nevertheless presents a serious danger
     a foreign country (or one or more                       constitute a violation of a section 362               of the introduction of the disease into
     political subdivisions or regions thereof)              Order regardless of the length of time                the United States. This clarification is
     or place there is serious danger of the                 the person has been present in the                    informed by HHS/CDC’s experience
     introduction of such quarantinable                      country in direct contravention of the                during the coronavirus disease 2019
     communicable disease into the United                    Order.                                                (COVID–19) pandemic and the Federal
     States; and                                                The final rule next defines ‘‘[p]rohibit,          government’s past use of section 362
        (2) This danger is so increased by the               in whole or in part, the introduction                 and its predecessor statute. Because
     introduction of persons from such                       into the United States of persons’’ to                COVID–19 meets the definition for a
     country (or one or more political                       mean ‘‘to prevent the introduction of                 severe acute respiratory syndrome, it is
     subdivisions or regions thereof) or place               persons into the United States by                     included in those quarantinable
     that a suspension of the right to                       suspending any right to introduce into                communicable diseases identified by
     introduce such persons into the United                  the United States, physically stopping                Executive Order.
     States is required in the interest of                   or restricting movement into the United                  This final rule defines ‘‘place’’ to
     public health.                                          States, or physically expelling from the              mean ‘‘any location specified by the
        The final rule defines key statutory                 United States some or all of the                      Director, including any carrier, as that
     and regulatory language to clarify when                 persons.’’ This is consistent with the                term is defined in 42 CFR 71.1,
     and under what circumstances the                        text and legislative history of the statute.          whatever the carrier’s flag, registry, or
     Director may exercise the section 362                   Congress sought to provide the                        country of origin.’’ This definition
     authority by issuing an administrative                  Executive Branch, to the maximum                      clarifies that when HHS refers to
     Order. The regulatory text of this final                extent allowed under the Constitution,                ‘‘place’’ in this final rule, it refers to
     rule sets forth only definitions and                    the power to prevent the introduction of              territories within or outside of a
     procedures. No action can or will be                    communicable diseases into the                        country, and also to carriers, regardless
     taken under this final rule absent an                   country. The power to expel is critical               of the carrier’s flag, registry, or country
     administrative Order issued by the                      to upholding the intent of Congress in                of origin. A ‘‘carrier’’ is defined in 42
     Director.                                               situations where neither HHS/CDC, nor                 CFR 71.1 to mean ‘‘a ship, aircraft, train,
        First, the final rule defines                        other Federal agencies, nor state or local            road vehicle, or other means of
     ‘‘introduction into the United States’’ of              governments have the facilities and                   transport, including military.’’
     persons to mean the movement of a                       personnel necessary to quarantine,                       This final rule defines ‘‘suspension of
     person from a foreign country (or one or                isolate, or conditionally release the                 the right to introduce’’ to mean to cause
     more political subdivisions or regions                  number of persons who would                           the temporary cessation of the effect of
     thereof) or place, or series of foreign                 otherwise increase the serious danger of              any law, rule, decree, or order pursuant
     countries or places, into the United                    the introduction of the communicable                  to which a person might otherwise have
     States so as to bring the person into                   disease into the United States. In those              the right to be introduced or seek
     contact with persons or property in the                 situations, the rapid expulsion of                    introduction into the United States.3
     United States, in a manner that the                     persons from the United States may be
     Director determines to present a risk of                the most effective public health measure                 3 Aliens who are outside the United States have

     transmission of a quarantinable                         that HHS/CDC can implement within                     no right to entry under either the Constitution or
     communicable disease to persons, or a                   the finite resource of HHS/CDC and its                the immigration laws. See, e.g., 8 U.S.C. Sec.
                                                             Federal, State, and local partners.                   1225(a)(1) (defining ‘‘applicant for admission’’ as an
     risk of contamination of property with                                                                        alien ‘‘who arrives in the United States’’); Sale v.
                                                             Absent the power to expel, the problem                Haitian Ctrs. Council, Inc., 509 U.S. 155, 173 (1993)
       2 Exec. Order 13295 (Apr. 4, 2003), as amended        that Congress sought to avoid—the                     (‘‘the presumption that Acts of Congress do not
     by Exec. Order 13375 (Apr. 1, 2005) and Exec.           introduction of communicable                          ordinarily apply outside our borders would support
     Order 13674 (July 31, 2014) (the current list of        diseases—may occur despite the best                   an interpretation of [a provision providing for
     diseases includes cholera, diphtheria, infectious                                                             deportation proceedings] as applying only within
     tuberculosis, plague, smallpox, yellow fever, viral     efforts of HHS/CDC.                                   United States territory.’’); United States ex. rel
     hemorrhagic fevers (including Lassa, Marburg,              The final rule defines ‘‘serious danger            Knauff v. Shaugnessy, 338 U.S. 537, 542 (1950) (‘‘At
     Ebola, Crimean-Congo, South American, and others        of the introduction of such                           the outset we wish to point out that an alien who
     not yet isolated or named), severe acute respiratory    quarantinable communicable disease                    seeks admission to this country may not do so
     syndromes (including Middle East Respiratory                                                                  under any claim of right. Admission of aliens to the
     Syndrome and COVID–19), and influenza caused by
                                                             into the United States’’ as ‘‘the probable            United States is a privilege granted by the sovereign
     novel or reemergent influenza viruses that are          introduction of one or more persons                   United States Government. Such privilege is
     causing, or have the potential to cause a pandemic).    capable of transmitting the                                                                       Continued




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        Congress’s use of the terms                          travelers; U.S. government employees;                 measures may be ineffective for persons
     ‘‘suspension’’ and ‘‘right to                           and those travelling for humanitarian                 who lack a home (or similar residence)
     introduce’’—rather than just                            purposes. The Director may also provide               in the United States or contact
     ‘‘introduce’’—means that that section                   in an Order that another Federal agency               information that is usable by public
     362 grants the Director the authority to                or a state or local government                        health authorities.
     temporarily suspend the effect of any                   implementing the order may carry out                     The issuance of conditional release
     law, rule, decree, or order by which a                  the exception in the Order under certain              orders, or recommendations to self-
     person would otherwise have the right                   circumstances.                                        isolate or self-quarantine, may also be
     to be introduced or seek introduction                                                                         inadequate if the persons arriving into
                                                             II. Policy Rationale and Factual Basis                the United States must first spend time
     into the U.S. The legislative history                   for Final Rule
     indicates that Congress, in enacting                                                                          in congregate settings—such as on
     section 362’s predecessor, sought to give                  This final rule is critical to protecting          carriers or in certain government
     the Executive Branch the authority to                   U.S. public health because Federal                    facilities. In congregate settings,
     suspend immigration when required in                    Orders requiring the quarantine,4                     travelers infected with a quarantinable
     the interest of public health. This                     isolation,5 or conditional release 6 of               communicable disease (whether
     authority is available only in rare                     persons arriving into the United States               asymptomatic or symptomatic) may
     circumstances when ‘‘required in the                    from foreign countries may be                         spread the disease to other travelers or
     interest of the public health.’’ 42 U.S.C.              inadequate to protect public health from              government personnel or private sector
     265.                                                    the serious danger of the introduction                workers, who may, in turn, spread
        This final rule also sets out the                    into the United States of a quarantinable             disease to the domestic population. In
     information that the Director must                      communicable disease. Simply put,                     such a scenario, the subsequent
     include in any order issued pursuant to                 quarantine, isolation, and conditional                separation of the original, infected
     this final rule. The Director must, as                  release have practical limitations.                   traveler would not mitigate the spread
     practicable, consult with relevant                      Federal quarantine and isolation                      of disease through other individuals
     Federal departments and agencies and                    permitted under section 361 of the PHS                who interacted with the traveler in the
     provide them with a copy of any order                   Act—where HHS/CDC funds and                           congregate setting.
     before issuing the order, and provide                   operates residential facilities with 24-                 Congress provided the Secretary an
     guidance to the affected agencies                       hour wrap-around services for persons                 additional tool for protecting public
     regarding implementation of any orders                  arriving into the United States from a                health when a communicable disease
     issued pursuant to this final rule. Any                 foreign country—may be scalable and                   exists in a foreign country and there is
     such order must include a statement of                  effective for hundreds of persons, but                a serious danger of the introduction of
     the following:                                          not thousands of them. Even then,                     the disease into the United States under
        (1) The foreign countries (or one or                 Federal quarantine and isolation require              section 362. As the Secretary’s delegate,
     more political subdivisions or regions                  substantial resources and are not                     the Director may exercise his or her
     thereof) or places from which the                       sustainable for extended periods of                   section 362 authority to avert the
     introduction of persons is being                        time. Ordering a conditional release or,              serious danger of the introduction of the
     prohibited;                                             alternatively, recommending that                      disease by issuing an order suspending
        (2) the period of time or                            individuals self-isolate or self-                     the right to introduce and prohibiting
     circumstances under which the                           quarantine at home or elsewhere                       the introduction of persons from a
     introduction of any persons or class of                 without direct public health                          foreign country or place. The Director
     persons into the United States is being                 supervision, requires fewer government                has the flexibility to prohibit the
     prohibited;                                             resources and can be scalable and                     introduction of some persons under
        (3) the conditions under which that                  sustainable for larger populations.                   section 362, while issuing orders for the
     prohibition on introduction will be                     Conditional release orders and                        quarantine, isolation, or conditional
     effective, in whole or in part, including               recommendations to self-isolate or self-              release of other persons under section
     any relevant exceptions that the Director               quarantine may be effective for persons               361 of the PHS Act and its
     determines are appropriate;                             who have a home (or similar residence)                implementing regulations. To achieve
        (4) the means by which the                           in the United States and can provide                  the purpose of section 362, the Director
     prohibition will be implemented; and                    complete and accurate contact                         also has the discretion to tailor the
        (5) the serious danger posed by the                  information for use in monitoring and                 exercise of the section 362 authority to
     introduction of the quarantinable                       contact tracing by State or local public              the specific danger, which may turn on
     communicable disease in the foreign                     health officials. But such public health              epidemiological factors, as well as the
     country or countries (or one or more                                                                          time, setting, and geographic location of
     political subdivisions or regions thereof)                 4 Under 42 CFR Sec. 71.1(b), quarantine means      the danger. This final rule establishes a
     or places from which the introduction of                the separation of an individual or group reasonably   flexible procedure for tailoring the
     persons is being prohibited.                            believed to have been exposed to a quarantinable      exercise of the section 362 authority in
                                                             communicable disease, but who is/are not yet ill,     response to the current COVID–19
        The Director may also provide that                   from others who have not been so exposed, to
     certain persons are excepted in an order.               prevent the possible spread of the quarantinable      pandemic and to address future public
     For example, the Director may except:                   communicable disease.                                 health threats.
     aliens whose travel falls within the                       5 Under 42 CFR Sec. 71.1(b), isolation means the      The policy rationale for this final rule
     scope of section 11 of the United                       separation of an individual or group who is           is grounded in HHS/CDC’s experience
                                                             reasonably believed to be infected with a             during the COVID–19 pandemic. When
     Nations Headquarters Agreement or                       quarantinable communicable disease from those
     who would otherwise be allowed entry                    who are healthy to prevent the spread of the          HHS/CDC has acted to prevent the
     into the United States pursuant to U.S.                 quarantinable communicable disease.                   movement of potentially exposed
     obligations under applicable                               6 Under 42 CFR Sec. 71.1(b), conditional release   persons and property into the United
                                                             means surveillance as defined under part 71 and       States, as described below, HHS/CDC
     international agreements; diplomatic                    includes public health supervision through in-
                                                             person visits by a health official or designee,
                                                                                                                   has slowed the introduction of COVID–
     granted to an alien only upon such terms as the         telephone, or through any electronic or internet-     19 into the United States and reduced
     United States shall prescribe.’’).                      based means as determined by the Director.            the exposure of government personnel


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     and private sector workers in congregate                exposed persons into the United States                  prohibition of the introduction of
     settings to COVID–19. HHS/CDC has                       has slowed the introduction of COVID–                   persons under section 362, or some
     also conserved the finite government                    19 into the United States. In early 2020,               combination of the two.
     resources available for the domestic                    cruise ships carrying thousands of crew                   The policy rationale and factual basis
     response to the COVID–19 pandemic.                      and passengers were continuing to                       for this final rule are detailed further
        HHS/CDC’s actions regarding the U.S.                 travel between international ports. As                  below.
     Department of Homeland Security’s                       crew and passengers became infected                     A. HHS/CDC’s Experience Is That
     (DHS) U.S. Customs and Border                           with COVID–19, disembarkation in
     Protection (CBP) facilities at or near the                                                                      Travel and Migration Can Impact the
                                                             major U.S. port cities presented a danger               Spread of Quarantinable Communicable
     U.S. borders with Canada and Mexico,                    of introduction of COVID–19 into the
     which are discussed more fully below,                                                                           Diseases
                                                             United States. HHS/CDC and other
     are one example of how this final rule                  Federal, state, and local agencies                         Medical and scientific knowledge
     enables HHS/CDC to mitigate the                         deployed hundreds of personnel to                       have increased dramatically in the past
     serious danger of the introduction of a                 disembark and quarantine or isolate                     century. But so have international travel
     quarantinable communicable disease                      travelers. This intervention averted the                and migration, which play a significant
     into the United States. COVID–19 is                     danger presented by those travelers who                 role in the global transmission of
     present in Canada and Mexico, and                       entered quarantine or isolation at                      quarantinable communicable diseases
     there is a serious danger that persons                  Federal sites, but it was not sustainable               that pose risks for vulnerable
     traveling from those countries will                     operationally because of the resources                  populations.10 Travelers can transmit
     introduce COVID–19 into CBP facilities,                 needed to maintain it. Nor did such                     quarantinable communicable diseases
     and ultimately the interior of the United               efforts mitigate COVID–19 transmission                  without actually knowing it, and
     States. CBP facilities are not structured               on cruise ships generally, or the                       thereby increase the risk of introduction
     or equipped for quarantine, isolation, or               continuing risk of cruise ships                         of quarantinable communicable diseases
     social distancing during a pandemic                     introducing COVID–19 into U.S. ports.                   into the United States. The risk
     involving a highly contagious disease                   HHS/CDC therefore exercised its                         increases significantly when travelers
     such as COVID–19. In particular, Border                 authorities under sections 361 and 365                  are in congregate settings, such as
     Patrol stations were designed for the                   of the PHS Act to issue a No Sail Order                 terminals or carriers with shared sitting,
     purpose of short-term holding in a                      and Suspension of Further Embarkation                   sleeping, eating, or recreational areas,
     congregate setting, and those facilities                (85 FR 16628), published on March 14,                   all of which may be conducive to
     generally lack the areas needed to                      2020,8 to ‘‘prevent the spread of disease               disease transmission.11
     quarantine or isolate aliens for COVID–                 and ensure cruise ship passenger and                       The speed and far reach of global
     19. The Director determined that                        crew health.’’                                          travel have been factors in prior
     measures such as quarantine, isolation,                    Another policy rationale for this final              outbreaks that expanded to numerous
     and social distancing would be a                        rule is that it addresses the ever-present              continents.12 Examples include: Severe
     challenge to conduct and sustain at CBP                 risk that future pandemics may present                  Acute Respiratory Syndrome (SARS),
     facilities, as acknowledged in the CDC                  new or different challenges that demand                 caused by a coronavirus (SARS-CoV) in
     Interim Guidance on Management of                       the prompt exercise of the section 362
     Coronavirus Disease 2019 (COVID–19)                     authority. A new virus could have a
                                                                                                                        10 See, e.g., Institute of Medicine (US) Forum on

     in Correctional and Detention                                                                                   Microbial Threats, Infectious Disease Movement in
                                                             longer incubation period than severe                    a Borderless World: Workshop Summary, Nat’l
     Facilities.7 He was concerned that
                                                             acute respiratory syndrome coronavirus                  Acad.’s Press (US); 2010, (available at: https://
     infected aliens in the congregate areas of                                                                      www.ncbi.nlm.nih.gov/books/NBK45728/)
                                                             2 (SARS-CoV–2) (the virus that causes
     the CBP facilities might spread COVID–                                                                          (hereinafter ‘‘Infectious Disease Movement in a
                                                             COVID–19) or cause a disease that takes
     19 to others in the same areas. Such                                                                            Borderless World’’); Wilson, ME, Travel and the
                                                             longer to run its course.9 In such                      Emergence of Infectious Diseases, 1 Emerging
     spread of COVID–19 within CBP
                                                             scenarios, the issuance and maintenance                 Infectious Diseases 2, 39–46 (1995), (available at:
     facilities might result in CBP personnel                                                                        https://www.ncbi.nlm.nih.gov/pmc/articles/
                                                             of Federal quarantine, isolation, and
     needing to self-quarantine or self-isolate                                                                      PMC2626831/); Tatem, A.J., Rogers, D.J. & Hay, S.,
                                                             conditional release orders would
     (or worse, cause them to become                                                                                 Global Transport Networks and Infectious Disease
                                                             consume even more resources than the                    Spread, Adv. Parasitology 62, 293–343 (2006),
     seriously ill or die), potentially
                                                             2020 interventions with cruise ships.                   (available at: https://www.researchgate.net/
     degrading the ability of CBP to perform                                                                         publication/7133296).
                                                             HHS/CDC would need to have a rule
     all functions necessary to fulfill its                                                                             11 See, e.g., Travelers’ Health: Cruise Ship Travel,
                                                             implementing section 362 in place to
     mission, and increasing the strain on                                                                           Chapter 8, Ctrs. for Disease Control & Prevention,
                                                             promptly implement public health                        https://wwwnc.cdc.gov/travel/yellowbook/2020/
     local healthcare systems. The Director
                                                             measures tailored to the danger                         travel-by-air-land-sea/cruise-ship-travel (last
     mitigated the public health risks in CBP
                                                             presented by the virus. Those measures                  updated June 24, 2019) (noting that the ‘‘often
     facilities—and the potential                                                                                    crowded, semi-enclosed environments onboard
                                                             could include quarantine, isolation, or
     downstream risks to U.S. public health                                                                          ships can facilitate the spread of person-to-person,
                                                             conditional release under section 361,                  foodborne, or waterborne diseases’’); Public Health
     and national security more broadly—by
                                                                                                                     Guidance for Potential Exposure to COVID–19
     issuing an Order under section 362                        8 This Order was subsequently modified and            Associated with International or Domestic Travel,
     prohibiting the introduction of certain                 extended on April 9, 2020 (effective, April 15, 2020)   Ctrs. for Disease Control & Prevention, https://
     ‘‘covered aliens’’ into CBP facilities.                 (85 FR 21004, (Apr. 15, 2020)) and July 16, 2020        www.cdc.gov/coronavirus/2019-ncov/php/risk-
        HHS/CDC actions regarding cruise                     (85 FR 44805, (July 21, 2020)).                         assessment.html (last updated Aug. 6, 2020).
                                                               9 HHS/CDC’s experience with other viruses                12 Infectious Disease Movement in a Borderless
     ships are another example of how
                                                             informs this concern. Notably, Ebola has an             World (noting that ‘‘swine-origin H1N1 has spread
     preventing the movement of potentially                  incubation period of 2–21 days. See Estimating the      globally, its movement hastened by global air
                                                             Future Number of Cases in the Ebola Epidemic—           travel’’ and [i]t is easy to see how travelers could
       7 Interim Guidance on Management of                   Liberia and Sierra Leone, 2014–2015, 63 MMWR            play a key role in the global epidemiology of
     Coronavirus Disease 2019 (COVID–19) in                  Supplement 5, Ctrs. for Disease Control &               infections that are transmitted from person to
     Correctional and Detention Facilities, Ctrs. for        Prevention, https://www.cdc.gov/mmwr/preview/           person, such as HIV, SARS, tuberculosis, influenza,
     Disease Control and Prevention, https://                mmwrhtml/su6303a1.htm (last updated Sep. 26,            and measles’’) (citing Hufnagel L, Brockmann D, &
     www.cdc.gov/coronavirus/2019-ncov/community/            2014) (The mean incubation period for Ebola is 6.3      Geisel T., Forecast and Control of Epidemics in a
     correction-detention/guidance-correctional-             days, with a median of 5.5 days and a 99th              Globalized World, Proceedings of the Nat.’l Acad.
     detention.html (last updated Jul. 22, 2020).            percentile at 21 days).                                 of Sci.’s 2004;101(42):15124–15129).



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     2003; the H1N1 influenza pandemic in                    between April 12, 2009, and April 10,                  began in the city of Wuhan in the Hubei
     2009; tuberculosis; measles; Middle East                2010, approximately 60.8 million cases,                Province of the People’s Republic of
     Respiratory Syndrome (MERS) caused                      274,304 hospitalizations, and 12,469                   China (PRC) in late 2019 and quickly
     by a coronavirus (MERS-CoV) in 2012;                    deaths occurred in the United States                   spread worldwide. On January 30, 2020,
     and Ebola virus disease in 2014 and                     due to H1N1 influenza.18 It is possible                the World Health Organization (WHO)
     2018. All of these diseases posed                       that had HHS/CDC suspended the                         declared that the outbreak of COVID–19
     significant public health risks,                        introduction of persons from Mexico                    is a Public Health Emergency of
     especially given how quickly the                        into the United States early in the                    International Concern.20 The following
     diseases spread.                                        pandemic, fewer individuals might have                 day, the Secretary of HHS declared
        The 2009–2010 H1N1 influenza                         fallen ill or died from H1N1 influenza.                COVID–19 a public health emergency
     pandemic is particularly relevant to this                  Global travel has increased since the               under the PHS Act.21 On March 11,
     final rule. Although the virus was first                H1N1 influenza pandemic. By 2018,                      2020, the WHO declared COVID–19 a
     identified mid-April 2009 in the United                 international visits to the United States              pandemic. On March 13, 2020, the
     States, the initial cases of 2009 H1N1                  totaled almost 25 million more per year                President issued a Proclamation on
     influenza occurred in Mexico, and by                    than in 2009, when the H1N1 influenza                  Declaring a National Emergency
     late April 2009 transmission of the virus               pandemic occurred, and approximately                   Concerning the Novel Coronavirus
     in Mexico involved person-to-person                     5 million more per year than in 2014,                  Disease (COVID–19) Outbreak.22
     spread with multiple generations of                     when the Ebola virus disease outbreak                     As of August 24, 2020, there were
     transmission.13 The first two cases of a                occurred.19 Despite the decrease in                    23,057,288 confirmed cases worldwide.
     novel H1N1 influenza were discovered                    travel in 2020 due to COVID–19                         COVID–19 has caused over 800,000
     in San Diego County, California, and                    concerns, HHS/CDC expects that the                     deaths globally,23 compared to 774
     Imperial County, California.14 While                    procedures in this final rule will be vital            global deaths from the 2003 SARS
     San Diego and Imperial Counties are                     to public health going forward.                        outbreak,24 866 global deaths from
     roughly 100 miles apart, both are less                                                                         MERS between April 2012 and January
     than 25 miles from the U.S.-Mexico                      B. The Response of the United States to                2020,25 and an estimated 151,700 to
     border, which suggested cross-border                    the Coronavirus Disease 2019 (COVID–                   575,400 deaths during the first year of
     transmission of the disease. Soon after,                19) Pandemic Shows That This Final                     the 2009 H1N1 influenza pandemic.26
     public health officials discovered                      Rule Is in the Interest of U.S. Public                 Compared to other respiratory diseases,
     additional H1N1 cases in the two                        Health                                                 the mortality scale of the COVID–19
     California counties and two H1N1 cases                    Since the COVID–19 pandemic began,                   pandemic is surpassed in modern times
     in Texas, another border State.15 At the                the United States has undertaken a                     only by the 1918 influenza pandemic,
     same time, CDC identified the novel                     variety of actions to limit the movement               which claimed an estimated 50 million
     virus in samples from Mexico, some of                   of persons into the country and thereby                lives around the world.27
     which had been collected from patients                  mitigate the danger of the introduction                   While much is still unknown about
     who were ill before the first two U.S.                  of COVID–19 into the country. Those                    the transmission of COVID–19, it is
     patients, which suggested cross-border                  actions have included the Director’s
     transmission of the disease.16                          exercise of the section 362 authority and
                                                                                                                       20 WHO Director-General’s statement on IHR

     Subsequent epidemiologic                                                                                       Emergency Committee on Novel Coronavirus (2019-
                                                             have proven effective notwithstanding                  nCoV) (Jan. 30, 2020), WHO, https://www.who.int/
     investigations indicated that outbreaks                 the contagiousness of COVID–19. This                   dg/speeches/detail/who-director-general-s-
     had occurred in Mexico in March and                     rulemaking finalizes procedures that the               statement-on-ihr-emergency-committee-on-novel-
     early April 2009, and that by the end of                Director needs to exercise the section                 coronavirus-(2019-ncov) (last visited Aug. 27, 2020).
                                                                                                                       21 Determination that a Public Health Emergency
     April the disease was widespread in                     362 authority and protect public health                Exists, U.S. Dep’t of Health & Human Serv.’s (Jan.
     Mexico; cases had also been identified                  now and in the future.                                 31, 2020), https://www.phe.gov/emergency/news/
     in Canada.17 HHS/CDC estimates that                                                                            healthactions/phe/Pages/2019-nCoV.aspx.
                                                             1. COVID–19 Is a Highly Contagious                        22 Proclamation on Declaring a National
       13 Outbreak of Swine-Origin Influenza A (H1N1)        Disease That Threatens Vulnerable                      Emergency Concerning the Novel Coronavirus
     Virus Infection—Mexico, March–April 2009, Ctrs.         Populations                                            Disease (COVID–19) Outbreak, The White House
     for Disease Control & Prevention, https://                                                                     (Mar. 13, 2020), https://www.whitehouse.gov/
     www.cdc.gov/mmwr/preview/mmwrhtml/                         Because the CDC Director has                        presidential-actions/proclamation-declaring-
     mm5817a5.htm (last updated June 16, 2010); The          determined that COVID–19 meets the                     national-emergency-concerning-novel-coronavirus-
     2009 H1N1 Pandemic: Summary Highlights, April           definition of a severe acute respiratory               disease-covid-19-outbreak/.
     2009–April 2010, Ctrs. for Disease Control &                                                                      23 WHO Sit. Rep. 205 (Aug. 24, 2020), WHO,

     Prevention, https://www.cdc.gov/h1n1flu/                syndrome as listed in Executive Order                  https://www.who.int/docs/default-source/
     cdcresponse.htm (last updated Aug. 3, 2010).            13674, COVID–19 is a quarantinable                     coronaviruse/situation-reports/20200812-covid-19-
        14 Swine Influenza A (H1N1) Infection in Two         communicable disease. It is caused by a                sitrep-205.pdf?sfvrsn=627c9aa8_2.
     Children—Southern California, March–April 2009,         novel (new) coronavirus, SARS-CoV–2,                      24 Severe Acute Respiratory Syndrome (SARS):

     Ctrs. for Disease Control & Prevention, https://                                                               SARS Basics Fact Sheet, Ctrs. for Disease Control
     www.cdc.gov/mmwr/preview/mmwrhtml/
                                                             that was first identified as the cause of              & Prevention, https://www.cdc.gov/sars/about/fs-
     mm5815a5.htm (last updated Apr. 22, 2009).              an outbreak of respiratory illness that                sars.html (last updated Dec. 6, 2017).
        15 Update: Swine Influenza A (H1N1) Infections—                                                                25 MERS situation update, January 2020, WHO,

     California and Texas, April 2009, 16 MMWR Morb          www.cdc.gov/mmwr/preview/mmwrhtml/                     http://www.emro.who.int/pandemic-epidemic-
     Mortal Wkly Rep. 58, 435–37 (May 2009), (available      mm5817a5.htm (last updated May 7, 2009).               diseases/mers-cov/mers-situation-update-january-
     at: https://pubmed.ncbi.nlm.nih.gov/19407739/);            18 Sundar S. Shrestha, et al., Estimating the       2020.html (last visited Aug. 27, 2020).
     The 2009 H1N1 Pandemic: Summary Highlights,             burden of 2009 pandemic influenza A (H1N1) in the         26 Influenza (Flu): 2009 H1N1 Pandemic
     April 2009–April 2010, Ctrs. for Disease Control &      United States (April 2009–April 2010), Clin. Infect.   (H1N1pdm09 virus), Ctrs. for Disease Control &
     Prevention, https://www.cdc.gov/h1n1flu/                Dis. 2011 Jan 1;52 Suppl 1:S75–82.                     Prevention, https://www.cdc.gov/flu/pandemic-
     cdcresponse.htm (last updated Aug. 3, 2010).               19 See Fast Facts: United States Travel and         resources/2009-h1n1-pandemic.html (last updated
        16 The 2009 H1N1 Pandemic: Summary                                                                          June 11, 2019).
                                                             Tourism Industry—2009, 2014 and 2018, Int’l Trade
     Highlights, April 2009–April 2010, Ctrs. for Disease    Admin., (available at: https://travel.trade.gov/          27 Id.; The Deadliest Flu: The Complete Story of
     Control & Prevention, https://www.cdc.gov/h1n1flu/      outreachpages/download_data_table/Fast_Facts_          the Reconstruction of the 1918 Pandemic Virus,
     cdcresponse.htm (last updated Aug. 3, 2010).            2009.pdf; https://travel.trade.gov/outreachpages/      Ctrs. for Disease Control & Prevention, https://
        17 Outbreak of Swine-Origin Influenza A (H1N1)       download_data_table/Fast_Facts_2014.pdf; https://      www.cdc.gov/flu/pandemic-resources/
     Virus Infection—Mexico, March–April 2009. Ctrs.         travel.trade.gov/outreachpages/download_data_          reconstruction-1918-virus.html (last updated Dec.
     for Disease Control & Prevention, https://              table/Fast_Facts_2018.pdf).                            17, 2019).



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     clear that COVID–19 is highly                           among adults over the age of 65.33 The                prevent the movement of potentially
     contagious. HHS/CDC estimates that the                  congregate care settings of nursing                   infected persons or contaminated
     viral transmissibility (R0) of COVID–19                 homes and long-term care facilities,                  articles into the United States is one of
     is around 2.5, but may be as high as 4,                 where people reside in confined areas                 the reasons why this final rule
     meaning that a single infected person                   with staff rotating through, increases the            implementing the section 362 authority
     will on average infect between 2 to 4                   risk of COVID–19 transmission. As of                  is vital to U.S. public health now and in
     others. Identifying those infected with                 August 16, 2020, an estimated 49,871                  the future.
     COVID–19 can be difficult, as                           nursing home residents died of COVID–                 a. Immigration and Nationality Act
     asymptomatic cases are currently                        19 in the United States,34 representing               Section 212(f) Proclamations
     believed to represent roughly 40% of all                approximately 30% of all deaths in the
     COVID–19 infections. The                                United States.35 Prompt identification                   The President has exercised his
     infectiousness of asymptomatic                          and isolation of infected persons is key              authority under section 212(f) of the
     individuals is believed to be about 75%                 to reduce further transmission in                     Immigration and Nationality Act (INA),
     of the infectiousness of symptomatic                    congregate settings.                                  8 U.S.C. 1182(f), and other applicable
     individuals. HHS/CDC’s current best                                                                           law, to issue a series of proclamations
     estimate is that between 40 to 50% of                   2. The United States Has Taken Broad                  suspending entry into the country of
     infections are transmitted prior to                     Actions To Slow the Introduction of                   certain aliens who were physically
     symptom onset (pre-symptomatic                          COVID–19 Into the Country and Protect                 present in the PRC (excluding the
     transmission).28                                        Vulnerable Populations                                Special Administrative Regions of Hong
        Symptoms of COVID–19 may include                        The United States has taken                        Kong and Macau), the Islamic Republic
     fever or chills, cough, shortness of                    numerous actions to avert the cross-                  of Iran, the Schengen Area (comprised
     breath or difficulty breathing, fatigue,                border transmission of COVID–19,                      of 26 countries in Europe), the United
     muscle or body aches, headache, new                     including presidential proclamations                  Kingdom (excluding overseas territories
     loss of taste or smell, sore throat,                    suspending entry into the United States               outside of Europe), the Republic of
     congestion or runny nose, nausea or                     by certain foreign nationals, bringing                Ireland, or the Federative Republic of
     vomiting, and diarrhea, and typically                   home U.S. citizens and lawful                         Brazil within 14 days preceding their
     appear 2–14 days after exposure to the                  permanent residents (LPRs) from around                entry or attempted entry into the United
     virus.29 Manifestations of severe disease               the world, quarantine or isolation of                 States. In the proclamations, the
     include severe pneumonia, acute                         repatriates and cruise ship travelers, the            President determined that the foreign
     respiratory distress syndrome (ARDS),                   CDC ‘‘No Sail Order’’ limiting cruise                 countries were experiencing widespread
     septic shock, and multi-organ failure.30                ship operations, temporarily limiting                 person-to-person transmission of
     Mortality rates are higher among seniors                travel from Mexico and Canada into the                COVID–19, and the United States was
     and those with certain underlying                       United States along the United States-                ‘‘unable to effectively evaluate and
     medical conditions, such as chronic                     Mexico and United States-Canada land                  monitor’’ travelers entering from the
     obstructive pulmonary disease (COPD),                   borders to ‘‘essential travel,’’ and the              foreign countries, which ‘‘threaten[ed]
     serious heart conditions, cancer, Type 2                CDC Order prohibiting the introduction                the security of our transportation system
     diabetes, and those with compromised                    of covered aliens into CBP facilities.                and infrastructure and the national
     immune systems.31 There are large                       HHS/CDC believes that the Federal                     security,’’ and that the unrestricted
     differences in fatality rate among age                                                                        entry of foreign nationals who were
                                                             quarantine and isolation may have
     and race cohorts.32                                                                                           physically present in those countries
                                                             slowed the introduction and spread of
        Early data suggest older people are                                                                        was therefore detrimental to the
                                                             COVID–19 into the United States. But
     more likely to have serious COVID–19                                                                          interests of the United States.36 The
                                                             they consumed unsustainable levels of
     illness, with 8 out of 10 COVID–19-                                                                           proclamations are the first use of the
                                                             government resources in the process. In
     related deaths in the United States being                                                                     212(f) authority aimed at averting the
                                                             contrast, the actions taken to prevent the
                                                                                                                   introduction of a communicable disease
                                                             movement of potentially infected
       28 COVID–19 Pandemic Planning Scenarios:                                                                    into the country.37
     Updated July 10, 2020, Ctrs. for Disease Control &      persons or contaminated articles into                    The Director assesses that the
     Prevention, https://www.cdc.gov/coronavirus/2019-       the United States have reduced the                    proclamations probably mitigated the
     ncov/hcp/planning-scenarios-h.pdf.                      danger of COVID–19 to government                      introduction of COVID–19 into the
       29 Coronavirus Disease 2019 (COVID–19):
                                                             personnel and private sector workers in               United States. By suspending the entry
     Symptoms of Coronavirus, Ctrs. for Disease Control
     & Prevention, https://www.cdc.gov/coronavirus/
                                                             congregate settings, and reduced the                  of thousands of aliens from countries
     2019-ncov/symptoms-testing/symptoms.html (last          danger of the introduction of COVID–19                with widespread, ongoing person-to-
     updated May 13, 2020).                                  into the United States, while consuming               person transmission of COVID–19, the
       30 Sevim Zaim, et al., COVID–19 and Multiorgan
                                                             more sustainable levels of government                 President reduced the number of
     Response, 00 Current Problems in Cardiology 2020,       resources. The balance between the
     (available at: https://www.ncbi.nlm.nih.gov/pmc/                                                              infected persons who could enter the
     articles/PMC7187881/pdf/main.pdf).                      costs and benefits of actions taken to                country. As previously discussed, a
       31 Coronavirus Disease 2019 (COVID–19): People
                                                                33 Coronavirus Disease 2019 (COVID–19): Older
     with Certain Medical Conditions, Ctrs. for Disease                                                               36 Proclamation No. 10042, 85 FR 32291 (May 28,
     Control & Prevention, https://www.cdc.gov/              Adults, Ctrs. for Disease Control & Prevention,       2020) (amending Proclamation 10041);
     coronavirus/2019-ncov/need-extra-precautions/           https://www.cdc.gov/coronavirus/2019-ncov/need-       Proclamation No. 10041, 85 FR 31933 (May 28,
     people-with-medical-conditions.html?CDC_AA_             extra-precautions/older-adults.html (last updated     2020) (Federative Republic of Brazil); Proclamation
     refVal=https%3A%2F%2F                                   Aug. 16, 2020).                                       No. 9996, 85 FR 15341 (Mar. 18, 2020) (United
     www.cdc.gov%2Fcoronavirus%2F2019-                          34 COVID–19 Nursing Home Data, Ctrs. for
                                                                                                                   Kingdom and Republic of Ireland); Proclamation
     ncov%2Fneed-extra-precautions%2Fgroups-at-              Medicare and Medicaid Serv.’s (submitted data as      No. 9993, 85 FR 15045 (Mar. 15, 2020) (Schengen
     higher-risk.html (last updated July 30, 2020).          of week ending Aug. 16, 2020), https://               Area); Proclamation No. 9992, 85 FR 12855 (Mar.
       32 See National Center for Health Statistics:         data.cms.gov/stories/s/COVID-19-Nursing-Home-         4, 2020) (Islamic Republic of Iran); Proclamation
     Weekly Updates by Select Demographic and                Data/bkwz-xpvg/ (last visited Sep. 1, 2020).          No. 9984, 85 FR 6709 (Feb. 5, 2020) (PRC).
     Geographic Characteristics—Provisional Death               35 Based on 167,201 total deaths in the United        37 Ben Harrington, CONG. RSCH. SERV.,

     Counts for Coronavirus Disease 2019 (COVID–19),         States. See WHO Sit. Rep. 209, WHO (Aug. 16,          LSB10458, Presidential Actions to Exclude Aliens
     Ctrs. for Disease Control & Prevention, https://        2020), https://www.who.int/docs/default-source/       Under INA § 212 (f) (May 4, 2020) (available at:
     www.cdc.gov/nchs/nvss/vsrr/covid_weekly/                coronaviruse/situation-reports/20200816-covid-19-     https://crsreports.congress.gov/product/pdf/LSB/
     index.htm (last visited Aug. 31, 2020).                 sitrep-209.pdf?sfvrsn=5dde1ca2_2.                     LSB10458).



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     single infected person will on average                  agencies had to secure sites because the                 outbreak onboard the U.S.-bound Grand
     infect between 2 to 4 others. Therefore,                Federal government no longer operates                    Princess in March 2020, HHS/CDC and
     the reduction in the number of infected                 Public Health Service hospitals capable                  other agencies conducted a massive
     persons entering the United States                      of acting as dedicated quarantine and                    operation to disembark and quarantine
     probably helped prevent a larger                        isolation facilities able to house                       or isolate approximately 2,000 travelers
     number of people in the United States                   hundreds of people for multiple                          from the Grand Princess at Federal sites.
     from becoming infected with COVID–                      weeks.42 The securing of sites was                       Approximately 2,300 individuals
     19.                                                     challenging because when the agencies                    entered quarantine or isolation at
                                                             identified suitable facilities, local                    Federal sites from the repatriations and
     b. Quarantine and Isolation of
                                                             officials sometimes objected to the use                  disembarkations from the Diamond
     Repatriates and Cruise Ship Travelers
                                                             of the facilities.43 To provide housing                  Princess and Grand Princess cruise
        One of the United States’ early                      for the repatriates, the agencies                        ships.
     initiatives in response to the COVID–19                 ultimately secured military facilities for                  To the best of HHS/CDC’s knowledge,
     pandemic was to repatriate U.S. citizens                use as quarantine sites, hotels for use as               the combined Federal quarantine and
     (and their immediate family members)                    isolation sites, and beds at hospitals for               isolation of individuals from the cruise
     from Hubei Province, PRC, which was                     persons who required medical care.                       ships and flights from Hubei Province,
     then the epicenter of the pandemic.38 It                Those sites accepted approximately 800                   constitute the largest and most
     took place in January and February                      individuals, the vast majority of whom                   burdensome Federal quarantine and
     2020, and HHS/CDC is unaware of a                       were repatriates, from Hubei Province.                   isolation operation in modern American
     repatriation and quarantine operation in                  During the same time frame, cruise                     history. Quarantine sites required
     the modern history of the United States                 ships—including the Diamond Princess                     support staffs of hundreds of Federal
     that matched the initiative in size and                 (Asia), the Grand Princess (California to                personnel and contractors working
     scope. It involved numerous HHS                         Mexico, California to Hawaii), the Ruby                  around-the-clock. The entire operation
     agencies, including CDC, the Office of                  Princess (Australia), and seven Nile                     lasted approximately eight weeks and
     the Assistant Secretary for Preparedness                River cruise ships—were associated                       consumed thousands of working hours.
     and Response (ASPR), the Office of the                  with a number of COVID–19 clusters
     Assistant Secretary for Financial                                                                                   One of the key agency components of
                                                             and outbreaks.44 In February 2020, the
     Resources (ASFR), the U.S. Public                                                                                the operation was the National Disaster
                                                             Diamond Princess experienced what, at
     Health Service Commissioned Corps                                                                                Medical System (NDMS), which is a
                                                             the time, was the largest cluster of
     (PHSCC), and the Administration for                     COVID–19 cases outside of PRC and                        federal partnership (between HHS,
     Children and Families (ACF).39 It also                  included a number of U.S. citizens.                      DOD, VA, and DHS) led by HHS/ASPR.
     involved the U.S. Department of State,                  HHS/CDC, the Department of State and                     NDMS includes a cadre of
     the U.S. Department of Homeland                         other agencies repatriated                               approximately 5,000 part-time Federal
     Security (DHS), and the Department of                   approximately 329 travelers from the                     employees who are civilian doctors,
     Defense (DOD), as well as various State                 Diamond Princess to the United States,                   nurses, and other healthcare
     agencies.40                                             where they entered quarantine or                         professionals, and who are activated for
        The operation required the agencies to               isolation at Federal sites.45 Following an               short-term, two-week deployments in
     secure charter flights from the PRC to                                                                           response to natural disasters and other
     the United States, secure and prepare                     42 See Richard A. Bienia, M.D., M.P.H., Emanuel        emergencies.46 The NDMS leverages
     appropriate facilities to house                         Stein, M.D., M.P.H., & Baroline H. Bienia, M.S.,         healthcare personnel in jurisdictions
     individuals, transport individuals to                   United States Public Health Service Hospitals            unaffected by the emergency by
                                                             (1798–1981)—The End of an Era, 308 N. Engl. J.           temporarily federalizing those
     and from these facilities, implement                    Med. 166–168 (1983), (available at: https://
     infection-control and infection-                        www.nejm.org/doi/full/10.1056/                           individuals so they may operate where
     prevention measures at the facilities,                  NEJM198301203080329?journalCode=                         local resources are overtaxed.47 A more
     test and medically monitor individuals,                 nejm&journalCode=nejm&journalCode=nejm&                  protracted operation may have deprived
                                                             journalCode=nejm&journalCode=nejm&
     and provide ‘‘wrap-around’’ services for                journalCode=nejm&journalCode=
                                                                                                                      State and local health systems of the
     individuals (e.g., food and other                       nejm&journalCode=nejm&journalCode=                       services of the NDMS personnel for
     necessary personal services).41 The                     nejm&journalCode=nejm&journalCode=nejm&                  extended periods of time during the
                                                             journalCode=nejm&journalCode=                            COVID–19 pandemic. It would also
                                                             nejm&journalCode=nejm&journalCode=
       38 Transcript for CDC Media Telebriefing: Update
                                                             nejm&journalCode=nejm&journalCode=
                                                                                                                      have limited the ability of HHS/ASPR to
     on 2019 Novel Coronavirus (2019–nCoV), Ctrs. for
                                                             nejm&journalCode=nejm&journalCode=nejm).
     Disease Control & Prevention (Jan. 31. 2020),             43 On one occasion, a California city sued HHS           46 NDMS Teams, Off. of the Assistant Sec’y for
     https://www.cdc.gov/media/releases/2020/t0131-
     2019-novel-coronavirus.html (last visited Aug. 31,      and California. The district court, without finding      Preparedness & Response, U.S. Dep’t. of Health &
     2020).                                                  a violation of law by HHS, issued a temporary            Human Serv.’s, Nat’l Disaster Med. Sys., https://
       39 See Sarah A. Lister, Cong. Rsch. Serv., r46219,    restraining order preventing the use of a proposed       www.phe.gov/Preparedness/responders/ndms/
     Overview of U.S. Domestic Response to Coronavirus       quarantine site. TRO and Order Setting Aside             ndms-teams/Pages/default.aspx (last visited Aug.
     Disease 2019 (COVID–19) (last updated Mar. 2,           Expedited Hr’g, City of Costa Mesa v. United             11, 2020); Disaster Medical Assistance Teams, Off.
     2020), at *12 (available at: https://crsreports.        States., No. 20–cv–00368 (C.D.Cal.), (Feb. 21, 2020),    of the Assistant Sec’y for Preparedness & Response,
     congress.gov/product/pdf/R/R46219).                     ECF No. 9. Since HHS had to make decisions about         U.S. Dep’t. of Health & Human Serv.’s, Nat’l
       40 Id. at *11–*12; David Vergun, DOD, Other           the use of the site quickly, the temporary restraining   Disaster Med. Sys., https://www.phe.gov/
     Government Departments Take Coronavirus                 order and subsequent litigation operated as a veto       Preparedness/responders/ndms/ndms-teams/Pages/
     Response Measures, U.S. Dep’t. of Def. (Jan. 31,        on the use of the site.                                  dmat.aspx (last visited Aug. 31, 2020).
                                                               44 See No Sail Order and Suspension of Further           47 NDMS Teams, Off. of the Assistant Sec’y for
     2020), https://www.defense.gov/Explore/News/
     Article/Article/2069255/dod-other-government-           Embarkation, 85 FR 16628 (Mar. 24, 2020); Frances        Preparedness & Response, U.S. Dep’t. of Health &
     departments-take-coronavirus-response-measures/.        Mao, Coronavirus: How did Australia’s Ruby               Human Serv.’s, Nat’l Disaster Med. Sys., https://
       41 See e.g., SOC Shift Brief 2019–2020                Princess cruise debacle happen?, BBC (Mar. 24,           www.phe.gov/Preparedness/responders/ndms/
     Coronavirus Response, U.S. Dep’t of Health &            2020), https://www.bbc.com/news/world-australia-         ndms-teams/Pages/default.aspx (last visited Aug.
     Human Serv.’s Assistant Sec’y for Preparedness &        51999845.                                                11, 2020); Calling on NDMS, Off. of the Assistant
                                                               45 Public Health Responses to COVID–19                 Sec’y for Preparedness & Response, U.S. Dep’t. of
     Response (Feb. 8, 2020, 8:00 p.m. EDT) (on file with
     HHS); see also Proposed Courses of Action (COAs)        Outbreaks on Cruise Ships—Worldwide, February–           Health & Human Serv.’s, Nat’l Disaster Med. Sys.,
     & Activities for Grand Princess Cruise Ship, U.S.       March 2020, Ctrs. for Disease Control & Prevention       https://www.phe.gov/Preparedness/responders/
     Dep’t of Health & Human Serv.’s at *2 (Mar. 6, 2020,    (Mar. 27, 2020), https://www.cdc.gov/mmwr/               ndms/Pages/calling-ndms.aspx (last visited Aug.
     11:30 a.m. EDT) (on file with HHS).                     volumes/69/wr/mm6912e3.htm.                              31, 2020).



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     re-deploy the NDMS to other                             15, 2020,49 and again on July 16, 2020,50             lead to transmission on sequential
     emergencies (e.g., hurricanes).                         to include cruise ships that had                      cruises, as the crew members work and
        Moreover, hundreds of other Federal                  previously voluntarily suspended                      live in close quarters from one cruise to
     personnel from HHS agencies—                            operations, as well as requiring                      the next.52
                                                             additional measures to prevent the                       The Director also observed that cruise
     including ASPR, CDC, and the U.S.
                                                             further introduction, transmission, and               ships may spread COVID–19 to ports of
     Public Health Service—were deployed
                                                             spread of disease. The current No Sail                call and passengers’ home communities.
     for quarantine and isolation operations.
                                                             Order remains in place until September                During a cruise, disembarkation of
     The U.S. Departments of Homeland
                                                             30, 2020, or until the expiration of the              passengers at sequential ports of call
     Security, Defense, and State also
                                                             Secretary’s declaration that COVID–19                 may spread COVID–19 to the residents
     contributed personnel and resources.
                                                             constitutes a public health emergency,                of those ports. Once the cruise ends,
     During a public health emergency, many
                                                             or the Director rescinds or modifies the              passengers or crew who reside in either
     of the agency personnel would
                                                             Order based on specific public health or              the United States or a foreign country
     ordinarily perform Federal coordinating                                                                       may travel home by airplane. Any
                                                             other considerations, whichever occurs
     functions. A more expansive or                                                                                infected passengers or crew may spread
                                                             first.
     protracted field operation would have                      As noted above, the No Sail Order                  COVID–19 to others while traveling
     jeopardized the ability of some of the                  was issued, in part, under section 361(a)             home, or upon returning home, with the
     agencies to perform their ordinary                      of the PHS Act. Section 361(a) is a                   end result being interstate spread of
     functions.                                              sweeping grant of authority permitting                COVID–19.53
        While the Federal quarantine and                     the Director to ‘‘make and enforce such                  Finally, the Director observed that
     isolation operation addressed the                       regulations as in his judgment are                    ‘‘[q]uarantine and isolation measures are
     immediate risk of individual repatriates                necessary to prevent the introduction                 difficult to implement effectively
     and cruise ship travelers introducing                   . . . of communicable diseases from                   onboard a cruise ship and tend to occur
     COVID–19 into the United States, it was                 foreign countries into the States or                  after an infection has already been
     not a prospective solution. That is, it                 possessions[ ].’’ (emphasis added). One               identified onboard a cruise. If ships are
     did not address the continuing risk of                  of those regulations, 42 CFR 71.32(b), is             at capacity, it may not be feasible to
     COVID–19 transmission onboard cruise                    equally broad. It states that ‘‘[w]henever            separate infected and uninfected
     ships. Nor did it address the continuing                the Director has reason to believe that               persons onboard the ship, particularly
     risk of cruise ships or other vessels                   any arriving carrier . . . is or may be               among the crew. Crew must keep
     introducing COVID–19 into the United                    infected or contaminated with a                       working to keep a ship safely operating,
     States in the future. An ongoing Federal                communicable disease, he/she may                      so effective quarantine for crew is
     quarantine and isolation operation was                  require detention, disinfection,                      particularly challenging.’’ 54
     not a scalable or sustainable option for                disinfestation, fumigation, or other                     As part of his analysis, the Director
     mitigating either of those continuing                   related measures respecting the carrier               also considered the risks to the
     risks given the finite resources of the                 . . . as he/she considers necessary to                healthcare system in the United States,
     relevant Federal agencies and the other                 prevent the introduction . . . of                     and the limited government resources
     pressing demands of the COVID–19                        communicable diseases.’’ (emphasis                    available for the response to COVID–19.
     pandemic response.                                      added).                                               HHS/CDC’s recent experience was that
                                                                In the No Sail Order, the Director                 the medical needs of persons with
        As explained below, CDC’s
                                                             determined that he had ‘‘reason to                    severe disease may be significant.
     experience with the Federal quarantine
                                                             believe that cruise ship travel may                   Disembarkations of large numbers of
     and isolation orders and the resulting
                                                             continue to introduce, transmit, or                   passengers and crew with severe disease
     operation has informed its decision-                    spread COVID–19.’’ That determination
     making regarding its No Sail Order for                                                                        could increase the strain of COVID–19
                                                             rested partly on the Director’s                       on healthcare systems serving port
     cruise ships, its Order prohibiting the                 observation that numerous structural
     introduction of covered aliens into the                                                                       cities, and divert healthcare resources
                                                             and operational features of cruise ships              and supplies away from local
     United States, and ultimately this final                increase the risk of COVID–19
     rule.                                                                                                         communities. Additionally, HHS/CDC’s
                                                             transmission onboard.51 First,                        recent experience was that repatriating
     c. The CDC No Sail Order for Cruise                     passengers and crew intermingle closely               and quarantining or isolating travelers
     Ships                                                   in semi-enclosed spaces. Second,                      involved complex logistics, imposed
                                                             cruises host events that bring passengers             financial costs on all levels of
        In March 2020, the risk of cruise ships              and crew together in congregate settings,             government, and diverted agency
     introducing COVID–19 into the United                    including group and buffet dining,                    leadership, staff, and resources away
     States remained despite the Federal                     entertainment, and excursions. Third,                 from other aspects of the response to the
     quarantine or isolation of thousands of                 cruise ship cabins are small, increasing              COVID–19 pandemic.55
     cruise ship travelers. To address this                  the risk of transmission between cabin                   The No Sail Order has proven to be
     ongoing concern, on March 14, 2020,                     mates. Fourth, crew members typically                 a more efficient public health measure
     the Director issued a No Sail Order                     eat and sleep in small, crowded spaces.               for cruise ships than quarantine or
     under sections 361 and 365 of the PHS                   The infection of crew members may                     isolation. It has mitigated COVID–19
     Act and 42 CFR 70.2 and 71.32 for all                                                                         transmission onboard cruise ships,
     cruise ships of a certain capacity with                   49 No Sail Order and Suspension of Further
                                                                                                                   prevented cruise ships from introducing
     itineraries anticipating an overnight stay              Embarkation; Notice of Modification and Extension
                                                             and Other Measures Related to Operations, 85 FR       COVID–19 into the United States,
     for passengers or crew that had not                     21004 (Apr. 15, 2020) (this modification              preserved local health care resources,
     voluntarily suspended operation.48 This                 additionally relied on the authority of 42 CFR        and enabled HHS/CDC to deploy its
     No Sail Order was subsequently                          71.31(b)).
                                                               50 No Sail Order and Suspension of Further
     modified and extended, effective April                                                                          52 Id. at 16629.
                                                             Embarkation; Second Modification and Extension of
                                                                                                                     53 Id. at 16630.
                                                             No Sail Order and Other Measures Related to
       48 No Sail Order and Suspension of Further            Operations, 85 FR 44085 (July 21, 2020).                54 Id.

     Embarkation, 85 FR 16628 (Mar. 24, 2020).                 51 85 FR at 16629, 16630.                             55 Id.




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     finite resources towards other aspects of               spread of COVID–19. The United States                  e. The CDC Order on Covered Aliens
     the response to the COVID–19                            worked collaboratively with its                           As noted above, HHS issued the IFR
     pandemic. In contrast, the issuance of                  neighbors to take this measure to protect              to create a temporary procedure for the
     additional Federal quarantine and                       the health and safety of its population,               Director to invoke his or her delegated
     isolation orders of cruise ship                         after the Secretary of the Department of               authority under section 362 and prevent
     passengers and crew would not have                      Homeland Security determined the risk                  the introduction of persons from a
     stopped COVID–19 transmission                           of continued transmission and spread of                foreign country or place into the United
     onboard cruise ships and would not                      COVID–19 between the countries posed                   States in order to avert the introduction
     have been scalable to the number of                     a ‘‘specific threat to human life or                   of a quarantinable communicable
     cruise ship passengers and crew that                    national interest.’’ 57 The restrictions do            disease into the United States.61 On the
     would have otherwise disembarked in                     not apply, however, to U.S. citizens or                same day, the Director issued an order
     U.S. ports.56                                           LPRs returning to the United States, or                suspending the introduction of certain
        HHS/CDC’s experience underscores                     to those traveling for ‘‘essential travel,’’           ‘‘covered aliens’’ from Canada and
     why this final rule is vital to public                  which includes travel to work, or to                   Mexico into Border Patrol stations and
     health. In March 2020, a regulation for                 educational institutions, travel for                   POEs at or near U.S. land borders for 30
     exercising the authority under section                                                                         days.62 The CDC Order was extended for
                                                             emergency response, diplomatic
     361 of the PHS Act was readily available                                                                       an additional 30 days on April 20,
                                                             travelers, and travel for public health
     to the Director. As a result, HHS/CDC                                                                          2020.63 On May 19, 2020, the Director
                                                             purposes, among others. The restrictions
     was able to rapidly exercise its section                                                                       amended the CDC Order to cover not
     361 authority and issue the No Sail                     do not stop legitimate trade between the
                                                             three countries because it is critical to              only land, but also coastal POEs and
     Order after concluding that quarantine                                                                         Border Patrol stations at or near the U.S.
     and isolation were inadequate to                        preserve supply chains that ensure that
                                                                                                                    borders with Canada and Mexico. In
     address the public health risks                         food, fuel, and medicines reach
                                                                                                                    addition, the Director extended the CDC
     presented by COVID–19 on cruise ships.                  individuals.58                                         Order indefinitely, subject to recurring
     Once CDC decided to act, it could do so                    These measures were originally in                   30-day reviews and eventual
     promptly and was able to more                           place for 30 days, subject to                          termination when the Director
     efficiently manage the problem and                      reevaluation and further extension in                  determines that continued
     preserve finite resources. HHS/CDC                      light of the dynamic nature of the                     implementation is no longer necessary
     likewise needs a final rule for exercising              COVID–19 pandemic. Since March                         to protect public health.64 The Director
     its section 362 authority so that it can                2020, the measures have been extended                  has reviewed the CDC Order multiple
     move with equal dispatch to protect                     in 30-day increments, and are currently                times and determined each time that
     U.S. public health from the introduction                effective through September 21, 2020.59                continued implementation of the CDC
     of quarantinable communicable diseases                  All three countries have recognized that,              Order was necessary to protect U.S.
     into the country in the future. HHS/CDC                 given the sustained human-to-human                     public health.
     cannot predict when it will need to                     transmission of the virus, travel between                 The CDC Order suspends the
     exercise the authority in the future, but               the three nations places the personnel                 introduction of ‘‘covered aliens’’ into
     HHS/CDC needs to be prepared                                                                                   the United States. The CDC Amended
                                                             staffing the land ports of entry (POEs)
     nonetheless. The experience with cruise                                                                        Order and Extension defines ‘‘covered
                                                             between the United States, Canada and
     ships shows that the immediate                                                                                 aliens’’ as ‘‘persons traveling from
                                                             Mexico, as well as the individuals
     availability of a procedure is important                                                                       Canada or Mexico (regardless of their
                                                             traveling through these POEs, at                       country of origin) who would otherwise
     once a policy decision is made that an
                                                             increased danger of exposure to COVID–                 be introduced into a congregate setting
     action needs to be taken.
                                                             19.60                                                  in a land or coastal [POE] or Border
     d. Travel Restrictions at the Land Ports                   Similarly, the Director assesses that               Patrol station at or near the United
     of Entry Along the United States-Canada                 travel and migration across U.S. land                  States border with Canada or Mexico,
     and United States-Mexico Borders                        borders increases the serious danger of                subject to exceptions.’’ 65 There are
        On March 20, 2020, the United States                 introduction of COVID–19 into the                      exceptions for ‘‘U.S. citizens, lawful
     temporarily limited travel from Mexico                  United States. The Director further                    permanent residents [(LPRs)], and their
     and Canada into the United States along                 assesses that limiting travel to ‘‘essential           spouses and children; members of the
     the United States-Mexico and United                     travel’’ has successfully mitigated the                armed forces of the United States, and
     States-Canada land borders to ‘‘essential               introduction of COVID–19 into the
     travel,’’ in order to prevent the further               United States for the same basic reason
                                                                                                                       61 Control of Communicable Diseases; Foreign

                                                                                                                    Quarantine: Suspension of Introduction of Persons
                                                             that the section 212(f) proclamations                  into United States from Designated Foreign
       56 Indeed, Federal quarantine and isolation for
                                                             have proven successful. The                            Countries or Places for Public Health Purposes, (85
     PortMiami, known as ‘‘the Cruise Capital of the
                                                             effectiveness of these travel restrictions             FR 16559) (Mar. 24, 2020).
     World,’’ would have been unworkable standing                                                                      62 Order Under Sections 362 and 365 of the Public
     alone. In 2019, PortMiami disembarked 3,357,590         at land ports of entry informs this final
     cruise ship passengers, which equates to                                                                       Health Service Act Suspending Introduction of
                                                             rule, which creates a permanent                        Certain Persons From Countries Where a
     approximately 64,569 disembarkations per week.
     CY 2019 W. Hemisphere Port Cargo and Passenger          procedure for the Director to use when                 Communicable Disease Exists, (85 FR 17060) (Mar.
     Counts, Am. Ass’n of Port Auth., https://www.aapa-      he or she determines that a temporary                  26, 2020) (effective date Mar. 20, 2020 at 11:59 p.m.
                                                                                                                    EDT) (hereinafter ‘‘Order’’).
     ports.org/unifying/content.aspx?ItemNumber=             prohibition on the introduction of                        63 Extension of Order Under Sections 362 and 365
     21048 (last visited Aug. 11, 2020). When the annual     persons into the United States across
     disembarkations at other U.S. ports—including Port                                                             of the Public Health Service Act, (85 FR 22424)
     Everglades (FL) (1,985,337), the Galveston Wharves      U.S. land borders is necessary to protect              (Apr. 22, 2020) (effective date Apr. 20, 2020)
     (TX) (1,091,341), the Port Authority of New York        U.S. public health.                                    (hereinafter ‘‘Extension’’).
                                                                                                                       64 Amendment and Extension of Order Under
     and New Jersey (841,261), the Port of Long Beach
     (CA) (695,921), and the Port of New Orleans                                                                    Sections 362 and 365 of the Public Health Service
                                                               57 85 FR at 16547, 16549.
     (603,968)—are added to PortMiami, the                                                                          Act, (85 FR 31503) (May 26, 2020) (effective date
                                                               58 Id. at 16548–49.
     impracticability of a Federal quarantine and                                                                   May 21, 2020 at 12:00 a.m. EDT) (hereinafter
                                                               59 85 FR at 51633–34.                                ‘‘Amended Order and Extension’’).
     isolation operation for cruise ships nationwide is
     obvious.                                                  60 Id. at 51633, 51635.                                 65 Id. at 31504.




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     associated personnel, and their spouses                 populations and have limited                          quarantined or isolated a daily average
     and children; persons from foreign                      resources).                                           population of 3,292 covered aliens from
     countries who hold valid travel                           A Federal quarantine and isolation of               March 21, 2020 to the present.69 The
     documents and arrive at a POE; or                       covered aliens would have likely                      relevant agencies simply lack the
     persons from foreign countries in the                   required the procurement or                           personnel and resources to operate such
     visa waiver program who are not                         construction and equipping of                         a large and complex Federal quarantine
     otherwise subject to travel restrictions                numerous permanent or temporary                       and isolation program, spread over
     and arrive at a POE.’’ 66 There is also an              facilities across the Northern and                    thousands of miles of territory, and a
     exception for ‘‘persons whom customs                    Southern land borders, in close                       period of many months, during a global
     officers determine, with approval from a                proximity to the POEs and Border Patrol               pandemic. This is especially true when
     supervisor, should be excepted based on                 stations. The facilities would have to                HHS/CDC and CBP must prioritize their
     the totality of the circumstances,                      accommodate a rotating population of                  finite resources for the benefit of the
     including consideration of significant                  covered aliens—including family units,                public health and safety, respectively, of
     law enforcement, officer and public                     single adults, and children with varying              the domestic population.70
     safety, humanitarian, and public health                 countries of origin, social customs, and                 While the CDC Order succeeded in
     interests.’’ 67                                         criminal histories—for the duration of                reducing the average number of covered
        In the CDC Order, the Director                       each covered alien’s quarantine or                    aliens in CBP custody each day, and
     determined that COVID–19 is a                           isolation period. During that period,                 dramatically reduced the danger of the
     quarantinable communicable disease                      HHS/CDC and CBP would have to                         introduction of COVID–19 into CBP
     that is present in numerous foreign                     shelter, feed, and provide medical                    facilities, the unfortunate reality is that
     countries, including Canada and                         services to each covered alien onsite.                the COVID–19 pandemic has still
     Mexico, and poses a serious danger to                   The burden of undertaking such a joint                impacted CBP’s ability to perform its
     public health in the United States.                     public health and safety mission across               public safety mission. CBP informs
     Covered aliens traveling to the United                  thousands of miles of territory during a              HHS/CDC that, as of August 7, 2020, it
     States from Canada and Mexico are                       pandemic is impracticable.
                                                               As previously discussed, to the                     Population Totals: 2010–2019, U.S. Census Bureau,
     typically held for material lengths of                                                                        https://www.census.gov/data/datasets/time-series/
     time in the congregate areas of Border                  knowledge of HHS/CDC, the largest                     demo/popest/2010s-total-cities-and-towns.html
     Patrol stations and POEs while they                     Federal quarantine and isolation                      (last visited Aug. 31, 2020).
     undergo immigration processing. As a                    operation in modern U.S. history is the                  69 If CDC and CBP had undertaken a Federal

                                                             one that HHS/CDC and other agencies                   quarantine and isolation operation for covered
     result, the introduction of covered                                                                           aliens, the daily average population of covered
     aliens into those CBP facilities increases              conducted in early 2020 for the                       aliens in custody and subject to quarantine or
     the serious danger of introducing                       approximately 3,200 persons who                       isolation may have exceeded 3,292 for at least two
     COVID–19 to others in the facilities—                   disembarked from cruise ships in U.S.                 reasons. First, CBP’s enforcement encounters
                                                             ports or were repatriated from Asia.                  increased monthly after March 20, 2020. Second,
     including DHS personnel, U.S. citizens,                                                                       many covered aliens would have spent longer in
     U.S. nationals, and LPRs, and other                     That operation would have been                        Federal quarantine and isolation than they would
     aliens—and ultimately spreading                         dwarfed by an ongoing quarantine and                  have spent in CBP custody before the COVID–19
     COVID–19 into the interior of the                       isolation mission for covered aliens.                 pandemic.
                                                                                                                      70 HHS/CDC considered whether it could avert
     United States.                                            CBP has informed HHS/CDC of data
                                                                                                                   the serious danger of the introduction of COVID–
        The Director concluded that there are                in support of the CDC Order. In the 75-               19 into CBP facilities through COVID–19 testing.
     structural and operational impediments                  day period before the issuance of the                 Specifically, HHS/CDC considered the
     to quarantining and isolating covered                   CDC Order on March 20, 2020, an                       asymptomatic transmission of COVID–19; the lack
                                                             average of 3,292 of individuals who                   or limited availability of diagnostic testing for
     aliens in CBP facilities that neither                                                                         COVID–19; the time required to obtain diagnostic
     HHS/CDC nor CBP can overcome,                           would be covered aliens under the CDC                 test results; the need to prioritize testing resources
     especially given the large number of                    Order were in custody at POEs and                     for the domestic population; the impracticability of
     covered aliens that move through the                    Border Patrol stations each day. Since                implementing quarantine, isolation, and social
                                                             March 21, 2020, the daily average has                 distancing in CBP facilities; and resource
     congregate areas of the facilities. Border                                                                    constraints. HHS/CDC concluded that the better
     Patrol stations and POEs were designed                  been 895 covered aliens,                              option for public health was to prohibit the
     for short-term holding of individuals in                notwithstanding an overall 91%                        introduction of covered aliens into the congregate
     congregate settings. They were not                      increase in Border Patrol enforcement                 areas in CBP facilities.
                                                             encounters from 16,201 in April 2020,                    HHS/CDC expects to face similar policy decisions
     designed and equipped with sufficient                                                                         in the future. In any pandemic caused by a novel
     interior space or partitions to quarantine              to 21,687 in May 2020, to 30,936 in June              virus that spreads asymptomatically there will be a
     potentially infected persons, or isolate                2020. Between March 21 and June 29,                   period when diagnostic testing is not widely
     infected persons. They also are not                     2020, CBP encountered more than                       available due to the time necessary to create,
                                                             75,000 subjects between POEs alone,                   manufacture, distribute, administer, and receive the
     equipped to provide on-site care to                                                                           results of diagnostic tests. Even then, it may be
     infected persons who present with                       and over 68,000 of those subjects were                appropriate to prioritize diagnostic testing for some
     severe disease. Some but not all of the                 covered aliens amenable to expulsion                  populations over others, and diagnostic testing may
     facilities offer basic medical services,                from the United States under the CDC                  produce at least some false negatives. Plus,
                                                             Order.                                                diagnostic testing is a snapshot in time. An
     and all of them are heavily reliant on                                                                        uninfected person who undergoes diagnostic testing
     local health care systems for the                         HHS/CDC and CBP could not have                      and enters a congregate setting pending test results
     provision of more extensive medical                     quarantined or isolated a cumulative                  may become infected by others. An asymptomatic,
     services to aliens. Many of the Border                  total of more than 68,000 covered aliens              infected person who undergoes diagnostic testing
                                                             between March 21 and June 29, 2020                    and enters a congregate setting may infect others.
     Patrol stations and POEs are located in                                                                       While surveillance testing can be an effective
     remote areas and do not have ready                      who were expelled pursuant to the CDC                 alternative, it can consume tremendous resources.
     access to local health care systems                     Order.68 Nor could they have                             As HHS/CDC’s experience here shows, a
     (which typically serve small, rural                                                                           prohibition on the introduction of persons into
                                                               68 To put that number in context, the U.S. Census   congregate settings may be a better option for
                                                             Bureau estimates that the population of Rockville,    protecting public health than testing, particularly
       66 Id.
                                                             Maryland (a suburb of Washington, DC) in 2019 was     when finite testing resources must be prioritized for
       67 Id.                                                approximately 68,079 people. City & Town              the domestic population.



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     has had 1,806 employees test positive                   difficult to quantify the difference, CBP               assesses that the risks of COVID–19
     for COVID–19, a 56% increase                            informs HHS/CDC that any further                        transmission and insufficient bed
     compared to the 1,158 who tested                        degradation of its workforce in the                     capacity in health care systems serving
     positive on July 7, 2020. Tragically, ten               Laredo Sector would jeopardize CBP’s                    U.S. border states would have been
     employees and one CBP contractor have                   ability to execute its public safety                    greater absent the Order.
     died from COVID–19 as of the same day.                  mission.71 Because the CDC Order has                       The effectiveness of the CDC Order as
     CBP does not have the capability to                     prevented COVID–19 from further                         a public health measure reinforces why
     identify the mechanism by which each                    degrading the CBP workforce, the IFR                    this final rule is vital to public health.
     CBP employee or contractor becomes                      and CDC Order have served the purpose                   HHS/CDC needs a readily available
     infected; CBP employees or contractors                  of section 362, which is to avert an                    procedure for exercising the section 362
     may become infected through exposures                   increase in the serious danger of the                   authority so that it may continue to
     that occurred in their communities                      introduction into the United States of a                protect public health during the
     through interactions outside of work or                 quarantinable communicable disease                      COVID–19 pandemic, and respond to
     in their workplaces, including Border                   from abroad.                                            future public health threats with equal
     Patrol stations and POEs. In any event,                    Beyond the CBP workforce, CBP has                    efficacy.
     when CBP employees test positive and                    provided data to HHS/CDC showing that
                                                                                                                     3. Other Jurisdictions Have Taken
     do not require inpatient care, they must                the CDC Order has reduced the strain on
                                                                                                                     Similar Actions To Slow the
     self-isolate at home until they recover                 the health care systems in U.S. border
                                                                                                                     Introduction of COVID–19, Which
     and are no longer contagious.                           states at a time when those systems are
                                                                                                                     Underscores Why This Final Rule Is in
       CBP also has a large, rotating group of               trying to safeguard their own workforces
                                                                                                                     the Interest of U.S. Public Health
     employees who are self-quarantined                      from COVID–19 and prioritize health
     based on potential exposure to COVID–                   care resources for the domestic                            Global efforts to slow cross-border
     19. CBP informs HHS/CDC that over                       population. In the 50 days preceding the                COVID–19 transmission have included
     1,500 CBP employees were quarantined                    issuance of the CDC Order, CBP officers                 public health actions substantially
     as of the end of June, and the impact                   made over 1,600 trips to U.S. hospitals                 similar to those taken by the United
     was more pronounced at the Southwest                    to take migrants to receive medical care.               States. Nations such as the European
     border, where 975 U.S. Border Patrol                    In the first 80 days after the issuance of              Union (EU) Member States and
     employees, representing approximately                   the CDC Order, CBP has made only 400                    Schengen Area countries,74 Australia,
     6% of the Southwest border personnel,                   such trips. This represents a 75%                       New Zealand, and Canada have
     were quarantined as of July 9, 2020.                    decrease in utilization of U.S. hospitals               imposed restrictions on international
       Overall, based on information                         by migrants, which is material when                     travelers.75 The actions of other nations
     provided by CBP to HHS/CDC, the                         hospitals in U.S. border states in mid-                 to avert the introduction of COVID–19
     COVID–19 pandemic has impacted the                      July were operating at or near their                    further corroborate the Director’s view
     Laredo Border Patrol Sector and the                     inpatient bed capacity for COVID–19                     that this final rule will help HHS/CDC
     Laredo Field Office along the Southwest                 patients,72 or taking measures to absorb                protect public health now and in the
     border area the most of any CBP area of                 a surge in COVID–19 cases within the                    future.
     responsibility. As of July 16, 2020,                    domestic population.73 The Director                     a. The European Union and Schengen
     Border Patrol had a cumulative total of                                                                         Area
     91 personnel in the Laredo Sector test                     71 CBP, for example, informs HHS/CDC that

     positive for COVID–19. Border Patrol                    Border Patrol might have to shift law enforcement          EU Member States and Schengen
     also had 134 personnel, representing                    officers from patrols of the U.S. land border to        countries have implemented restrictions
                                                             migrant custody and transportation functions,           on international travel similar to those
     7% of its workforce in the Laredo                       which would increase the risk of transnational
     Sector, in self-quarantine. To maintain                 criminal organizations smuggling narcotics or           imposed by the United States. Based on
     border security notwithstanding the loss                migrants through the Laredo Sector. The Laredo          a recommendation by the European
                                                             Field Office might lose its ability to timely process
     of personnel, the Border Patrol has had                 commercial vehicles, which would slow the flow of
     to increase the number of shifts for law                                                                        arizona-health/2020/07/14/arizona-coronavirus-
                                                             goods into the United States. And CBP supervisors       update-hospital-beds-fill-up-4-273-new-cases/
     enforcement officers at Border Patrol                   might have to deny leave requests to maintain           5434525002/; Soumya Karlamangla, ‘We’re just
     checkpoints, reassign other personnel to                staffing levels, which would overtax the CBP            overwhelmed’: The view from inside hospitals as
                                                             workforce.
     checkpoints, and suspend certain law                       72 For example, local news media in Laredo,
                                                                                                                     coronavirus surge hits, L.A. Times (July 13, 2020,
     enforcement trainings. Similarly, as of                                                                         5:00 a.m.), https://www.latimes.com/california/
                                                             Texas, reported on July 11, 2020 that two acute care    story/2020-07-13/overwhelmed-hospitals-
     July 16, 2020, the Laredo Field Office                  hospitals in the area, Laredo Medical Center and        coronavirus-surge-california.
     (which operates the Laredo POE, as well                 Doctor’s Hospital, were in a critical situation.           74 Migration and Home Affairs: Schengen Area,

     as many other land POEs in the State of                 Laredo Medical Center was at 100 percent capacity       Eur. Comm’n (Jan. 1, 2020), https://ec.europa.eu/
                                                             in its COVID intensive care unit and on its non-ICU     home-affairs/what-we-do/policies/order-and-visas/
     Texas) had a cumulative total of 189                    COVID patient floors, with four people in the           schengen_en (‘‘Today, the Schengen Area [of the
     employees test positive for COVID–19,                   emergency department waiting on beds. The COVID         EU] encompasses most EU States, except for
     and had 151 personnel (representing 5%                  intensive care units at Doctors Hospital were           Bulgaria, Croatia, Cyprus, Ireland and Romania.
     of its workforce) in quarantine. The                    approaching 100 percent capacity, and its non-ICU       However, Bulgaria, Croatia and Romania are
                                                             COVID patient floors were at 100 percent capacity.      currently in the process of joining the Schengen
     Laredo Field Office has mitigated the                   Local hospital COVID–19 ICU at capacity, KGNS           Area. Of non-EU States, Iceland, Norway,
     loss of personnel by shifting law                       (July 11, 2020, 12:13 a.m. EDT), https://               Switzerland and Liechtenstein have joined the
     enforcement officers from passenger                     www.kgns.tv/2020/07/11/local-hospital-covid-19-         Schengen Area.’’); Travel to and from the EU during
     vehicle and migrant processing (which                   icu-at-capacity/. Other hospitals in Texas border       the pandemic: Travel restrictions, Eur. Comm’n,
                                                             communities experienced similar surges. Sarah R.        https://ec.europa.eu/info/live-work-travel-eu/
     has decreased in volume) to commercial                  Champagne, Ten out of the 12 hospitals in Texas’        health/coronavirus-response/travel-and-
     vehicle processing (which has generally                 Rio Grande Valley are now full, Tex. Trib. (July 4,     transportation-during-coronavirus-pandemic/travel-
     stayed consistent).                                     2020, 6:00 p.m.), https://www.texastribune.org/         and-eu-during-pandemic_en (last visited Aug. 31,
       The Director assesses that the                        2020/07/04/texas-coronavirus-rio-grande-valley-         2020).
     numbers of CBP employees who test                       hospitals/.                                                75 See Andrea Salcedo, Sanam Yar, & Gina
                                                                73 Allison Steinbach, Arizona reports 4,273 new      Cherelus, Coronavirus Travel Restrictions, Across
     positive for COVID–19 or enter                          COVID–19 cases, sets new records for hospital beds      the Globe, N.Y. Times (July 16, 2020), https://
     quarantine would probably be larger                     in use, Ariz. Rep. (July 14, 2020, 12:48 p.m.),         www.nytimes.com/article/coronavirus-travel-
     absent the CDC Order. While it is                       https://www.azcentral.com/story/news/local/             restrictions.html.



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     Commission, on March 17, 2020, EU                        approach to progressively lift internal                      out in the Recommendation, and on the
     Member States agreed to restrict non-                    border controls by June 15, and to                           updated list published by the Council
     essential travel across the EU’s external                prolong the restriction on non-essential                     on August 7, 2020, the European
     border for a period that has now been                    travel into the EU until June 30, 2020.81                    Commission says EU Member States
     extended several times.76                                Each Member State’s internal border                          should start lifting travel restrictions at
        Restrictions on international travel                  controls continue to be independently                        external borders for residents from 11
     into the EU and Schengen Area were                       determined by the States themselves.                         countries.86
     quickly followed by EU Member States                     Within the Schengen Area, internal                             The external and internal border
     and Schengen Area countries closing                      border restrictions and quarantine                           controls imposed in the EU and
     their national borders. Such internal                    requirements for intra-Schengen                              Schengen Area resemble the measures
     border controls were initially tailored to               travelers began to relax in late-June 2020                   undertaken by the United States to avert
     the countries hardest hit by the                         as the rate of COVID–19 transmission                         the introduction of COVID–19 into the
     pandemic. For example, Austria and                       slowed in most Schengen Area                                 country, including the IFR and CDC
     Switzerland closed their land borders                    countries.82 Nevertheless, several                           Order. EU Member States have based
     with Italy on March 11 and 13, 2020,                     Schengen Area countries with low                             their decisions to close and then reopen
     respectively, to prevent the entry of                    levels of COVID–19 transmission and                          borders on the reported severity of the
     individuals from Italy, which was an                     few confirmed cases, such as Latvia,                         COVID–19 pandemic in the countries
     epicenter of the COVID–19 pandemic at                    Lithuania, and Norway, continued to                          that travelers are entering from. The
     that time.77 Similarly, Portugal closed                  require citizens from other Schengen                         combination of external and internal
     its land border with Spain as part of                    Area countries to self-quarantine on                         border controls and public health
     sweeping measures to counter COVID–                      arrival, or limit travel to specific                         interventions in the EU and Schengen
     19 transmission.78 Given the level of                    purposes.83 Schengen Area countries                          Area appear to have reduced not only
     economic interdependence and                             have also implemented varying public                         cross-border COVID–19 transmission
     commitment to the unrestricted                           health interventions, such as bans on                        but also internal community spread of
     movement of goods and persons within                     public gatherings, compulsory stay-at-                       the disease to the point of enabling the
     the EU, the closing of internal borders                  home orders, closures of schools and                         relaxation of some restrictions. The
     within the EU and Schengen Area is                       nonessential businesses, and face mask                       experiences of EU Member States and
     akin to individual U.S. States closing                   ordinances.                                                  Schengen Area countries reinforce the
     their borders to interstate travelers.                      On June 25, 2020, the European                            Director’s view that this final rule is an
     During the height of the COVID–19                        Commission adopted a proposal for a                          important tool for protecting public
     pandemic, a large number of EU                           Council Recommendation to lift some                          health in the United States.
     Member States and Schengen countries                     travel restrictions for countries selected
                                                                                                                           b. Australia and New Zealand
     had closed their internal borders, often                 together by EU Member States.84
                                                              Selection was based on a set of                                 Australia and New Zealand have
     times cancelling international air travel
                                                              principles and objective criteria                            implemented external border closures as
     and cross-border train travel.79
                                                              including the health situation in                            part of their response to the COVID–19
        On June 11, 2020, the European
                                                              respective countries, the ability to apply                   pandemic that are much more stringent
     Commission adopted a
                                                              containment measures during travel,                          than the measures taken by the United
     Communication 80 which set out an
                                                              and reciprocity considerations, taking                       States. On March 19, 2020, Australia
        76 Travel and transportation during the               into account data from sources such as                       closed its borders with exemptions only
     coronavirus pandemic: Travel restrictions, Eur.          the European Centre for Disease                              for Australian citizens, permanent
     Comm’n, https://ec.europa.eu/info/live-work-travel-      Prevention and Control and the WHO.85                        residents, and their immediate families,
     eu/health/coronavirus-response/travel-and-                                                                            including spouses, legal guardians, and
     transportation-during-coronavirus-pandemic/travel-
                                                              Based on the criteria and conditions set
     and-eu-during-pandemic_en (last visited Aug. 31,
                                                                                                                           dependents, as well as other certain
     2020).                                                   (June 11, 2020) (available at: https://ec.europa.eu/         other limited exceptions.87 All returning
        77 Id.; Member States’ notifications of the           commission/presscorner/detail/en/ip_20_1035).                citizens and residents of Australia are
                                                                 81 Id.; Travel and transportation during the
     temporary reintroduction of border control at                                                                         subject to a mandatory 14-day
     internal borders pursuant to Article 25 and 28 et        coronavirus pandemic, Eur. Comm’n, https://
                                                              ec.europa.eu/info/live-work-travel-eu/health/
                                                                                                                           quarantine at designated secure
     seq. of the Schengen Borders Code, EU, https://
     ec.europa.eu/home-affairs/sites/homeaffairs/files/       coronavirus-response/travel-and-transportation-              facilities, such as a hotel at their port of
     what-we-do/policies/borders-and-visas/schengen/          during-coronavirus-pandemic/travel-and-eu-during-            arrival.88 In order to manage the return
     reintroduction-border-control/docs/ms_                   pandemic_en (last visited Aug. 31, 2020).                    of citizens and residents, Australia has
     notifications_-_reintroduction_of_border_control_           82 Id.
                                                                                                                           capped international arrivals at 1,875
     en.pdf (last visited Aug. 31, 2020).                        83 See e.g., If returning to/entering Latvia, Lat. Ctr.
        78 Id.; Travel and transportation during the          for Disease Prevention & Control, https://
                                                                                                                           passengers per week.89 Most visa
     coronavirus pandemic: Travel restrictions, Eur.          www.spkc.gov.lv/lv/if-returning-toentering-latvia
                                                                                                                             86 These countries are: Australia, Canada,
     Comm’n, https://ec.europa.eu/info/live-work-travel-      (last updated July 22, 2020) (links to list last
     eu/health/coronavirus-response/travel-and-               updated August 28, 2020); The updated list of                Georgia, Japan, New Zealand, Rwanda, South
     transportation-during-coronavirus-pandemic/travel-       countries for mandatory 14-day isolation upon                Korea, Thailand, Tunisia, Uruguay, and China
     and-eu-during-pandemic_en (last visited Aug. 31,         return, Gov.t of the Rep. of Lith., https://                 (subject to confirmation of reciprocity). Id.
     2020).                                                   koronastop.lrv.lt/en/news/the-updated-list-of-                 87 Media Statement, Prime Minister of Australia
        79 Id.; Member States’ notifications of the           countries-for-mandatory-14-day-isolation-upon-               announces Border Restrictions (Mar. 19, 2020)
     temporary reintroduction of border control at            return-1 (last updated July 27, 2020); Travel advice,        (available at: https://www.pm.gov.au/media/border-
     internal borders pursuant to Article 25 and 28 et        Health Ministry of Nor., https://helsenorge.no/              restrictions).
     seq. of the Schengen Borders Code, EU, https://          koronavirus/travel-advice#Travel-quarantine (last              88 Id.; COVID–19 and the border: Travel

     ec.europa.eu/home-affairs/sites/homeaffairs/files/       updated Aug. 24, 2020).                                      restrictions, Cmlth. of Austl, Dep’t of Home Aff.,
     what-we-do/policies/borders-and-visas/schengen/             84 Travel to and from the EU during the                   https://covid19.homeaffairs.gov.au/travel-
     reintroduction-border-control/docs/ms_                   pandemic: Travel restrictions, Eur. Comm’n,                  restrictions-0 (last updated Aug. 28, 2020).
     notifications_-_reintroduction_of_border_control_        https://ec.europa.eu/info/live-work-travel-eu/                 89 Media Statement, National Cabinet meets to
     en.pdf (last visited Aug. 31, 2020).                     health/coronavirus-response/travel-and-                      discuss Australia’s COVID–19 response, the
        80 Press Release IP/20/1035, Coronavirus:             transportation-during-coronavirus-pandemic/travel-           Victoria outbreak, easing restrictions, helping
     European Commission recommends partial and               and-eu-during-pandemic_en (last visited Aug. 31,             Australians prepare to go back to work, and
     gradual lifting of travel restrictions to the EU after   2020).                                                       economic recovery (Aug. 7, 2020) (available at:
     30 June, based on common coordinated approach               85 Id.                                                                                             Continued




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     holders, including those providing                      restrictive public health measures in                       under an exemption must meet a critical
     critical or specialist medical services,                Melbourne, including a compulsory                           purpose and be approved in advance.101
     including air ambulance and medical                     stay-at-home order limiting the reasons                     New Zealand has suspended visa
     evacuations, are not allowed to enter                   people can leave their homes,96 and a                       processing for offshore applicants
     Australia unless they apply for and are                 declaration of disaster in the State of                     because people who are not New
     granted an exemption and it is approved                 Victoria generally.97 Neighboring States                    Zealand citizens or residents are
     in advance of travel.90 International                   have imposed interstate travel                              unlikely to meet the current entry
     visitors to be granted an exemption and                 restrictions, including prohibiting                         requirements.102 New Zealand has
     permitted to travel to Australia may be                 persons traveling from Victoria from                        suspended its involvement in refugee
     required to pay up to $5,000 (AUD) to                   entering adjoining States.98 Still,                         resettlement programs and stopped
     defray the cost of their quarantine.91                  preliminary epidemiological analysis                        accepting its quota of around 1,500
        Australia had only 25,322 confirmed                  suggests that Australia’s travel                            refugees every year.103
     cases and 572 deaths from COVID–19 as                   restrictions were effective in mitigating                      Any person still permitted to travel to
     of August 27, 2020.92 And as recently as                the introduction of COVID–19 into the                       New Zealand, almost exclusively
     June 26, 2020 Australia was planning a                  country.99                                                  citizens and residents, must submit to a
     safe return of crowds to stadiums,                         New Zealand has taken an even more                       medical examination and testing upon
     arenas, and large theaters,93 and had                   aggressive approach than Australia. It                      arrival, and is subject to a 14-day
     announced its intention to create a                     closed its borders to ‘‘all but critical                    quarantine or isolation period at a
     trans-Tasman COVID-safe travel zone                     travel’’ in the interests of public                         government-managed facility.104
     with New Zealand.94 Nevertheless, an                    health.100 Only New Zealand citizens,                       Quarantine is required regardless of
     outbreak in Melbourne, Victoria in July                 their partners and dependent children,                      whether the individual tested negative
     2020, believed to be caused by infection                and accredited diplomats may travel to                      for COVID–19 on arrival and without
     control failures at quarantine                          New Zealand without prior approval.                         respect to whether the person is
     facilities,95 led to the imposition of                  New Zealand exempts a small number                          exhibiting any symptoms of COVID–
                                                             of categories of travelers from the ban on                  19.105 Although New Zealand has not
     https://www.pm.gov.au/media/national-cabinet-           entering the country, including ‘‘critical                  previously charged travelers for
     7aug2020) This cap will be in effect until October      humanitarian travel’’ granted at the                        quarantine and isolation costs, effective
     24, 2020. Id. A slightly lower cap of 1,475
     passengers took effect on Monday July 13, 2020 and      discretion of New Zealand immigration                       August 10, 2020, the government will
     was re-evaluated and increased in late July. Media      authorities. Any non-citizen or legal                       charge $3,100 (NZ) for one adult; $950
     Statement, National Cabinet discusses Australia’s       resident seeking to enter the country                       (NZ) for each additional adult in the
     current COVID–19 response, easing restrictions,                                                                     same room; and $475 (NZ) for each
     helping Australians prepare to go back to work (July
     10, 2020) (available at: https://www.pm.gov.au/         easing restrictions, helping Australians prepare to         additional child aged 3–17 in the same
     media/national-cabinet).                                go back to work (July 10, 2020) (available at: https://     room for those kept in quarantine and
        90 COVID–19 and the border: Travel restrictions,     www.pm.gov.au/media/national-cabinet).);                    isolation.106 New Zealand has also
     Cmlth. of Austl., Dep’t of Home Aff., https://          Coronavirus: Why has Melbourne’s outbreak
                                                             worsened?, BBC (July 3, 2020), https://                     closed its maritime border to all foreign
     covid19.homeaffairs.gov.au/travel-restrictions-0
     (last updated Aug. 28, 2020).                           www.bbc.com/news/world-australia-53259356.                  ships, including cruise ships, with
        91 For example, from July 17, 2020, anyone
                                                                96 Updated restrictions—11.59 p.m. Wednesday             limited exceptions.107
     arriving in the Northern Territory from a declared      22 July 2020, St. Gov’t of Vict., Dep’t of Health &            New Zealand’s so-called elimination
     COVID–19 hotspot must pay a quarantine fee of           Human Serv.’s, https://www.dhhs.vic.gov.au/                 strategy for COVID–19, consisting of
     $2,500 for an individual, or $5,000 for family          updates/coronavirus-covid-19/updated-restrictions-
                                                             1159pm-wednesday-22-july-2020 (last updated July            border controls, case detection and
     groups of two or more people in a shared
     accommodation for the duration of the 14-day            22, 2020); Stage 4 Restrictions, St. Gov’t of Vict.,        surveillance, and contact tracing and
     quarantine. Mandatory supervised quarantine fee         Dep’t of Health & Human Serv.’s, https://
     Interstate travellers from a COVID–19 Hotspot and       www.dhhs.vic.gov.au/stage-4-restrictions-covid-19             101 Id.

     International Travellers, N. Terr. Gov’t, https://      (last updated Aug. 21, 2020).                                  102 COVID–19: Key updates, N.Z. Immigration,
                                                                97 Premier’s statement on changes to regional
     coronavirus.nt.gov.au/travel/quarantine/                                                                            https://www.immigration.govt.nz/about-us/covid-
     quarantine-fee (last updated Aug. 24, 2020).            restrictions, St. Gov’t of Vict., Dep’t of Health &         19/coronavirus-update-inz-response (last visited
        92 Coronavirus (COVID–19) at a glance—27             Human Serv.’s (Aug. 2, 2020), https://                      Aug. 28, 2020).
     August 2020, Cmlth of Austl. Dep’t of Health (Aug.      www.dhhs.vic.gov.au/updates/coronavirus-covid-                 103 Immigration Factsheets: COVID–19 response—

     27, 2020), https://www.health.gov.au/resources/         19/premiers-statement-changes-regional-                     Quota Refugees, N.Z. Immigration (July 6, 2020),
     publications/coronavirus-covid-19-at-a-glance-27-       restrictions.                                               https://www.immigration.govt.nz/documents/
                                                                98 See e.g., Travel Restrictions, S. Austl. St. Gov’t,
     august-2020.                                                                                                        media/covid-19-quota-refugees-factsheet.pdf; see
        93 Australian Health Protection Principal            https://www.covid-19.sa.gov.au/restrictions-and-            generally New Zealand Refugee Quota Programme,
     Committee (AHPPC) statement on the safe return of       responsibilities/travel-restrictions#intosa (last           N.Z. Immigration, https://
     crowds to stadiums, arenas and large theatres,          visited Aug. 28, 2020) (‘‘Travellers from Victoria,         www.immigration.govt.nz/about-us/what-we-do/
     Cmlth. of Austl. Dep’t of Health (June 26, 2020),       other than approved categories of Essential                 our-strategies-and-projects/supporting-refugees-
     https://www.health.gov.au/news/australian-health-       Travellers, are not permitted to travel to South            and-asylum-seekers/refugee-and-protection-unit/
     protection-principal-committee-ahppc-statement-         Australia. Checkpoints or road blocks will be set up        new-zealand-refugee-quota-programme (last visited
     on-the-safe-return-of-crowds-to-stadiums-arenas-        at all border crossings between South Australia and         Aug. 28, 2020); Increasing New Zealand’s Refugee
     and-large-theatres.                                     Victoria.’’); NSW-Victoria border restrictions,             Quota, N.Z. Immigration, https://
        94 Media Statement, Joint Statement—Prime            N.S.W. St. Gov’t, https://www.nsw.gov.au/covid-19/          www.immigration.govt.nz/about-us/what-we-do/
     Ministers Jacinda Ardern and Scott Morrison             what-you-can-and-cant-do-under-rules/border-                our-strategies-and-projects/refugee-resettlement-
     Announce Plans for Trans-Tasman COVID-SAFE              restrictions#who-can-enter-nsw (last visited Aug.           strategy/rqip (last visited Aug. 28, 2020).
     Travel Zone (May 5, 2020) (available at: https://       28, 2020) (‘‘NSW has temporarily shut its border               104 COVID–19: New Zealanders in the UK—

     www.pm.gov.au/media/joint-statement-prime-              with Victoria to contain the spread of COVID–19’’).         Frequently Asked Questions, N.Z. Foreign Aff. &
     ministers-jacinda-ardern-and-scott-morrison-               99 Valentina Costantino et al., The effectiveness of     Trade, https://www.mfat.govt.nz/en/countries-and-
     announce-plans-trans-tasman). As of mid-August,         full and partial travel bans against COVID–19               regions/europe/united-kingdom/new-zealand-high-
     the plans for a trans-Tasman travel ‘‘bubble’’ had      spread in Australia for travelers from China during         commission/living-in-the-uk/covid-19-coronavirus/
     been put on pause. Trans-Tasman bubble ‘on              and after the epidemic peak in China, J. Travel             (last visited Aug. 28, 2020).
     pause’ amid new Covid outbreaks across Pacific,         Med. (May 22, 2020), https://academic.oup.com/                 105 See Id.

     The Guardian (Aug. 13, 2020 13:30 EDT), https://        jtm/article/doi/10.1093/jtm/taaa081/                           106 Id. (There is no charge for children under the

     www.theguardian.com/world/2020/aug/14/trans-            5842100#205346339.                                          age of three).
     tasman-travel-bubble-on-pause-amid-new-covid-              100 Border closures and exceptions, N.Z.                    107 COVID–19 Public Health Response (Maritime
     outbreaks-across-pacific.                               Immigration, https://www.immigration.govt.nz/               Border) Order 2020, Parl. Couns. Off. (June 30,
        95 See Media Statement, National Cabinet             about-us/covid-19/border-closures-and-exceptions            2020), http://www.legislation.govt.nz/regulation/
     discusses Australia’s current COVID–19 response,        (last visited Aug. 25, 2020).                               public/2020/0134/latest/whole.html#LMS363210.



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     quarantine has been widely hailed as a                  cannot travel to Canada unless they are                 international travel than the United
     success.108 Restricting nearly all                      an immediate family member of a                         States, Canada’s restrictions are robust.
     international travel and immigration,                   Canadian national or permanent                          By closing its border to all but essential
     paired with domestic public health                      resident, or are traveling for one of a                 travel with the United States and
     interventions, gave New Zealand time to                 limited number of essential purposes                    returning citizens, Canada has
     put in place the infrastructure needed to               and are either traveling directly from the              operationalized a self-quarantine
     carry out its elimination strategy.109 On               United States or exempt from travel                     process for arriving travelers that has
     August 28, 2020, New Zealand                            restrictions.114 All foreign nationals                  mitigated the spread of COVID–19,
     announced 12 new cases of COVID–19                      eligible to enter Canada must undergo                   particularly from arriving asymptomatic
     that are being managed in isolation,                    health assessments, and have plans to                   persons who are capable of transmitting
     bringing the total to 130 active cases.110              self-quarantine for 14 days, that include               the disease. Coupled with public health
       The experiences of New Zealand and                    where they are staying, how they plan                   interventions, Canada’s border control
     Australia, like the experiences of the EU               to get to where they are staying, and                   measures have led to a considerable
     Member States and Schengen Area                         how they will get groceries and access                  reduction in COVID–19 transmission.
     countries, reinforce the CDC Director’s                 essential services. Failure to have an                  The Canadian experience is further
     view that this final rule is an important               adequate quarantine plan is grounds to                  corroboration that this final rule is good
     tool for protecting public health in the                be denied entry.115 Returning Canadians                 policy and vital to CDC’s ability to
     United States.                                          are also required to quarantine for 14                  protection public health in the United
     c. Canada                                               days, during which individuals are not                  States.
                                                             permitted to leave quarantine except for
        On March 20, 2020, the United States                                                                         C. This Rulemaking Finalizes
                                                             medical attention and may not have
     and Canada announced plans to, by                                                                               Procedures Necessary for HHS/CDC’s
                                                             visitors.116 Failure to adhere to
     mutual consent, temporarily limit non-                                                                          Continued Protection of U.S. Public
                                                             quarantine requirements is punishable
     essential travel along the United States-                                                                       Health From the COVID–19 Pandemic
                                                             by up to six months imprisonment, a
     Canada land border.111 As noted above,                  fine of up to $750,000 (CAD), a finding                 and Future Threats
     these measures were extended through                    of inadmissibility, removal from                           HHS/CDC needs this final rule to
     September 21, 2020.112                                  Canada, and a one-year entry ban.117                    implement section 362 of the PHS Act
        Like Australia and New Zealand,                         As of August 27, 2020, Canada                        because the IFR is not permanent.
     Canada banned almost all other foreign                  reported over 126,000 cases of COVID–                   ‘‘Unless extended after consideration of
     nationals from entering the country. On                 19 and over 9,000 confirmed deaths.118                  submitted comments, [the IFR] will
     June 30, 2020, Canada extended its                      According to a July 8, 2020 report,                     cease to be in effect on the earlier of (1)
     public health restrictions on                           repatriated travelers accounted for 13                  one year from the publication of [the
     international travelers from countries                  cases and no deaths. The Canadian                       IFR], or (2) when the HHS Secretary
     other than the United States, and on                    government believes community                           determines there is no longer a need for
     immigration to Canada, through at least                 transmission (as opposed to cross-                      [the IFR].’’ 119 Absent such a
     July 31, 2020.113 Most foreign nationals                border transmission) accounts for 85%                   determination, the IFR lapses by its own
                                                             of cases. In response to persistent, low                terms on March 20, 2021.
        108 See COVID–19: Elimination strategy for
                                                             levels of community transmission,                          There are also legal actions
     Aotearoa New Zealand, Ministry of Health, https://
     www.health.govt.nz/our-work/diseases-and-               authorities in Toronto, Ottawa, and                     challenging the IFR. For example, in
     conditions/covid-19-novel-coronavirus/covid-19-         several other Ontario cities have                       P.J.E.S. v. Wolf, No. 20–cv–02245–EGS
     current-situation/covid-19-elimination-strategy-        mandated indoor mask use. Quebec has                    (D.D.C. filed Aug. 14, 2020), the named
     aotearoa-new-zealand (last updated May 8, 2020);
     Anna Jones, Coronavirus: How New Zealand went
                                                             similarly announced that masks will be                  plaintiff has sued the HHS Secretary,
     ’hard and early’ to beat Covid–19, BBC News (July       mandatory in all indoor public places                   the CDC Director, and others on behalf
     10, 2020), https://www.bbc.com/news/world-asia-         starting July 27, 2020.                                 of a putative class of unaccompanied
     53274085; Jason Douglas, As Coronavirus Surges in          While Canada was slower to                           alien children. In additional to arguing
     U.S., Some Countries Have Just About Halted It,         implement public health restrictions on
     The Wall Street J. (July 6, 2020), https://                                                                     that the CDC Order and the underlying
     www.wsj.com/articles/as-coronavirus-surges-in-u-s-                                                              IFR are contrary to statute, the putative
                                                                114 Id.; see also Coronavirus disease (COVID–19):
     some-countries-have-just-about-halted-it-                                                                       class representative alleges that the IFR
     11594037814.                                            Who can travel to Canada—Citizens, permanent
        109 See Michael G. Baker et al., New Zealand’s       residents, foreign nationals and refugees, Gov’t of
                                                                                                                     and CDC Order are arbitrary and
     elimination strategy for the COVID–19 pandemic          Can., https://www.canada.ca/en/immigration-             capricious for a number of reasons.
     and what is required to make it work, 133 N.Z. Med.     refugees-citizenship/services/coronavirus-covid19/      According to the named plaintiff,
     J. 1512, 10 (2020), (available at: https://             travel-restrictions-exemptions.html (last updated       ‘‘Defendants have not articulated a
     www.nzma.org.nz/journal-articles/new-zealands-          Aug. 13, 2020).
     elimination-strategy-for-the-covid-19-pandemic-            115 Id.                                              reasoned explanation for their decision
     and-what-is-required-to-make-it-work).                     116 For travellers without symptoms of COVID–19      to apply [the IFR and the CDC Order] to
        110 Media Release: NZ Ministry of Health             returning to Canada, Gov’t of Can., https://            unaccompanied children; failed to
     Announces 12 new cases of COVID–19 (Aug. 28,            www.canada.ca/en/public-health/services/                consider relevant factors in applying
     2020) (available at: https://www.health.govt.nz/        publications/diseases-conditions/2019-novel-
     news-media/media-releases/12-new-cases-covid-           coronavirus-information-sheet.html (last updated
                                                                                                                     [the IFR and the CDC Order] to them
     19).                                                    Aug. 7, 2020).                                          . . .; relied on factors Congress did not
        111 Fact Sheet: DHS Measures on the Border to           117 Coronavirus disease (COVID–19): Who can          intend to be considered; failed to
     Limit the Further Spread of Coronavirus, Dep’t of       travel to Canada—Citizens, permanent residents,         consider reasonable alternatives that
     Homeland Sec., https://www.dhs.gov/news/2020/           foreign nationals and refugees, Gov’t of Can.,
     06/16/fact-sheet-dhs-measures-border-limit-further-     https://www.canada.ca/en/immigration-refugees-
                                                                                                                     were less restrictive; and offered no
     spread-coronavirus (last updated Aug. 14, 2020).        citizenship/services/coronavirus-covid19/travel-        sufficient explanation for their decision
        112 85 FR 51634 (August 21, 2020).                   restrictions-exemptions.html (last updated Aug. 13,     to expel them from the country.’’ 120
        113 Press Release, Canada Extends Mandatory          2020).                                                  While the Government is defending all
                                                                118 Statement from the Chief Public Health Officer
     Requirements Under the Quarantine Act for Anyone                                                                challenges to the IFR and the CDC
     Entering Canada (Jun. 30, 2020) (available at:          of Canada On August 27, 2020, Gov’t of Can.,
     https://www.canada.ca/en/public-health/news/            https://www.canada.ca/en/public-health/news/
                                                                                                                       119 85 FR 16559 (March 24, 2020).
     2020/06/canada-extends-mandatory-requirements-          2020/08/statement-from-the-chief-public-health-
     under-the-quarantine-act-for-anyone-entering-           officer-of-canada-on-august-27-2020.html (last            120 P.J.E.S. v. Wolf, No. 20–cv–02245–EGS, at

     canada.html), (last updated July 3, 2020).              updated August 27, 2020).                               *27–28 (D.D.C. Aug. 14, 2020), ECF No. 1.



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     Order, it is nonetheless possible that a                community transmission for many                        per 100,000 people over that same
     district court could vacate or enjoin the               months, the IFR and CDC Order enabled                  period.125
     IFR before the IFR lapses by its own                    DHS to expel tens of thousands of                         The surge in California was dramatic.
     terms on March 20, 2021.                                covered aliens from Mexico who would                   In early July 2020, the statewide data in
        The procedures finalized here ensure                 have otherwise spent material amounts                  California demonstrated a significant
     that HHS/CDC can mitigate the danger                    of time in congregate settings, and large              increase in the community transmission
     of the introduction of COVID–19 into                    numbers of those covered aliens would                  of COVID–19, which prompted State
     the United States regardless of whether                 have otherwise been released into the                  officials to implement sweeping
     the IFR is vacated or enjoined, or lapses               States in the U.S.-Mexico border region.               measures to protect the health of the
     by its own terms. The procedures also                   Given the sheer volume of covered                      public.126 The State Public Health
     ensure that HHS/CDC can act quickly to                  aliens subject to the CDC Order, the                   Officer and Director observed that ‘‘[i]n
     mitigate the danger of the introduction                 Director assesses that the positive                    addition to the impact on the general
     of other quarantinable communicable                     impacts of the IFR and CDC Order on                    population, community spread
     diseases into the United States in the                  community transmission and case                        increases the likelihood of expanded
     future. As previously discussed, HHS/                   counts in the U.S.-Mexico border region                transmission of COVID–19 in congregate
     CDC cannot predict when it will need                    were not insubstantial.                                settings such as nursing homes,
     to exercise the Section 362 authority in                   The benefits of the IFR and CDC                     homeless shelters, jails and prisons.
     the future; the immediate availability of               Order are compelling when the recent                   Infection of these vulnerable
     procedures for exercising the authority                 trends in COVID–19 case counts and                     populations in these settings can be
     is important once HHS/CDC decides to                    deaths, and the recent experiences of                  catastrophic[ ].’’ 127 The number of
     take action.                                            the States in the U.S.-Mexico border                   patients hospitalized in California due
        The public health situation in the                   region, are considered. Nationally, the                to COVID–19 increased between 50–
     U.S.-Mexico border region highlights                    numbers of COVID–19 cases have                         100% in all regions in the State, with an
     the need for the procedures. The                        continued to decrease since mid-July,                  average increase of 77% compared to
     COVID–19 pandemic still presents                        and as of August 22, 2020, six out of ten              mid-June.128
     significant challenges for the States in                HHS surveillance regions reported                         During the California surge, CBP
     the region, and Mexico itself. If the                   decreasing or stable levels of the                     continued to apprehend covered aliens
     procedures established by the IFR                       disease.121 Two regions reported an                    who had crossed the border from
     ceased to be effective, then the CDC                    increase in the percentage of people                   Mexico into California. Absent the IFR
     Order on covered aliens would likewise                  testing positive for COVID–19, and two                 and CDC Order, covered aliens moving
     cease to be effective, and the danger of                regions reported increases in influenza-               through congregate areas in Border
     the introduction of COVID–19 into the                   like illness visits over the previous                  Patrol stations and POEs in California
     States in the U.S.-Mexico border region                 week.122 Deaths involving COVID–19,                    could have been capable of transmitting
     would increase. The CBP workforce and                   pneumonia, and influenza have                          the virus that causes COVID–19, thereby
     the civilian population in the U.S.-                    declined, from a high of 16,957 deaths                 increasing the already serious danger of
     Mexico border region would face an                      during the week ending on April 18,                    the introduction of COVID–19 into
     increased risk of infection with COVID–                 2020, to 400 deaths during the week                    California and, by extension,
     19. The community transmission of                       ending on August 22, 2020.123 Weekly
     COVID–19, the number of new COVID–                      hospitalizations associated with                          125 United States COVID–19 Cases and Deaths by

     19 cases, and the attendant strain on the               confirmed COVID–19 cases are also                      State: Cases in Last 7 Days, Ctrs. for Disease Control
                                                                                                                    & Prevention, https://www.cdc.gov/covid-data-
     healthcare system in the U.S.-Mexico                    down, from a high of 10.10 per 100,000                 tracker/#cases (last updated Aug. 30, 2020)
     border region would likely increase as                  Americans in April, to a low of 2.8 per                (California reported 36,947 cases and Texas
     well. The Director assesses that HHS/                   100,000 Americans during the week                      reported 33,391 cases, followed by Florida with
     CDC can mitigate those consequences so                  ending on August 22, 2020.124                          20,923 cases; Arizona had the third highest case
                                                                                                                    rate per 100,000 people in the United States with
     long as the procedures established by                      While hospitalizations and deaths                   2,807 cases, surpassed only by Louisiana and
     the IFR remain in place.                                have declined overall, the number of                   Florida).
        The Director’s assessment takes into                 new COVID–19 cases in certain areas of                    126 On July 13, 2020, the California State Public

     account the effectiveness of the IFR and                the country has surged in recent                       Health Officer and Director announced mandatory
     CDC Order as public health measures,                                                                           statewide closures of indoor operations for certain
                                                             months. Those areas include the States                 sectors, and both indoor and outdoor operations for
     recent trends in COVID–19 case counts                   in the U.S.-Mexico border region.                      bars and similar establishments Guidance on
     and deaths, the experiences of the                      Indeed, as of August 30, 2020, California              Closure of Sectors in Response to COVID–19 (July
     States, and the States’ current reopening               and Texas lead the country with the                    13, 2020), Cal. Dep’t of Pub. Health, https://
     plans. As previously discussed, the                     highest 7-day case count, and Arizona                  www.cdph.ca.gov/Programs/CID/DCDC/Pages/
                                                                                                                    COVID-19/Guidance-of-Closure-of-Sectors-in-
     Director assesses that the IFR and CDC                  has the third highest number of cases                  Response-to-COVID-19.aspx (last updated July 17,
     Order have reduced the danger of the                                                                           2020). In her order, she observed that ‘‘[t]he data
     introduction of COVID–19 into the                         121 COVID View: A Weekly Summary of U.S.             is clear that community spread of infection is of
     United States, and reduced the strain on                COVID–19 Activity (August 22, 2020), Ctrs. for         increasing concern across the state, and continues
                                                             Disease Control & Prevention, https://www.cdc.gov/     to grow in those counties on the County Monitoring
     the healthcare system in the U.S.-                      coronavirus/2019-ncov/covid-data/covidview/            List[,]’’ and ‘‘[w]hile these counties [with high
     Mexico border region by decreasing the                  index.html (last updated Aug. 28, 2020).               numbers of COVID–19 hospitalizations] are
     utilization of the healthcare system by                   122 Id.                                              primarily located in the south and central valley,
     covered aliens. The Director further                      123 Weekly Updates by Select Demographic and         there are now counties on the monitoring list from
                                                             Geographic Characteristics: Provisional Death          all regions of California.’’ See also Blueprint for a
     assesses that the IFR and CDC Order                                                                            Safer Economy, Cal. All, https://covid19.ca.gov/
                                                             Counts for Coronavirus Disease 2019 (COVID–19),
     have helped slow community                              Ctrs. for Disease Control & Prevention, https://       safer-economy/#top (last visited Aug. 31, 2020).
     transmission of COVID–19 and the                        www.cdc.gov/nchs/nvss/vsrr/covid_weekly/                  127 Guidance on Closure of Sectors in Response to

     number of new COVID–19 cases in the                     index.htm (last updated Aug. 26, 2020).                COVID–19 (July 13, 2020), Cal. Dep’t of Pub. Health,
     States in the U.S.-Mexico border region.                  124 Laboratory-Confirmed COVID–19-Associated         https://www.cdph.ca.gov/Programs/CID/DCDC/
                                                             Hospitalizations: Preliminary weekly rates as of       Pages/COVID-19/Guidance-of-Closure-of-Sectors-in-
     While these positive impacts are                        Aug. 1, 2020, Ctr. for Disease Control & Prevention,   Response-to-COVID-19.aspx (last updated July 17,
     difficult to quantify, it is undisputed                 https://gis.cdc.gov/grasp/COVIDNet/COVID19_            2020).
     that Mexico has experienced                             3.html (last visited Aug. 31, 2020).                      128 Id.




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     community transmission in California.                   and positivity rates would, in turn,                   medical personnel from FEMA, in
     The consequences for the healthcare                     frustrate efforts by California counties to            addition to the 62 Federal medical
     system in California could have been                    step down to lower tiers in the                        personnel already deployed to assist
     severe; a surge of infected covered                     reopening guidelines and begin in-                     with Arizona’s COVID–19 response.140
     aliens coming from Mexico could have                    person schooling and the reopening of                  On July 1, in response to a petition from
     further reduced the available inpatient                 businesses. The Director further assesses              medical providers, the Arizona
     hospital bed capacity in California,                    that the introduction of covered aliens                Department of Health Services activated
     while increasing the exposure of                        into California through congregate                     the State’s Crisis Standards of Care Plan,
     California healthcare workers and the                   settings in CBP facilities would likely                which establishes guidelines for the
     CBP workforce to COVID–19. Increased                    have a negative impact on case and                     allocation of scarce healthcare resources
     community transmission from covered                     positivity rates in California, which                  among patients based on factors such as
     aliens would have been contrary to the                  would not be in the interest of U.S.                   likelihood of survival.141 As of August
     interest of U.S. public health, and                     public health.                                         30, 2020, Arizona’s inpatient hospital
     would have frustrated the efforts of                      Similar to California, Arizona saw                   bed occupancy rate was still
     Californians to slow community                          significant increases in the number of                 approximately 81%, with approximately
     transmission.                                           confirmed COVID–19 infections                          10% occupied by COVID–19 patients;
        There are still high rates of                        beginning in mid-May, leading the                      and its ICU bed occupancy rate was
     community spread within California,                     Governor of Arizona to suspend the                     approximately 77%, with approximately
     though the situation has improved some                  State’s phased re-opening plans and                    15% occupied by COVID–19 patients.142
     since the peak of the surge in July                     delay the phased reopening of schools                     Arizona has instituted county-specific
     2020.129 California’s revised reopening                 until August 17, 2020.134 The Federal                  public health benchmarks that must be
     guidelines explain that as of August 31,                government committed to constructing                   achieved in order to begin the phased
     2020, certain businesses will be able to                surge testing sites in Arizona to help                 reopening of businesses, including bars,
     open ‘‘with modifications, including all                meet the increased demand for                          indoor gyms/fitness centers, indoor
     retail, shopping centers at maximum                     diagnostic testing.135 During mid-June,                movie theaters, and water parks/tubing
     25% capacity, and hair salons and                       Arizona was averaging approximately                    operations.143 Under the benchmark
     barbershops indoors,’’ even in counties                 1,300 new COVID–19 infections a                        system, businesses in counties
     where community transmission is                         day; 136 and by mid-July, Arizona had                  designated as experiencing minimal or
     classified as ‘‘widespread.’’ 130 As                    one of the highest positivity rates in the             moderate transmission, as indicated by
     counties step down from ‘‘widespread’’                  nation, at nearly 27%.137 By July 27,                  certain metrics for at least two weeks,
     to the ‘‘substantial,’’ ‘‘moderate,’’ or                2020, 10 out of the 14 counties in                     may reopen subject to occupancy limits
     ‘‘minimal’’ tiers based on case and                     Arizona were in the ‘‘red zone,’’                      and other mitigation requirements.144
     positivity rates, restrictions are                      meaning there were more than 100 new                   As of August 27, 2020, only one county
     progressively loosened, permitting the                  cases for every 100,000 people, and                    is experiencing minimal transmission,
     reopening of additional indoor                          more than 10% of the people tested for                 eight counties are experiencing
     businesses and in-person instruction in                 COVID–19 test positive.138                             moderate transmission, and six counties
     schools.131 Higher rates of community                     As a result of the surge in new
     transmission reverse such progress: ‘‘[i]f              COVID–19 cases, Arizona’s healthcare                     140 See Vice President Pence Holds News

     a county’s metrics worsen for two                                                                              Conference with Arizona Governor, C-SPAN (July 1,
                                                             system approached capacity in terms of                 2020), https://www.c-span.org/video/?473590-1/
     consecutive weeks, it will be assigned a                the number of available hospital beds                  vice-president-urges-wearing-masks-amid-
     more restrictive tier.’’ 132                            and critical staff.139 On July 1, 2020,                coronavirus-spike-arizona (statements regarding
        While California is making progress, it              Arizona requested 500 additional                       FEMA medical personnel occur at 03:52–04:20); see
     is not in the clear yet. As of August 30,                                                                      also Brett Samuels, Arizona asks for 500 additional
                                                                                                                    medical personnel amid spike in virus cases, The
     2020, the California Department of                         134 Press Release, Governor of Arizona Announces
                                                                                                                    Hill (July 1, 2020), https://thehill.com/homenews/
     Health reported 699,909 confirmed                       Further Action to Reverse COVID–19 Spread in the       state-watch/505517-arizona-asks-for-500-
     cases of COVID–19, and 12,905 deaths.                   State (June 29, 2020) (available at: https://          additional-medical-personnel-amid-spike-in-virus.
     It recognized that ‘‘[a]s case numbers                  azgovernor.gov/governor/news/2020/06/further-            141 See generally COVID–19 Implementing Crisis
                                                             action-reverse-covid-19-spread-arizona).               Standards of Care at Short-Term Inpatient Acute
     continue to rise in California, the total                  135 Jessica Boehm, Ariz. Cent., Feds downplay
                                                                                                                    Care Facilities Guidance Approved by State Disaster
     number of individuals who have serious                  Phoenix mayor’s COVID–19 testing concerns, but         Medical Advisory Committee (SDMAC)—4/1/2020,
     outcomes will also increase.’’ 133                      commit to new mass test site in west Phoenix (July     Ariz. Dep’t of Health Serv.’s, (available at: https://
        The Director assesses that increased                 8, 2020), https://www.azcentral.com/story/news/        www.azdhs.gov/documents/preparedness/
     community transmission in California                    local/phoenix/2020/07/08/feds-discount-gallego-        epidemiology-disease-control/infectious-disease-
                                                             concerns-but-commit-covid-19-testing-site/             epidemiology/novel-coronavirus/sdmac/sdmac-
     would likely result in increased                        5400030002/.                                           guidance-crisis-standards-care-healthcare-
     numbers of cases, as well as increased                     136 Will Stone, Health Experts Link Rise in         facilities.pdf); Arizona Crisis Standards of Care
     case and positivity rates, and ultimately               Arizona Coronavirus Cases to End of Stay-At-Home       Plan, 3d ed. (2020), Ariz. Dep’t of Health Serv.’s,
     increased numbers of individuals who                    Order, Nat’l Pub. Radio (June 14, 2020), https://      (available at: https://www.azdhs.gov/documents/
                                                             www.npr.org/2020/06/14/876786952/health-               preparedness/emergency-preparedness/response-
     have serious outcomes. Increases in case                experts-link-rise-in-arizona-coronavirus-cases-to-     plans/azcsc-plan.pdf).
                                                             end-of-stay-at-home-ord.                                 142 Data Dashboard, Ariz. Dep’t of Health Serv.’s,
       129 California Coronavirus Map and Case Count,           137 Arizona’s surge in coronavirus cases has been   https://www.azdhs.gov/preparedness/epidemiology-
     N.Y. Times, https://www.nytimes.com/interactive/        ‘‘the worst in the entire country,’’ health experts    disease-control/infectious-disease-epidemiology/
     2020/us/california-coronavirus-cases.html (last         say, CBS News (July 13, 2020), https://                covid-19/dashboards/index.php (last visited Aug.
     visited Aug. 31, 2020).                                 www.cbsnews.com/news/arizona-coronavirus-              13, 2020) (see ‘‘Hospital Bed Usage & Availability’’
       130 Blueprint for a Safer Economy, Cal. All,
                                                             cases-worst-in-united-states.                          tab, subtabs for ‘‘ICU Bed Usage and Availability’’
     https://covid19.ca.gov/safer-economy/#top (last            138 State Reports, White House Coronavirus Task     and ‘‘Inpatient Bed Usage and Availability’’).
     visited Aug. 31, 2020).                                 Force, *17–23 (July 26, 2020) (on file with HHS).        143 See Benchmarks for Businesses by County,
       131 Id.                                                  139 Id. See Data Dashboard, Ariz. Dep’t of Health   Ariz. Dep’t of Health Serv.’s, (available at https://
       132 See id.                                                                                                  www.azdhs.gov/documents/preparedness/
                                                             Serv.’s, https://www.azdhs.gov/preparedness/
       133 State Officials Anounce Latest COVID–19           epidemiology-disease-control/infectious-disease-       epidemiology-disease-control/infectious-disease-
     Facts, Cal. Dep’t. of Pub. Health, https://             epidemiology/covid-19/dashboards/index.php (last       epidemiology/novel-coronavirus/business-
     www.cdph.ca.gov/Programs/OPA/Pages/NR20-                visited Aug. 31, 2020) (see ‘‘Hospital Bed Usage &     benchmarks.pdf) (last updated Aug. 27, 2020).
     213.aspx (last updated Aug. 30, 2020).                  Availability’’ tab).                                     144 Id.




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     are experiencing substantial                            Mexican border states as the overall                   A. History of the U.S. Public Health
     transmission, during which all                          public health situation improves                       Laws
     businesses must remained closed.145                     somewhat. As of August 28, 2020, under                    Congress has long recognized the
        The Director assesses that the IFR and               SALUD’s ‘‘stoplight’’ designation                      danger posed by communicable disease
     CDC Order have helped protect the                       system, only one of Mexico’s 32 states,                and granted broad powers to the
     overtaxed Arizona healthcare system                     Colima, is red, 21 are orange, and 10 are              Executive Branch to address the danger
     from additional strain and conserve                     yellow. Five states advanced to orange                 during times of emergency. In 1796,
     health care resources for the domestic                  from red. According to SALUD, Mexico                   Congress passed an Act Relative to
     population. The Director further                        City’s cases are stabilizing and hospital              Quarantine, which authorized the
     assesses that absent the IFR and CDC                    occupancy in the city decreased to 47                  President to direct U.S. officers to ‘‘aid
     Order, covered aliens moving through                    percent, from a high of approximately                  in the execution of quarantine, and also
     congregate settings in CBP facilities in                80 percent in mid-June. Although                       in the execution of the health laws of
     Arizona could have been capable of                      hospital occupancy rates have improved                 the states, respectively, in such manner
     transmitting the virus that causes                      in recent weeks—the national hospital                  as may to him appear necessary.’’ 149
     COVID–19, thereby increasing the                        occupancy rate is 36 percent—hospital                     After a yellow fever outbreak in New
     already serious danger of the                           occupancy rates remain elevated in                     York in 1798, Congress enacted ‘‘An Act
     introduction of COVID–19 into Arizona                   Mexican border states such as Nuevo                    Respecting Quarantine and Health
     and, by extension, community                            Leon (61 percent) and Coahuila (48                     Laws.’’ 150 This statute replaced the Act
     transmission in Arizona. The additional                 percent). As of August 26, 2020, several               of May 1796 and created a more robust
     strain on the system would have been                    Mexican border states report relatively                Federal public health regime. It
     problematic because the situation in                    high numbers of active COVID–19                        authorized and required certain officers
     Arizona has been serious, with hospital                 infections: Tamaulipas (3,566 active                   to aid in the execution of State
     occupancy rates nearing limits, critical                cases), Nuevo Leon (6,028 actives cases)               quarantine and health laws, including
     staff shortages, and the activation of                  and Baja California (1,440 active cases).              those with respect to vessels arriving in
     State plans for allocating health care.                 On August 2, 2020, the health minister                 or bound to any U.S. port. It also
        As with California, the Director                     of the Mexican border State of                         authorized the Secretary of the Treasury
     assesses that increased community                       Chihuahua died from COVID–19 after                     to vary or dispense with regulations
     transmission in Arizona would likely                    nearly two weeks of inpatient                          concerning the entry of vessels and
     result in increased numbers of cases, as                hospitalization.148                                    cargoes when required for consistency
     well as increased case and positivity                      A shift in the epicenter of the COVID–              with quarantine and other health laws.
     rates, and ultimately increased numbers                 19 pandemic in Mexico to the U.S.-                     Just as the Director has recognized the
     of individuals who have serious                         Mexico border region would present                     threat that the introduction of COVID–
     outcomes. Increases in case and                         increased concerns for U.S. public                     19 presents to CBP personnel, the Act
     positivity rates would, in turn, frustrate              health because all covered aliens                      recognized that the ‘‘prevalence of any
     efforts by Arizona counties to meet                     crossing the U.S.-Mexico border                        contagious or epidemical disease’’ at a
     benchmarks for the reopening of                         necessarily travel through that region. If             port could present a danger to Federal
     businesses. The Director assesses that                  community transmission in the Mexican                  officials. Therefore, it authorized
     the introduction of covered aliens into                 border region increases, then the                      measures to protect Federal officials
     Arizona through congregate settings in                  numbers of COVID–19 cases in that                      during an outbreak. Specifically, it
     CBP facilities would likely have a                      region are likely to increase, as are the              authorized the Secretary of the Treasury
     negative impact on case and positivity                  numbers of infected covered aliens who                 and the President to order the relocation
     rates in Arizona, which would not be in                 seek to introduce themselves into the                  of revenue officers and public offices,
     the interest of U.S. public health.                     United States. The introduction of more                respectively, from a dangerous port to a
        The Director’s concerns are driven                   infected covered aliens would probably                 safe location.151 Almost 100 years later,
     partly by the public health situation in                have a negative impact on community                    the U.S. experienced a severe cholera
     Mexico. As of August 31, 2020, Mexico                   transmission in the United States, and                 outbreak caused by persons arriving
     has 591,712 confirmed cases, and                        ultimately U.S. public health.                         from Europe.152 In response, Congress
     63,819 reported deaths.146 Some                         III. Statutory Authority                               passed the Quarantine Act of 1893, ch.
     observers believe the actual COVID                                                                             114, 27 Stat. 449. Several provisions of
                                                                The primary legal authority
     infections and deaths are multiples                                                                            that Act addressed the Federal authority
                                                             supporting this rulemaking is section
     (likely between 10 to 20 times) of what                                                                        to quarantine persons arriving in the
                                                             362 of the PHS Act, which is codified
     is reported, as Mexico has the lowest                                                                          United States. Section 7 of the Act of
                                                             at 42 U.S.C. 265. Congress enacted
     diagnostic testing per capita of any                                                                           1893, which used terms nearly identical
                                                             section 362 in 1944, and modeled it on
     country in the Organization for                                                                                to the current section 362, expanded
                                                             Section 7 of the Quarantine Act of 1893,
     Economic Co-operation and                                                                                      Federal authority beyond the authority
                                                             which was informed by U.S. public
     Development (OECD).147                                                                                         to quarantine persons. Specifically, it
                                                             health laws from the early days of the
        While the data on Mexico is limited,                                                                        authorized the President to ‘‘prohibit’’
                                                             Republic. The history of the U.S. public
     there are signs that the epicenter of the                                                                      the ‘‘introduction’’ of persons into the
                                                             health laws is a helpful backdrop when
     COVID–19 pandemic in Mexico is                                                                                 United States if ‘‘the quarantine
                                                             analyzing the congressional intent
     shifting from Mexico City to the                                                                               defense’’ was insufficient to address a
                                                             behind section 362. Below we discuss
       145 Id.
                                                             the history of such laws, followed by a                  149 An Act relative to Quarantine, ch. 31, 1 Stat.
       146 WHO Coronavirus Disease (COVID–19)                discussion of section 362 and other                    474 (May 27, 1796).
     Dashboard, WHO, https://covid19.who.int/table           relevant statutory authorities.                          150 An Act respecting Quarantine and Health

     (last visited Aug. 31, 2020).                                                                                  Laws, ch 12, 1 Stat. 619 (Feb. 25, 1799).
        147 Azam Ahmed, Hidden Toll: Mexico Ignores            148 Laura Gottesdieer, Mexican State health            151 Id.

     Wave of Coronavirus Death in Capital, The N.Y.          minister dies after being hospitalized for COVID–19,     152 History of Quarantine, Ctrs. for Disease

     Times (May 8, 2020, updated May 28, 2020),              Reuters (July 26, 2020, 11:57 a.m.), https://          Control & Prevention, https://www.cdc.gov/
     https://www.nytimes.com/2020/05/08/world/               www.reuters.com/article/us-health-coronavirus-         quarantine/historyquarantine.html (last updated
     americas/mexico-coronavirus-count.html.                 mexico-idUSKCN24R0K5.                                  July 20, 2020).



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     ‘‘serious danger of the introduction of                   sought to give the Executive Branch the                  involves in it the power of total suspension
     the [disease] into the United States’’,                   power to prevent asymptomatic persons                    of immigration, if we leave the bill without
     and a ‘‘suspension of the right to                        infected with a communicable disease                     the proposed section 7, every petty
     introduce’’ persons or property was                                                                                quarantine officer, or certainly the Secretary
                                                               from moving into the country before the
                                                                                                                        of the Treasury, will have it, to which I do
     demanded in the interest of public                        asymptomatic persons and the customs                     not agree. I think it is quite clear that this
     health: [W]henever it shall be shown to                   or public health officials could detect                  section should be added, declaring in terms
     the satisfaction of the President that by                 the disease. Such persons, if allowed                    whenever the health or protection of the
     reason of the existence of cholera or                     into the country, would ‘‘disseminate                    country from infection requires the total
     other infectious or contagious diseases                   the poison that has been slumbering in                   suspension of immigration, that power is to
     in a foreign country there is serious                     their midst and imperil the lives of any                 belong to the President[.]
     danger of the introduction of the same                    community in which they happen to                        24 Cong. Rec. 393 (Jan. 7, 1893)
     into the United States, and that                          locate.’’ H.R. 9757, 52nd Cong., 2d Sess.,               (statement of Sen. Hoar); see also id. at
     notwithstanding the quarantine defense                    Report No. 2210 at 4 (Jan. 9, 1893). The                 393–94 (statement of Sen. Chandler)
     this danger is so increased by the                        risk of asymptomatic transmission arose                  (recognizing that section 7 would give
     introduction of persons or property from                  from persons moving into the United                      the President the power to suspend
     such country that a suspension of the                     States by vessel, by foot, or by any other               immigration in his discretion, whenever
     right to introduce the same is demanded                   any means, and increased once the                        there is danger of infection); 24 Cong.
     in the interest of the public health, the                 person was on U.S. soil and poised to                    Rec. 470 (Jan. 10, 1893) (statement of
     President shall have power to prohibit,                   move further into the country.                           Sen. Gray) (stating that the exigency
     in whole or in part, the introduction of                     Section 7 also was noteworthy                         posed by ‘‘apprehension of the invasion
     persons and property from such                            because it granted the authority to                      of contagious disease [ ] is sufficient
     countries or places as he shall designate                 ‘‘suspend’’ the ‘‘right to introduce’’                   . . . to justify this extraordinary power
     and for such period of time as he may                     persons or property. In 1893, as now,                    of the entire suspension of
     deem necessary. 27 Stat. 449, 452 (Feb.                   ‘‘suspend’’ was a term of art for                        immigration’’).156 The exigency of the
     15, 1893).                                                temporarily ceasing the operation or                     cholera outbreak taught that it was
        Section 7 was broader than some of                     effect of laws. See, e.g., U.S. Const. art.              necessary to convey a broad power to
     the other sections of the Act of 1893                     I, sec. 9, cl. 2 (‘‘The Privilege of the Writ            the Executive Branch to use in rare
     because it applied to the act of                          of Habeas Corpus shall not be                            times of emergency to protect public
     introducing a person into the United                      suspended, unless when in Cases of                       health. As one Senator put it, ‘‘I believe
     States, and not simply to ships or                        Rebellion or Invasion the public Safety                  that our duty is to provide, as far as our
     vessels carrying passengers.153 Section 7                 may require it.’’); see also Universal                   constitutional authority can possibly go,
     prevented individuals traveling aboard                    English Dictionary 815 (John Craig ed.                   for the prevention of the introduction of
     vessels from circumventing vessel-                        1869) (defining ‘‘suspend,’’ in part, as                 these epidemics. It is a peculiarly
     specific prohibitions that focused solely                 ‘‘to cause to cease for a time from                      binding and obligatory duty at this
     on disembarkations in American                            operation or effect, as, to suspend the                  time.’’ 2 Cong. Rec. 472 (Jan. 10, 1893)
     harbors. By allowing the President to                     habeas corpus act’’) (emphasis in                        (statement of Sen. Morgan) (emphasis
     broadly prohibit the ‘‘introduction’’ of                  original). Unlike the other sections of                  added).
     persons, it ensured that travelers could                  the Act of 1893, section 7 used the                         Congress enacted the Act of 1893 two
     not evade the prohibition by swimming                     phrase ‘‘suspension of the right to                      years after enacting the Immigration Act
     or walking to shore.154 Congress also                     introduce,’’ which by its plain meaning                  of 1891 (‘‘Immigration Act’’), which
                                                               demonstrates that Congress intended for                  authorized the Treasury Department to
        153 Congress repeatedly used ‘‘ship’’ or ‘‘vessel’’
                                                               section 7 to authorize the President to                  regulate immigration, and excluded
     in other sections of the 1893 Act, but conspicuously
     referred more broadly to ‘‘persons or property’’ in       cease temporarily the effect of any laws                 from admission into the United States
     section 7. Compare The Quarantine Act of 1893, ch.        conferring a right to introduce                          aliens ‘‘suffering from a loathsome or a
     114, 27 Stat. 449 section 7 with section 1 (unlawful      persons.155                                              dangerous contagious disease.’’ Act of
     for ships to enter U.S. ports from abroad except in          Furthermore, the Congressional
     accordance with public health regulations); section
                                                                                                                        Mar. 3, 1891, ch. 551, section 1, 26 Stat.
     2 (requiring ships abroad to obtain a bill of health);    record reflects a clear and consistent                   1084. Section 8 of the Immigration Act
     section 3 (authorizing, inter alia, regulation of         theme that section 7 is intended to give                 authorized inspection officers from the
     ‘‘vessels sail[ing] from any foreign port or place’’);    the President the authority to suspend                   Treasury Department to board any
     section 5 (issuance of regulations for, inter alia,       any right to introduce persons that any
     ‘‘vessels in foreign ports,’’ and prohibition on
                                                                                                                        arriving vessel, inspect the aliens on the
     vessels arriving without a bill of health); and           immigration laws confer on the                           vessel, and have surgeons conduct
     section 6 (providing for ‘‘an infected vessel’’ to be     Executive Branch. As one Senator                         medical examinations of the aliens.
     ‘‘remand[ed]’’ to quarantine station). The fact that      explained:                                               Section 9 imposed a penalty on any
     Congress did not mention ‘‘ship’’ or ‘‘vessel’’ in
     section 7, as it does in the other sections of the Act,      [I]f section 7 be adopted, then I think it            person or transportation company
     indicates that Congress did not intend to limit           will be quite clear that . . . the power to              bringing to the United States any alien
     section 7’s application to ships.                         suspend immigration altogether, either                   ‘‘suffering from a loathsome or
        154 Consistent with contemporaneous dictionaries       temporarily or permanently as a health                   dangerous contagious disease.’’
     and the ordinary meaning and usage of ‘‘introduce,’’      device, is intended to be lodged solely in the              When Congress enacted section 7 of
     a person could ‘‘introduce’’ him or herself.              President of the United States, where it
     Introduction of a person was an action that could                                                                  the Act of 1893, Congress was fully
                                                               certainly should be lodged. In other words,
     be taken by individuals as well as third parties. See
     Universal English Dictionary 1067 (John Craig ed.
                                                               if it be true that the quarantine power                    156 The Act of 1893 passed overwhelmingly with

     1861) (defining ‘‘introduction’’ to include, inter                                                                 broad bipartisan support, but even those opposed
     alia, ‘‘the act of bringing into a country’’ and ‘‘the    67 F. 1, 4 (8th Cir. 1895) (discussing an ‘‘intervener   to the law recognized it granted the President the
     ushering of a person into presence’’); American           who introduces himself into a pending action in a        authority to suspend immigration. See, e.g., 24
     Dictionary of the English Language 113 (Noah              state court’’) (emphasis added).                         Cong. Rec. 370–71 (Jan. 6, 1893) (statement of Sen.
     Webster ed., 1828) (similar definitions); cf. Ashley         155 See Universal English Dictionary 815 (John        Mills) (‘‘I shall vote very cheerfully against placing
     v. Bd. of Sup’rs of Presque Isle Cty., 83 F. 534, 540     Craig ed. 1869) (defining ‘‘suspension,’’ in part, as    in the hands of the President of the United States,
     (6th Cir. 1897) (referring to a ‘‘party [who]             ‘‘[t]he act of suspending; the state of being            whether he be a Republican or a Democrat, any
     introduces himself as a witness in his own behalf’’)      suspended; in special senses, a keeping in doubt;        such extraordinary power as that, to suspend
     (emphasis added); Olds Wagon Works v. Benedict,           postponement of legal execution’’).                      immigration to this country at his pleasure.’’).



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     aware of the Immigration Act that it had                from China or the Philippines who                      President would be placed in the
     enacted just two years earlier. The Act                 introduced themselves into the United                  Surgeon General, to be exercised under
     of 1893 was not a redundant                             States by swimming or walking                          Presidential regulations.’’ H.R. Rep. No.
     immigration law. It was a broad public                  ashore.160 The Executive Order tailored                78–1364, at 25 (1944).
     health statute that gave the President a                the Federal response to a discrete                        The differences between section 7 and
     sweeping but temporary power to                         problem: The arrival at Pacific Coast                  section 362 are few. First, section 362
     combat larger, global threats to public                 ports of trans-pacific passenger-carrying
                                                                                                                    grants authority to the Surgeon General
     health. Congress intended for the power                 vessels with epidemic cerebrospinal
                                                                                                                    (not the President). Second, it applies to
     to prohibit the introduction of persons                 meningitis infection existing on board.
                                                                                                                    any ‘‘communicable disease’’ (not
     to be a categorical one that operates                   Neither the Executive Order nor the
     separately and independently of the                     accompanying regulations purported to                  ‘‘cholera or other infectious or
     immigration power that applies against                  set forth a comprehensive or final                     contagious diseases’’). Third, it omits
     individual aliens suffering from a                      interpretation or framework for the                    the phrase ‘‘notwithstanding the
     contagious disease. Congress recognized                 implementation of section 7 of the Act                 quarantine defense.’’ Fourth, it
     that this separate public health                        of 1893. President Hoover’s Executive                  authorizes the Surgeon General to
     authority was needed to address, among                  Order was consistent with the statutory                suspend the right to introduce when it
     other things, situations where an                       text, which communicates clearly that                  is ‘‘required’’ (not ‘‘demanded’’) in the
     infected but asymptomatic person was                    the authority to prohibit the                          interest of public health.
     seeking introduction into the United                    introduction of persons is not limited to                 Congress’s omission of the phrase
     States, or government resources were                    any one communicable disease, setting,                 ‘‘notwithstanding the quarantine
     overtaxed.                                              mode of introduction, or geographic                    defense’’ reinforced Congress’s intent
        In June 1929, President Herbert                      location.                                              that the Executive Branch have the
     Hoover issued an Executive Order                           In 1944, Congress enacted section 362               flexibility to prohibit the introduction of
     invoking section 7 of the Act of 1893 to                of the PHS Act. 42 U.S.C. 265. Section                 persons in situations both where
     restrict the ‘‘Transportation of                        362 is nearly identical to section 7 of the            quarantine is available as a public
     Passengers’’ from China and the                         1893 Act.                                              health measure, and where it is not.
     Philippines because of a meningitis                     Whenever the Surgeon General                           Originally, section 7 of the Act of 1893
     outbreak.157 Since November 1928, 17                    determines that by reason of the                       linked the authority to prohibit the
     trans-Pacific passenger-carrying vessels                existence of any communicable disease                  introduction of persons to the
     with epidemic cerebrospinal meningitis                  in a foreign country there is serious                  inadequacy of quarantine as a national
     infections on board had arrived at U.S.                 danger of the introduction of such                     defense against disease transmission. By
     Pacific coast ports. The continued                      disease into the United States, and that
     arrival of passengers with cerebrospinal                                                                       decoupling the prohibition of the
                                                             this danger is so increased by the
     meningitis infection had ‘‘overtaxed’’                                                                         introduction of persons from the
                                                             introduction of persons or property from
     Federal and state quarantine facilities,                                                                       inadequacy of quarantine, Congress gave
                                                             such country that a suspension of the
     and ‘‘notwithstanding the quarantine                                                                           the Surgeon General even greater
                                                             right to introduce such persons and
     defense, there exist[ed] danger of                                                                             flexibility to prohibit the introduction of
                                                             property is required in the interest of
     introducing this disease into the United                the public health, the Surgeon General,                persons into the United States in the
     States[.]’’ 158 Therefore, ‘‘in order to                in accordance with regulations                         interest of public health, by allowing
     prevent the further introduction’’ of                   approved by the President, shall have                  that power to be exercised regardless of
     cerebrospinal meningitis into the United                the power to prohibit, in whole or in                  whether the government is exercising its
     States, the Executive Order provided                    part, the introduction of persons and                  quarantine powers, and regardless of the
     that no persons may be introduced                       property from such countries or places                 adequacy of any quarantine measures.
     directly or indirectly by transshipment                 as he shall designate in order to avert                This statutory change followed the
     or otherwise into the United States or                  such danger, and for such period of time               meningitis outbreak of 1929, during
     any of its possessions or dependencies                  as he may deem necessary for such                      which President Hoover prohibited the
     from any port in China (including Hong                  purpose.                                               introduction of persons arriving from
     Kong) or the Philippine Islands for such                   The legislative history of section 362              Asia when Federal and local quarantine
     period of time as may be deemed                         indicates that it was largely intended to              facilities were operational but
     necessary, except under such conditions                 reenact section 7 of the 1893 Act. As                  overtaxed.161
     as may be prescribed by the Secretary of                explained in a house report, ‘‘Section                    The current statutory text therefore
     the Treasury.159                                        362 would reenact a provision of                       expressly gives the Director the
        Although the Executive Order focused                 present law (42 U.S.C. 111) authorizing                authority to ‘‘prohibit, in whole or in
     on vessels, it was not limited to them;                 the suspension of travel of persons and                part, the introduction of persons’’ from
     it clearly stated that ‘‘no persons may be              shipment of goods from any foreign                     foreign countries whenever he
     introduced directly or indirectly by                    country where a communicable disease                   determines there is a serious danger of
     transshipment or otherwise into the                     exists, if there is found to be serious                the introduction of a communicable
     United States,’’ except as permitted by                 danger of introduction of the disease                  disease into the United States and that
     the Treasury Secretary (emphasis                        into the United States. Consistently with
     added). The regulations accompanying                                                                           this danger is so increased by the
                                                             the general administrative pattern in the              introduction of persons from those
     the Executive Order did not purport to                  bill, the authority now lodged in the
     narrow the Executive Order or foreclose                                                                        countries that a ‘‘suspension of the right
     the Executive Branch from enforcing                       160 See Regulations Governing Embarkation of
                                                                                                                    to introduce persons’’ is required in the
     section 7 of the Act of 1893 against                    Passengers and Crew at Ports in China and the          interest of public health. The statute is
     symptomatic or asymptomatic persons                     Philippine Islands and Their Transportation to the     not limited to any particular
                                                             United States Ports Prescribed in Accordance with      communicable disease, setting, mode of
                                                             Executive Order Approved June 21, 1929 (July 11,       introduction, or geographic location.
       157 Exec. Order No. 5143 (June 21, 1929).
                                                             1929), included in Conn. Dep’t of Health,
       158 Id.
                                                             Connecticut Health Bulletin, vol. 43. No. 9, 324–326
       159 Id.                                               (Sep. 1929).                                            161 Exec. Order No. 5143 (June 21, 1929).




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     B. Other Statutory Authorities Relevant                  customs officers from DHS have assisted              change the name of the final rule to
     to This Rulemaking                                       CDC in implementing the CDC Order on                 ‘‘Control of Communicable Diseases;
        In addition to section 362, other                     covered aliens.                                      Foreign Quarantine: Suspension of the
     sections of the PHS Act are relevant to                     The vesting in DHS of a duty to aid               Right to Introduce and Prohibition of
     this rulemaking, including section 311,                  HHS/CDC in the enforcement of rules                  Introduction of Persons into United
     42 U.S.C. 243; section 361, 42 U.S.C.                    and regulations promulgated under                    States from Designated Foreign
     264; section 365, 42 U.S.C. 268; section                 section 362 is critical to the functioning           Countries or Places for Public Health
     367, 42 U.S.C. 270, and section 368, 42                  of the PHS Act because DHS has                       Purposes’’ to better align with the text
     U.S.C. 271.                                              personnel and resources at the                       of section 362, which uses the phrase
        Section 311 authorizes the Secretary                  operational level that HHS/CDC may                   ‘‘suspension of the right to introduce’’
     to accept State and local assistance in                  require to execute a prohibition on the              and states that the Director shall have
     the enforcement of quarantine rules and                  introduction of persons into the United              ‘‘the power to prohibit . . . the
     regulations and to assist the States and                 States. HHS/CDC, for example, does not               introduction of persons.’’
     their political subdivisions in the                      have officers at POEs who can avert                     Second, the final rule uses the term
     control of communicable diseases. 42                     dangers to public health by taking into
                                                                                                                   ‘‘quarantinable communicable disease’’
     U.S.C. 243(a).                                           Federal custody and expelling persons
                                                                                                                   instead of ‘‘communicable disease.’’ The
        As previously discussed, section 361                  who seek to introduce themselves into
                                                                                                                   purpose of this change is to clarify that
     authorizes the Secretary to make and                     the United States in violation of a CDC
                                                                                                                   these procedures do not apply to all
     enforce such regulations that in the                     Order. Nor does HHS/CDC have the
                                                                                                                   communicable diseases. Instead, these
     Secretary’s judgment are necessary to                    operational capability to avert dangers
                                                                                                                   procedures are limited to preventing the
     prevent the introduction, transmission,                  to public health by interdicting vessels
                                                                                                                   introduction of quarantinable
     or spread of communicable diseases                       that seek to introduce persons into the
                                                                                                                   communicable diseases, which are
     from foreign countries into the United                   United States or people who attempt to
                                                                                                                   included in the ‘‘Revised List of
     States. 42 U.S.C. 264(a). It also permits                enter into the United States between
                                                              ports of entry in violation of a CDC                 Quarantinable Communicable Diseases’’
     the apprehension, detention, or                                                                               found in Executive Order 13295, as
     conditional release of individuals in                    Order. HHS/CDC, like its predecessor
                                                              agencies and public health agencies at               amended by Executive Order 13375 and
     order to prevent the introduction,                                                                            Executive Order 13674.164 The current
     transmission, or spread of such                          the state level, depends partly on law
                                                              enforcement agencies with operational                list of diseases includes cholera,
     communicable diseases as may be                                                                               diphtheria, infectious tuberculosis,
     specified from time to time in Executive                 capabilities to avert dangers to public
                                                              health by enforcing HHS/CDC’s public                 plague, smallpox, yellow fever, viral
     Orders of the President upon the                                                                              hemorrhagic fevers (including Lassa,
     recommendation of the Secretary, in                      health orders against those who seek to
                                                              violate them.                                        Marburg, Ebola, Crimean-Congo, South
     consultation with the Surgeon General.                                                                        American, and others not yet isolated or
     42 U.S.C. 264(b).                                           Section 368 provides that any person
                                                              who violates regulations implementing                named), severe acute respiratory
        Section 365 provides that it shall be
                                                              sections 361 or 362 will be subjected to             syndromes (including Middle East
     the duty of customs officers and of Coast
                                                              a fine or imprisonment for not more                  Respiratory Syndrome and COVID–19),
     Guard officers to aid in the enforcement
                                                              than one year, or both. Pursuant to 18               and influenza caused by novel or
     of quarantine rules and regulations.162
                                                              U.S.C. 3559 and 3571, an individual                  reemergent influenza viruses that are
     42 U.S.C. 268(b). Under Section 365,
                                                              may face a fine of up to $100,000 for a              causing, or have the potential to cause
     Coast Guard officers have aided in the
                                                              violation not resulting in death, and up             a pandemic.
     apprehension and detention of
     individuals for purposes of quarantine                   to $250,000 for a violation resulting in                Third, the final rule adds in section
     and isolation, particularly at U.S. ports                death. Under section 368, HHS/CDC                    71.40(c) the requirement that the
     of entry. They have also enforced CDC’s                  may refer violators to the U.S.                      Director include in his or her Order a
     No Sail Order with respect to certain                    Department of Justice for criminal                   statement of ‘‘the serious danger posed
     cruise ships.163 Additionally, the                       prosecution. HHS/CDC does not have                   by the introduction of the quarantinable
                                                              independent authority under section                  communicable disease in the foreign
        162 The terms ‘‘officer of the customs’’ and          368 to impose criminal fines or                      country or countries (or one or more
     ‘‘customs officer’’ are defined by statute to mean,      imprison violators.                                  designated political subdivisions or
     ‘‘any officer of the United States Customs Service                                                            regions thereof) or places from which
     of the Treasury Department (also hereinafter             IV. Provisions of New Section 71.40 and
     referred to as the ‘‘Customs Service’’) or any                                                                the introduction of persons is being
                                                              Changes From Interim Final Rule
     commissioned, warrant, or petty officer of the Coast                                                          prohibited.’’ After considering
     Guard, or any agent or other person, including              This final rule will interpret and                comments (infra section V.), HHS/CDC
     foreign law enforcement officers, authorized by law      implement section 362 and other
     or designated by the Secretary of the Treasury to
                                                                                                                   decided to add this requirement because
     perform any duties of an officer of the Customs
                                                              applicable provisions of the PHS Act to              HHS/CDC agrees that the Director ought
     Service.’’ 19 U.S.C. Sec. 1401(i). Although this         enable the Director to prohibit the                  to provide the public with a short and
     provision refers to the Secretary of the Treasury, the   introduction of persons into the United              concise factual statement on the serious
     Homeland Security Act transferred to the Secretary       States consistent with the statute and
     of Homeland Security all ‘‘the functions, personnel,                                                          danger of the introduction of the
     assets, and liabilities of . . . the United States       applicable law.                                      quarantinable communicable disease
     Customs Service of the Department of the Treasury,          There are a few notable changes                   that justifies the exercise of those
     including the functions of the Secretary of the          between this final rule and the IFR.                 powers. For similar reasons, this final
     Treasury relating thereto . . . [,]’’ 6 U.S.C. Sec.      First, this final rule has a slightly
     203(1), such that reference to the Secretary of the                                                           rule also adds that any order issued
     Treasury should be read to reference the Secretary
                                                              different name from the IFR, which was               pursuant to it shall state the means by
     of Homeland Security.                                    titled ‘‘Control of Communicable                     which the prohibition on introduction
        163 See No Sail Order and Suspension of Further       Diseases; Foreign Quarantine:                        shall be implemented.
     Embarkation, 85 FR 16628, 16631 (Mar. 24, 2020);         Suspension of Introduction of Persons
     No Sail Order and Suspension of Further
     Embarkation; Notice of Modification and Extension
                                                              Into the United States From Designated                 164 Exec. Order 13295 (Apr. 4, 2003), as amended

     and Other Measures Related to Operations, 85 FR          Foreign Countries or Places for Public               by Exec. Order 13375 (Apr. 1, 2005) and Exec.
     21004, 21007 (Apr. 15, 2020).                            Health Purposes.’’ HHS/CDC decided to                Order 13674 (July 31, 2014).



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        Finally, HHS/CDC is changing the use                 States is required in the interest of                 more fully below, HHS/CDC clarifies
     of the word ‘‘vector’’ in the definition of             public health.                                        that the ‘‘suspension of the right to
     ‘‘suspension of the right to introduce.’’                  In this final rule, HHS/CDC adds to                introduce’’ means to cause the
     While the term ‘‘vector’’ may                           section 71.40(a) that the prohibition on              temporary cessation of the effect of any
     technically include humans in some                      the introduction into the United States               law, rule, decree, or order pursuant to
     definitions, it is generally accepted in                of persons from designated foreign                    which a person might otherwise have
     the scientific community that vectors                   countries (or one or more political                   the right to be introduced or seek
     are living organisms that can transmit                  subdivisions or regions thereof) or                   introduction into the United States.
     infectious diseases between humans or                   places may be done ‘‘in whole or in
                                                             part.’’ The phrase ‘‘in whole or in part’’            B. Section 71.40(b)
     to humans from animals, such as
     mosquitoes, ticks, flies, and fleas,                    appears in section 362, so HHS/CDC                      Section 71.40(b) of this final rule
     among others. There is not an                           believes it is appropriate to include it in           defines some of the statutory language
     equivalent term that applies specifically               the final rule. The authority to prohibit             that HHS/CDC has incorporated into
     to humans.                                              the introduction of persons into the                  section 71.40(a) of this final rule.
                                                             United States is a broad one, and HHS/
     A. Section 71.40(a)                                     CDC will tailor its use of the authority              1. 71.40(b)(1): ‘‘Introduction into the
                                                             to what is required in the interest of                United States’’
        As discussed previously, Section 362
     of the PHS Act requires that the Director               public health. If HHS/CDC concludes                      As explained above, section 71.40(a)
     first ‘‘determine [] that by reason of the              that public health requires only a                    of this final rule tracks the language of
     existence of any communicable disease                   prohibition on the introduction of                    section 362 of the PHS Act, stating that
     in a foreign country there is a serious                 certain persons from foreign countries                the Director ‘‘may prohibit, in whole or
     danger of the introduction of such                      (or one or more political subdivisions or             in part, the introduction into the United
     disease into the United States, and that                regions thereof) or places, then HHS/                 States of persons . . . .’’ Section
     this danger is so increased by the                      CDC will not prohibit the introduction                71.40(b)(1) of this final rule defines
     introduction of such persons . . . from                 of all persons from such countries or                 ‘‘introduction into the United States’’ as
     such country that a suspension of the                   places.                                               the movement of a person from a foreign
     right to introduce such persons . . . is                   HHS/CDC may, in its discretion,                    country (or one or more political
     required in the interest of the public                  consider a wide array of facts and                    subdivisions or regions thereof) or
     health . . . .’’ Only then ‘‘shall [the                 circumstances when determining what                   place, or series of foreign countries or
     Director] have the power to prohibit, in                is required in the interest of public                 places, into the United States so as to
     whole or in part, the introduction of                   health in a particular situation. Those               bring the person into contact with
     persons . . . from such countries or                    facts and circumstances may include the               persons or property in the United States,
     places as he shall designate in order to                same ones that HHS/CDC considers                      in a manner that the Director determines
                                                             when issuing travel health notices: The               to present a risk of transmission of a
     avert such danger, and for such period
                                                             overall number of cases of disease; any               quarantinable communicable disease to
     of time as he may deem necessary for
                                                             large increase in the number of cases                 persons, or a risk of contamination of
     such purpose.’’
                                                             over a short period of time; the                      property with a quarantinable
        Section 71.40(a) interprets and                      geographic distribution of cases; any
     implements the requirements in section                                                                        communicable disease, even if the
                                                             sustained (generational) transmission;                quarantinable communicable disease
     362 that the Director must fulfill in                   the method of disease transmission;
     order to prohibit the introduction of                                                                         has already been introduced,
                                                             morbidity and mortality associated with               transmitted, or is spreading within the
     persons into the United States.                         the disease; the effectiveness of contact
     Specifically, section 71.40(a) establishes                                                                    United States.
                                                             tracing; the adequacy of state and local              This definition is consistent with
     that the Director may prohibit, in whole                health care systems; and the
     or in part, the introduction into the                                                                         dictionary definitions of ‘‘introduction,’’
                                                             effectiveness of state and local public
     United States of persons from                                                                                 Congress’ and courts’ use of the phrase,
                                                             health systems and control measures.
     designated foreign countries (or one or                                                                       and the interest of public health.
                                                                Additionally, this final rule states that
     more political subdivisions or regions                                                                           The word ‘‘introduction’’ is the noun
                                                             the Director may prohibit the
     thereof) or places, only for such period                                                                      form of ‘‘introduce,’’ which ‘‘is a
                                                             introduction of persons into the United
     of time that the Director deems                                                                               flexible and broad term.’’ U.S. v. Trek
                                                             States for such period of time as he or
     necessary to avert the serious danger of                she ‘‘deems necessary to avert the                    Leather, Inc., 767 F.3d 1288, 1298 (Fed.
     the introduction of a quarantinable                     serious danger of the introduction of a               Cir. 2014). Dictionaries from around the
     communicable disease by issuing an                      quarantinable communicable disease.’’                 eras when both the Act of 1893 and
     order in which the Director determines                  The IFR stated that the Director may                  section 362 were enacted contain
     that:                                                   prohibit the introduction into the                    similarly broad definitions of
        (1) By reason of the existence of any                United States of persons for such period              ‘‘introduction.’’ 165 The definitions
     quarantinable communicable disease in                   of time that he or she ‘‘deems necessary              support HHS/CDC’s view that the
     a foreign country (or one or more                       for the public health.’’ HHS/CDC makes                   165 See Universal English Dictionary 1067 (John
     political subdivisions or regions thereof)              this change so that the final rule more               Craig ed. 1861) (defining ‘‘introduction’’ to include,
     or place there is serious danger of the                 closely tracks the statutory text.                    inter alia, ‘‘the act of bringing into a country’’ as
     introduction of such quarantinable                         Finally, in section 71.40(a)(2), HHS/              well as ‘‘the ushering of a person into presence’’);
     communicable disease into the United                    CDC includes the phrase ‘‘suspension of               American Dictionary of the English Language 113
     States, and                                                                                                   (Noah Webster ed., 1st ed. 1828) (similar
                                                             the right to introduce,’’ instead of                  definitions); Funk and Wagnall’s New Standard
        (2) This danger is so increased by the               ‘‘suspension of the introduction’’ of                 Dictionary of the English Language (1946) (defining
     introduction of persons from such                       persons. The final rule language tracks               ‘‘introduce’’ as to ‘‘bring, lead, or put in; conduct
     country (or one or more political                       the statute verbatim. HHS/CDC                         inward; usher in; insert’’ and ‘‘introduction’’ as the
                                                                                                                   ‘‘act of introducing, in any sense, as of inserting,
     subdivisions or regions thereof) or place               interprets the statutory phrase                       bringing into notice or use, making acquainted; as,
     that a suspension of the right to                       ‘‘suspension of the right to introduce’’              the introduction of a key into a door, or of one
     introduce such persons into the United                  in section 71.40(b)(5). As discussed                  person to another’’).



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     ‘‘introduction’’ of a person into the                      HHS/CDC’s regulatory definition in                  preclude.’’ 167 Congress did not specify
     United States can include a person’s                    section 71.40(b)(1) resolves the                       how the Secretary should go about
     bringing of himself or herself into the                 ambiguity by making clear that the                     debarring, preventing, or precluding the
     United States, or a third party’s bringing              introduction of a person into the United               introduction of persons ‘‘in order to
     of the person into the United States.                   States can occur, for example, when a                  avert’’ the increased danger to public
        Congress has used the words                          person on U.S. soil moves further into                 health. Nor did Congress specify how
     ‘‘introduce’’ and ‘‘introduction’’                      the United States, and comes into                      prohibitions of persons ‘‘in whole’’
     elsewhere in Title 42 of the U.S. Code                  contact with new persons or property in                differ from prohibitions of persons ‘‘in
     when referring to the movement into                     ways that increase the risk of spreading               part.’’
     commerce of goods that cause pollution.                 the quarantinable communicable                            It has long been recognized that
     42 U.S.C. 7545(c) (‘‘The Administrator                  disease. ‘‘Introduction’’ does not                     ‘‘where a general power is conferred or
     may . . . control or prohibit the . . .                 necessarily conclude the instant that the              duty enjoined, every particular power
     introduction into commerce . . . of any                 person first steps onto U.S. soil. If the              necessary for the exercise of the one, or
     fuel or fuel additive . . .’’), 7522(a)(1)              person has been on U.S. soil, and HHS/                 the performance of the other, is also
     (prohibiting ‘‘the introduction, or                     CDC (through CBP) stops the person’s                   conferred.’’ 168 Here, HHS/CDC
     delivery for introduction, into                         movement before he or she comes into                   identifies particular powers that it may
     commerce,’’ of certain motor vehicles).                 contact with new persons or property in                exercise under section 362 by defining
     Courts have explained that                              a way that risks spreading a                           the phrase to ‘‘[p]rohibit, in whole or in
     ‘‘introduction into commerce                            quarantinable communicable disease,                    part, the introduction into the United
     commences upon the arrival of                           then HHS/CDC has prevented the                         States of persons’’ to mean ‘‘to prevent
     imported goods upon United States soil,                 introduction of the person under section               the introduction of persons into the
     but introduction does not necessarily                   362. For example, if a person walked                   United States by suspending any right to
     end there.’’ United States v. Steinfels,                from Canada to Vermont, walked 15                      introduce into the United States,
     753 F.2d 373, 377 (5th Cir. 1985). Once                 miles into the United States, and was                  physically stopping or restricting
     goods are on U.S. soil and clear                        intercepted by DHS before coming into                  movement into the United States, or
     customs, the seller of the goods may                    contact with new persons or property,                  physically expelling from the United
     continually introduce them into                         and returned to Canada without                         States some or all of the persons.’’ The
     commerce through his or her conduct.                    entering a congregate setting, then HHS/               definition clarifies that prohibitions on
     Id. at 378. Thus, ‘‘introduction’’ may be               CDC would have prevented the                           introduction could include not only
     a continuing process, as opposed to a                   ‘‘introduction’’ of the person into the                CDC orders suspending rights to
     single event that occurs at a fixed point               U.S.                                                   introduce persons, but also actions by
     in time.                                                   A person who has been in the United                 HHS/CDC or its Federal or state partners
        The dictionaries, other statutes within              States for longer than the incubation                  to physically expel persons from, or
     Title 42, and case law are all helpful to               period of the quarantinable                            stop or restrict the movement of persons
     the interpretation of the phrase                        communicable disease, and has not yet                  into, the United States. The definition
     ‘‘introduction into the United States.’’                exhibited symptoms or tested positive                  further explains that the Director may
     None of those authorities, however,                     for the quarantinable communicable                     apply different prohibitions against
     squarely address how closely a person                   disease, may have finished introducing                 some or all of the persons from the
     must interact with the United States and                himself or herself into the United States.             foreign country who seek introduction
     for how long to constitute an                           That determination, however, will be                   into the United States. The Director
     ‘‘introduction’’ in the context of                      based on HHS/CDC’s application of its                  may, for example, suspend all rights to
     transmitting disease. The interpretation                scientific and technical expertise to the              introduce all persons from the foreign
     of ‘‘introduction’’ is within CDC’s                     specific facts and circumstances.                      country, request that DHS physically
     delegated statutory authority. City of
                                                             2. 71.40(b)(2): ‘‘Prohibit, in whole or in             expel the cohort of persons from the
     Arlington, Tex. v. F.C.C., 569 U.S. 290,
                                                             part, the introduction into the United                 foreign country who are already on U.S.
     296 (2013) (‘‘Congress knows to speak
                                                             States of persons’’                                    soil, and further request that DHS stop
     . . . in capacious terms when,’’ as here,
                                                                                                                    the movement into the United States of
     ‘‘it wishes to enlarge[ ] agency                           In section 362, Congress gave the
                                                                                                                    any other persons from the foreign
     discretion’’). It is also squarely within               Secretary ‘‘the power to prohibit, in
                                                                                                                    country who are not on U.S. soil.
     the expertise of HHS/CDC: It involves                   whole or in part, the introduction [into
                                                                                                                       These particular powers are necessary
     scientific and technical knowledge and                  the United States] of persons . . . from
                                                                                                                    because the introduction into the United
     experience regarding communicable                       such countries or places as he shall
                                                                                                                    States of persons from a foreign country
     diseases generally, and the application                 designate in order to avert’’ an increase
                                                                                                                    may continue after they have crossed a
     of such knowledge and experience to                     in the ‘‘serious danger of the
                                                                                                                    U.S. land border and moved onto U.S.
     the unique facts and circumstances of                   introduction of [any communicable
                                                                                                                    soil. If such persons are coming into
     the specific quarantinable                              disease in a foreign country] into the
     communicable disease that threatens                     United States.’’ Congress’ grant of                       167 Prohibit, Universal English Dictionary 458
     public health.166                                       authority is general in scope. When                    (John Craig ed. 1869); see also Prohibit, Funk and
                                                             Congress enacted section 362, the power                Wagnall’s New Standard Dictionary of the English
       166 The courts frequently defer to the CDC’s
                                                             to ‘‘prohibit’’ meant the power ‘‘to                   Language 1980 (1946) (‘‘to forbid, especially by
     judgment on such issues. In re Approval of Judicial                                                            authority or legal enactment . . .’’); Prohibit,
                                                             forbid; to interdict by authority; to                  Oxford English Dictionary 1441 (1933) (‘‘to forbid
     Emergency Declared in Eastern District of
     California, 956 F.3d 1175, 1181 (9th Cir. 2020)         hinder; to debar; to prevent; [or] to                  (an action or thing) by or as by a command or
     (determining that it would not be safe to resume                                                               statute; to interdict’’).
     normal court operations until ‘‘the CDC lifts its       Elim Romanian Pentecostal Church v. Pritzker, 962         168 Luis v. United States, 136 S. Ct. 1083, 1097

     guidance regarding travel-associated risks and          F.3d 341 (7th Cir. 2020) (upholding against            (2016) (Thomas, J., concurring) (quoting Thomas
     congregate settings and physical distancing’’);         constitutional challenge an executive order that was   Cooley, Constitutional Limitations 63 (1868)); see
     Valentine v. Collier, 956 F.3d 797, 801 (5th Cir.       grounded in CDC guidelines); Hickox v. Christie,       also 1 J. Kent, Commentaries on American Law 464
     2020) (staying preliminary injunction that required     205 F.Supp.3d 579, 598–99 (D.N.J. 2016) (relying on    (13th ed. 1884) (‘‘whenever a power is given by a
     prison officials to immediately implement measures      CDC recommendations to determine the appropriate       statute, everything necessary to the making of it
     in excess of those suggested by CDC guidelines);        way to assess the risk from Ebola).                    effectual or requisite to attain the end is implied’’).



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     contact with others in the United States                dangerous possible consequences.’’ 170                The initial epicenters of the disease in
     in a manner that the Director determines                Congress, however, did not explain                    the United States included two large
     to present a risk of transmission of a                  when the danger of the introduction of                urban areas: Seattle and New York City.
     quarantinable communicable disease, or                  a communicable disease becomes ‘‘grave                At that time, the danger of the
     a risk of contamination of property, then               in manner’’ or ‘‘of great weight and                  introduction of COVID–19 into other
     the Director must have the power to                     importance.’’ In the public health                    border states from Canada and Mexico,
     stop the further movement of these                      context, the term ‘‘serious danger’’ is               without regard to the outbreaks in
     persons into the United States or else                  ambiguous.                                            Seattle and New York City, was
     the Director’s power to prohibit the                       The resolution of the ambiguity is                 manifest. The issuance of the CDC Order
     introduction of persons would be                        within HHS’s delegated statutory                      prohibiting the introduction of covered
     rendered meaningless. Specifically, the                 rulemaking authority. City of Arlington,              aliens into the United States was in the
     Director must have the power to prevent                 Tex., 569 U.S. at 296. It is also within              interest of public health because it
     the further movement of such persons                    HHS/CDC’s scientific and technical                    mitigated the serious danger of cross-
     into the United States through                          expertise. HHS/CDC is best equipped to                border introduction of COVID–19 in the
     quarantine, isolation, or expulsion. As                 make judgments about the dangers                      other border states.
     discussed previously, quarantine and                    presented by quarantinable
     isolation may be unworkable under                       communicable diseases abroad and the                  4. 71.40(b)(4): ‘‘Place’’
     certain circumstances or for certain                    measures that should be taken to                         HHS/CDC defines the term ‘‘place’’ to
     populations. In such instances,                         mitigate those dangers.                               include any location specified by the
     expulsion may be the only means by                         To resolve the ambiguity, HHS                      Director, including any carrier,
     which the Director can fulfill the                      defines ‘‘serious danger of the                       whatever the carrier’s flag, registry, or
     purpose of the statute.                                 introduction of such quarantinable                    country of origin. This clarifies that
        To the extent section 362 is silent or               communicable disease into the United                  when HHS/CDC refers to ‘‘place’’ in this
     ambiguous as to the particular powers                   States’’ in 71.40(b)(3) as ‘‘the probable             final rule, it refers not just to territory
     available to HHS/CDC, the resolution of                 introduction of one or more persons                   within or outside of a country, but also
     that interpretive issue is within HHS/                  capable of transmitting the                           to carriers, as that term is defined in 42
     CDC’s delegated statutory rulemaking                    quarantinable communicable disease                    CFR 71.1,171 regardless of the carrier’s
     authority. City of Arlington, Tex., 569                 into the United States, even if persons               flag, registry, or country of origin.
     U.S. at 296. It is also within the                      or property in the United States are
     expertise of HHS/CDC. HHS/CDC has                       already infected or contaminated with                 5. 71.40(b)(5): ‘‘Suspension of the right
     scientific and technical knowledge and                  the quarantinable communicable                        to introduce’’
     experience with public health tools for                 disease.’’ This regulatory definition                    In section 71.40(b)(5), this final rule
     slowing the introduction into the United                clarifies that, even if persons or property           defines ‘‘suspension of the right to
     States of quarantinable communicable                    in the United States are already infected             introduce,’’ a phrase used in section
     diseases from abroad. HHS/CDC knows                     or contaminated with a quarantinable                  362, to mean ‘‘to cause the temporary
     what public health tools HHS/CDC must                   communicable disease, the introduction                cessation of the effect of any law, rule,
     have readily available in order to avert                of one or more additional persons                     decree, or order, pursuant to which a
     the increased danger to public health                   capable of disease transmission in the                person might otherwise have the right to
     presented by a communicable disease                     same or different localities can                      be introduced or seek introduction into
     from abroad. Here, HHS/CDC interprets                   nevertheless present a serious danger of              the United States.’’
     section 362 as conferring the power to                  the introduction of the disease into the                 The regulatory definition tracks the
     expel persons from the United States                    United States. Additionally, this                     definition of the word ‘‘suspend’’ from
     because HHS/CDC cannot otherwise                        regulatory definition clarifies that the              the late 19th century. Universal English
     fulfill the purpose of section 362.                     danger of introduction becomes serious                Dictionary 815 (John Craig ed. 1869)
                                                             when one or more additional persons                   (defining ‘‘suspend’’ in part as ‘‘to cause
     3. 71.40(b)(3): ‘‘Serious danger of the                 capable of disease transmission would
     introduction of such quarantinable                                                                            to cease for a time from operation or
                                                             more likely than not be introduced into               effect, as, to suspend the habeas corpus
     communicable disease into the United                    the United States. To be clear, this
     States’’                                                                                                      act’’) (emphasis in original). The
                                                             regulatory definition does not require                definition of ‘‘suspend’’ in the early
        As discussed above, section 362 of the               the Director to make a numerical finding              20th century was substantially the same.
     PHS Act requires that the Director                      or a quantitative or empirical showing                See Funk and Wagnall’s New Standard
     determine that the existence of a                       of probability in order to prohibit the               Dictionary of the English Language 2432
     communicable disease in a foreign                       introduction of persons. The Director                 (1946) (defining ‘‘suspend’’ as ‘‘to cause
     country presents ‘‘a serious danger of                  may make a qualitative determination,                 to cease for a time; hold back
     the introduction of such disease into the               based on the known facts and                          temporarily from operation; interrupt;
     United States’’ before he or she                        circumstances, that the introduction of               intermit; stay; as, to suspend the rules;
     prohibits the introduction of persons                   one or more persons capable of                        to suspend business; suspend
     from the foreign country into the United                transmitting the quarantinable                        sentence’’); Oxford English Dictionary
     States. At the time Congress enacted                    communicable disease is probable.                     255 (1933) (defining ‘‘suspend’’ as to
     section 362, ‘‘serious’’ meant ‘‘[g]rave in                HHS/CDC’s experience during the                    ‘‘cause (of a law or the like) to be for the
     manner or disposition; solemn; not light                COVID–19 pandemic informs its                         time no longer in force; to abrogate or
     or volatile,’’ 169 ‘‘[g]rave and earnest in             interpretation of the statutory language.             make inoperative temporarily’’).
     quality, manner, feeling or disposition;                                                                         The regulatory definition is also
     not inclined to joke or trifle,’’ or ‘‘[o]f                170 Serious, Funk and Wagnall’s New Standard
                                                                                                                   consistent with the long-standing use of
     great or relating to a matter of                        Dictionary of the English Language 2233 (1946). A
                                                             contemporary dictionary defines ‘‘serious’’ as        the word ‘‘suspend’’ to describe the
     importance, or having important or                      ‘‘excessive or impressive in quality, quantity,
                                                             extent, or degree.’’ Serious, Merriam-Webster            171 42 CFR Sec. 71.1 defines ‘‘carrier’’ to mean ‘‘a
       169 Serious, Universal English Dictionary 661         Dictionary, https://www.merriam-webster.com/          ship, aircraft, train, road vehicle, or other means of
     (John Craig ed. 1869).                                  dictionary/serious (last visited Aug. 28, 2020).      transport, including military.’’



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     temporary cessation of the effect of                      issuing an order under section 362 and               locations of the persons.
     other U.S. laws. The Suspension Clause                    this final rule. An order under section              Implementation of any order would also
     of the Constitution, which authorizes                     362 suspends the effect of ‘‘any law,                take into account any international
     the temporary suspension of the                           rule, decree, or order’’ under which an              obligations of the United States.
     privilege of the writ of habeas corpus in                 individual person would ‘‘otherwise                  Accordingly, the Director may make
     times of rebellion or invasion, is a prime                have the right to be introduced or seek              exceptions for certain persons in an
     example. U.S. Const. art. I, sec. 9, cl. 2.               introduction into the United States.’’               order, including: Aliens whose travel
     Additional examples of such                                                                                    falls within the scope of section 11 of
                                                               C. Section 71.40(c)
     suspensions are found in the U.S.                                                                              the United Nations Headquarters
     Code.172                                                     HHS/CDC may suspend the                           Agreement or who would otherwise be
        Finally, the regulatory definition is                  introduction of persons into the United              allowed entry into the United States
     consistent with the legislative history of                States from certain places, and for                  pursuant to United States obligations
     section 362, as reflected in the debates                  certain periods, through an                          under applicable international
     concerning its immediate (and                             administrative order executed by the                 agreements; diplomatic travelers; U.S.
     substantially similar) statutory                          Director. In section 71.40(c), HHS/CDC               government employees; and those
     predecessor, section 7 of the Act of                      describes the required contents of such              travelling for humanitarian purposes.
     1893. The debates surrounding that                        order. Any order issued by the Director
     provision show that members of                            under section 71.40 shall include a                  D. Section 71.40(d)
     Congress understood they were granting                    statement of the following:                             This final rule adds a requirement in
     the President the authority to suspend                       (1) The foreign countries (or one or              Section 71.40(d) that the Director shall,
     immigration. See 24 Cong. Rec. 393                        more political subdivisions or regions               when issuing any order under this
     (1893) (statement of Sen. Hoar) (the                      thereof) or places from which the                    section, and as practicable under the
     statute would grant the ‘‘power to                        introduction of persons is being                     circumstances, consult with all Federal
     suspend immigration altogether, either                    prohibited.                                          departments or agencies that would be
     temporarily or permanently as a health                       (2) The period of time or                         impacted by the order. The Director
     device’’); see also id. at 393–94                         circumstances under which the                        shall, as practicable, provide the Federal
     (statement of Sen. Chandler)                              introduction of any persons or class of              departments or agencies with a copy of
     (recognizing that section 7 would give                    persons into the United States is being              the order before issuing it. The purpose
     the President the power to suspend                        prohibited.                                          of this requirement is to ensure that
     immigration in his discretion, whenever                      (3) The conditions under which that               HHS/CDC accounts for the interests of
     there is danger of infection); 24 Cong.                   prohibition on introduction will be                  the other departments or agencies in the
     Rec. 470 (Jan. 10, 1893) (statement of                    effective in whole or in part, including             order, includes appropriate exceptions
     Sen. Gray) (stating that the exigency                     any exceptions that the Director                     in the order, and promotes a
     posed by ‘‘invasion of contagious                         determines are appropriate.                          coordinated and transparent Federal
     disease is sufficient . . . to justify this                  (4) The means by which the                        response to the quarantinable
     extraordinary power of the entire                         prohibition will be implemented.                     communicable disease. It may
     suspension of immigration.’’). It is                         (5) The serious danger posed by the               sometimes be impracticable to engage in
     reasonable to conclude that Congress in                   introduction of the quarantinable                    such consultation before taking action to
     1944 had the same understanding,                          communicable disease in the foreign                  protect the public health. In those
     because it re-enacted the same phrase                     country or countries (or one or more                 circumstances, the Director shall
     and there is no legislative history to the                political subdivisions or regions thereof)           consult with Federal departments and
     contrary.                                                 or places from which the introduction of             agencies as soon as practicable after
        A ‘‘right to introduce’’ persons may                   persons is being prohibited.                         issuing his or her order, and may then
     conceivably arise under the Federal                          This last requirement was not                     modify the order as appropriate.
     laws, rules, decrees, or orders governing                 included in the IFR. However, after                     HHS/CDC might at times rely on (1)
     aviation, shipping, trade, immigration,                   considering comments, HHS/CDC                        state and local authorities who agree to
     law enforcement, or correctional                          decided to add it. The agency has broad              help implement orders issued pursuant
     facilities, among others. The Director is                 powers under section 362, and the                    to section 71.40, or (2) other Federal
     not obligated to identify each specific                   exercise of those powers pursuant to                 agencies to implement and execute the
     ‘‘right to introduce’’ an individual                      this final rule could have significant               orders issued under this section. If the
     person that the Director suspends when                    consequences. HHS/CDC agrees that the                order will be implemented in whole or
                                                               Director ought to provide the public                 in part by state and local authorities
        172 See, e.g., 10 U.S.C. Sec. 123(a) (‘‘In time of     with a short and concise factual                     under 42 U.S.C. 243(a), the Director’s
     war, or of national emergency . . . the President         statement on the serious danger of the               order shall explain the procedures and
     may suspend the operation of any provision of law                                                              standards by which those state or local
     relating to the promotion, involuntary retirement, or
                                                               introduction of the quarantinable
     separation of commissioned officers . . . .’’); 22        communicable disease that justifies the              authorities are expected to aid in the
     U.S.C. Sec. 289 (stating that congressional               exercise of those powers. For similar                order’s enforcement. Similarly, if the
     authorization to accept membership in the                 reasons, this final rule also adds that              order will be implemented in whole or
     International Refugee Organization does not
     constitute action ‘‘which will have the effect of . . .   any order issued pursuant to it shall                in part by designated customs officers or
     suspending . . . any of the immigration laws or           state the means by which the                         the United States Coast Guard under 42
     other laws of the United States’’); 22 U.S.C. Sec.        prohibition on introduction shall be                 U.S.C. 268(b), or another Federal
     5722(a) (authorizing the President to issue an order      implemented.                                         department or agency, then the Director,
     suspending the application of United States law to
     Hong Kong ‘‘whenever the President determines
                                                                  Any ‘‘class of persons’’ identified by            in coordination with the Secretary of
     that Hong Kong is not sufficiently autonomous’’); 46      the Director pursuant to the second                  Homeland Security or the head of the
     U.S.C. Sec. 3101 (‘‘When the President decides that       requirement would be defined based on                other applicable department or agency,
     the needs of foreign commerce require, the                public health criteria, which may                    shall explain in the order the
     President may suspend a provision of this part for
     a foreign-built vessel registered as a vessel of the
                                                               include the epidemiology of the                      procedures and standards by which any
     United States on conditions the President may             quarantinable communicable disease, as               authorities, officers, or agents are
     specify’’).                                               well as the geographic area and specific             expected to aid in the enforcement of


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     the order, to the extent that they are                  and policy rationales that support the                period was sufficient for this
     permitted to do so under their existing                 regulatory text and seek further input                rulemaking. The comment period closed
     legal authorities.                                      from the public. For now, HHS/CDC                     30 days after publication of the IFR in
                                                             finalizes 71.40(f) to state: ‘‘This section           the Federal Register on March 24, 2020.
     E. Section 71.40(e)                                                                                              Comment: Other commenters stated
                                                             shall not apply to U.S. citizens, U.S.
        Section 71.40(e)(1) provides that this               nationals, and lawful permanent                       that the rule should have been issued
     final rule does not apply to members of                 residents.’’                                          pursuant to the agency rulemaking
     the armed forces of the United States                                                                         process governed by section 553(b) of
     and associated personnel for whom the                   G. Section 71.40(g)                                   the APA, 5 U.S.C. 553. These
     Secretary of Defense provides assurance                   In section 71.40(g), HHS/CDC adds a                 commenters noted that although the
     to the Director that the Secretary of                   severability clause. HHS/CDC believes                 agency’s justification for applying the
     Defense has taken or will take measures                 this final rule complies with all                     ‘‘good cause’’ emergency exception in
     such as quarantine or isolation, or other               applicable law, and that the invalidation             section 553(b)(3)(B) is understandable in
     measures maintaining control over such                  of this final rule in its entirety would              the context of the COVID–19 pandemic,
     individuals, to prevent the risk of                     ultimately harm U.S. public health. In                the rule is intended to last beyond the
     transmission of the quarantinable                       the event that any provision of this final            current public health crisis, so the
     communicable disease into the United                    rule should be held invalid or                        ‘‘good cause’’ exception should not
     States. HHS/CDC includes this                           unenforceable, either facially or as                  apply.
     exception because the Secretary of                      applied, the remaining provisions shall                  Response: HHS/CDC respectfully
     Defense has the authority and means to                  remain valid with the maximum effect                  disagrees. Section 553(b)(3)(B) of the
     prevent the introduction of a                           as permitted by law.                                  APA authorizes a department or agency
     quarantinable communicable disease                                                                            to dispense with the prior notice and
                                                             V. Responses to Public Comments
     into the United States from his or her                                                                        opportunity for public comment
     personnel returning from foreign                           The Department provided a 30-day                   requirement when the agency, for ‘‘good
     countries. Therefore, this final rule need              comment period, which closed on April                 cause,’’ finds that notice and public
     not apply to Department of Defense                      24, 2020. The Department received 218                 comment are ‘‘impracticable,
     personnel.                                              public comments to the IFR, and every                 unnecessary, or contrary to the public
        In addition, section 71.40(e)(2)                     comment was read and considered.                      interest.’’ Allowing for prior notice and
     provides that this final rule does not                  HHS/CDC’s responses to public                         opportunity for public comment on the
     apply to United States government                       comments in this section of this final                interim final rule was impracticable and
     employees, contractors, or assets on                    rule respond directly to comments                     contrary to the public interest because it
     orders abroad, or their accompanying                    regarding the procedures established by               would have prevented HHS from
     family members who are on their orders                  the IFR and finalized in this final rule.             establishing procedures to allow it to
     or are members of their household if the                In the interest of public transparency,               quickly address the COVID–19
     Director receives assurances from the                   HHS/CDC also responds to some                         pandemic through the issuance of
     relevant head of agency and determines                  comments about the CDC Order on                       orders such as the one suspending the
     that the head of the agency or                          covered aliens (as opposed to the                     introduction of covered aliens into the
     department has taken or will take,                      procedures established by the IFR and                 United States. COVID–19 has spread
     measures such as quarantine or isolation                finalized in this final rule). In some                rapidly, and taking prompt measures to
     to prevent the risk of transmission of a                instances, the prior sections of this final           slow the spread of the disease was
     quarantinable communicable disease                      rule address the issues raised by                     necessary to protect public health.
     into the United States.                                 commenters. Additionally, HHS/CDC                        Comment: Commenters stated that the
                                                             does not respond to comments that are                 IFR grants new public health powers to
     F. Section 71.40(f)                                                                                           the Executive Branch that did not
                                                             directed at other departments or
        Section 71.40(f) of the IFR provided                 agencies or that are otherwise beyond                 already exist, or shifts political
     that the IFR did not apply to U.S.                      the scope of this final rule. Commenters              accountability for the exercise of public
     citizens or LPRs. The IFR stated that                   included professional organizations,                  health powers from the President (who
     determining the appropriate protections                 industry representatives, religious                   is elected) to the CDC Director (who is
     for U.S. citizens and LPRs would benefit                organizations, and the general public.                a principal officer appointed by the
     from additional consideration and                       After considering the comments, the                   President and confirmed by the U.S.
     public comments.173 HHS/CDC received                    Department finalizes the IFR with the                 Senate).
     comments on the potential application                   changes described in Section III.                        Response: Since 1944, section 362 of
     of section 362 of the PHS Act to U.S.                                                                         the PHS Act has provided that
     citizens and LPRs. Given the complex                    General Comments                                      whenever the Surgeon General (now the
     and important legal and policy                            Comment: Some commenters stated                     CDC Director, by delegation from the
     questions presented by the potential                    30 days was not sufficient time to                    HHS Secretary) determines that by
     application of section 362 to U.S.                      comment on the proposed rule and                      reason of the existence of any
     citizens, U.S. nationals, and LPRs, HHS/                asked the Department to extend the                    communicable disease in a foreign
     CDC has determined that it would be in                  comment period.                                       country there is serious danger of the
     the public interest to provide notice of,                 Response: HHS/CDC respectfully                      introduction of such disease into the
     and accept comments on, any regulatory                  disagrees that the 30-day comment                     United States, and that this danger is so
     text that HHS/CDC would propose to                      period was insufficient. HHS/CDC notes                increased by the introduction of persons
     apply to U.S. citizens, U.S. nationals,                 that the Administrative Procedure Act                 or property from such country that a
     and LPRs. Further notice and comment                    (APA) does not have a minimum time                    suspension of the right to introduce
     would enable HHS/CDC to provide the                     period for comments. Further, E.O.                    such persons and property is required in
     public with a more fulsome explanation                  13563 recommends a 60-day comment                     the interest of the public health, the
     of the potential public health threats                  period, when feasible. Considering the                Surgeon General (now the CDC
                                                             current public health emergency, HHS/                 Director), in accordance with
       173 85 FR 16559, 16564 (Mar. 24, 2020).               CDC determined that a 30-day comment                  regulations approved by the President,


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     shall have the power to prohibit, in                    state and local partners are using public             immigrants from Mexico or Canada
     whole or in part, the introduction of                   health tools such as quarantine,                      would be unable to come to the United
     persons and property from such                          isolation, and conditional release to                 States to participate in the labor market.
     countries or places as he shall designate               mitigate the spread of COVID–19. But                     Response: This final rule provides
     in order to avert such danger, and for                  the use of those public health tools does             that when issuing any Order, the
     such period of time as he may deem                      not and should not foreclose the                      Director shall, as practicable under the
     necessary for such purpose. A                           appropriate use of other public health                circumstances, consult with all Federal
     predecessor statute dating back to 1893                 tools—including the statutory authority               departments or agencies whose interests
     granted the President similar authority.                to prohibit the introduction of persons—              would be impacted by the Order, which
     The IFR and this final rule implement                   to combat the disease. HHS/CDC needs                  may include the U.S. Departments of
     the long-standing statutory authority of                the flexibility to deploy the full array of           Agriculture, Commerce, and the
     the Executive Branch, consistent with                   available public health tools in response             Treasury. Any potential economic
     the design of Congress in 1944.                         to the COVID–19 pandemic, which                       consequences of an Order would be
        Comment: A number of commenters                      continues to evolve within the United                 considered by the Director as part of the
     provided comments about the CDC                         States and abroad.                                    consultation process.
     Order on covered aliens, not the IFR or                    Even now, the introduction into the                   Comment: A number of commenters
     this final rule. These included                         United States of persons from foreign                 opined that expulsions of aliens to
     comments about the particular facts                     countries with COVID–19 would                         Central America and Mexico may
     underlying the CDC Order, particular                    increase the serious danger of further                exacerbate public health challenges
     language used in the Order, such as the                 introduction of COVID–19 into different               during the COVID–19 pandemic.
     meaning of ‘‘covered aliens,’’ and the                  areas of the United States. The section                  Response: These comments appear to
     public health analysis in the CDC Order.                362 authority and this final rule remain              be directed at the CDC Order on covered
     Other commenters seemed to                              critical to mitigating the further                    aliens issued pursuant to the IFR, and
     misunderstand the differences between                   introduction of COVID–19 into those                   not this final rule. This final rule
     the CDC Order and the IFR and this                      areas.                                                provides a mechanism for the CDC
     final rule, or disagreed with the                          Moreover, this final rule seeks to                 Director to prohibit the introduction of
     Director’s determination to apply the                   implement a permanent procedure                       persons when he or she determines that
     CDC Order only to CBP facilities at land                which the Director may use to issue an                by reason of the existence of any
     borders.                                                order suspending the right to introduce               communicable disease in a foreign
        Response: We believe these comments                  persons into the United States when                   country, there is serious danger of the
     confuse the IFR, the final rule, and the                there is a serious danger of the                      introduction of such disease into the
     CDC Order on covered aliens. The CDC                    introduction of a quarantinable                       United States, and that this danger is so
     Order relates exclusively to the COVID–                 communicable disease into the United                  increased by the introduction of persons
     19 pandemic, defines ‘‘covered aliens,’’                States. This final rule is needed to                  from such country that a suspension of
     and prohibits the introduction of                       address not only the COVID–19                         the right to introduce such persons is
     ‘‘covered aliens’’ into the United States               pandemic, but also future public health               required in the interest of public health.
     through congregate settings in CBP                      threats.                                              If the CDC Director determines, in the
     facilities at land borders. This final rule                Comments: A commenter stated that                  exercise of his or her scientific and
     does not define ‘‘covered aliens.’’ Nor                 the IFR is arbitrary and capricious                   technical expertise, that these
     does this final rule prohibit the                       because the agency has failed to                      conditions are met and expulsion is in
     introduction of any persons into the                    consider important factors, such as the               the interest of the public health, he or
     United States without an administrative                 impact that the CDC Order on covered                  she may issue an administrative order
     order issued by the Director. Rather, this              aliens will have on individuals who                   pursuant to this final rule that requires
     final rule finalizes the procedures for                 seek to enter the United States and on                expulsion. This final rule, standing
     the Director to use when he or she                      those in the United States who are                    alone, does not require expulsion.
     determines that a temporary prohibition                 awaiting their arrival; reliance interests;              Comments: Some commenters stated
     on the introduction of persons from a                   and alternatives to suspending                        that there could be particular
     foreign country into the United States is               migration, such as quarantine or                      vulnerability or hardship to ‘‘LGBTIQ’’
     necessary in the interest of U.S. public                isolation of persons.                                 persons, women, or children.
     health. The procedures in this final rule                  Response: This final rule explains                    Response: HHS/CDC works to protect
     are general in nature; they are not                     why the benefits to U.S. public health                the United States from health, safety
     limited to a specific quarantinable                     that flow from mitigating the                         and security threats, both foreign and in
     communicable disease or person or                       introduction of quarantinable                         the United States. Whether diseases
     category of persons.                                    communicable diseases into the United                 start at home or abroad, are chronic or
        Comment: A number of commenters                      States may outweigh any impact on                     acute, curable or preventable, human
     stated that the period of preventing                    family well-being that may result from                error or deliberate attack, HHS/CDC
     introduction of COVID–19 to U.S.                        deferred visitation of family members in              fights disease and supports
     populations has now passed and that                     the United States. The same reasoning                 communities and citizens to do the
     our highest priority as a nation must be                applies to non-family members who                     same. HHS/CDC believes this final rule
     to reduce community spread through                      await the arrival of persons in the U.S.              will help HHS/CDC accomplish its
     the current tools we have available such                This final rule also discusses reasonable             mission. Under this final rule, the
     as self-isolation.                                      alternatives that were considered, and                Director would consult with other
        Response: HHS/CDC disagrees with                     why prohibitions on the introduction of               Federal departments and agencies
     the proposition that HHS/CDC should                     persons may sometimes be more                         whose interests would be impacted by
     limit its response to the COVID–19                      appropriate public health measures than               any Order, including the U.S.
     pandemic to the use of conditional                      quarantine and isolation.                             Department of Homeland Security, and
     release orders or recommendations to                       Comment: Some commenters stated                    would have the discretion to include
     self-quarantine or self-isolate or similar              that the final rule would have a negative             exceptions for persons in the Order
     public health tools. HHS/CDC and its                    effect on the economy because                         when appropriate.


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       Comments: A number of commenters                       to the care and custody of HHS’s Office               from its custody without unnecessary
     stated that expelling an alien under                     of Refugee Resettlement (ORR) are                     delay . . . .’’). Minors who are subject
     section 362 of the PHS Act violates the                  directed towards the continuing custody               to a prohibition on introduction under
     United States’ obligations under the                     and the conditions of confinement in                  section 362 of the PHS Act would not
     1967 Protocol relating to the Status of                  which minors are held in custody                      be arrested or detained under the
     Refugees (1967 Refugee Protocol) and                     within the United States. See, e.g., 6                immigration laws and they are expelled
     the Convention against Torture and                       U.S.C. 279 (defining ‘‘UAC’’ in                       from the United States as expeditiously
     Other Cruel, Inhuman or Degrading                        subsection 279(g) and referring to ‘‘the              as possible. Minors who comply with a
     Treatment or Punishment (CAT) and                        care of unaccompanied alien children’’                public health order under section 362
     violates statutory protections, including                in subsection 279(a)); Flores Settlement              would not be arrested for violating the
     the William Wilberforce Trafficking                      Agreement at 7 (defining the relevant                 PHS Act or the order either. The FSA
     Victims Protection Reauthorization Act                   class as ‘‘[a]ll minors who are detained              therefore does not apply to minors who
     of 2008 (TVPRA), the CAT regulations                     in the legal custody of the INS’’).                   are quarantined, isolated, or expelled
     implemented pursuant to the Foreign                         The TVPRA provides specific                        under a public health order.
     Affairs Reform and Restructuring Act of                  processes governing the custody and                      Indeed, ‘‘the [FSA] is a binding
     1998 (FARRA) (8 U.S.C. 1231 note), the                   removal of UACs under Title 8. But the                contract and a consent decree. . . . It is
     asylum and withholding provisions at 8                   CDC has prohibited the introduction of                a creature of the parties’ own
     U.S.C. 1158 and 1231(b)(3), and the                      aliens under section 362 of the PHS Act               contractual agreements and is analyzed
     American Declaration on the Rights and                   for public health reasons without regard              as a contract for purposes of
     Duties of Man. Some commenters said                      to the age of the alien (or the persons
                                                                                                                    enforcement.’’ Flores v. Barr, 407 F.
     the IFR fails to provide legal process to                accompanying him), and actions to
                                                                                                                    Supp. 3d 909, 931 (C.D. Cal. 2019); see
     individuals subject to the rule,                         enforce the CDC prohibition necessarily
                                                                                                                    also City of Las Vegas v. Clark Cty., 755
     including asylum-seekers, even though                    involve the prohibition on entering or
                                                                                                                    F.2d 697, 702 (9th Cir. 1985) (‘‘A
     U.S. law guarantees aliens an                            return of an alien outside of Title 8’s
                                                                                                                    consent decree, which has attributes of
     opportunity to request protection at                     procedures.
                                                                 Therefore, suspension of introduction,             a contract and a judicial act, is
     POEs after crossing into the United                                                                            construed with reference to ordinary
     States. Commenters also stated that                      and the derivative expulsion authority
                                                              under section 362 of the PHS Act                      contract principles.’’). The FSA applies
     expelling an alien who is a minor                                                                              only to those minors in the ‘‘legal
     violates the Stipulated Settlement                       generally operates independently from
                                                              Title 8 with respect to minors and other              custody’’ of the former Immigration and
     Agreement in Flores v. Barr, 934 F.3d                                                                          Naturalization Service (INS) as the term
     910 (C.D.Cal. 2019) (the ‘‘Flores                        persons. The custody requirement under
                                                              8 U.S.C. 1232(b)(3) within the TVPRA is               was intended by the parties when the
     Settlement Agreement,’’ or the ‘‘FSA’’).                                                                       Agreement was signed in 1997. FSA
        Responses: These comments are                         not a rule governing the procedures by
                                                              which an alien is removed or expelled.                ¶¶ 4, 10. That means it applies to
     directed to the CDC Order on covered                                                                           minors who are in immigration custody
     aliens issued pursuant to the IFR, and                   Rather, it is a statutory obligation that
                                                              applies to all departments and agencies               under Title 8. The Agreement does not
     not this final rule. To the extent these                                                                       encompass, was not intended to
     comments are directed to both the CDC                    in the U.S. government, whether or not
                                                              the government is removing UACs                       encompass, and did not anticipate
     Order and this final rule, HHS/CDC                                                                             custody incident to a public health
     respectfully disagrees with them. In                     pursuant to Title 8 (or expelling minors
                                                              under Title 42). This subsection requires             order issued pursuant to the PHS Act.
     section 362 of the PHS Act, Congress                                                                           If a minor were expelled under section
     authorized the suspension of the                         only that UACs in the custody of a
                                                              Federal department or agency be                       362, that minor would not be in the
     introduction of persons into the United                                                                        ‘‘legal custody’’ of any legal successor to
                                                              transferred to the custody of HHS
     States when a suspension of the right to                                                                       any party to the FSA. Although the FSA
                                                              within 72 hours unless ‘‘exceptional
     introduce persons is required in the                                                                           does not explicitly define ‘‘legal
                                                              circumstances’’ apply. 8 U.S.C.
     interest of U.S. public health. Congress                                                                       custody,’’ it recognizes a critical
                                                              1232(b)(3). The current public health
     did not exempt from the scope of                                                                               distinction between legal custody and
                                                              emergency plainly would qualify as an
     section 362 any category of persons or                                                                         physical custody. The FSA provides for
                                                              ‘‘exceptional circumstance[ ]’’
     any rights of introduction under specific                                                                      the INS in some instances to place a
                                                              permitting an exception from the 72-
     laws, including any found in Title 8 of                                                                        minor in the physical custody of a
                                                              hour transfer requirement.
     the U.S. Code.                                              The FSA governs the conditions                     licensed program, but the FSA specifies
     The TVPRA and the FSA                                    under which minors may be held in                     that the minor remains in the legal
                                                              government custody in connection with                 custody of the INS. FSA ¶ 19; see also
        The requirements of the TVPRA and
                                                              their arrest or detention under                       Gao v. Jenifer, 185 F.3d 548, 551 (6th
     FSA do not generally apply to situations
                                                              immigration laws. FSA ¶ 10 (defining                  Cir. 1999) (explaining that the INS’s
     where the Director has determined that
                                                              the class as ‘‘All minors who are                     contracts with these third-party
     a suspension of the right to introduce
                                                              detained in the legal custody of the                  programs explicitly state that the INS
     persons is required in the interest of
                                                              INS.’’), ¶ 12, ¶ 14 (‘‘Where the INS                  retains legal custody while the programs
     public health. The Flores settlement
                                                              determines that the detention of the                  have physical custody). While a minor
     agreement and the statutory provisions
                                                              minor is not required either to secure                is in the physical custody of a licensed
     providing that unaccompanied alien
                                                              his or her timely appearance before the               program, the INS retains the sole
     children (UACs) 174 are to be transferred
                                                              INS or the immigration court, or to                   authority to transfer and release the
        174 ‘‘[T]he term ‘unaccompanied alien child’
                                                              ensure the minor’s safety or that of                  minor (except that the licensed program
     [UAC] means a child who—(A) has no lawful                others, the INS shall release a minor                 can transfer physical custody in
     immigration status in the United States; (B) has not                                                           emergencies). FSA ¶ 19. Thus,
     attained 18 years of age; and (C) with respect to        of Refugee Resettlement (ORR) of HHS is               paragraph 19 makes clear that under the
     whom—(i) there is no parent or legal guardian in         responsible, among other things, for ‘‘coordinating
     the United States; or (ii) no parent or legal guardian   and implementing the care and placement of [UAC]
                                                                                                                    Agreement, the ‘‘legal custody of the
     in the United States is available to provide care and    who are in Federal custody by reason of their         INS’’ means custody at the direction of
     custody.’’ 6 U.S.C. 279(g). The Director of the Office   immigration status.’’ 6 U.S.C. Sec. 279(b)(1)(A).     the INS under relevant immigration


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     laws, which grant the INS authority over                under Title 42 are not processed for                  the event of any potential conflict. See
     the detention or release of the minor. Id.              immigration enforcement actions.                      Medellin v. Texas, 552 U.S. 491, 504 n.2
        The original class certified in the                    At the time the FSA was signed in                   (2008) (‘‘A ‘non-self-executing’ treaty
     Flores litigation included only                         1997, the parties could not have                      does not by itself give rise to
     individuals under the age of eighteen                   anticipated the COVID–19 pandemic in                  domestically enforceable federal law.
     who ‘‘are, or will be arrested and                      2020, and that some of the legal-                     Whether such a treaty has domestic
     detained pursuant to 8 U.S.C. 1252.’’ In                successor agencies to the INS would be                effect depends upon implementing
     1986, when the class was certified, 8                   charged with implementing emergency                   legislation passed by Congress.’’).
     U.S.C. 1252 governed discretionary                      procedures on behalf of the Director                     Congress implemented certain aspects
     detention during deportation                            under section 362. The ‘‘basic goal of                of CAT into domestic law by statute as
     proceedings. At the time the FSA was                    contract interpretation’’ is to give effect           part of the Foreign Affairs Reform and
     signed in 1997, the INS’s legal authority               to the parties’ mutual intent ‘‘at the time           Restructuring Act of 1998 (FARRA). 8
     to detain minors remained within Title                  of contracting.’’ Founding Members of                 U.S.C. 1231 note. That statute declares
     8 of the U.S. Code. 8 U.S.C. 1225(b),                   the Newport Beach Country Club v.                     it to be ‘‘the policy of the United States
     1252(a); see also Reno v. Flores, 507                   Newport Beach Country Club, Inc., 109                 not to expel, extradite, or otherwise
     U.S. 292, 294–95 n.1 (1993). Such                       Cal. App. 4th 944, 955 (Cal. Ct. App.                 effect the involuntary return of any
     detention was incident to immigration                   2003) (citing Cal. Civ. Code § 1636). The             person to a country in which there are
     removal proceedings, the authority for                  sections of Title 42 being implemented                substantial grounds for believing the
     which was also detailed in Title 8. 8                   in this final rule are not immigration                person would be in danger of being
     U.S.C. 1225(a), 1226, 1231, 1252(b). The                statutes or even custody statutes, and                subjected to torture’’ and to prescribe
     authority for immigration proceedings,                  their purview is not limited to aliens.               regulations to implement U.S.
     as well as the authority to hold minors                 Rather, they provide broad authority to               obligations under Article 3 of the
     in immigration custody, is still found in               CDC to respond to public health threats.              Conventions. See Public Law 105–277,
     Title 8 today. See 8 U.S.C. 1225, 1226,                 Further, the FSA makes clear that the                 div. G, subdiv. B, title XXII, § 2242(a)–
     1231, and 1232. The successors of the                   parties were addressing and settling                  (b) (1998), codified at 8 U.S.C. 1231
     INS who carry out these immigration                     specific issues related to custody by the             note. In its ratification statement
     functions today are CBP, ICE, and U.S.                  INS incident to immigration                           accompanying the treaty, the U.S.
     Citizenship and Immigration Services,                   proceedings, under the applicable law                 Senate observed that the ‘‘substantial
     all of which are part of DHS, as well as                governing that custody. See, e.g., FSA                grounds’’ requirement would be
     the ORR in HHS with respect to UACs.                    ¶¶ 9, 11, 12.A, 14, 24.A (providing for               interpreted as requiring an alien to
     See Homeland Security Act of 2002,                      bond hearings before an immigration                   establish that it would be ‘‘more likely
     402, 462, 1512, Public Law 107–296,                     judge). Nothing in the FSA suggests that              than not that he would be tortured’’ in
     116 Stat. 2135 (November 25, 2002)                      the parties intended it to govern—or                  the prospective country of removal.
     (codified at 6 U.S.C. 202, 279, 552);                   anticipated that it would govern—any                  Resolution of Ratification, Convention
     TVPRA, 8 U.S.C. 1232.                                   emergency procedures implemented by                   Against Torture and Other Cruel,
        CDC, though part of HHS along with                   the HHS/CDC under section 362 of the                  Inhuman or Degrading Treatment or
     ORR, is not a successor to the INS with                 PHS Act.                                              Punishment, Senate Consideration of
     respect to the detention addressed in the                                                                     Treaty Document 100–20, II.(2), 136
                                                             The CAT and the 1967 Refugee Protocol
     FSA. Custody incident to the                                                                                  Cong. Rec. S17904 (Oct. 27, 1990).
     government’s implementation of order                       The final rule implements authority                   Under 42 U.S.C. 268, customs officers
     issued by the Director under its section                under section 362 of the PHS Act,                     have an obligation to aid in enforcement
     362 authority is different from the Title               which authorizes a prohibition on the                 of HHS/CDC’s administrative Orders
                                                             introduction of persons in the interest of            issued under section 362 of the PHS
     8 immigration custody that the
                                                             public health. Although HHS/CDC                       Act. HHS/CDC therefore expects that
     Agreement covers.175 Section 362
                                                             believes that the final rule is entirely              DHS will take the lead role in enforcing
     provides the Director with ‘‘the power
                                                             consistent with the international                     any CDC Order prohibiting the
     to prohibit, in whole or in part, the
                                                             obligations of the United States under                introduction of persons into the United
     introduction of persons and property
                                                             the CAT and the 1967 Refugee Protocol,                States. In connection with existing
     from such countries or places as he shall
                                                             those international treaties are non-self-            enforcement of the current CDC Order
     designate in order to avert such danger,
                                                             executing. See Khan v. Holder, 584 F.3d               on covered aliens, HHS/CDC
     and for such period of time as he may
                                                             773, 783 (9th Cir. 2009) (‘‘[T]he                     understands that DHS provides aliens
     deem necessary for such purpose.’’
                                                             [Refugee] Protocol is not self-                       with the opportunity to express a fear
     Custody incident to implementation of                   executing.’’); Auguste v. Ridge, 395 F.3d             that they will suffer torture in the
     this provision is not pursuant to                       123, 132 (3d Cir. 2005) (the CAT ‘‘was                country to which they are being
     immigration laws. The Director, not                     not self-executing’’); Trinidad y Garcia              returned. So long as border officials
     DHS, has the legal authority for these                  v. Thomas, 683 F.3d 952, 955 (9th Cir.                apply a process for assessing non-
     processes.176 Individuals processed                     2012) (en banc) (per curiam) (‘‘The CAT               refoulement concerns, as appropriate,
        175 See, e.g., Order Suspending Introduction of
                                                             is a treaty signed and ratified by the                the government satisfies its treaty
     Certain Persons from Countries Where a                  United States, but is non-self-executing.             obligations, as reflected in the FARRA.
     Communicable Disease Exists, 85 FR 17060 (Mar.          136 Cong. Rec. 36, 198 (1990).’’).                    See Trinidad y Garcia, 683 F.3d at 956–
     26, 2020).                                              Therefore, the domestic statutes that                 57 (concluding, in a challenge to
        176 The INS could not have implemented CDC’s
                                                             implement these obligations and their                 extradition on non-refoulement
     section 362 orders. The role of DHS in public health    corresponding regulations would
     enforcement is pursuant to section 365 of the PHS                                                             grounds, that if the agency found it
     Act, which provides, ‘‘It shall be the duty of the      control as a matter of domestic law in                ‘‘more likely than not’’ that an
     customs officers and of Coast Guard officers to aid                                                           extradited person would not face torture
     in the enforcement of quarantine rules and              DHS with the Homeland Security Act. 6 U.S.C. Sec.     abroad, then ‘‘the court’s inquiry shall
     regulations . . . .’’ Neither the Coast Guard, nor      203. DHS’s role in enforcing the HHS/CDC Order
     any customs officers, were part of the INS. The         arises from the PHS Act, not any immigration
                                                                                                                   have reached its end’’).
     customs officer authorities now within DHS were         statute. The Agreement did not cover the Treasury        In addition to implementing its CAT
     transferred from the Department of the Treasury to      Department.                                           obligations through the FARRA, the


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     United States has implemented the non-                  appropriate, in connection with                       the specific power to expel persons is a
     refoulement obligation under the 1967                   implementing the Order. As explained                  corollary to the general power to
     Protocol by enacting the withholding-of-                in this final rule, the Director may                  prohibit the introduction of persons.
     removal provisions in section 241(b)(3)                 provide that certain persons are                      HHS/CDC cannot effectuate the
     of the INA (8 U.S.C. 1231(b)(3)). These                 excepted in an Order, and that could                  authority granted by section 362 unless
     statutory provisions prohibit the                       include exceptions for persons traveling              HHS/CDC can expel persons,
     removal of an individual to a country                   for humanitarian purposes. The Director               particularly in cases where quarantine
     where he or she would face persecution                  expects to consult with relevant federal              and isolation are inadequate due to
     or torture, subject to several statutory                departments and agencies when issuing                 epidemiological factors, resource
     exceptions. One such exception                          any order under section 71.40(d). For                 limitations, geography, location, or
     excludes any alien from statutory                       the same reasons, the American                        other considerations.
     withholding-of-removal protection                       Declaration on the Rights and Duties of                  In the case of the CDC Order issued
     where ‘‘there are reasonable grounds to                 Man does not bar this final rule.                     pursuant to the IFR, it is not reasonable
     believe that the alien is a danger to the                  Comments: One commenter stated                     to assume that all covered aliens subject
     security of the United States.’’ Id.                    that the IFR applies only to land                     to the Order can or will comply with
     1231(b)(3)(B)(iv). This statutory                       borders, even though, as the IFR itself               conditional release orders or safely self-
     exception is derived from Article 33 of                 notes, transportation hubs, like airports             quarantine or self-isolate after
     the 1967 Protocol, which contains an                    and cruise ship terminals, are                        introduction into the country. That has
     exception for a refugee for ‘‘whom there                congregate settings ‘‘conducive to                    not been HHS/CDC’s experience with
     are reasonable grounds for regarding as                 disease transmission.’’ The IFR does not              foreign nationals arriving in the United
     a danger to the security of the country                 bar travel by tourists arriving by plane              States on commercial flights, which
     in which he is.’’ See 1967 Protocol,                    or ship, even though these modes of                   require valid travel documents and
     Article 33.2.                                           transportation are explicitly listed as               clearance of customs. Even some foreign
        In Matter of A–H-, 23 I&N Dec. 774                   congregate settings with a risk of disease            nationals who produce valid travel
     (2005), the Attorney General interpreted                transmission.                                         documents, fly internationally, and
     the phrase ‘‘danger to the security of the                 Response: These comments appear to                 clear customs do not comply with self-
     United States’’ in an analogous                         be directed to the CDC Order on covered               quarantine or self-isolation protocols, or
     provision of the INA (the former section                aliens issued pursuant to the IFR, and                provide contact information to HHS/
     243(h)(2)(D) of the INA) to mean ‘‘a risk               not the IFR or this final rule. The CDC               CDC for use in public health monitoring
     to the Nation’s defense, foreign                        Director may use the procedures in the                and contract tracing investigations.
     relations, or economic interests.’’ In re               IFR and this final rule to issue an                      Covered aliens under the CDC Order
     Matter of A–H-, 23 I&N Dec. 774, 788                    administrative order that applies to                  seek to introduce themselves into the
     (AG 2005); see also Yusupov v. Attorney                 persons who seek to introduce                         United States under circumstances and
     General of U.S., 518 F.3d 185, 204 (3d                  themselves into the United States                     in ways that suggest to HHS/CDC that
     Cir. 2008) (upholding in relevant part                  through airports or cruise ship                       they are less likely to adhere to a
     the Attorney General’s interpretation in                terminals. There are, however,                        conditional release order or self-
     Matter of A–H-); cf. 8 U.S.C. 1189(d)(2)                additional tools available to address                 quarantine or self-isolation protocol. For
     (defining ‘‘national security’’ in a                    public health risks in transportation                 starters, all covered aliens lack valid
     separate provision of the INA as                        hubs. Such tools include proclamations                travel documents, which suggests that
     encompassing ‘‘the national defense,                    under section 212(f) of the INA and No                they are not coming prepared to comply
     foreign relations, or economic interests                Sail Orders.                                          with U.S. legal processes. Many walk
     of the United States’’). Because                                                                              into the United States from Mexico or
                                                             Section 71.40(a), Statutory
     enforcement of a CDC Order would                                                                              Canada, which suggests that they do not
                                                             Requirements for the CDC Director To
     occur pursuant to section 362 of the                                                                          have access to transportation. DHS
                                                             Suspend the Introduction of Persons
     PHS Act, this provision of the INA does                                                                       informs HHS/CDC that under normal
                                                             Into the United States
     not directly apply to orders issued                                                                           circumstances—when the introduction
     under the final rule. Nonetheless, where                   Comments: Several commenters                       of persons is not suspended—many
     the Director has determined that there is               stated that, taken together, the IFR and              covered aliens would be asylum-
     a reasonable ground to believe that the                 CDC Order on covered aliens incorrectly               seekers, who by definition lack
     introduction of an alien, or class of                   assume that persons from a foreign                    permanent U.S. residences. DHS and
     aliens, would pose a danger of                          country cannot self-quarantine or self-               DOJ also inform HHS/CDC that under
     introducing a quarantinable                             isolate in the United States as an                    normal circumstances, many would be
     communicable disease into the United                    alternative to expulsion. These                       removed from the United States in
     States, then there would be a reasonable                commenters noted that many persons                    absentia for failure to appear for
     ground for regarding those aliens to be                 trying to cross the U.S.-Mexico border                immigration proceedings.177 Persons
     as ‘‘a danger to the security of the                    know people in the United States who                  who are unprepared to comply with
     United States’’ as construed by Matter of               could presumably provide a place to                   U.S. legal processes and lack
     A–H. See Notice of Proposed                             self-quarantine or self-isolate. Some                 transportation and a permanent U.S.
     Rulemaking, Security Bars and                           commenters also suggested that DHS                    residence would likely encounter
     Processing, 85 FR 41,201, 41,208–41,210                 could parole asylum-seekers into the                  difficulties complying with conditional
     (July 9, 2020). As the ongoing COVID–                   United States to await their asylum                   release orders or self-quarantine or self-
     19 pandemic has shown, the entry and                    proceedings in U.S. immigration courts.               isolation protocols. For such orders or
     spread of communicable disease from                        Response: To the extent the
     abroad can threaten the lives of the U.S.               commenters maintain that HHS/CDC                         177 In fiscal year 2019, out of 181,876 initial case

     population and inflict grievous harm on                 can never lawfully prohibit the                       completions for aliens who are not UACs, 82,753
     the national economy.                                   introduction of persons into the United               aliens (45%) were ordered removed in absentia. In
                                                                                                                   the first two quarters of fiscal year 2020, out of
        In addition, this final rule would                   States through the expulsion of persons,              154,744 initial case completions for aliens who are
     allow for the Director to address any                   HHS/CDC respectfully disagrees with                   not UACs, 81,330 aliens (53%) were ordered
     additional humanitarian concerns, if                    the comments. As previously discussed,                removed in absentia.



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     protocols to be effective, persons who                   predated the COVID–19 pandemic. The                     operations during the COVID–19
     HHS/CDC temporarily apprehends and                       study focused on the condition of aliens                pandemic, and the needs of the
     then conditionally releases with                         subject to ‘‘the Migrant Protection                     domestic population—when issuing and
     orders—or, alternatively, persons to                     Protocols (MPP), also known as the                      continuing its Order on covered aliens
     whom HHS/CDC recommends self-                            ‘Remain in Mexico’ policy.’’ Id. at 3.                  pursuant to the IFR. HHS/CDC
     quarantine or self-isolation—must be                     USIPC did not look at whether the                       maintains that its implementation of a
     able to travel to suitable quarantine or                 family or close friends had personal                    self-quarantine or self-isolation protocol
     isolation locations, and then quarantine                 residences and, if so, whether they                     for covered aliens would consume
     or isolate for the time period prescribed                would make them available as self-                      undue HHS/CDC and CBP resources
     or recommended by HHS/CDC. Many                          quarantine or self-isolation locations.                 without averting the serious danger of
     covered aliens subject to the CDC Order                  Nor did USIPC look at whether                           the introduction of COVID–19 into CBP
     on covered aliens would have to                          residences were suitable for self-                      facilities. Expulsion is a more effective
     overcome significant hurdles to meet                     quarantine or self-isolation in                         public health measure for CBP facilities
     those basic requirements.                                compliance with HHS/CDC                                 that preserves finite HHS/CDC resources
        Moreover, implementation of                           guidelines.181                                          for other public health operations.
     conditional release orders for covered                     Even if HHS/CDC were to assume that
     aliens would divert substantial HHS/                     many covered aliens have family or                      Section 71.40(b), Definitions Used in
     CDC resources away from existing                         close friends in the United States, that                This Section
     public health operations during the                      fact alone would not control HHS/CDC’s                     Comment: Some commenters stated
     COVID–19 pandemic. HHS/CDC                               public health analysis. HHS/CDC has                     that section 362 of the PHS Act
     presently operates quarantine stations at                weighed many considerations—                            authorizes the Secretary to stop the risk
     20 ports of entry and land-border                        including the epidemiology of COVID–                    of introduction of a disease into the
     crossings, only four of which are at a                   19, the structural and operational                      United States, and the IFR unlawfully
     border with Canada or Mexico.178 To                      limitations of CBP facilities, the                      extends the Secretary’s authority to
     implement conditional release orders                     available HHS/CDC and CBP resources,                    situations where a disease is already in
     for covered aliens, HHS/CDC would                        the requirements of other public health                 the United States.
     have to open and operate new                                                                                        Response: HHS/CDC respectfully
     quarantine stations at numerous Border                   Immigration Policy Ctr., UC San Diego, https://         disagrees for the reasons stated in
     Patrol stations and POEs, surge                          usipc.ucsd.edu/ (last visited Sep.1, 2020). The         Section IV.B of this final rule.
                                                              USIPC website encourages readers to ‘‘[v]isit UC           Comment: Some commenters stated
     technical support to CBP at the same                     San Diego’s Coronavirus portal for the latest
     locations, or do some combination of                     information on the campus community.’’ Id. On the       that HHS/CDC’s inclusion of aircraft in
     both. HHS/CDC would also have to                         portal, UC San Diego informs students, faculty, and     its definition of ‘‘place’’ exceeds the
     monitor the health of tens of thousands                  staff that for Fall 2020, in-person class size ‘‘is     CDC’s limited statutory authority and
                                                              limited to fewer than 50 students per class, or 25%     would allow the Director to suspend the
     of covered aliens introduced into the                    of classroom capacity, whichever is smaller.’’
     United States, and alert public health                   Return to Learn: Fall 2020 Plan, UC San Diego,          introduction of persons, not because of
     departments about any health issues                      https://returntolearn.ucsd.edu/return-to-campus/        the serious danger of the introduction of
     that need follow-up.179 HHS/CDC does                     fall-2020-lan/index.html (last visited Sep. 1, 2020).   a quarantinable communicable disease
                                                              UC San Diego further states that ‘‘[i]f a student is    from a foreign country into the United
     not have resources and personnel                         coming to campus from an international location,
     available to execute those additional                    CDC guidelines recommend a 14-day quarantine            States, but because of the existence of a
     functions; HHS/CDC would have to                         period. Students with a housing contract can            quarantinable communicable disease
     reallocate personnel from existing                       complete the quarantine period in specially             onboard an aircraft.
                                                              designated on-campus housing . . . .’’ Id.                 Response: HHS/CDC respectfully
     quarantine operations, which would                       (emphasis added). The USIPC website suggests that
     jeopardize the effectiveness of those                    USIPC defers to UC San Diego on public health           disagrees with this comment. To
     operations, endanger public health, and                  issues, and that UC San Diego generally follows         prevent the introduction of a
     impose additional costs on U.S.                          CDC guidance when addressing such issues.               quarantinable communicable disease,
                                                                 181 Persons who self-isolate should stay home
     taxpayers.                                                                                                       the Director must have the authority to
                                                              except to get medical care. When at home, they
        Several commenters asserted that                      should stay in a separate room from other               prohibit the introduction of persons
     HHS/CDC should nevertheless allow                        household members, if possible; use a separate          from a foreign country or place, as well
     covered aliens to self-quarantine or self-               bathroom, if possible; avoid contact with other         as any carriers carrying those persons.
                                                              members of the household and pets; and avoid               Comment: A number of commenters
     isolate because the U.S. Immigration                     sharing personal household items, like cups, towels
     Policy Center (USIPC) interviewed 607                    and utensils. Coronavirus Disease 2019 (COVID–
                                                                                                                      expressed the view that the IFR fails to
     asylum seekers in 2019, and 91.9% of                     19), What to Do If You Are Sick, Ctrs. for Disease      give meaning to the phrase ‘‘serious
     them reported having family or close                     Control & Prevention, https://www.cdc.gov/              danger’’ from section 362 of the PHS
                                                              coronavirus/2019-ncov/if-you-are-sick/steps-when-       Act, as the IFR defines ‘‘serious danger
     friends living in the United States. Tom                 sick.html (last updated May 8, 2020). Persons who
     K. Wong, Seeking Asylum: Part 2 (Oct.                    self-quarantine should stay at home for 14 days         of the introduction of such
     29, 2019). USIPC, however, is not a                      after their last contact with a person who has          communicable disease into the United
     public health agency,180 and its study                   COVID–19, watch for symptoms of COVID–19, and,          States’’ to mean ‘‘the potential for
                                                              if possible, stay away from others, especially people   introduction of vectors of the
                                                              who are at higher risk for getting very sick from
        178 Quarantine and Isolation: U.S. Quarantine
                                                              COVID–19. Coronavirus Disease 2019 (COVID–19),          communicable disease into the United
     Stations, Ctrs. for Disease Control & Prevention,        When to Quarantine, Ctrs. for Disease Control &         States.’’
     https://www.cdc.gov/quarantine/quarantine-               Prevention, https://www.cdc.gov/coronavirus/2019-          Response: The final rule defines
     stations-us.html (last updated July 24, 2020) (Those     ncov/if-you-are-sick/quarantine.html (last updated
     quarantine stations are in Detroit, MI; El Paso, TX;
                                                                                                                      ‘‘serious danger of the introduction of
                                                              Aug. 16, 2020). When at home, persons in self-
     San Diego, CA; and Seattle, WA).                         quarantine should stay at least 6 feet from other
                                                                                                                      such quarantinable communicable
        179 Id.
                                                              people, and clean and disinfect frequently touched      disease into the United States’’ to mean
        180 USIPC is a part of the University of California   objects and surfaces, among other things.               the probable introduction of one or
     San Diego (UC San Diego) that ‘‘brings together          Coronavirus Disease 2019 (COVID–19), Household          more persons capable of transmitting
     leading academics, policy analysts, immigrant-           Checklist, Ctrs. for Disease Control & Prevention,
     rights leaders, and policymakers across all levels of    https://www.cdc.gov/coronavirus/2019-ncov/daily-
                                                                                                                      the quarantinable communicable
     government to conceptualize, debate, and design a        life-coping/checklist-household-ready.html (last        disease into the United States, even if
     new U.S. immigration policy agenda . . . .’’ U.S.        updated June 13, 2020).                                 persons or property in the United States


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     are already infected or contaminated                    scientific and technical expertise                    reasons explained in the section of this
     with the quarantinable communicable                     required to determine whether the                     final rule entitled ‘‘Provisions of New
     disease. This regulatory definition                     existence of a quarantinable                          Section 71.40,’’ to incorporate a
     clarifies that, even if persons or property             communicable disease in a foreign                     modified version of this requirement in
     in the United States are already infected               country or place poses a serious danger               the final rule. Accordingly, section
     or contaminated with a quarantinable                    to the United States, whether that                    71.40(c) of the final rule requires that,
     communicable disease, the introduction                  serious danger is increased by the                    in any order issued pursuant to this
     of one or more additional persons                       introduction of persons from such                     final rule, the Director shall include a
     capable of disease transmission in the                  country, and whether a prohibition on                 statement describing the danger posed
     same or different localities can                        the introduction of such persons should               by the quarantinable communicable
     nevertheless present a serious danger of                be imposed or continued.                              disease in the foreign country or
     the introduction of the disease into the                   By contrast, the mission of the HHS                countries (or one or more designated
     United States. Additionally, this                       Office of the Inspector General (OIG) ‘‘is            political subdivisions or regions thereof)
     regulatory definition clarifies that the                to provide objective oversight to                     or places from which the introduction of
     danger of introduction becomes serious                  promote the economy, efficiency,                      persons is being suspended. Also, this
     when one or more additional persons                     effectiveness, and integrity of HHS                   final rule applies to quarantinable
     capable of disease transmission would                   programs, as well as the health and                   communicable diseases broadly, not just
     more likely than not be introduced into                 welfare of the people they serve.’’ 183               to COVID–19. So section 71.40(c)
     the United States. Section IV.B.3 further               OIG conducts and supervises audits and                requires that the statement describe the
     explains why this definition comports                   investigations relating to certain                    danger posed by the quarantinable
     with the statute.                                       programs and operations and provides a                communicable disease that led the
                                                             means for keeping the Secretary and                   Director to invoke the section 362
     Section 71.40(c), Director’s Terms of the               Congress informed of problems and                     authority.
     Suspension                                              deficiencies relating to the
        Comment: A number of commenters                      administration of HHS programs. See 5                 Section 71.40(d), Persons To Whom This
     recommended that the CDC self-impose                    U.S.C. 2, 4. OIG does not have the                    Section Applies
     a required expiration for each order, or                statutory authority or scientific or                     Comment: A number of commenters
     alternatively a short-interval and                      technical expertise required to make                  stated that previous efforts to prevent
     recurrent review of the Director’s                      public health judgments about the                     the introduction of persons with active
     determinations and orders under the                     imposing or continuing of prohibitions                contagious diseases from entering the
     IFR, with such objective review                         on the introduction of persons.                       U.S. have been based on an examination
     conducted by an agency inspector                           Additionally, the Director may not                 of the person, not on the person’s
     general or Federal third-party agency.                  subdelegate statutory authority under                 membership in a particular group.
        Response: HHS/CDC agrees that                        section 362 to another Federal                           Response: These comments are
     recurrent HHS/CDC review of CDC                         department. Federal officials may                     directed to the CDC Order on covered
     Orders is good policy. The CDC Order                    subdelegate their authority to                        aliens issued pursuant to the IFR, and
     on covered aliens issued and continued                  subordinates absent evidence of                       not to the IFR or this final rule. No
     pursuant to the IFR have undergone                      contrary Congressional intent, but they               action can or will be taken under this
     recurrent review. Section 71.40(c) of                   may not subdelegate to other                          final rule absent an order issued by the
     this final rule provides that any order                 departments absent express statutory                  Director. To the extent these comments
     issued pursuant to this final rule shall                authority to do so. See U.S. Telecom                  are directed to this final rule, HHS/CDC
     designate the ‘‘period of time or                       Ass’n v. FCC, 359 F.3d 554, 566 (D.C.                 respectfully disagrees with them. Like
     circumstances under which the                           Cir. 2004); Gentiva Healthcare Corp. v.               the IFR, this final rule sets forth facially
     introduction of any persons or class of                 Sebelius, 857 F. Supp. 2d 1, 7 (D.D.C.                neutral procedures for the exercise of
     persons into the United States shall be                 2012). The Director does not have                     the 362 authority by the Director. The
     suspended.’’ It would be unwise to state                express statutory authority to                        procedures do not turn on whether a
     a specific time period in this final rule               subdelegate statutory authority under                 person is a member of a particular
     because the epidemiology of                             section 362 to another Federal                        group.
     quarantinable communicable diseases                     department.                                              Moreover, the CDC Order on covered
     varies.                                                    Comment: A number of commenters                    aliens issued pursuant to the IFR
        HHS/CDC respectfully disagrees with                  recommended that the Department add                   prohibits introduction of covered aliens
     the comment calling for ‘‘objective                     a fourth requirement to the components                traveling from Canada or Mexico,
     review conducted by an agency                           of a CDC Order: A statement of the                    regardless of their national origin, who
     inspector general or Federal third-party                evidence of the quarantinable                         would otherwise be introduced into the
     agency.’’ The Secretary delegated his or                communicable disease threat in the                    United States. Covered aliens are those
     her statutory authority under section                   foreign countries (or one or more                     who lack valid travel documents and
     362 to the CDC Director, which was                      designated political subdivisions or                  would otherwise spend material
     proper. HHS/CDC is best positioned to                   regions thereof) or places from which                 amounts of time in congregate areas.
     review the necessity of its own orders.                 the introduction of persons is being                  The CDC Order on covered aliens does
     Moreover, HHS/CDC’s core mission is to                  suspended, on which the CDC Director                  not prohibit the introduction of persons
     develop and apply disease prevention                    relies in issuing such order.                         into the United States based on factors
     and control strategies to improve the                      Response: HHS/CDC has considered                   such as race, color, religion, national
     health of all Americans while it also                   this comment and decided, for the                     origin, sex, age, or disability. Also, the
     works to ensure domestic preparedness,                                                                        CDC Order on covered aliens, as
                                                             organization/cio-orgcharts/pdfs/CDCfs-508.pdf (last   implemented by DHS, provides for
     eliminate disease, and end                              visited Sep. 1, 2020).
     epidemics.182 HHS/CDC has the                             183 About OIG, U.S. Dep’t. of Health & Human
                                                                                                                   discretionary, individualized exceptions
                                                             Serv.’s Off. of the Inspector Gen., https://          from the prohibition on introduction.
       182 Mission Statement, Ctrs. for Disease Control &    oig.hhs.gov/about-oig/about-us/index.asp (last           Comment: Some commenters stated
     Prevention, https://www.cdc.gov/about/                  visited Sep. 1, 2020).                                that HHS/CDC should clarify that the


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     rule applies to persons, regardless of                     Response: HHS/CDC has considered                   the Director has no present intention of
     nationality, if they have travelled from                this comment and appreciates the                      prohibiting the introduction of U.S.
     designated countries.                                   concerns raised. Nevertheless, HHS/                   citizens, U.S. nationals or LPRs into the
        Response: HHS/CDC believes that the                  CDC does not believe it is necessary to               United States as part of the response to
     final rule’s language that it applies to                create express regulatory exclusions for              the COVID–19 pandemic. Further notice
     those ‘‘from designated foreign                         mariners and airline crews. Any order                 and comment rulemaking on any
     countries’’ states in plain language that               issued pursuant to this final rule would              proposed regulatory text that would
     the prohibition of introduction of                      be tailored by the Director to what                   apply outside the COVID–19 context
     persons is based on the country a person                public health requires and, to the                    would be in the public interest.
     is travelling from, and not their                       greatest extent possible, adhere to U.S.
     nationality.                                                                                                  VII. Regulatory Impact Analysis
                                                             federal policy of facilitating the critical
     Section 71.40(f), Exception for U.S.                    work of mariners and aircrew. If public               A. Unfunded Mandates Reform Act
     Citizens, U.S. Nationals, and Lawful                    health measures such as quarantine,                      Section 202 of the Unfunded
     Permanent Residents                                     isolation, conditional release, or social             Mandates Reform Act of 1995
                                                             distancing are adequate to protect                    (Unfunded Mandates Act) (2 U.S.C.
       Comment: Some commenters                              public health, then HHS/CDC would
     indicated that this final rule should also                                                                    1532) requires that covered agencies
                                                             take those measures and not suspend                   prepare a budgetary impact statement
     apply to U.S. citizens and LPRs who                     the introduction of such persons.
     may be introduced into the United                                                                             before promulgating a rule that includes
     States during the COVID–19 pandemic.                    VI. Alternatives Considered                           any Federal mandate that may result in
     Some commenters further asserted that                                                                         the expenditure by State, local, and
                                                                HHS/CDC has considered a number of
     the issuance of a rule that applies to                                                                        tribal governments, in the aggregate, or
                                                             alternatives to the final rule. One
     some aliens, but not all persons, may be                                                                      by the private sector, of $100 million in
                                                             alternative that HHS/CDC has
     unconstitutional.                                                                                             1995 dollars, updated annually for
                                                             considered is rescinding the IFR and the
       Response: The Director has no present                                                                       inflation. Currently, that threshold is
                                                             CDC Order on covered aliens issued
     intention to apply the section 362                                                                            approximately $154 million. If a
                                                             pursuant to the IFR, and foregoing the
     authority to U.S. citizens, U.S.                                                                              budgetary impact statement is required,
                                                             issuance of this final rule. HHS/CDC has
     nationals, or LPRs in connection with                                                                         section 205 of the Unfunded Mandates
                                                             ruled out that alternative because there
     the COVID–19 pandemic (indeed, the                                                                            Act also requires covered agencies to
                                                             is still a serious danger of introduction
     Director has never intended to do so).                                                                        identify and consider a reasonable
                                                             of COVID–19 into the United States
     This is partly because U.S. citizens, U.S.                                                                    number of regulatory alternatives before
                                                             from Canada and Mexico, and the
     nationals, and LPRs generally present to                                                                      promulgating a rule. HHS/CDC has
                                                             public health situation in Mexico
     POEs with valid travel documents, and                                                                         determined that this final rule is not
                                                             remains tenuous. As noted above,
     do not spend material amounts of time                                                                         expected to result in expenditures by
                                                             quarantine, isolation, and conditional
                                                                                                                   state, local, and tribal governments, or
     in congregate settings in such facilities.              release are still not workable options on
                                                                                                                   by the private sector, of $154 million or
     Because U.S. citizens, U.S. nationals,                  the scale that would be needed for
                                                                                                                   more in any one year because it only
     and LPRs spend less time in congregate                  protecting U.S. public health from the
                                                                                                                   establishes a regulatory mechanism for
     settings than covered aliens subject to                 introduction of COVID–19; Federal
                                                                                                                   the exercise of the PHS Act section 362
     the CDC Order on covered aliens issued                  quarantine and isolation of covered
                                                                                                                   suspension authority, which applies
     pursuant to the IFR, they present lower                 aliens would be impracticable, and
                                                                                                                   primarily against persons and not state,
     public health risks in those settings.                  covered aliens as a population are not
       Given the complex and important                                                                             local, or tribal governments.
                                                             a good fit for public health measures
                                                                                                                   Accordingly, HHS/CDC has not
     legal and policy questions presented by                 such as conditional release and
                                                                                                                   prepared a budgetary impact statement
     the potential application of section 362                recommendations to self-quarantine or
                                                                                                                   or specifically addressed the regulatory
     to U.S. citizens, U.S. nationals, and                   self-isolate. The rescission of the IFR
                                                                                                                   alternatives considered.
     LPRs, HHS/CDC has determined that it                    would result in tens of thousands of
     would be in the public interest to                      covered aliens entering congregate                    B. National Environmental Policy Act
     provide notice of, and accept comments                  settings each month, which would put                  (NEPA)
     on, any regulatory text that HHS/CDC                    the health of the DHS workforce and the                 HHS has determined that the
     would propose to apply to U.S. citizens,                domestic U.S. population at greater risk,             amendments to 42 CFR part 71 will not
     U.S. nationals, and LPRs in other                       likely increase community transmission                have a significant impact on the
     contexts. Further notice and comment                    of COVID–19 and new COVID–19 cases                    environment.
     would enable HHS/CDC to provide the                     in the States in the U.S.-Mexico border
     public with a more fulsome explanation                  region, and strain the capacity of U.S.               C. Executive Order 12988: Civil Justice
     of the potential public health threats                  health-care systems. There are good                   Reform
     and policy rationales that support the                  reasons to issue this final rule,                        HHS has reviewed this rule under
     regulatory text without jeopardizing the                especially when the efforts of the                    Executive Order 12988 on Civil Justice
     ability of HHS/CDC to protect U.S.                      domestic population to avoid congregate               Reform and has determined that this
     public health from COVID–19 in the                      settings are considered. The rescission               final rule meets the standard in the
     immediate future.                                       of the IFR and CDC Order would                        Executive Order.
       HHS/CDC maintains that its approach                   undercut those efforts, which the
     in this final rule is rational and                      domestic population has undertaken at                 D. Executive Order 13132: Federalism
     constitutional.                                         great personal sacrifice.                               This final rule has been reviewed
       Comment: Some commenters stated                          HHS/CDC also considered and                        under Executive Order 13132,
     that mariners and airline crews should                  declined to include procedures in this                Federalism. Under 42 U.S.C. 264(e),
     be excluded from this rule because                      final rule that apply to U.S. citizens,               Federal public health regulations do not
     prohibiting them from being introduced                  U.S. nationals, and LPRs. Such                        preempt State or local public health
     into the U.S. could cause serious                       procedures present complex and                        regulations, except in the event of a
     logistical and safety issues.                           important legal and policy issues, and                conflict with the exercise of Federal


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     authority. Other than to restate this                   annualized effect on the economy of                      Because this final rule is not a ‘‘major
     statutory provision, this rulemaking                    $100,000,000 or more for two reasons.                 rule’’ under the CRA, only the APA
     does not alter the relationship between                 First, the CDC Order on covered aliens                governs the effective date of this final
     the Federal government and State/local                  has no direct economic effect. It applies             rule. The APA provides that the
     governments as set forth in 42 U.S.C.                   only to individual persons, and not to                publication of a substantive rule shall be
     264. The longstanding provision on                      commercial entities such as carriers;                 made not less than 30 days before its
     preemption in the event of a conflict                   restrictions on commercial and                        effective date, except ‘‘as otherwise
     with Federal authority (42 CFR 70.2) is                 passenger carriers have been imposed                  provided by the agency for good cause
     left unchanged by this rulemaking.                      by DHS and HHS/CDC under different                    found and published with the rule.’’ 5
     Furthermore, there are no provisions in                 authorities. Second, any indirect                     U.S.C. 553(d)(3). This final rule shall
     this regulation that impose direct                      economic effect is unlikely to equal or               become effective 30 days from its
     compliance costs on State and local                     exceed $100,000,000 annualized. The                   publication in the Federal Register
     governments. Therefore, HHS/CDC                         only potential indirect economic effect               unless the IFR ceases to be in effect (for
     believes that the final rule does not                   identified by HHS/CDC is a reduction in               example, if it is vacated or enjoined by
     warrant additional analysis under                       the utilization of the U.S. health care               a court) before that time, in which case
     Executive Order 13132.                                  system by covered aliens. While that                  this final rule shall become effective
                                                             reduction helps protect U.S. public                   immediately for good cause. There
     E. Plain Language Act of 2010
                                                             health by lessening the strain on the                 would be good cause because, as
        Under the Plain Language Act of 2010                 U.S. health care system, and preserving               discussed in earlier sections of this final
     (Pub. L. 111–274, October 13, 2010, 124                 finite health care resources for the                  rule, the procedures established by the
     Stat. 2861), executive departments and                  domestic population, HHS/CDC’s                        IFR and this final rule are critical to
     agencies are required to use plain                      analysis has determined that the dollar               HHS/CDC’s ability to mitigate the
     language in documents that explain to                   value of the reduced utilization of the               serious danger of the introduction of
     the public how to comply with a                         U.S. health care system is unlikely to                COVID–19 into the United States, and
     requirement the Federal government                      equal or exceed $100,000,000                          thereby protect U.S. public health.
     administers or enforces. HHS/CDC has                    annualized.                                              As discussed previously in this final
     attempted to use plain language in                         This year should serve as a                        rule, the Director assesses that the CDC
     promulgating this final rule, consistent                benchmark for any future years in                     Order on covered aliens is benefitting
     with the Federal Plain Writing Act                      which the Director might find it                      U.S. public health in several ways. The
     guidelines.                                             necessary in the interest of public health
                                                                                                                   Director assesses that the CDC Order is:
     F. Congressional Review Act and                         to prohibit the introduction of persons
                                                                                                                   Reducing the danger of the introduction
     Administrative Procedure Act                            from foreign countries into the United
                                                                                                                   of COVID–19 into CBP facilities, which
                                                             States. The COVID–19 pandemic is a
        The Congressional Review Act (CRA)                                                                         protects both the DHS workforce and
                                                             once-in-a-generation public health
     defines a ‘‘major rule’’ as ‘‘any rule that                                                                   migrants from COVID–19; reducing the
                                                             emergency and, as discussed previously,
     the Administrator of the Office of                                                                            strain on the health-care system in the
                                                             the Federal government has mitigated
     Information and Regulatory Affairs                                                                            U.S.-Mexico border region by decreasing
                                                             the serious danger of the introduction of
     (OIRA) of the Office of Management and                                                                        utilization by covered aliens, which
                                                             COVID–19 into the United States
     Budget finds has resulted in or is likely                                                                     conserves health-care resources for the
                                                             through a wide array of measures. The
     to result in—(A) an annual effect on the                Director’s exercise of his authority                  domestic population; and helping to
     economy of $100,000,000 or more; (B) a                  under section 362 of the PHS Act                      slow the community transmission of
     major increase in costs or prices for                   through issuance of the CDC Order on                  COVID–19 and the number of new
     consumers, individual industries,                       covered aliens is just one of those                   COVID–19 cases in the States in the
     Federal, State, or local government                     measures. Others include the INA                      U.S.-Mexico border region, which helps
     agencies, or geographic regions; or (C)                 section 212(f) proclamations;                         protect the domestic population from
     significant adverse effects on                          quarantine, isolation, and conditional                COVID–19. These benefits to U.S. public
     competition, employment, investment,                    release; the CDC No Sail Order for                    health would be lost immediately if the
     productivity, innovation, or on the                     cruise ships; and travel restrictions at              IFR and, by extension, the CDC Order
     ability of United States-based                          land POEs along the U.S.-Canada and                   on covered aliens ceased to be effective.
     enterprises to compete with foreign-                    U.S.-Mexico borders. If the Director’s                   Of course, there would probably be
     based enterprises in domestic and                       exercise of his authority under section               secondary effects on U.S. public health
     export markets.’’ 5 U.S.C. 804(2).                      362 of the PHS Act is unlikely to have                and safety. As previously discussed in
        OIRA has determined that this final                  an annual economic effect of                          this final rule, the Director has assessed
     rule is not a ‘‘major rule’’ for purposes               $100,000,000 during the COVID–19                      that the numbers of CBP employees who
     of the CRA. The actual experience of                    pandemic, then it follows that any                    test positive for COVID–19 or enter
     HHS/CDC with the IFR and the CDC                        future exercise of the section 362                    quarantine would probably be larger
     Order on covered aliens informs the                     authority pursuant to this final rule is              absent the CDC Order, and CBP has
     CRA analysis. The IFR, like this final                  unlikely to have an annual effect on the              informed HHS/CDC that further
     rule, establishes procedures by which                   economy of $100,000,000 or more.                      degradation of its workforce in the
     the Director can issue an administrative                   The other tests for a ‘‘major rule’’ are           Laredo Sector due to COVID–19 would
     order implementing section 362 of the                   not met. This final rule is procedural in             jeopardize CBP’s ability to execute its
     PHS Act. Neither the IFR nor this final                 nature. It does not impose any cost or                public safety mission. Thus, one likely
     rule can have any economic effect                       price increases, or have any significant              secondary effect would be further
     absent an administrative order.                         adverse effects on competition,                       degradation of the CBP workforce due to
        So far, the only administrative order                employment, investment, productivity,                 COVID–19 and, according to CBP, a
     that the Director has determined is                     innovation, or on the ability of United               corresponding reduction in public
     necessary in the interest of public health              States-based enterprises to compete                   safety in the Laredo Sector. Similar
     is the CDC Order on covered aliens.                     with foreign-based enterprises in                     effects would be possible in other
     That Order is unlikely to have an                       domestic and export markets.                          sectors.


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        States in the U.S-Mexico border                      HHS/CDC’s ability to protect U.S. public              safety effects; distributive impacts; and
     region would probably also experience                   health from COVID–19 and other                        equity). Executive Order 13563
     secondary effects. As previously                        quarantinable communicable diseases.                  emphasizes the importance of
     discussed in this final rule, the Director              As a result, there would be good cause                quantifying both costs and benefits,
     has assessed that increased community                   for this final rule to become effective               reducing costs, harmonizing rules, and
     transmission in California and Arizona                  immediately in the event that the IFR                 promoting flexibility. Section 3(f) of
     would likely result in increased                        ceases to be in effect.                               Executive Order 12866 defines a
     numbers of cases, as well as increased                     There would be no prejudice to the                 ‘‘significant regulatory action’’ as an
     case and positivity rates, and ultimately               public if the final rule became effective             action that is likely to result in a
     increased numbers of individuals who                    immediately. The final rule, like the                 regulation (1) having an annual effect on
     have serious outcomes. Increases in case                IFR, permits the Director to prohibit the             the economy of $100 million or more in
     and positivity rates would, in turn,                    introduction into the United States of                any one year, or adversely and
     frustrate efforts in those States to step               persons from designated foreign                       materially affecting a sector of the
     down to lower tiers in the reopening                    countries (or one or more political                   economy, productivity, competition,
     guidelines. The Director has further                    subdivisions or regions thereof) or                   jobs, the environment, public health or
     assessed that the introduction of                       places, only for such period of time that             safety, or State, local, or tribal
     covered aliens into California and                      the Director deems necessary to avert                 governments or communities (also
     Arizona through congregate settings in                  the serious danger of the introduction of             referred to as ‘‘economically
     CBP facilities would likely have a                      a communicable disease, by issuing an                 significant’’); (2) creating a serious
     negative impact on case and positivity                  order in which the Director determines                inconsistency or otherwise interfering
     rates in California and Arizona, which                  that:                                                 with an action taken or planned by
     would not be in the interest of U.S.                       (1) By reason of the existence of any              another agency; (3) materially altering
     public health. Similar secondary effects                quarantinable communicable disease in                 the budgetary impacts of entitlement
     would be possible in other States in the                a foreign country (or one or more                     grants, user fees, or loan programs or the
     U.S.-Mexico border region such as                       political subdivisions or regions thereof)            rights and obligations of recipients
     Texas.                                                  or place there is serious danger of the               thereof; or (4) raising novel legal or
        It is also foreseeable that the Federal              introduction of such quarantinable                    policy issues arising out of legal
     government might have to address                        communicable disease into the United                  mandates, the President’s priorities, or
     secondary effects in ICE facilities or                  States; and                                           the principles set forth in the Executive
     ORR shelters for migrants. If, for                         (2) This danger is so increased by the
                                                                                                                   Order. This final rule is not
     example, the numbers of migrants                        introduction of persons from such
                                                                                                                   economically significant for the
     entering those facilities were to                       country (or one or more political
                                                                                                                   purposes of Executive Orders 12866 and
     increase, then the Federal government                   subdivisions or regions thereof) or place
                                                                                                                   13563 for the same reasons that it is not
     would have to attempt to manage the                     that a suspension of the right to
                                                                                                                   a major rule for purposes of the CRA.
     intake of the new migrants consistent                   introduce such persons into the United
                                                                                                                   The Office of Management and Budget
     with HHS/CDC infection control                          States is required in the interest of
                                                                                                                   (OMB) has reviewed this rule.
     guidelines in order to help protect the                 public health.
                                                                While the final rule mirrors the IFR at               The Regulatory Flexibility Act (RFA)
     health of the migrants, the facility                                                                          generally requires that when an agency
                                                             its core, the final rule is narrower than
     workforces, and the U.S. domestic                                                                             issues a proposed rule, or a final rule
                                                             the IFR, clarifies aspects of the
     population. DHS and ORR report that                                                                           pursuant to section 553(b) of the APA or
                                                             regulatory procedures, and enhances
     the operationalizing of such guidelines                                                                       another law, the agency must prepare a
                                                             public transparency. Notably, the final
     is more complex than their ordinary                                                                           regulatory flexibility analysis that meets
                                                             rule applies only to quarantinable
     operations. It is possible that facility                                                                      the requirements of the RFA and
                                                             communicable diseases, which are a
     censuses could reach or exceed levels                                                                         publish such analysis in the Federal
                                                             subset of communicable diseases
     that are workable under HHS/CDC                                                                               Register. 5 U.S.C. 603, 604. Specifically,
                                                             specified by the President in Executive
     infection control guidelines, in which                                                                        the RFA normally requires agencies to
                                                             Orders. The final rule also: aligns the
     case HHC/CDC may be left with no                                                                              describe the impact of a rulemaking on
                                                             regulatory text with section 362 of the
     workable options for protecting U.S.                                                                          small entities by providing a regulatory
                                                             PHS Act; defines additional terms; and
     public health.                                                                                                impact analysis. Such analysis must
        HHS/CDC does not reasonably                          requires the Director, when issuing an
                                                             administrative order, to state both the               address the consideration of regulatory
     anticipate factual changes in the next 30                                                                     options that would lessen the economic
     days that would materially affect HHS/                  means by which the prohibition on
                                                             introduction shall be implemented, and                effect of the rule on small entities. The
     CDC’s good cause analysis.184 While                                                                           RFA defines a ‘‘small entity’’ as (1) a
                                                             the serious danger posed by the
     HHS/CDC modeling predicts that the                                                                            proprietary firm meeting the size
                                                             introduction of the quarantinable
     total new deaths from COVID–19 will                                                                           standards of the Small Business
                                                             communicable disease. These changes
     continue to decrease in September 2020,                                                                       Administration (SBA); (2) a nonprofit
                                                             would be beneficial, not prejudicial, to
     HHS/CDC reasonably anticipates that                                                                           organization that is not dominant in its
                                                             the public.
     community transmission and the rates                                                                          field; or (3) a small government
     of new COVID–19 cases will remain                       G. Executive Orders 12866 and 13563                   jurisdiction with a population of less
     serious concerns with respect to DHS,                   and Regulatory Flexibility Act                        than 50,000. 5 U.S.C. 601(3)–(6). Except
     ORR, and the States in the U.S.-Mexico                     Executive Orders 12866 and 13563                   for such small government jurisdictions,
     border region. For the next 30 days, any                direct agencies to assess all costs and               neither State nor local governments are
     temporary loss of the procedures                        benefits of available regulatory                      ‘‘small entities.’’ Similarly, for purposes
     established by the IFR would jeopardize                 alternatives and, if regulation is                    of the RFA, persons are not small
       184 COVID–19 Forecasts: Deaths, Ctrs. for Disease
                                                             necessary, to select regulatory                       entities. The requirement to conduct a
     Control & Prevention, https://www.cdc.gov/
                                                             approaches that maximize net benefits                 regulatory impact analysis does not
     coronavirus/2019-ncov/covid-data/forecasting-           (including potential economic,                        apply if the head of the agency ‘‘certifies
     us.html (last updated Sep. 2, 2020).                    environmental, and public health and                  that the rule will not, if promulgated,


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     have a significant economic impact on                   H. Assessment of Federal Regulation                   and loss of family members due to
     a substantial number of small entities.’’               and Policies on Families                              disease is tragic, and the burden of
     5 U.S.C. 605(b). The agency must,                          Section 654 of the Treasury and                    caring for family members with serious
     however, publish the certification in the               General Government Appropriations                     disease may be emotionally and
     Federal Register at the time of                         Act of 1999, Public Law 105–277, sec.                 financially significant. The better
     publication of the rule, ‘‘along with a                 654, 112 Stat. 2681 (1998) requires                   approach overall for protecting family
     statement providing the factual basis for               Federal departments and agencies to                   well-being is to reduce the danger of
     such certification.’’ Id. If the agency                 determine whether a policy or                         quarantinable communicable diseases,
     head has not waived the requirements                    regulation could affect family well-                  notwithstanding any temporary deferral
     for a regulatory flexibility analysis in                being. HHS/CDC conducts such an                       of visitation.
     accordance with the RFA’s waiver                        analysis below and certifies the same.                I. Paperwork Reduction Act of 1995
     provision, and no other RFA exception                      Section 601 (note) required agencies                  In accordance with the Paperwork
     applies, the agency must prepare the                    to assess whether a regulatory action (1)             Reduction Act of 1995 (44 U.S.C. 3506;
     regulatory flexibility analysis and                     impacted the stability or safety of the               5 CFR 1320 Appendix A.1), HHS has
     publish it in the Federal Register at the               family, particularly in terms of marital              reviewed this final rule and has
     time of promulgation or, if the rule is                 commitment; (2) impacted the authority                determined that there are no new
     promulgated in response to an                           of parents in the education, nurturing,               collections of information contained
     emergency that makes timely                             and supervision of their children; (3)                therein.
     compliance impracticable, within 180                    helped the family perform its functions;
     days of publication of the final rule. 5                (4) affected disposable income or                     J. Regulatory Reform Analysis Under
     U.S.C. 604(a), 608(b).                                  poverty of families and children; (5) was             Executive Order 13771
                                                             justified if it financially impacted                     Executive Order 13771, titled
        HHS/CDC certifies that this final rule               families; (6) was carried out by State or
     will not have a significant economic                                                                          ‘‘Reducing Regulation and Controlling
                                                             local government or by the family; and                Regulatory Costs,’’ was issued on
     impact on a substantial number of small                 (7) established a policy concerning the               January 30, 2017, and requires that the
     entities. This final rule establishes a                 relationship between the behavior and                 costs associated with significant new
     regulatory procedure by which the                       personal responsibility of youth and the              regulations ‘‘shall, to the extent
     Director may exercise the section 362                   norms of society.                                     permitted by law, be offset by the
     authority through issuance of an                           This final rule establishes the process            elimination of existing costs associated
     administrative order. Without an                        by which the Director may issue                       with at least two prior regulations.’’
     administrative order, this final rule can               administrative orders suspending the                  OMB’s Guidance Implementing
     have no economic impact.                                introduction of persons. Standing alone,              Executive Order 13771, Titled
        HHS/CDC may use the procedures                       without an administrative order from                  ‘‘Reducing Regulation and Controlling
     created by this final rule to issue                     the Director, it has no direct impact on              Regulatory Costs,’’ issued on April 5,
     administrative orders against individual                family well-being based on any of the                 2017, (https://www.whitehouse.gov/
     persons. In addition, HHS/CDC may use                   factors listed above. If the family well-             sites/whitehouse.gov/files/omb/
     the procedures created by this final rule               being determination requirement were                  memoranda/2017/M-17-21-OMB.pdf),
     to issue administrative orders against                  still in force, an assessment of the                  explains that ‘‘E.O. 13771 deregulatory
     carriers of persons, such as cruise ships               impact of this final rule on family well-             actions are not limited to those defined
     or airlines. HHS/CDC, however, does                     being would not be required.                          as significant under E.O. 12866 or
                                                                The current CDC Order on covered                   OMB’s Final Bulletin on Good Guidance
     not reasonably contemplate issuing
                                                             aliens does not implicate factors (2)                 Practices.’’ It has been determined that
     administrative orders against carriers of
                                                             through (7) listed above. HHS/CDC,                    this proposed rule imposes no more
     persons that are small entities for two
                                                             however, recognizes that the current                  than de minimis costs, and therefore is
     reasons. First, small entities are by their
                                                             CDC Order on covered aliens, and future               not considered a regulatory action under
     nature less likely than large entities to
                                                             orders by the Director, could potentially             Executive Order 13771.
     transport large numbers of persons in                   impact family stability under factor (1).
     congregate settings. Second, based on                   This is because such orders temporarily               List of Subjects in 42 CFR Part 71
     experience, HHS/CDC reasonably                          prevent persons from introducing                        Apprehension, Communicable
     contemplates mitigating the public                      themselves into the United States and,                diseases, Conditional release, CDC, Ill
     health risks presented by carriers that                 as a consequence, may prevent the                     person, Isolation, Non-invasive, Public
     are small entities through less sweeping                persons from seeing family members in                 health emergency, Public health
     public health measures, such as                         the United States. Any such impact on                 prevention measures, Qualifying stage,
     quarantine, isolation, and conditional                  family well-being would last for the                  Quarantine, Quarantinable
     release, or no-sail orders issued under                 duration of the order.                                communicable disease.
     other procedures, or no-fly lists of                       In the judgment of HHS/CDC, the                      For the reasons set forth in the
     passengers. HHS/CDC reasonably                          benefits to U.S. public health that flow              preamble, 42 CFR part 71 is amended as
     contemplates that any administrative                    from preventing the introduction of                   follows:
     orders against carriers would be rare,                  quarantinable communicable diseases
     and would be limited to large entities                  into the United States far outweigh any               PART 71—FOREIGN QUARANTINE
     transporting large numbers of persons in                impact on family well-being that might
     congregate settings. Accordingly, HHS/                  result from deferred visitation of family             ■ 1. The authority citation for part 71
     CDC certifies that this final rule will not             members in the United States. Families                continues to read as follows:
     have a significant economic impact on                   benefit greatly when family members—                    Authority: Secs. 215 and 311 of the Public
     a substantial number of small entities                  particularly seniors and other members                Health Service (PHS) Act, as amended (42
     when considered together with any                       of vulnerable populations—are healthy                 U.S.C. 216, 243); secs. 361–369, PHS Act, as
     administrative order that HHS/CDC                       and safe from quarantinable                           amended (42 U.S.C. 264–272).
     could conceivably issue in the future.                  communicable diseases. The suffering                  ■ 2. Revise § 71.40 to read as follows



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     § 71.40 Suspension of the right to                      disease into the United States means the              practicable after issuing his or her order,
     introduce and prohibition of the                        probable introduction of one or more                  and may then modify the order as he or
     introduction of persons into the United                 persons capable of transmitting the                   she determines appropriate. In addition,
     States from designated foreign countries or             quarantinable communicable disease                    the Director may, as practicable under
     places for public health purposes.
                                                             into the United States, even if persons               the circumstances, consult with any
        (a) The Director may prohibit, in                    or property in the United States are                  State or local authorities that he or she
     whole or in part, the introduction into                 already infected or contaminated with                 deems appropriate in his or her
     the United States of persons from                       the quarantinable communicable                        discretion.
     designated foreign countries (or one or                 disease;                                                 (1) If the order will be implemented
     more political subdivisions or regions                     (4) The term Place includes any                    in whole or in part by State and local
     thereof) or places, only for such period                location specified by the Director,                   authorities who have agreed to do so
     of time that the Director deems                         including any carrier, as that term is                under 42 U.S.C. 243(a), then the
     necessary to avert the serious danger of                defined in 42 CFR 71.1, whatever the                  Director shall explain in the order the
     the introduction of a quarantinable                     carrier’s flag, registry, or country of               procedures and standards by which
     communicable disease, by issuing an                     origin; and                                           those authorities are expected to aid in
     order in which the Director determines                     (5) Suspension of the right to                     the enforcement of the order.
     that:                                                   introduce means to cause the temporary                   (2) If the order will be implemented
        (1) By reason of the existence of any                cessation of the effect of any law, rule,             in whole or in part by designated
     quarantinable communicable disease in                   decree, or order pursuant to which a                  customs officers (including any
     a foreign country (or one or more                       person might otherwise have the right to              individual designated by the
     political subdivisions or regions thereof)              be introduced or seek introduction into               Department of Homeland Security to
     or place there is serious danger of the                 the United States.                                    perform the duties of a customs officer)
     introduction of such quarantinable                         (c) Any order issued by the Director               or Coast Guard officers under 42 U.S.C.
     communicable disease into the United                    under this section shall include a                    268(b), or another Federal department or
     States; and                                             statement of the following:
        (2) This danger is so increased by the                                                                     agency, then the Director shall, in
                                                                (1) The foreign countries (or one or               coordination with the Secretary of
     introduction of persons from such                       more political subdivisions or regions
     country (or one or more political                                                                             Homeland Security or other applicable
                                                             thereof) or places from which the                     Federal department or agency head,
     subdivisions or regions thereof) or place               introduction of persons shall be
     that a suspension of the right to                                                                             explain in the order the procedures and
                                                             prohibited;                                           standards by which any authorities or
     introduce such persons into the United                     (2) The period of time or
     States is required in the interest of                                                                         officers or agents are expected to aid in
                                                             circumstances under which the                         the enforcement of the order, to the
     public health.                                          introduction of any persons or class of
        (b) For purposes of this section:                                                                          extent that they are permitted to do so
                                                             persons into the United States shall be               under their existing legal authorities.
        (1) Introduction into the United States              prohibited;
     means the movement of a person from                        (3) The conditions under which that                   (e) This section does not apply to:
     a foreign country (or one or more                       prohibition on introduction shall be                     (1) Members of the armed forces of the
     political subdivisions or regions thereof)              effective in whole or in part, including              United States and associated personnel
     or place, or series of foreign countries or             any relevant exceptions that the Director             if the Secretary of Defense provides
     places, into the United States so as to                 determines are appropriate;                           assurance to the Director that the
     bring the person into contact with                         (4) The means by which the                         Secretary of Defense has taken or will
     persons or property in the United States,               prohibition shall be implemented; and                 take measures such as quarantine or
     in a manner that the Director determines                   (5) The serious danger posed by the                isolation, or other measures maintaining
     to present a risk of transmission of a                  introduction of the quarantinable                     control over such individuals, to
     quarantinable communicable disease to                   communicable disease in the foreign                   prevent the risk of transmission of the
     persons, or a risk of contamination of                  country or countries (or one or more                  quarantinable communicable disease
     property with a quarantinable                           political subdivisions or regions thereof)            into the United States; or
     communicable disease, even if the                       or places from which the introduction of                 (2) Other United States government
     quarantinable communicable disease                      persons is being prohibited.                          employees or contractors on orders
     has already been introduced,                               (d) When issuing any order under this              abroad, or their accompanying family
     transmitted, or is spreading within the                 section, the Director shall, as practicable           members who are on their orders or are
     United States;                                          under the circumstances, consult with                 members of their household, if the
        (2) Prohibit, in whole or in part, the               all Federal departments or agencies                   Director receives assurances from the
     introduction into the United States of                  whose interests would be impacted by                  relevant head of agency and determines
     persons means to prevent the                            the order. The Director shall, as                     that the head of the agency or
     introduction of persons into the United                 practicable under the circumstances,                  department has taken or will take,
     States by suspending any right to                       provide the Federal departments or                    measures such as quarantine or
     introduce into the United States,                       agencies with a copy of the order before              isolation, to prevent the risk of
     physically stopping or restricting                      issuing it. In circumstances when it is               transmission of a quarantinable
     movement into the United States, or                     impracticable to engage in such                       communicable disease into the United
     physically expelling from the United                    consultation before taking action to                  States.
     States some or all of the persons;                      protect the public health, the Director                  (f) This section shall not apply to U.S.
        (3) Serious danger of the introduction               shall consult with the Federal                        citizens, U.S. nationals, and lawful
     of such quarantinable communicable                      departments or agencies as soon as                    permanent residents.




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       (g) Any provision of this section held                invalidity or unenforceability, in which                Dated: September 4, 2020.
     to be invalid or unenforceable by its                   event the provision shall be severable                Alex M. Azar II,
     terms, or as applied to any person or                   from this section and shall not affect the            Secretary, Department of Health and Human
     circumstance, shall be construed so as                  remainder thereof or the application of               Services.
     to continue to give the maximum effect                  the provision to persons not similarly                [FR Doc. 2020–20036 Filed 9–4–20; 5:15 pm]
     to the provision permitted by law,                      situated or to dissimilar circumstances.              BILLING CODE 4163–18–P
     unless such holding shall be one of utter




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                   EXHIBIT E
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                U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
              CENTERS FOR DISEASE CONTROL AND PREVENTION (CDC)

      ORDER UNDER SECTIONS 362 & 365 OF THE PUBLIC HEALTH SERVICE ACT
                            (42 U.S.C. §§ 265, 268):

     AMENDMENT AND EXTENSION OF ORDER SUSPENDING INTRODUCTION OF
     CERTAIN PERSONS FROM COUNTRIES WHERE A COMMUNICABLE DISEASE
                               EXISTS

I.       Introduction

        I am amending the Order Suspending Introduction of Certain Persons from Countries
Where a Communicable Disease Exists, issued on March 20, 2020 (hereinafter, March 20, 2020
Order or Order) and extended on April 20, 2020 (hereinafter, April 20, 2020 Extension or
Extension), to clarify that it applies to all land and coastal Ports of Entry (POEs) and Border Patrol
stations 1 at or near the United States’ border with Canada or Mexico that would otherwise hold
covered aliens in a congregate setting. I am extending the duration of the Order until I determine
that the danger of further introduction of COVID-19 into the United States has ceased to be a
serious danger to the public health, and continuation of the Order is no longer necessary to protect
the public health. Every 30 days, the Centers for Disease Control and Prevention (CDC) shall
review the latest information regarding the status of the COVID-19 pandemic and associated
public health risks to ensure that the Order remains necessary to protect the public health. Upon
determining that the further introduction of COVID-19 into the United States is no longer a serious
danger to the public health necessitating the continuation of this Order, I will publish a notice in
the Federal Register terminating this Order and its Extensions.

II.      History of Order

         A.      March 20, 2020 Order

        I issued the March 20, 2020 Order pursuant to sections 362 and 365 of the Public Health
Service (PHS) Act, 42 U.S.C. §§ 265, 268, and the Act’s implementing regulations, which
authorize the Director of CDC to suspend the introduction of persons into the United States when
the Director determines that the existence of a communicable disease in a foreign country or place
creates a serious danger of the introduction of such disease into the United States, and the danger
is so increased by the introduction of persons from the foreign country or place that a temporary
suspension of such introduction is necessary to protect the public health.

       The March 20, 2020 Order suspended introduction of certain “covered aliens” into the
United States for a period of 30 days. The March 20, 2020 Order described “covered aliens” as
follows:



1
 As explained below, air POEs are excluded from the Amended Order and Extension because they do not present the
same public health risk as land and coastal POEs.


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       Persons traveling from Canada or Mexico (regardless of their country of origin)
       who would otherwise be introduced into a congregate setting in a land Port of Entry
       (POE) or Border Patrol station at or near the United States border with Canada or
       Mexico, subject to exceptions. This order does not apply to U.S. citizens, lawful
       permanent residents, and their spouses and children; members of the armed forces
       of the United States, and associated personnel, and their spouses and children;
       persons from foreign countries who hold valid travel documents and arrive at a
       POE; or persons from foreign countries in the visa waiver program who are not
       otherwise subject to travel restrictions and arrive at a POE.

The March 20, 2020 Order also did not apply to “persons whom customs officers of DHS
determine, with approval from a supervisor, should be excepted based on the totality of the
circumstances, including consideration of significant law enforcement, officer and public safety,
humanitarian, and public health interests.”

       The March 20, 2020 Order was based on the following determinations:

            •   COVID-19 is a communicable disease that poses a danger to the public health;

            •   COVID-19 is present in numerous foreign countries, including Canada and
                Mexico;

            •   There is a serious danger of the introduction of COVID-19 into the land POEs and
                Border Patrol stations at or near the United States’ borders with Canada and
                Mexico, and into the interior of the country as a whole, because COVID-19 exists
                in Canada, Mexico, and the other countries of origin of persons who migrate to the
                United States across the land borders with Canada and Mexico;

            •   But for a suspension-of-entry order under 42 U.S.C. § 265, covered aliens would
                be subject to immigration processing at the land POEs and Border Patrol stations,
                and during that processing many of them (typically aliens who lack valid travel
                documents and are therefore inadmissible) would be held in the common areas of
                the facilities, in close proximity to one another, for hours or days; and

            •   Such introduction into congregate settings of persons from Canada or Mexico
                would increase the already serious danger to the public health to the point of
                requiring a temporary suspension of the introduction of covered aliens into the
                United States.

       B.       April 20, 2020 Extension

       On April 20, 2020, I extended the March 20, 2020 Order until 11:59 p.m. EDT on May 20,
2020. The April 20, 2020 Extension found that the determinations of the March 20, 2020 Order
remain correct, and further determined that the suspension of introduction of covered aliens should
continue for another 30 days based on the increasing numbers of COVID-19 infections in Canada,
Mexico, and the United States, and the highly dynamic domestic health care landscape.


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       As detailed below, the Order has proven effective in reducing the risk of COVID-19 within
POEs and Border Patrol stations, and the latest information on the status of the pandemic in
Canada, Mexico, and the United States justifies issuing this Amendment and Extension until I
determine that the serious danger of further introduction of COVID-19 into the United States has
ceased to be a danger to the public health.

III.    The Order has reduced the risk of COVID-19 transmission in POEs and Border
        Patrol stations

        Recent DHS data indicates the March 20, 2020 Order and April 20, 2020 Extension have
significantly mitigated the specific public health risk identified in the initial Order by significantly
reducing the population of covered aliens held in congregate settings in POEs and Border Patrol
stations, thereby reducing the risk of COVID-19 infection among DHS personnel and others within
these facilities.

         DHS has provided CDC with statistical information on the impact of the Order and
Extension, which supports my decision to further extend the suspension. For example, following
issuance of the March 20, 2020 Order, DHS data on operational encounters with covered aliens
demonstrate that the population of covered aliens held in POEs and Border Patrol stations was
reduced by 88 percent. Specifically, in the 46-day period preceding the March 20, 2020 Order
(i.e., February 3, 2020 to March 20, 2020), there was a daily average of 3,249 covered aliens in
custody at POEs and Border Patrol stations. In the 47-day period following the March 20, 2020
Order (i.e., March 21, 2020 to May 6, 2020), there was a daily average of 395 covered aliens in
custody, with approximately 100 aliens in CBP facilities at any given time. By significantly
reducing the number of covered aliens held in POEs and Border Patrol stations, the Order and
Extension have reduced the density of covered aliens held in congregate custody within these
facilities, which reduces the risk of exposure to COVID-19 for DHS personnel and others in POEs
and Border Patrol stations.

IV.     Conditions in Canada, Mexico, and the United States warrant continued
        implementation of the Order

        Since the April 20, 2020 Extension, COVID-19 has continued to spread. Canada and
Mexico continue to see increasing numbers of COVID-19 infections and deaths. In the United
States, many states continue to experience growth in the number of confirmed COVID-19 cases,
as more states enter the acceleration phase of the pandemic. Although certain early hotspots are
beginning to see improvement, and certain areas of the country are beginning a phased reopening
of their communities, millions of Americans continue to comply with stay-at-home orders and
practice social distancing, most schools and businesses remain closed, and health care providers
across the country continue to strive to meet the demand for COVID-19-related care.
Epidemiologically speaking, the United States as a whole remains in the acceleration phase of the




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pandemic. 2 Accordingly, there remains a serious risk to the public health that COVID-19 will
continue to spread to unaffected communities within the United States, or further burden already
affected areas. At this critical juncture, it would be counterproductive to undermine ongoing
public health efforts by relaxing restrictions on the introduction of covered aliens who pose a risk
of further introducing COVID-19 into the United States.

          A.     Canada

        As of May 9, 2020, Canada has reported 66,780 confirmed cases of COVID-19, and a total
of 4,628 deaths. Canada has tested 1,067,595 people for COVID-19. 3 The Public Health Agency
of Canada believes that the COVID-19 pandemic may have reached its peak, but expects that the
number of confirmed COVID-19 cases will continue to increase. 4 The Canadian government
estimates that 81 percent of COVID-19 cases are the result of community transmission. 5 Canadian
modeling indicates that, with the use of strong epidemic controls resulting in a 2.5 percent infection
rate, Canada could see 940,000 people with infections, 73,000 hospitalizations, and 23,000 people
requiring intensive care over the course of the COVID-19 pandemic. 6 Canada continues to enforce
robust public health measures to slow the spread of COVID-19; non-essential businesses and
public schools remain largely closed, and public events remain cancelled. 7

          B.     Mexico




2
     CDC, Situation Summary (updated Apr. 19, 2020), https://www.cdc.gov/coronavirus/2019-ncov/cases-
updates/summary.html; see also Dr. Anne Schuchat, MMWR and Morbidity and Mortality Weekly Report, U.S.
Dep’t. of Health and Human Services, Public Health Response to the Initiation and Spread of Pandemic COVID-19
in     the  United    States,  February     24–April    21,     2020      (May     8,   2020),   available at
https://www.cdc.gov/mmwr/volumes/69/wr/mm6918e2.htm#suggestedcitation
3
     Government of Canada, Coronavirus disease (COVID-19): Outbreak Update (May 9, 2020),
https://www.canada.ca/en/public-health/services/diseases/2019-novel-coronavirus-infection.html?topic=tilelink#a2.
4
    Government of Canada, Epidemiological Summary of COVID-19 Cases in Canada (May 9, 2020), https://health-
infobase.canada.ca/covid-19/epidemiological-summary-covid-19-cases.html.
5
    Id.
6
    Public Health Agency of Canada, COVID-19 in Canada: Using Data and Modeling to Inform Public Health
Action (last updated May 3, 2020), https://www.canada.ca/en/public-health/services/publications/diseases-
conditions/covid-19-using-data-modelling-inform-public-health-action.html.
7
     Schools in Quebec are scheduled to re-open May 11 with restrictions. See Solarina Ho, CTV News (May 4, 2020)
https://www.ctvnews.ca/health/coronavirus/when-will-school-resume-what-we-know-province-by-province-
1.4923667; see also generally Marc Montgomery, Radio Canada International (May 5, 2020)
https://www.rcinet.ca/en/2020/05/05/covid-19-the-2020-summer-of-fun-events-that-werent/.




                                                       4
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        As of May 9, 2020, Mexico has reported 29,616 confirmed cases of COVID-19 and 2,961
           8
deaths. The Mexican Health Ministry believes that there are approximately 8 additional cases for
each confirmed case of COVID-19. 9 On April 21, 2020, government officials announced that
Mexico has entered Phase III of the COVID-19 pandemic, the Mexican government’s highest level
of public health emergency. 10 As the pandemic continues, there are media reports of hospitals in
Mexico City turning away potential COVID-19 cases and fears that Mexico lacks sufficient
ventilators. 11 Mexico’s initial modeling, based on Chinese data reported by the World Health
Organization (WHO), assumed a 0.2 percent infection rate with 250,656 people infected during
the acceleration phase of the pandemic. 12 Of those people, 70 percent (175,459) are anticipated to
seek medical care. 13 Among people seeking medical care, it is projected that 80 percent (140,367)
will be ambulatory patients, 14 percent (25,564) will need to be hospitalized without intensive
care, and 6 percent (10,528) will require intensive care. 14 Non-governmental models and estimates
indicate that Mexico may have between 620,000 and 730,000 symptomatic COVID-19 cases. 15

           C.    United States




8
     World Health Organization, Coronavirus Disease 2019 (COVID-19) Situation Report – 110 (May 9, 2020),
https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200509covid-19-sitrep-
110.pdf?sfvrsn=3b92992c_4.
9
    Mexico News Daily, New Model Show Highest Number of Virus Cases Will Come Sooner Than Expected (Apr.
24, 2020), https://mexiconewsdaily.com/news/coronavirus/new-model-shows-virus-cases-will-come-sooner-than-
expected/.
10
    James Pasley, MSN News Insider, Mexico has Moved to “Phase 3” – its Most Serious Level of Coronavirus Alert
– and Faces a Looming Outbreak. Here’s how it got to this Point (Apr. 23, 2020), https://www.msn.com/en-
us/news/other/mexico-has-moved-to-phase-3-e2-80-94-its-most-serious-level-of-coronavirus-alert-e2-80-94-and-
faces-a-looming-outbreak-heres-how-it-got-to-this-point/ss-BB135RGq/.
11
     Andrea Navarro, Bloomberg, Mexico City Top Hospitals Reach Capacity, Reject Virus Patients (Apr. 28, 2020),
https://www.bloomberg.com/news/articles/2020-04-28/mexico-city-top-hospitals-reach-capacity-reject-virus-
patients.
12
    Secretaria De Salud, COVID-19: Comunicado Tecnico Diario                 (Mar.   17,   2020),   available   at
https://www.gob.mx/cms/uploads/attachment/file/541879/COVID-19_-
_Presentacion_Comunicado_Tecnico_Diario_2020.03.17.pdf.pdf.
13
     Id.

14
     Id.
15
     See Jorge Galindo, Javier LaFuente, El País, The Magnitude of the Epidemic in Mexico (May 8, 2020),
https://elpais.com/sociedad/2020-05-08/la-magnitud-de-la-epidemia-en-mexico.html; Juan Montes, The Wall Street
Journal, Death Certificates Point to Much Higher Coronavirus Toll in Mexico (May 8, 2020),
https://www.wsj.com/articles/death-certificates-point-to-much-higher-coronavirus-toll-in-mexico-11588957041;
Azam Ahmed, Hidden Toll: Mexico Ignores Wave of Coronavirus Deaths in Capital (May 8, 2020),
https://www.nytimes.com/2020/05/08/world/americas/mexico-coronavirus-count.html.




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        As of May 9, 2020, the United States has reported 1,274,036 confirmed cases of COVID-
19 and 77,034 deaths. 16 Community transmission of COVID-19 is continuing in many locations
across the United States. Public health measures to slow the spread of COVID-19 so as to avoid
overwhelming health care systems have, to date, largely proven successful. 17 However, several
cities and states, including several located at or near U.S. borders, continue to experience
widespread, sustained community transmission that has put their healthcare and public health
systems remain at risk of being overwhelmed. 18

         CDC continues to recommend that all Americans practice vigorous hand hygiene, engage
in social distancing, limit non-essential travel, 19 and wear cloth face coverings when out in
public. 20 Nevertheless, not all areas of the United States are currently experiencing high rates of
infection or numbers of confirmed cases. 21 Limiting the spread of COVID-19 to un- or less-
affected areas, and slowing the spread of COVID-19 in highly impacted areas, involves limiting
the number of foci, or infected individuals, who may enter these areas. Such efforts are critical as
individual states begin to ease public health restrictions on businesses and public activities in an
effort to mitigate the economic and other costs of the COVID-19 pandemic. 22

V.       The Order is amended to apply to land and coastal POEs and Border Patrol stations
         at or near the border with Canada or Mexico that would otherwise hold covered
         aliens in a congregate setting


16
     CDC, Cases in U.S. (updated May 9, 2020), https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-
us.html.

17
    Judy Woodruff, Interview with Vice President of the United States Michael Pence, PBS News Hour (Apr. 17,
2020), https://www.pbs.org/newshour/show/our-health-care-system-has-not-been-overwhelmed-by-covid-19-says-
pence.
18
     See Johns Hopkins University, COVID-19 United States Cases by County, https://coronavirus.jhu.edu/us-map;
see also Letter from Chris D. Van Gorder, President & CEO, Scripps Health, & Daniel L. Gross, Executive Consultant,
Sharp HealthCare COVID-19 Strategic Response, to Hon. Alex M. Azar, Secretary of the U.S. Dep’t. of Health &
Human Services, and Hon. Chad F. Wolf, Acting Secretary of the U.S. Dep’t. of Homeland Security (Apr. 28, 2020),
available     at     https://www.voiceofsandiego.org/wp-content/uploads/2020/04/Border-Concerns-Letter_Scripps-
Health_Sharp-HealthCare-4.28.20.pdf; see also Letter from Hon. Kristin Gaspar, Supervisor, Third District, San
Diego County Board of Supervisors, to Hon. Michael Pence, Vice President of the United States (Apr. 19, 2020),
available at https://www.krqe.com/news/border-report/san-diego-county-official-asks-white-house-to-help-mexico-
control-covid-19/.
19
     CDC, COVID-19: How to Protect Yourself & Others (last reviewed                            May    11,   2020),
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html.
20
    CDC, COVID-19: Use of Cloth Face Coverings to Help Slow the Spread of COVID-19 (last reviewed May 11,
2020), https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/diy-cloth-face-coverings.html.
21
     See Johns Hopkins University, COVID-19 United States Cases by County, https://coronavirus.jhu.edu/us-map.
22
     Executive Office of President and CDC, Guidelines for Opening Up America Again (Apr. 16, 2020),
https://www.whitehouse.gov/openingamerica/.




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         As noted above, the March 20, 2020 Order and April 20, 2020 Extension defined “covered
alien” in terms of the public health risk associated with permitting individuals who have traveled
from Canada or Mexico to be introduced into a congregate holding area “in a land Port of Entry
(POE) or Border Patrol station at or near the United States borders with Canada and Mexico.” Due
to the highly contagious nature of the virus that causes COVID-19 and the mode of transmission,
it is determined that the continued introduction of potentially infected individuals into these
facilities poses a public health risk given the role of these facilities and their personnel not only in
carrying out immigration functions, but also in ensuring safe border crossings for essential goods
and persons, and in law enforcement activities such as preventing terrorism and drug trafficking.
Because the limited medical capacity in POEs and Border Patrol stations presents a significant
obstacle to safely managing the risk of COVID-19 among covered aliens held in these facilities,
the public health risk is best addressed by suspending the introduction of covered aliens into land
and coastal POEs and Border Patrol stations. 23

         After consulting with DHS regarding its various operations and ability to rapidly stand-up
the containment measures and medical capacity needed to deal with the COVID-19 pandemic,
CDC determined that protecting the public health of the United States necessitated temporarily
suspending the introduction of covered aliens into the congregate holding areas of POEs and
Border Patrol stations at or near the United States’ border with Canada and Mexico. CDC
understands that, at least in theory, it is possible to expand and retrofit POEs and Border Patrol
stations with the structural and engineering controls necessary to contain COVID-19, and that DHS
personnel could be equipped with the necessary PPE and trained in clinically-informed practices
to more safely interact with covered aliens. However, CDC believes such an endeavor would be
ill-advised in that it would consume a significant amount of scarce medical resources that could
otherwise be used to meet the needs of the domestic population. Nor could such interventions—
particularly those involving structural and engineering additions or changes to hundreds of DHS
facilities—be implemented quickly enough to mitigate the current risk of allowing covered aliens
to be introduced into POEs and Border Patrol stations. As noted above, the Order has effectively
reduced the population of covered aliens in POEs and Border Patrol stations at or near the border,
thereby significantly reducing the risk COVID-19 spreading within these facilities. 24

        The intent of the March 20, 2020 Order and April 20, 2020 Extension was to suspend the
introduction of individuals who have traveled from Canada or Mexico who would otherwise likely
have been held in the congregate holding areas of POEs or Border Patrol stations at or near the
border with Canada or Mexico, where they could transmit COVID-19 to the DHS personnel and
other individuals in those facilities. The public health risk addressed by the Order and Extension
was the risk of transmission in the congregate holding areas of POEs and Border Patrol stations
created when individuals who have traveled from Canada or Mexico are held for significant
periods of time in these facilities because they lack valid documentation for entry into the United

23
     The various screening and documentation requirements to board an aircraft justify the exclusion of air POEs from
the scope of this Order because they do not pose the same public health risk as land and coastal POEs. In addition,
DHS has informed CDC that air POEs do not tend to hold large numbers of persons for the more extended processing
that occurs at land and coastal POEs.
24
     See supra Section III.




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States. This public health analysis was based, in part, on the operational issues identified by DHS,
and on the observations of the United States Public Health Service Scientist Officer who visited
the El Paso del Norte POE on March 12-13, 2020. For the purposes of the public health analysis
and risk determinations, it is irrelevant whether a particular POE or Border Patrol station is
designated by DHS as a “land” or “coastal” facility. 25 The relevant factor is whether the facility
receives individuals who have traveled from Canada or Mexico and are likely to be held in a
congregate setting within a POE or Border Patrol station at or near the border.

        DHS has informed CDC that many POEs and Border Patrol stations service both land and
coastal borders, such that covered aliens who are apprehended while attempting to enter the United
States by a coastal border are held in the same facilities that temporarily hold covered aliens
apprehended while crossing into the United States over the land borders with Canada and
Mexico. 26 These facilities are substantially similar in all respects relevant to the public health
analysis. DHS has informed CDC that, like their land-based counterparts, coastal POEs and
Border Patrol stations generally have one or more congregate areas where covered aliens are held
for processing, and are not structured or equipped to manage covered aliens exposed to or infected
with COVID-19, nor to protect DHS personnel and other individuals within those facilities,
including other aliens, from exposure to COVID-19. Similarly, covered aliens at coastal POEs
and Border Patrol stations spend periods of time (i.e., hours or days) in the congregate holding
areas of these facilities while they are processed for immigration purposes that are material from
a public health perspective. All POEs and Border Patrol stations lack medical resources sufficient
to provide the appropriate level of care required by those infected with COVID-19 and would be
forced to rely on local health systems, many of which are straining to meet the medical needs of
the domestic population. 27

       Land and coastal POEs and Border Patrol stations are not structured or equipped to
implement recommended COVID-19 screening, isolation/quarantine, or social distancing
protocols for even small numbers of covered aliens. As noted in the March 20, 2020 Order, the
holding areas of POEs and Border Patrol stations were designed for the purpose of short-term
processing and holding in a congregate setting. The vast majority of these facilities lack the areas
needed to effectively isolate or quarantine covered aliens while COVID-19 test results are pending.
Moreover, the process of screening and isolating/quarantining covered aliens suspected of


25
     DHS has advised CDC that “coastal borders” refers to any U.S. border that is adjacent to a waterway, rather than
land. DHS has further advised CDC that “waterway” refers to any large body of water (e.g., Pacific Ocean, Atlantic
Ocean, and Gulf of Mexico). For the purpose of this Order, “coastal” applies to any waterway from which persons
traveling through Canada and Mexico may enter the United States (e.g. Pacific, Gulf of Mexico, Lake Michigan, Rio
Grande).
26
     Indeed, the DHS enforcement statistics cited in the March 20, 2020 Order included apprehensions of inadmissible
aliens who attempted to cross a U.S. coastal border. See Exhs. 2-3, Order Suspending Introduction of Certain Persons
from Countries where a Communicable Disease Exists (Mar. 20, 2020), available at
https://www.cdc.gov/quarantine/pdf/CDC-Order-Prohibiting-Introduction-of-Persons_Final_3-20-20_3-p.pdf.
27
    See CDC, COVID View Weekly Summary (updated May 8, 2020), https://www.cdc.gov/coronavirus/2019-
ncov/covid-data/covidview/index.html.




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COVID-19 infection would require covered aliens to move throughout various sections of the
facility, creating a risk of exposure to all nearby—including DHS personnel and other aliens.

       I hereby amend the March 20, 2020 Order and April 20, 2020 Extension by adding the
modifier “coastal” so that this Amended Order and Extension expressly applies to land and coastal
POE and Border Patrol stations operated by DHS at or near the border with Canada or Mexico.
Accordingly, the definition of “covered alien” is amended as follows:

        Persons traveling from Canada or Mexico (regardless of their country of origin)
        who would otherwise be introduced into a congregate setting in a land or coastal
        Port of Entry (POE) or Border Patrol station at or near the United States border with
        Canada or Mexico, subject to exceptions. 28

        This Amendment and Extension does not alter any of the exclusions or exceptions to the
March 20, 2020 Order or April 20, 2020 Extension. Like the March 20, 2020 Order and April 20,
2020 Extension, the Amended Order and Extension does not apply to U.S. citizens, lawful
permanent residents, and their spouses and children; members of the armed forces of the United
States, and associated personnel, and their spouses and children; persons from foreign countries
who hold valid travel documents and arrive at a POE; or persons from foreign countries in the visa
waiver program who are not otherwise subject to travel restrictions and arrive at a POE. The
Amended Order and Extension also does not apply to persons whom customs officers determine,
with approval from a supervisor, should be excepted based on the totality of the circumstances,
including consideration of significant law enforcement, officer and public safety, humanitarian,
and public health interests. 29 DHS shall consult with CDC concerning how these types of case-
by-case, individualized exceptions shall be made to help ensure consistency with current CDC
guidance and public health assessments.

VI.     Extended Duration Subject to Recurring 30 Day Review

        As discussed above, the number of confirmed cases of COVID-19 in Canada, Mexico, and
the United States continue to increase. The COVID-19 public health emergency determination by
the Secretary of HHS has remained in effect since February 4, 2020. 30 As individual states in the
United States enter different phases of the pandemic, the demand for COVID-19-related care and
the challenges of providing that care are rapidly changing. Although some states are beginning to

28
    CDC recognizes that in certain limited instances, a fact-based inquiry may be required to determine whether
individuals are covered aliens within the meaning of the Amended Order and Extension. For example, it may be
unclear whether individuals who arrive at a coastal border by boat departed from Mexico, or another country, such as
Haiti. CDC defers to DHS regarding the operational considerations necessary to address such scenarios.
29
     In addition to CBP and U.S. Coast Guard officers, customs officers include any agent or other person, including
foreign law enforcement officers, authorized by law or designated by the Secretary of Homeland Security to perform
the duties of a customs officer. See 19 U.S.C. § 1401(i).
30
     Determination of Public Health Emergency, 85 Fed. Reg. 7316 (Feb. 7, 2020); see also HHS Secretary, “Renewal
of Determination That A Public Health Emergency Exists,” April 21, 2020, available at:
https://www.phe.gov/emergency/news/healthactions/phe/Pages/covid19-21apr2020.aspx.




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relax restrictions and plan for the reopening of their communities, the reopening process will occur
in phases that are closely tied to local infection rates, as well as other considerations. As the United
States collectively determines how to best balance protecting public health with resuming normal
activities, it is critical that the country continues to adhere to existing containment strategies, where
possible—including the suspended introduction of covered aliens.

        Furthermore, although stay-at-home orders and social distancing have been an important
part of controlling the COVID-19 pandemic and “flattening the curve,” these strategies alone
cannot eliminate the risk of COVID-19 in the United States. Lasting protection from COVID-19
will be achieved with a widely-available vaccine that confers immunity to the uninfected, widely-
available therapeutics for those who are infected, or some combination of both. 31 While there is
unprecedented collaboration between public and private stakeholders to develop vaccines and
therapeutics for COVID-19, a widely available finished product is still months away.

        The public health risks that are the basis for this Amended Order and Extension are unlikely
to abate in the coming months. Covered aliens cannot be introduced into the congregate holding
areas of land and coastal POEs and Border Patrol stations without significantly increasing the risk
of infection among DHS personnel and others in those facilities. Accordingly, this Amended
Order and Extension shall remain in effect until I determine that the danger of further introduction
of COVID-19 into the United States has ceased to be a serious danger to the public health.

       CDC shall reassess the Order every 30 days to determine whether the latest relevant
information regarding the COVID-19 pandemic warrants continued implementation, or whether
the Order should be modified or terminated.

VII.    Determination and Implementation

        Based on both the foregoing and additional insight gained over the past two months, I find
that the determinations underlying the March 20, 2020 Order and April 20, 2020 Extension remain
correct, and that the situation in Canada, Mexico, and the United States continues to require
suspension of the introduction of covered aliens into land and coastal POEs and Border Patrol
stations at or near the border in order to protect the public health from COVID-19.

        The March 20, 2020 Order and April 20, 2020 Extension were based on the risk of
introduction of individuals who have traveled through Canada and Mexico into the congregate
settings of POEs and Border Patrol stations. Because COVID-19 is a contagious disease spreading
throughout Canada and Mexico, individuals coming from these countries pose a risk of introducing
or spreading COVID-19 into the United States once they enter POEs and Border Patrol stations at
or near the border. Because covered aliens lack proper immigration documentation for entering
the United States, they would have been likely to spend a material amount of time (i.e., hours or
days) in the congregate holding areas of POEs and Border Patrol stations while they undergo
immigration processing. POEs and Border Patrol stations have capacity only for short-term
processing and holding of inadmissible aliens. They were never intended to provide the medical

31
    CDC does not consider Remdesivir to be a therapeutic for COVID-19 for the purposes of the Amended Order
and Extension because Remdesivir is not currently approved by the Food and Drug Administration to treat COVID-
19.


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screening, monitoring, and isolation functions needed to contain COVID-19, especially on the
scale demanded by the ongoing pandemic. As POEs and Border Patrol stations lack appropriate
medical capabilities, any COVID-19-related care of covered aliens would have to be met by local
healthcare systems in the United States, which are already straining to respond to the needs of the
domestic population.

        Moreover, due to their lack of legal immigration status, there is significant uncertainty that
covered aliens would be able to effectively self-quarantine, self-isolate, or otherwise comply with
existing social distancing guidelines, if they were conditionally released. CDC and local public
health jurisdictions simply lack the resources and personnel necessary to effectively monitor
covered aliens who would otherwise be conditionally released into the United States but for the
Order. Accordingly, covered aliens must be returned to the country from which they entered the
United States, to their country of origin, or to another appropriate location.

       The statistical information provided by DHS shows the March 20, 2020 Order and April
20, 2020 Extension have significantly reduced the number of covered aliens in custody at POEs
and Border Patrol stations, practically eliminating one channel through which COVID-19 can enter
the United States. In light of the current lack of a widely-available vaccine or therapeutic for
COVID-19, protecting the public health warrants further extending the Order.

        Accordingly, I determine that COVID-19 remains a contagious disease that is present in
many countries including Canada and Mexico; covered aliens arriving from those countries pose
a risk of further introducing or spreading COVID-19 into the United States while they are held in
the congregate holding areas of POEs and Border Patrol stations at or near the border; and this risk
is serious enough to require suspending the introduction of such covered aliens into all land and
coastal POEs and Border Patrol stations at or near the border with Canada or Mexico that would
otherwise hold covered aliens in a congregate setting.

       I consulted with DHS before issuing this Amended Order and Extension and requested that
DHS continue to implement the operational plan developed to carry out the March 20, 2020 Order
and April 20, 2020 Extension because CDC does not have the capability, resources, or personnel
needed to alternatively issue quarantine or isolation orders. 32

        This Amended Order and Extension applies to all persons traveling from Canada or Mexico
(regardless of their country of origin) who would otherwise be introduced into a congregate setting
in any land or coastal POE or Border Patrol station at or near the border with Canada and Mexico,
subject to exceptions.

       This Amended Order and Extension does not apply to U.S. citizens, lawful permanent
residents, and their spouses and children; members of the armed forces of the United States, and
32
     As previously discussed in the March 20, 2020 Order, CDC relies on the Department of Defense, other federal
agencies, and state and local governments to provide both logistical support and facilities for federal quarantines. See
42 U.S.C. § 268(b) (requiring customs and Coast Guard officers to aid in the enforcement of quarantine regulations).
CDC lacks the resources, staffing, and facilities to quarantine covered aliens. Similarly, DHS has informed CDC that
in the near term, it is not financially or logistically practicable for DHS to build additional facilities at POEs and
Border Patrol stations for purposes of quarantine or isolation.



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associated personnel, and their spouses and children; persons from foreign countries who hold
valid travel documents and arrive at a POE; or persons from foreign countries in the visa waiver
program who are not otherwise subject to travel restrictions and arrive at a POE. Additionally,
this Amended Order and Extension does not apply to persons whom customs officers determine,
with approval from a supervisor, should be excepted based on the totality of the circumstances,
including consideration of significant law enforcement, officer and public safety, humanitarian,
and public health interests. DHS shall consult with CDC concerning how these types of case-by-
case, individualized exceptions shall be made to help ensure consistency with current CDC
guidance and public health assessments.

        This Amended Order and Extension is not a rule subject to notice and comment under the
Administrative Procedure Act (APA). In the event this order qualifies as a rule subject to notice
and comment, a delay in effective date is not required because the foregoing discussion shows that
there is good cause to dispense with prior public notice and the opportunity to comment on this
order and a delay in effective date. 33 Given the public health emergency caused by COVID-19, it
would be impracticable and contrary to the public health—and, by extension, the public interest—
to delay the issuing and effective date of this Order. In addition, because this Order concerns
ongoing discussions with Canada and Mexico on how to best control COVID-19 transmission over
our shared borders, it directly “involve[s] . . . a . . . foreign affairs function of the United States.”
5 U.S.C. § 553(a)(1). Notice and comment and a delay in effective date would not be required for
that reason as well.

                                                  ***
This Amended Order and Extension goes into effect at 12:00 a.m. Eastern Daylight Time (EDT)
on May 21, 2020 and shall remain in effect until I determine that the danger of further introduction
of COVID-19 into the United States has ceased to be a serious danger to the public health, and the
continuation of the Order is no longer necessary to protect the public health. Upon making this
determination, I will publish a notice in the Federal Register terminating this Order and its
Extensions. CDC shall reassess the Order every 30 days to determine whether current conditions
warrant continued implementation, modification, or termination of the Order. I may further amend
or extend the Order as needed to protect the public health.
In testimony whereof, the Director, Centers for Disease Control and Prevention, U.S. Department
of Health and Human Services, has hereunto set his hand at Washington, D.C. this 19th day of
May, 2020.




Robert R. Redfield, MD
Director
Centers for Disease Control and Prevention



33
     See 5 U.S.C. § 553(b)(B) and (d)(3).


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